Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 1 of 207 PageID #: 728




                   EXHIBIT 1
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 2 of 207 PageID #: 729
                                                                             I 1111111111111111 1111111111 111111111111111 IIIII 1111111111111111 IIII IIII IIII
                                                                                                                       US011663031B2


  c12)   United States Patent                                                            (IO) Patent No.:                                US 11,663,031 B2
         Shua                                                                            (45) Date of Patent:                                              May 30, 2023

  (54)   TECHNIQUES FOR SECURING VIRTUAL                                             (58)       Field of Classification Search
         CLOUD ASSETS AT REST AGAINST CYBER                                                     CPC ............. H04L 63/1416; H04L 63/1433; H04L
         THREATS                                                                                                                    63/1441; G06F 9/45558; G06F
                                                                                                                   2009/45562; G06F 2009/45591; G06F
  (71)   Applicant: Orea Security LTD., Tel Aviv (IL)                                                                                      2009/45587; G06F 2201/84
                                                                                                USPC .. .. ... ... ... ... ... .. ... ... ... ... .. ... ... ... ... ... .. ... ... .. 726/25
  (72)   Inventor:    Avi Shua, Tel Aviv (IL)                                                   See application file for complete search history.
  (73)   Assignee: ORCA SECURITY LTD., Tel Aviv
                   (IL)                                                              (56)                               References Cited
                                                                                                               U.S. PATENT DOCUMENTS
  ( *)   Notice:      Subject to any disclaimer, the term ofthis
                      patent is extended or adjusted under 35                                  9,092,625 Bl * 7/2015 Kashyap ................. G06F 21/52
                      U.S.C. 154(b) by O days.                                                 9,177,145 B2   11/2015 Todorovic
                                                                                               9,519,781 B2   12/2016 Golshan et al.
  (21)   Appl. No.: 17/400,364                                                                 9,563,777 B2    2/2017 Deng et al.
                                                                                               9,798,885 B2   10/2017 Deng et al.
  (22)   Filed:       Aug. 12, 2021                                                                                           (Continued)

  (65)                  Prior Publication Data                                                                    OTHER PUBLICATIONS
         US 2021/0377287 Al           Dec. 2, 2021                                   NPL Search Terms (Year: 2021).*
                                                                                                                              (Continued)
                  Related U.S. Application Data
  (63)   Continuation of application No. 16/750,556, filed on                        Primary Examiner - Syed A Zaidi
         Jan. 23, 2020.                                                              (74) Attorney, Agent, or Firm - Finnegan, Henderson,
  (60)   Provisional application No. 62/797,718, filed on Jan.                       Farabow, Garrett & Dunner, LLP
         28, 2019.
                                                                                     (57)                                   ABSTRACT
  (51)   Int. Cl.
         H04L 9/40              (2022.01)                                            A method and system for securing virtual cloud assets at rest
         G06F 9/455             (2018.01)                                            against cyber threats. The method comprises determining a
         G06F 16111             (2019.01)                                            location of a view of at least one virtual disk of a protected
         G06F 11114             (2006.01)                                            virtual cloud asset, wherein the virtual cloud asset is at rest
  (52)   U.S. Cl.                                                                    and, when activated, instantiated in the cloud computing
         CPC ...... H04L 63/1416 (2013.01); G06F 9/45558                             environment; accessing the view of the virtual disk based on
                   (2013.01); G06F 1111464 (2013.01); G06F                           the determined location; analyzing the view of the protected
                  161128 (2019.01); H04L 63/1433 (2013.01);                          virtual cloud asset to detect potential cyber threats risking
                 H04L 63/1441 (2013.01); G06F 2009/45562                             the protected virtual cloud asset, wherein the virtual cloud
              (2013.01); G06F 2009/45583 (2013.01); G06F                             asset is inactive during the analysis; and alerting detected
                     2009/45587 (2013.01); G06F 2009/45591                           potential cyber threats based on a determined priority.
              (2013.01); G06F 2009/45595 (2013.01); G06F
                                           2201/84 (2013.01)                                                   16 Claims, 4 Drawing Sheets



                                                                             Start

                                                                                                                S210

                                                  Receive a request to scan a VM at rest for vulnerabilities

                                                                                                                S220
                                                Determine a location of the virtual disk of the VM and its view


                                                                                                                S230
                                                               Access a view of the VM at rest

                                                                                                                S240

                                                                      Analyze the view

                                                                                                                S250

                                                                   Report detected threats

                                                                                                               S260

                                                                 Trigger a mitigation action




                                                                             End
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 3 of 207 PageID #: 730


                                                       US 11,663,031 B2
                                                                 Page 2


  (56)                 References Cited                                   2015/0052520 Al    2/2015 Crowell et al.
                                                                          2015/0161151 Al*   6/2015 Koryakina .......... G06F 11/1451
                 U.S. PATENT DOCUMENTS                                                                                         711/114
                                                                          2017/0011138 Al    1/2017 Venkatesh et al.
      10,339,011 Bl * 7/2019 Bansal .................. G06F 16/188        2017/0076092 Al * 3/2017 Kashyap ............... G06F 21/316
      10,412,109 B2    9/2019 Loureiro et al.                             2018/0255080 Al    9/2018 Paine
      10,536,471 Bl* 1/2020 Derbeko ................. G06F 21/53          2018/0293374 Al   10/2018 Chen
      10,552,610 Bl* 2/2020 Vashisht ............... G06F 3/0619
   2007/0266433 Al    11/2007 Moore
   2008/0155223 Al* 6/2008 Hiltgen ............... G06F 21/6218
                                                                                         OTHER PUBLICATIONS
                                                             718/1
   2008/0263658 Al* 10/2008 Michael ................ G06F 21/562      Pandey, Anjali, and Shashank Srivastava. "An approach for virtual
                                                            726/22    machine image security." 2014 International Conference on Signal
   2009/0007100 Al     1/2009 Field                                   Propagation and Computer Technology (ICSPCT 2014). IEEE,
   2010/0070726 Al * 3/2010 Ngo .................... G06F 11/1469     2014. (Year: 2014).*
                                                           711/162    NPL Search Terms (Year: 2022).*
   2013/0262801 Al* 10/2013 Sancheti ............. H04L 67/1095
                                                                      U.S. Patent and Trademark Office, Non-final Office Action, dated
                                                           711/162
   2013/0268763 Al* 10/2013 Sweet ..................... G06F 21/56    Jul. 21, 2022, 24 pp. for U.S. Appl. No. 16/750,556 (filing date Jan.
                                                           713/176    23, 2020).
   2014/0137190 Al     5/2014 Carey et al.
   2014/0173723 Al     6/2014 Singla                                  * cited by examiner
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 4 of 207 PageID #: 731


  U.S. Patent         May 30, 2023         Sheet 1 of 4              US 11,663,031 B2




                                                               100
                                                               _)
                       User Console
                           180


                                                    External
                                                    systems
                                                      170




                                                                 Management
                                                                  Console
                                                                    150
                   Cloud Computing Platform
                            110




                                  FIG.1A
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 5 of 207 PageID #: 732


  U.S. Patent         May 30, 2023               Sheet 2 of 4   US 11,663,031 B2




                            Security System
                                  140




                                           115

                                   VM
                                  ii 9-1




                                                                        110




                                 F!G.1B
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 6 of 207 PageID #: 733


  U.S. Patent           May 30, 2023         Sheet 3 of 4             US 11,663,031 B2




                                           Start


                                            l                                S210
                Receive a request to scan a VM at rest for vulnerabilities


                                            l                                S220
              Determine a location of the virtual disk of the VM and its view


                                            J                                S230
                             Access a view of the VM at rest


                                            l                                S240
                                    Analyze the view


                                            l                                S250

                                 Report detected threats


                                            l                                S260
                                Trigger a mitigation action


                                  l
                               ( __
                                  End_)

                                          FIG. 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 7 of 207 PageID #: 734


  U.S. Patent         May 30, 2023       Sheet 4 of 4                    US 11,663,031 B2




                                                                         140



                                         r            ~

                   Memory                '-·          -~


                    320                        Storage
                                                330

                                         '--          _,,,
                                                      _




                                                 I
                                                                               l_ 360
                            Processing                       Network
                             Circuitry                       Interlace
                               310                             340




                                          FIG.3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 8 of 207 PageID #: 735


                                                      US 11,663,031 B2
                                1                                                                   2
       TECHNIQUES FOR SECURING VIRTUAL                               e.g., based on the volume of traffic. However, the monitor
      CLOUD ASSETS AT REST AGAINST CYBER                             can detect threats only based on the monitored traffic. For
                   THREATS                                           example, misconfiguration of the server may not be detected
                                                                     by the traffic monitor. As such, traffic monitoring would not
     This application is a continuation of U.S. application Ser. 5 allow for detection of vulnerabilities in software executed by
  No. 16/750,556, filed Jan. 23, 2020, now pending, which            the server.
  claims the benefit of U.S. Provisional Application No.                To overcome the limitations of traffic inspection solutions,
  62/797,718 filed on Jan. 28, 2019. Each of the above               some cyber-security solutions, such as vulnerability man-
  referenced applications are incorporated herein by reference       agement and security assessment solutions, are based on
  in its entirety.                                                10 agents installed in each server in a cloud computing platform
                                                                     or data center. Using agents is a cumbersome solution for a
                        TECHNICAL FIELD                              number of reasons, including IT resource management,
                                                                     governance, and performance. For example, installing
     This disclosure relates generally to cyber-security systems     agents in a large data center may take months.
  and, more specifically, to techniques for securing virtual 15         Further, traffic monitoring does not allow detection of
  machines.                                                          vulnerabilities in data at rest. Data at rest, in information
                                                                     technology, means inactive data that is stored physically in
                          BACKGROUND                                 any digital form. Data at rest may include data, services,
                                                                     and/or services that are inactive but can be accessed or
     Organizations have increasingly adapted their applica- 20 executed as needed. Similarly, in cloud computing, some
  tions to be run from multiple cloud computing platforms.           machines (e.g., virtual machines) may also be at rest. Some
  Some leading public cloud service providers include Ama-           machines are configured with applications or services which
  zon®, Microsoft®, Google®, and the like.                           are infrequently executed. For example, such a machine may
     Virtualization plays a key role in a cloud computing,           be utilized during one month of the year and remain inactive
  allowing multiple applications and users to share the same 25 for the rest in the year. While at rest, the machines are
  cloud computing infrastructure. For example, a cloud stor-         powered off, and are not inspected for vulnerabilities, simply
  age service can maintain data of multiple different users.         because scanners and/or installed monitoring agents cannot
     In one instance, virtualization can be achieved by means        operate on a powered-off machine.
  of virtual machines. A virtual machine emulates a number of           Another attempt would be to scan a machine at rest when
  "computers" or instances, all within a single physical device. 30 the machine is powered on and preserving a log of its latest
  In more detail, virtual machines provide the ability to            status. However, this would require keeping an updated log
  emulate a separate operating system (OS), also referred to as      of the machine's configurations and all its applications.
  a guest OS, and, therefore, a separate computer, from an           Further, as threats constantly evolve, scanning based on past
  existing OS (the host). This independent instance is typically     information may not be relevant. As such, when data or a
  isolated as a completely standalone environment.                35 machine at rest becomes active, undetected vulnerabilities
     Modem virtualization technologies are also adapted by           can pose cyber threats.
  cloud computing platforms. Examples for such technologies             It would therefore be advantageous to provide a security
  include virtual machines, software containers, and serverless      solution that would overcome the deficiencies noted above.
  functions. With their computing advantages, applications
  and virtual machines running on top of virtualization tech- 40                              SUMMARY
  nologies are also vulnerable to some cyber threats. For
  example, virtual machines can execute vulnerable software             A summary of several example embodiments of the
  applications or infected operating systems.                        disclosure follows. This summary is provided for the con-
     Protection of a cloud computing infrastructure, and, par-       venience of the reader to provide a basic understanding of
  ticularly, of virtual machines, can be achieved via inspection 45 such embodiments and does not wholly define the breadth of
  of traffic. Traditionally, traffic inspection is performed by a    the disclosure. This summary is not an extensive overview
  network device connected between a client and a server             of all contemplated embodiments, and is intended to neither
  (deployed in a cloud computing platform or a data center)          identify key or critical elements of all embodiments nor to
  hosting virtual machines. Traffic inspection may not provide       delineate the scope of any or all aspects. Its sole purpose is
  an accurate indication of the security status of the server due 50 to present some concepts of one or more embodiments in a
  to inherent limitations, such as encryption and whether the        simplified form as a prelude to the more detailed description
  necessary data is exposed in the communication.                    that is presented later. For convenience, the term "some
     Furthermore, inspection of computing infrastructure may         embodiments" or "certain embodiments" may be used
  be performed by a network scanner deployed out of path.            herein to refer to a single embodiment or multiple embodi-
  The scanner queries the server to determine if the server 55 ments of the disclosure.
  executes an application that possess a security threat, such as       Certain embodiments disclosed herein include a method
  vulnerability in the application. The disadvantage of such a       for securing virtual cloud assets at rest against cyber threats.
  scanner is that the server may not respond to all queries by       The method comprises determining a location of a view of
  the scanner or that the server may not expose the necessary        at least one virtual disk of a protected virtual cloud asset,
  data in the response. Further, the network scanner usually 60 wherein the virtual cloud asset is at rest and, when activated,
  communicates with the server, and the network configura-           instantiated in the cloud computing environment; accessing
  tion may prevent such communication. In addition, some             the view of the virtual disk based on the determined location;
  types of queries may require credentials to access the server.     analyzing the view of the protected virtual cloud asset to
  Such credentials may not be available to the scanner.              detect potential cyber threats risking the protected virtual
     Traffic inspection may also be performed by a traffic 65 cloud asset, wherein the virtual cloud asset is inactive during
  monitor that listens to traffic flows between clients and the      the analysis; and alerting detected potential cyber threats
  server. The traffic monitor can detect some cyber threats,         based on a determined priority.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 9 of 207 PageID #: 736


                                                      US 11,663,031 B2
                                3                                                                   4
     Certain embodiments disclosed herein also include a              embodiments may be operable in on-premises virtual
  system for securing virtual cloud assets at rest against cyber      machine environments. The network 120 may be the Inter-
  threats, comprising: a processing circuitry; and a memory,          net, the world-wide-web (WWW), a local area network
  the memory containing instructions that, when executed by           (LAN), a wide area network (WAN), and other networks.
  the processing circuitry, configure the system to: determine 5         The arrangement of the example cloud computing plat-
  a location of a view of at least one virtual disk of a protected    form 110 is shown in FIG. 1B. As illustrated, the platform
  virtual cloud asset, wherein the virtual cloud asset is at rest     110 includes a server 115 and a storage 117, serving as the
  and, when activated, instantiated in a cloud computing              storage space for the server 115. The server 115 is a physical
  environment; access the view of the virtual disk based on the       device hosting one or more virtual machines (VMs). In the
  determined location; analyze the view of the protected 10 example FIG. 1B, two VMs 119-1 and 119-2 are shown, and
  virtual cloud asset to detect potential cyber threats risking       both are protected entities. It should be noted that such a
  the protected virtual cloud asset, wherein the virtual cloud        protected entity may be any virtual cloud asset including, but
  asset is inactive during the analysis; and alert detected           not limited to, a software container, a micro-service, a
  potential cyber threats based on a determined priority.             serverless function, and the like. For the sake of the discus-
                                                                   15 sion and without limiting the scope of the disclosed embodi-
         BRIEF DESCRIPTION OF THE DRAWINGS                            ments, VM-119-1 is an active machine and VM 119-2 is a
                                                                      machine at rest. That is, VM 119-2 is mostly in an inactive
     The subject matter disclosed herein is particularly pointed      state (e.g., being execute a day in a month, a month in a year,
  out and distinctly claimed in the claims at the conclusion of       and remains inactive otherwise.
  the specification. The foregoing and other objects, features, 20       The storage 117 emulates virtual discs for the VMs 119-1
  and advantages of the disclosed embodiments will be appar-          and 119-2 executed in by the server 115. The storage 117 is
  ent from the following detailed description taken in con-           typically connected to the server 115 through a high-speed
  junction with the accompanying drawings.                            connection, such as optical fiber, allowing fast retrieval of
     FIGS. lA and 1B are network diagrams utilized to                 data. In other configurations, the storage 117 may be part of
  describe the various embodiments.                                25 the server 115. In this example, illustrated in FIG. 1B, a
     FIG. 2 is a flowchart illustrating a method detecting cyber      virtual disk 118-1 is allocated for the VM 119-1 and the
  threats, including potential vulnerabilities in virtual             virtual disk 118-2 is allocated for the VM 119-2. The server
  machines executed in a cloud computing platform according           115, and, hence, the VMs 119-1 and 119-2, may be executed
  to some embodiments.                                                in a client environment 130 within the platform 110.
     FIG. 3 is an example block diagram of the security system 30        The client environment 130 is an environment within the
  according to an embodiment.                                         cloud computing platform 110 utilized to execute cloud-
                                                                      hosted applications of the client. A client may belong to a
                   DETAILED DESCRIPTION                               specific tenant. In some example embodiments, the client
                                                                      environment 130 may be part of a virtualized environment
     It is important to note that the embodiments disclosed 35 or on-premises virtualization environment, such as a
  herein are only examples of the many advantageous uses of           VMware® based solution.
  the innovative teachings herein. In general, statements made           Also deployed in the cloud computing platform 110 is a
  in the specification of the present application do not neces-       security system 140 configured to perform the various
  sarily limit any of the various claimed embodiments. More-          disclosed embodiments. In some embodiments, the system
  over, some statements may apply to some inventive features 40 140 may be part of the client environment 130. In an
  but not to others. In general, unless otherwise indicated,          embodiment, the security system 140 may be realized as a
  singular elements may be in plural and vice versa with no           physical machine configured to execute a plurality of virtual
  loss of generality. In the drawings, like numerals refer to like    instances, such as, but not limited to virtual machines
  parts through several views.                                        executed by a host server. In yet another embodiment, the
     Various techniques disclosed herein include techniques 45 security system 140 may be realized as a virtual machine
  for securing data at rest or machines at rest (collectively         executed by a host server. Such a host server is a physical
  referred to as "machines at rest"). Data at rest may include        machine (device) and may be either the server 115, a
  inactive data that is stored physically in any digital form.        dedicated server, a different shared server, or another virtu-
  Machines at rest may include a virtual machine configured           alization-based computing entity, such as a serverless func-
  service(s) and/or application(s) that are inactive but can be 50 tion.
  accessed or executed as needed. The applications and/or                In an embodiment, the interface between the client envi-
  services in such machines at rest are infrequently executed.        ronment 130 and the security system 140 can be realized
  The disclosed techniques are utilized to scan for embedded          using APis or services provided by the cloud computing
  vulnerabilities in machines at rest, when the machine is            platform 110. For example, in AWS, a cross account policy
  powered off. For example, a machine at rest may be utilized 55 service can be utilized to allow interfacing the client envi-
  during one month of the year and remain inactive for the rest       ronment 130 with the security system 140.
  in the year. According to the disclosed embodiments, the               In the deployment, illustrated in FIGS. lA and 1B, the
  machine is scanned for vulnerabilities when it is in its            configuration of resources of the cloud computing platform
  inactive step.                                                      110 is performed by means of the management console 150.
     FIGS. lA and 1B show an example network diagram 100 60 As such, the management console 150 may be queried on the
  utilized to describe the various embodiments. A cloud com-          current deployment and settings of resources in the cloud
  puting platform 110 is communicably connected to a net-             computing platform 110. Specifically, the management con-
  work 120. Examples of the cloud computing platform 110              sole 150 may be queried, by the security system 140, about
  may include a public cloud, a private cloud, a hybrid cloud,        the location (e.g., virtual address) of the virtual disk 118-1
  and the like. Examples of a public cloud include, but are not 65 in the storage 117. The system 140 is configured to interface
  limited to, AWS® by Amazon®, Microsoft Azure®, Google               with the management console 150 through, for example, an
  Cloud®, and the like. In some configurations, the disclosed         APL
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 10 of 207 PageID #: 737


                                                     US 11,663,031 B2
                                5                                                                  6
     In some example embodiments, the security system 140                The view of the VM 119-2 is located and may be saved
  may further interface with the cloud computing platform 110         from the virtual disk 118-2 for access by the system 140. In
  and external systems 170. The external systems may include          an embodiment, the VM's 119-2 view may be copied to the
  intelligence systems, security information and event man-           system 140. If such a view does not exist, the system 140
  agement (STEM) systems, and mitigation tools. The exter- 5 may generate a query to create a new VM 119-2. The view
  nal intelligence systems may include common vulnerabili-            may be taken when the VM 119-2 is about to transition into
  ties and exposures (CVE®) databases, reputation services,           an inactive state or when the same VM 119-2 is at rest. It
  security systems (providing feeds on discovered threats),           should be noted that when the view is taken or copied, the
  and so on. The information provided by the intelligence             VM 119-2 may be at rest (i.e., inactive and powered off).
                                                                   10    It should be noted that the snapshots and/or views of the
  systems may detect certain known vulnerabilities identified
                                                                      virtual disk 118-1 and/or 118-2 may not necessarily be
  in, for example, a CVE database.
                                                                      stored in the storage 117, but, for ease of discussion, it is
     In an embodiment, the security system 140 is configured
                                                                      assumed that the snapshot is saved in the storage 117. It
  to detect vulnerabilities and other cyber threats related to the    should be further noted that the snapshots and/or views are
  execution VM 119-1. The detection is performed while the 15 accessed without cooperation of the guest, virtual OS of the
  VM 119-1 is live, without using any agent installed in the          virtual machine.
  server 115 or the VM 119-1, and without relying on coop-               The snapshot is parsed and analyzed by the security
  eration from the guest OS of the VM 119-1.                          system 140 to detect vulnerabilities. This analysis of the
     According to another embodiment, the security system             snapshot does not require any interaction and/or information
  140 is configured to detect vulnerabilities and other cyber 20 from the VM 119-1. As further demonstrated herein, the
  threats related to the execution VM 119-2. i.e., the machine        analysis of the snapshot by the system 140 does not require
  at rest. The detection is performed while the VM 119-2 is           any agent installed on the server 115 or VM 119-1.
  powered off.                                                           Further, the view is parsed and analyzed by the security
     In both embodiments, the security system 140 can scan            system 140 to detect vulnerabilities. This analysis of the
  and detect vulnerable software, non-secure configurations, 25 views does not require any interaction and/or information
  exploitation attempts, compromised assets, data leaks, data         from the VM 119-2. In fact, the VM 119-2 is in its inactive
  mining, and so on. The security system 140 may be further           state (at rest) during the analysis. As further demonstrated
  utilized to provide security services, such as incident             herein, the analysis of the view by the system 140 does not
  response, anti-ransomware, and cyber-insurance, by access-          require any agent installed on the server 115 or VM 119-2.
  ing the security posture.                                        30    Various techniques can be utilized to analyze the views
     In some embodiments, the security system 140 is config-          and snapshots, depending on the type of vulnerability and
  ured to query the cloud management console 150 for the              cyber threats to be detected. Following are some example
  address of the virtual disks 118-1 and 118-2, respectively          embodiments for techniques that may be implemented by
  serving the VM 119-1, VM 119-2, and a location of the               the security system 140.
  snapshot. A VM's snapshot is a copy of the machine's virtual 35        In an embodiment, the security system 140 is configured
  disk (or disk file) at a given point in time. Snapshots provide     to detect whether there is vulnerable code executed by the
  a change log for the virtual disk and are used to restore a VM      VMs 119-1 and 119-2. In an embodiment, the VM 119-2
  to a particular point in time when a failure error occurs.          being analyzed is shut down, being, therefore, at rest. The
  Typically, any data that was writable on a VM becomes               VM 119-1 may be rumiing or paused. In an embodiment, to
  read-only when the snapshot is taken. Multiple snapshots of 40 detect vulnerabilities existing in the VM 119-2, the security
  a VM can be created at multiple possible point-in-time              system 140 is configured to match installed application lists,
  restore points. When a VM reverts to a snapshot, current            with their respective versions, to a known list of vulnerable
  disk and memory states are deleted and the snapshot                 applications. Further, the security system 140 may be con-
  becomes the new parent snapshot for that VM.                        figured to match the application files, either directly, using
     In an embodiment, a view, or a materialized view, of the 45 binary comparison, or by computing a cryptographic hash
  virtual disk 118-2 associated with the VM 119-2 is accessed.        against database of files in vulnerable applications. The
  A view is a stored query that consumes limited-to-no space,         matching may be also on sub-modules of an application.
  consuming only the space required to store the text of the          Alternatively, the security system 140 may read installation
  query in the data dictionary. A materialized view is a both a       logs of package managers used to install the packages of the
  stored query and a segment. That is, a stored query is 50 application.
  executed, and the results are materialized into the segment.           In yet another embodiment, the security system 140 is
  For the sake of simplicity, but without limiting the scope of       configured to verify whether the vulnerability is relevant to
  the disclosed embodiments, the inspection of VM (VM                 the VM 119-2. For example, if there is a vulnerable version
  119-2) is based on a view stored in the virtual disk 118-2,         or module not in use, the priority of that issue is reduced
  while the inspection of the active (VM 119-1) is based on a 55 dramatically.
  snapshot stored in the virtual disk 118-1.                             To this end, the security system 140 may be configured to
     The snapshot of the VM 119-1 is located and may be               check the configuration files of the applications and oper-
  saved from the virtual disk 118-1 for access by the security        ating system of the VM 119-2 to verify access times to files
  system 140. In an embodiment, the VM's 119-1 snapshot               by the operating system and/or to analyze the application
  may be copied to the system 140. If such a snapshot does not 60 and/or system logs in order to deduce what applications and
  exist, the system 140 may take a new snapshot or request            modules are running.
  such an action. The snapshots may be taken on a predefined             In yet another embodiment, the security system 140 may
  schedule or upon predefined events (e.g., a network event or        instantiate a copy of the VM 119-2 and/or a subset of
  abnormal event). Further, the snapshots may be accessed or          applications of the VM 119-2 on the server 115 or a separate
  copied on a predefined schedule or upon predefined events. 65 server and monitor all activity performed by the instance of
  It should be noted that when the snapshot is taken or copied,       the VM. The execution of the instance of the VM is an
  the VM 119 still runs.                                              isolated sandbox, which can be a full VM or subset of it,
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 11 of 207 PageID #: 738


                                                      US 11,663,031 B2
                                7                                                                   8
  such as a software container (e.g., Docker® container) or            the VM 119-1 will be started later on. For the active VM
  another virtualized instance. The monitored activity may be          119-1 the mitigation actions may include blocking traffic
  further analyzed to determine abnormality. Such analysis             from untrusted networks, halting the operation of the VM,
  may include monitoring of API activity, process creation,            quarantining an infected VM, and the like. The mitigation
  file activity, network communication, registry changes, and 5 actions may be performed by a mitigation tool and not the
  active probing of said subset in order to assess its security        system 140.
  posture. This may include, but is not limited to, actively              It should be noted that the example implementation
  communicating with the VM 119-2 and using either legiti-             shown in FIG. 1 is described with respect to a single cloud
  mate communication and/or attack attempts to assess pos-             computing platform 110 hosting two VMs 119-1 and 119-2
  ture and, by that, deriving the security posture of the entire 10 in a single server 115, merely for simplicity purposes and
  VM 119-2.                                                            without limitation on the disclosed embodiments. Typically,
      In order to determine if the vulnerability is relevant to the    virtual machines are deployed and executed in a single cloud
  VM 119-2, the security system 140 is configured to analyze           computing platform, a virtualized environment, or data
  the machine memory, as reflected in the page file. The page          center and can be protected without departing from the
  file is saved in the snapshot and extends how much system- 15 scope of the disclosure. It should be further noted that the
  committed memory (also known as "virtual memory") a                  disclosed embodiments can operate using multiple security
  system can back. In an embodiment, analyzing the page file           systems 140, each of which may operate in a different client
  allows deduction of running applications and modules by the          environment.
  VM 119-2. It should be noted that analyzing pages would be              FIG. 2 shows an example flowchart 200 illustrating a
  available only when VM 119-2 hibernates.                          20 method for detecting cyber threats including potential vul-
      In yet another embodiment, the security system 140 is            nerabilities in virtual machines at rest, according to some
  configured to detect cyber threats that do not represent             embodiments. The method may be performed by the security
  vulnerabilities. For example, the security system 140 may            system 140.
  detect and alert on sensitive data not being encrypted on the           At S210, a request, for example, to scan a VM, at rest, for
  logical disk, private keys found on the disks, system ere- 25 vulnerabilities, is received. A VM at rest is a machine that is
  dentials stored clearly on the disk, risky application features      currently powered off, i.e., not in an operational state. A VM
  (e.g., support of weak cipher suites or authentication meth-         at rest is executed at predefined time period but remains
  ods), weak passwords, weak encryption schemes, a disabled            inactive (powered off) when not executed. The request,
  address space layout randomization (ASLR) feature, suspi-            received at S210, may be received, or otherwise triggered, at
  cious manipulation to a boot record, suspicious PATH, 30 every predefined time interval or upon detection of an
  LD_LIBRARY_PATH, or LD_PRELOAD definitions, ser-                     external event. An external event may be a preconfigured
  vices running on startup, and the like.                              event, such as a network event or abnormal event including,
      In an embodiment, the security system 140 may further            without limitation, requests to run the VM 119-2 not accord-
  monitor changes in sensitive machine areas, and alert on             ing to a schedule, access by an authorized user, and the like.
  unexpected changes, such as added or changed application 35 The request may at least designate an identifier of the VM
  files without installation. In an example embodiment, this           to be scanned.
  can be achieved by computing a cryptographic hash of the                At S220, a location of a view of the VM, at rest, to be
  sensitive areas in the virtual disk and checking for differ-         scanned is determined. In an embodiment, S220 may include
  ences over time.                                                     determining the virtual disk allocated for the VM, prior to
      In some embodiments, the detected cyber threats (includ- 40 determining the location of the view. As noted above, this
  ing vulnerabilities) are reported to a user console 180 and/or       can be achieved by querying a cloud management console.
  a security information and event management (SEM) system             In an embodiment, a snapshot of the VM, at rest, is accessed.
  (not shown). The reported cyber threats may be filtered or           At S230, a snapshot of the virtual disk is accessed, or
  prioritized based, in part, on their determined risk. Further,       otherwise copied.
  the reported cyber threats may be filtered or prioritized 45            At S240, the view is analyzed to detect cyber threats and
  based, in part, on the risk level of the machine. This also          potential vulnerabilities. S240 may also include detecting
  reduces the number of alerts reported to the user.                   cyber threats that do not represent vulnerabilities, Examples
      In an embodiment, any detected cyber threats related to          for cyber threats and vulnerabilities are provided above.
  sensitive data, including personally identifiable information,          In an embodiment, S240 may include comparing the view
  or PII, is reported at a higher priority. In an embodiment, 50 to some baseline, which may include, but is not limited to,
  such data is determined by searching for the PII, analyzing          a copy of the image used to create the VM, (e.g., lists of
  the application logs to determine whether the machine                applications, previous snapshots), cryptographic hashes
  accessed PH/PH-containing servers, or whether the logs               gathered in the previous scan, analyzing logs of the VMs,
  themselves contain PII, and searching the machine memory,            instantiating a copy of the VM and executing the instance or
  as reflected in the page file, for PII.                           55 applications executed by the VM in a sandbox, analyzing the
      In an embodiment, the security system 140 may deter-             machine memory, as reflected in the page file, or any
  mine the risk of the VM 119 based on communication with              combination of these techniques. Some example embodi-
  an untrusted network. This can be achieved by analyzing the          ments for analyzing the snapshots and the types of detected
  VM's 119-2 logs as saved in the virtual disk, and can be             vulnerabilities and threats are provided above.
  derived from the view.                                            60    At S250, the detected cyber threats and/or vulnerabilities
      In an example embodiment, the security system 140 may            are reported, for example, as alerts. In an embodiment, S250
  cause an execution of one or more mitigation actions.                may include filtering and prioritizing the reported alerts. In
  Examples for such actions may include disabling the VM               an embodiment, the prioritization is based, in part, on the
  119-2 from execution, updating the VM 119-2 with recent              risk level of a vulnerable machine. The filtering and priori-
  patches, and so on.                                               65 tizing allow for reduction of the number of alerts reported to
      The above examples for detecting vulnerabilities may be          the user. The filtering can be performed on external intelli-
  applicable also for a VM 119-1 and may be performed when             gence on the likelihood of this vulnerability being exploited,
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 12 of 207 PageID #: 739


                                                      US 11,663,031 B2
                                9                                                                   10
  analyzing the machine configuration in order to deduce the         thereof. Moreover, the software is preferably implemented
  vulnerability relevancy, and correlating the vulnerability         as an application program tangibly embodied on a program
  with the network location and by weighting the risk of this        storage unit or computer readable medium consisting of
  machine being taken over by the attacker by taking into            parts, or of certain devices and/or a combination of devices.
  consideration the criticality of the machine in the organiza- 5 The application program may be uploaded to, and executed
  tion based on the contents stored or on other assets acces-        by, a machine comprising any suitable architecture. Prefer-
  sible from the VM.                                                 ably, the machine is implemented on a computer platform
     At optional S260, a mitigation action may be triggered to       having hardware such as one or more central processing
  mitigate a detected threat or vulnerability. A mitigation          units ("CPUs"), a memory, and input/output interfaces. The
  action may be executed by a mitigation tool and triggered by 10 computer platform may also include an operating system
  the system 140. Such an action may include blocking traffic        and microinstruction code. The various processes and func-
  from untrusted networks, halting the operation of the VM,          tions described herein may be either part of the microin-
  quarantining an infected VM, preventing its launch and the         struction code or part of the application program, or any
  like.                                                              combination thereof, which may be executed by a CPU,
     FIG. 3 is an example block diagram of the security system 15 whether or not such a computer or processor is explicitly
  140 according to an embodiment. The security system 140            shown. In addition, various other peripheral units may be
  includes a processing circuitry 310 coupled to a memory            connected to the computer platform such as an additional
  320, a storage 330, and a network interface 340. In an             data storage unit and a printing unit. Furthermore, a non-
  embodiment, the components of the security system 140              transitory computer readable medium is any computer read-
  may be communicatively connected via a bus 360.                 20 able medium except for a transitory propagating signal.
     The processing circuitry 310 may be realized as one or             As used herein, the phrase "at least one of' followed by
  more hardware logic components and circuits. For example,          a listing of items means that any of the listed items can be
  and without limitation, illustrative types of hardware logic       utilized individually, or any combination of two or more of
  components that can be used include field programmable             the listed items can be utilized. For example, if a system is
  gate arrays (FPGAs), application-specific integrated circuits 25 described as including "at least one of A, B, and C," the
  (ASICs), application-specific standard products (ASSPs),           system can include A alone; B alone; C alone; A and B in
  system-on-a-chip systems (SOCs), general-purpose micro-            combination; Band C in combination; A and C in combi-
  processors, microcontrollers, digital signal processors            nation; or A, B, and C in combination.
  (DSPs ), and the like, or any other hardware logic compo-             All examples and conditional language recited herein are
  nents that can perform calculations or other manipulations of 30 intended for pedagogical purposes to aid the reader in
  information.                                                       understanding the principles of the disclosed embodiment
     The memory 320 may be volatile (e.g., RAM, etc.),               and the concepts contributed by the inventor to furthering
  non-volatile (e.g., ROM, flash memory, etc.), or a combi-          the art, and are to be construed as being without limitation
  nation thereof. In one configuration, computer readable            to such specifically recited examples and conditions. More-
  instructions to implement one or more embodiments dis- 35 over, all statements herein reciting principles, aspects, and
  closed herein may be stored in the storage 330.                    embodiments of the disclosed embodiments, as well as
     In another embodiment, the memory 320 is configured to          specific examples thereof, are intended to encompass both
  store software. Software shall be construed broadly to mean        structural and functional equivalents thereof. Additionally, it
  any type of instructions, whether referred to as software,         is intended that such equivalents include both currently
  firmware, middleware, microcode, hardware description 40 known equivalents as well as equivalents developed in the
  language, or otherwise. Instructions may include code (e.g.,       future, i.e., any elements developed that perform the same
  in source code format, binary code format, executable code         function, regardless of structure.
  format, or any other suitable format of code). The instruc-           What is claimed is:
  tions, when executed by the one or more processors, cause             1. A system for inspecting data, the system comprising: at
  the processing circuitry 310 to perform the various processes 45 least one processor configured to:
  described herein. Specifically, the instructions, when                establish an interface between a client environment and
  executed, cause the processing circuitry 310 to determine                security components;
  over-privileged role vulnerabilities in serverless functions.         using the interface, utilize cloud computing platform APis
     The storage 330 may be magnetic storage, optical storage,             to identify virtual disks of a virtual machine in the
  and the like, and may be realized, for example, as flash 50              client environment;
  memory or as another other memory technology, as CD-                  use the computing platform APis to query a location of at
  ROMs, Digital Versatile Disks (DVDs), hard-drives, SSDs,                 least one of the identified virtual disks;
  or any other medium which can be used to store the desired            receive an identification of the location of the virtual disks
  information. The storage 330 may store communication                     of the virtual machine;
  consumption patterns associated with one or more commu- 55            perform at least one of: (i) taking at least one snapshot,
  nications devices.                                                       and (ii) requesting taking at least one snapshot of the
     The network interface 340 allows the security system 140              virtual machine at rest, wherein the at least one snap-
  to communicate with the external systems, such as intelli-               shot represents a copy of the virtual disks of the virtual
  gence systems, SIEM systems, mitigation systems, a cloud                 machine at a point in time;
  management console, a user console, and the like.               60    analyze the at least one snapshot to detect vulnerabilities,
     It should be understood that the embodiments described                wherein during the detection of the vulnerabilities by
  herein are not limited to the specific architecture illustrated          analyzing the at least one snapshot, the virtual machine
  in FIG. 3, and other architectures may be equally used                   is inactive; and
  without departing from the scope of the disclosed embodi-             report the detected vulnerabilities as alerts.
  ments.                                                          65    2. The system of claim 1, wherein reporting the detected
     The various embodiments disclosed herein can be imple-          vulnerabilities as alerts includes indicating priority levels
  mented as hardware, firmware, software, or any combination         associated with the detected vulnerabilities.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 13 of 207 PageID #: 740


                                                      US 11,663,031 B2
                                11                                                                    12
    3. The system of claim 1, wherein the at least one                detected vulnerabilities based on priority levels associated
  processor is further configured to implement a remedial             with the detected vulnerabilities.
  action for at least one of the detected vulnerabilities.               11. The method of claim 9, further comprising imple-
     4. The system of claim 1, wherein the identification of the      menting a remedial action for at least one of the detected
  location of the virtual disks of the virtual machine includes 5 vulnerabilities.
  a virtual address of at least one of the virtual disks.                12. The method of claim 9, wherein the identification of
     5. The system of claim 1, wherein the at least one               the location of the virtual disks of the virtual machine
  snapshot includes a change log of at least one of the virtual       includes a virtual address ofat least one of the virtual disks.
  disks configured to restore the virtual machine to a particular        13. The method of claim 9, wherein the at least one
  point in time.                                                   10
                                                                      snapshot includes a change log of at least one of the virtual
     6. The system of claim 1, wherein the snapshot includes
                                                                      disks configured to restore the virtual machine to a particular
  a page file of memory associated with the virtual machine
                                                                      point in time.
  the page file being configured to allow deduction of one o;
  more applications running on the virtual machine.                      14. The method of claim 9, wherein the snapshot includes
     7. The system of claim 1, wherein the at least one 15
                                                                      a page file of memory associated with the virtual machine
  snapshot includes a plurality of snapshots, and the at least        the page file being configured to allow deduction of one o;
  one processor is configured to generate the plurality of            more applications running on the virtual machine.
  snapshots according to a predetermined schedule.                       15. The method of claim 9, wherein the at least one
     8. The system of claim 1, wherein the at least one
                                                                      snapshot includes a plurality of snapshots and wherein the
  ~rocessor is configured to generate the at least one snapshot 20 method further includes generating the plurality of snapshots
  m response to a predetermined trigger event.                        based on a predetermined schedule.
     9. A computer-implemented method for inspecting data,
                                                                         16. A non-transitory computer-readable medium storing
  the method comprising:                                              instructions, which, when executed by at least one processor,
     establishing an interface between a client environment           cause a computing device to:
        and security components;                                   25
                                                                         establish an interface between a client environment and
     using the interface to utilize cloud computing platform                security components;
        APis to identify virtual disks of a virtual machine in the       using the interface, utilize cloud computing platform APis
        client environment;                                                 to identify virtual disks of a virtual machine in the
     using the computing platform APis to query a location of               client environment;
        at least one of the identified virtual disks·              30
                                                                         use the computing platform APis to query a location of at
                                                                            least one of the identified virtual disks·
     receiving an identification of the location ~f the virtual
                                                                         receive an identification of the location of ;he virtual disks
        disks of the virtual machine;
     emulating the virtual disks for the virtual machine·                   of the virtual machine;
                                                                         emulate the virtual disks for the virtual machine·
     performing at least one of: (i) taking at least one sna~shot,
        and (ii) requesting taking at least one snapshot of the 35       perform at least one of: (i) taking at least one s~apshot,
        virtual machine at rest, wherein the at least one snap-             and (ii) requesting taking at least one snapshot of the
        shot represents a copy of the virtual disks of the virtual          virtual machine at rest, wherein the at least one snap-
        machine at a point in time;                                         shot represents a copy of the virtual disks of the virtual
     analyzing the at least one snapshot to detect vulnerabili-             machine at a point in time;
        ties, wherein during the detection of the vulnerabilities 40     analyze the at least one snapshot to detect vulnerabilities
        by analyzing the at least one snapshot, the virtual                 wherein during the detection of the vulnerabilities b;
        machine is inactive; and                                            analyzing the at least one snapshot, the virtual machine
     reporting the detected vulnerabilities as alerts.                      is inactive; and
     10. The method of claim 9, wherein reporting the detected
                                                                         report the detected vulnerabilities as alerts.
  vulnerabilities as alerts includes providing indications of the                             *   *   *    *   *
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 14 of 207 PageID #: 741




                   EXHIBIT 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 15 of 207 PageID #: 742
                                                                               I 1111111111111111 1111111111 111111111111111 IIIII 1111111111111111 IIII IIII IIII
                                                                                                                              US011663032B2


  c12)   United States Patent                                                                (IO) Patent No.:                          US 11,663,032 B2
         Shua                                                                                (45) Date of Patent:                                *May 30, 2023

  (54)   TECHNIQUES FOR SECURING VIRTUAL                                                                        H04L 63/1441 (2013.01); G06F 2009/45562
         MACHINES BY APPLICATION USE                                                                          (2013.01); G06F 2009/45583 (2013.01); G06F
         ANALYSIS                                                                                                                    2009/45587 (2013.01);
                                                                                                                         (Continued)
  (71)   Applicant: Orea Security Ltd., Tel Aviv (IL)
                                                                                        (58)        Field of Classification Search
  (72)   Inventor:    Avi Shua, Tel Aviv (IL)                                                       None
                                                                                                    See application file for complete search history.
  (73)   Assignee: Orea Security Ltd., Tei Aviv (IL)

  ( *)   Notice:      Subject to any disclaimer, the term ofthis                        (56)                                  References Cited
                      patent is extended or adjusted under 35                                                      U.S. PATENT DOCUMENTS
                      U.S.C. 154(b) by O days.
                                                                                                 9,069,983 Bl                   6/2015 Nijjar
                      This patent is subject to a terminal dis-                                  9,177,145 B2                  11/2015 Todorovic
                      claimer.                                                                   9,229,758 B2                   1/2016 Ammons et al.
                                                                                                                                 (Continued)
  (21)   Appl. No.: 18/055,150

  (22)   Filed:       Nov. 14, 2022                                                                                      OTHER PUBLICATIONS

                                                                                        Rani et al.; "An Efficient Approach to Forensic Investigation in
  (65)                  Prior Publication Data
                                                                                        Cloud using VM Snapshots", 2015 International Conference on
         US 2023/0089313 Al           Mar. 23, 2023                                     Pervasive Computing (ICPC), 5 pages, (2015).
                                                                                                                                 (Continued)
                  Related U.S. Application Data
  (63)   Continuation of application No. 17/330,998, filed on                           Primary Examiner - Joseph P Hirl
         May 26, 2021, now Pat. No. 11,516,231, which is a                              Assistant Examiner - Hassan Saadoun
         continuation of application No. 16/585,967, filed on                           (74) Attorney, Agent, or Firm - Finnegan, Henderson,
         Sep. 27, 2019, now Pat. No. 11,431,735.
                                                                                        Farabow, Garrett & Dunner, L.L.P.

  (60)   Provisional application No. 62/797,718, filed on Jan.
         28, 2019.                                                                      (57)                                    ABSTRACT

                                                                                        A system and method for securing virtual cloud assets in a
  (51)   Int. Cl.
         H04L 9/40              (2022.01)                                               cloud computing environment against cyber threats. The
         G06F 9/455             (2018.01)                                               method includes: determining a location of a snapshot of at
         G06F 16111             (2019.01)                                               least one virtual disk of a protected virtual cloud asset,
         G06F 11114             (2006.01)                                               wherein the virtual cloud asset is instantiated in the cloud
  (52)   U.S. Cl.                                                                       computing environment; accessing the snapshot of the vir-
         CPC ...... H04L 63/1416 (2013.01); G06F 9/45558                                tual disk based on the determined location; analyzing the
                   (2013.01); G06F 1111464 (2013.01); G06F                              snapshot of the protected virtual cloud asset to detect
                  161128 (2019.01); H04L 63/1433 (2013.01);                                                    (Continued)

                                                                                                      (200
                                                                                Start

                                                                                                                       8210
                                                    Receive a request to scan a VM for vulnerabilities

                                                                                                                       S220
                                                 Determine a location of the virtual disk of the VM and its snapshot


                                                                                                                       S230
                                                              Access a snapshot of virtual disk

                                                                                                                       $240

                                                                     Analyze the snapshot

                                                                                                                       S250

                                                                    Report detected threats

                                                                                                                       S260

                                                                  Trigger a mitigation action



                                                                                End
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 16 of 207 PageID #: 743


                                                          US 11,663,032 B2
                                                                     Page 2


  potential cyber threats risking the protected virtual cloud                 2018/0255080 Al     9/2018 Paine
  asset; and alerting detected potential cyber threats based on               2018/0293374 Al    10/2018 Chen
                                                                              2020/0042707 Al     2/2020 Kucherov et al.
  a determined priority.

                                                                                            OTHER PUBLICATIONS
                25 Claims, 4 Drawing Sheets
                                                                          Wei et al., "Managing Security of Virtual Machine Images in a
                                                                          Cloud Environment", CCSW'09, pp. 91-96, Nov. 13, 2009.
                                                                          Almulla et al., "Digital Forensic of a Cloud Based Snapshot", The
                                                                          Sixth International Conference on Innovative Computing Technol-
  (52)   U.S. Cl.                                                         ogy (INTECH 2016), pp. 724-729, (2016).
         CPC             G06F 2009/45591 (2013.01); G06F                  Pandey et al., "An Approach for Virtual Machine Image Security",
                       2009/45595 (2013.01); G06F 2201/84                 Computer Science and Engineering MNNIT, Allahabad, 2014 Inter-
                                                (2013.01)                 national Conference on Signal Propagation and Computer Technol-
                                                                          ogy (ICSPCT), pp. 616-623, (2014).
                                                                          Rajasekaran et al., "Scalable Cloud Security via Asynchronous
  (56)                 References Cited                                   Virtual Machine Introspection", 8th USENIX Workshop on Hot
                                                                          Topics in Cloud Computing, Cover page and pp. 1-6, (2016).
                U.S. PATENT DOCUMENTS                                     Kaur et al., "Secure VM Backup and Vulnerability Removal in
                                                                          Infrastructure Clouds", 2014 International Conference on Advances
       9,268,689 Bl     2/2016   Chen et al.                              in Computing, Communications and Informatics (ICACCI), pp.
       9,519,781 B2    12/2016   Golshan et al.                           1217-1226, (2014).
       9,563,777 B2     2/2017   Deng et al.                              Fernandez et al., "Two patterns for cloud computing: Secure Virtual
       9,734,325 Bl     8/2017   Neumann et al.                           Machine Image Repository and Cloud Policy Management Point",
       9,756,070 Bl     9/2017   Crowell et al.                           PLoP '13: Proceedings of the 20th Conference on Pattern Lan-
       9,798,885 B2    10/2017   Deng et al.                              guages of Programs Oct. 2013 Article No. 15, Association for
       9,858,105 Bl     1/2018   Upadhyay et al.                          Computing Machinery (ACM), Cover sheet and pp. 1-11, (2013).
      10,079,842 Bl     9/2018   Brandwine et al.                         Fernandez et al. "Building a security reference architecture for
      10,402,560 B2     9/2019   Gilbert                                  cloud systems", Springer, Requirements Eng, vol. 21, pp. 225-249,
      10,412,109 B2     9/2019   Loureiro et al.                          (2016).
      10,469,304 Bl    11/2019   Kempe et al.                             Ammons et al., "Virtual machine images as structured data: the
      10,534,915 B2     1/2020   Cherny et al.                            Mirage image library", IBM Research, Cover sheet 2 pages and pp.
      10,536,471 Bl*    1/2020   Derbeko ................. G06F 21/53     1-6, (2011 ).
      10,782,952 Bl     9/2020   Doring et al.                            "IBM Point ofView Security and Cloud Computing", IBM SmartCloud
      10,944,778 Bl*    3/2021   Golan ................. H04L 63/1491     Enterprise, Cloud Computing White Paper, 13 sheets of cover pages
      11,068,353 Bl*    7/2021   Ved ..................... G06F 9/45558   and pp. 1-20, (2009).
      11,120,124 B2     9/2021   Fusenig et al.                           Cui et al., "A Less Resource-Consumed Security Architecture on
      11,216,563 Bl     1/2022   Veselov et al.                           Cloud Platform", Wuhan University Journal of Natural Sciences,
      11,431,735 B2     8/2022   Shua                                     vol. 21, No. 5, pp. 407-414, (2016).
      11,516,231 B2    11/2022   Shua                                     Bugiel et al., "AmazonIA: When Elasticity Snaps Back", CCS' 11,
   2007/0266433 Al     11/2007   Moore
                                                                          ACM, pp. 389-400, (2011).
   2008/0189788 Al      8/2008   Bahl
   2008/0263658 Al     10/2008   Michael et al.                           Non-Final Office Action U.S. Appl. No. 16/585,967 dated Feb. 3,
   2009/0007100 Al      1/2009   Field et al.                             2022, in the United States Patent and Trademark Office.
   2010/0017512 Al      1/2010   Ciano et al.                             Notice of Allowance U.S. Appl. No. 16/585,967 dated Jul. 7, 2022,
   2011/0289584 Al     11/2011   Palagummi                                in the United States Patent and Trademark Office.
   2012/0323853 Al     12/2012   Fries et al.                             Non-Final Office Action U.S. Appl. No. 17/330,998 dated Mar. 4,
   2013/0191643 Al*     7/2013   Song ..................... H04L 9/3265   2022, in the United States Patent and Trademark Office.
                                                                713/176   Final Office Action U.S. Appl. No. 17/330,998 dated Jun. 30, 2022,
   2014/0096135 Al      4/2014   Kundu et al.                             in the United States Patent and Trademark Office.
   2014/0137190 Al      5/2014   Careyetal.                               Notice of Allowance U.S. Appl. No. 17/330,998 dated Aug. 10,
   2015/0052520 Al      2/2015   Crowell et al.                           2022, in the United States Patent and Trademark Office.
   2016/0004449 Al *    1/2016   Lakshman ............ G06F 3/0604        Non-Final Office Action U.S. Appl. No. 17/361,861 dated Aug. 29,
                                                                711/162   2022, in the United States Patent and Trademark Office.
   2016/0094568 Al *    3/2016   Balasubrarnanian
                                                                          Advisory Action U.S. Appl. No. 17/361,861 dated May 20, 2022, in
                                                           G06F 9/45558
                                                                          the United States Patent and Trademark Office.
                                                                 726/23
                                                                          Final Office Action U.S. Appl. No. 17/361,861 dated Mar. 8, 2022,
   2016/0364255 Al  12/2016      Chefalas et al.
   2017/0011138 Al   1/2017      Venkatesh et al.                         in the United States Patent and Trademark Office.
   2017/0031704 Al   2/2017      Sudhakaran et al.                        Non-Final Office Action U.S. Appl. No. 17/361,861 dated Oct. 25,
   2017/0103212 Al* 4/2017       Deng .................... G06F 3/0619    2021, in the United States Patent and Trademark Office.
   2017/0111384 Al   4/2017      Loureiro et al.
   2018/0137032 Al   5/2018      Tannous et al.                           * cited by examiner
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 17 of 207 PageID #: 744


  U.S. Patent         May 30, 2023          Sheet 1 of 4              US 11,663,032 B2




                                                                100
                                                                _/
                       User Console
                            180



                                                     External




                                                                  Management
                                                                   Console
                                                                     150
                   Cloud Computing Platform
                            110




                                  FIG. 1A
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 18 of 207 PageID #: 745


  U.S. Patent         May 30, 2023       Sheet 2 of 4             US 11,663,032 B2




                               Security System
                                     140                \
                                                            130                110




                                     FIG. 18
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 19 of 207 PageID #: 746


  U.S. Patent            May 30, 2023           Sheet 3 of 4                US 11,663,032 B2




                                                                           200
                                              Start                 1
                                               l                                     S210
                  Receive a request to scan a VM for vulnerabilities


                                               l                                     S220
               Determine a location of the virtual disk of the VM and its snapshot


                                               l                                     S230
                            Access a snapshot of virtual disk


                                               l                                     S240
                                   Analyze the snapshot


                                               l                                     S250

                                  Report detected threats


                                               l                                     S260
                                Trigger a mitigation action




                                 ( __
                                    End_)




                                             FIG. 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 20 of 207 PageID #: 747


  U.S. Patent         May 30, 2023        Sheet 4 of 4                         US 11,663,032 B2




                                                                               140




                                          r             -....___

                                          '---
                                                        _,,,
                    Memory
                     320                         Storage
                                                  330

                                          '--           ~

                                                   I
                                                                                     l_ 360
                             Processing                            Network
                              Circuitry                            Interface
                                310                                   340




                                           FIG. 3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 21 of 207 PageID #: 748


                                                      US 11,663,032 B2
                                1                                                                   2
       TECHNIQUES FOR SECURING VIRTUAL                                 Traffic inspection may also be performed by a traffic
         MACHINES BY APPLICATION USE                                monitor that listens to traffic flows between clients and the
                  ANALYSIS                                          server. The traffic monitor can detect some cyber threats,
                                                                    e.g., based on the volume of traffic. However, the monitor
     This application is a continuation of U.S. application Ser. 5 can detect threats only based on the monitored traffic. For
  No. 17/330,998 (now allowed), filed May 26, 2021, which           example, misconfiguration of the server may not be detected
  is a continuation of U.S. application Ser. No. 16/585,967         by the traffic monitor. As such, traffic monitoring would not
  (now U.S. Pat. No. 11,431,735), filed Sep. 27, 2019, which        allow detection of vulnerabilities in software executed by
  claims the benefit of U.S. Provisional Application No.            the server.
  62/797,718 filed on Jan. 28, 2019, the contents of each of
                                                                 10    To overcome the limitations of traffic inspection solutions,
  which are hereby incorporated by reference in their entire-       some cyber-security solutions, such as vulnerability man-
                                                                    agement and security assessment solutions are based on
  ties.
                                                                    agents installed in each server in a cloud computing platform
                      TECHNICAL FIELD                               or data center. Using agents is a cumbersome solution for a
                                                                 15 number of reasons, including IT resources management,
                                                                    governance, and performance. For example, installing
     This disclosure relates generally to cyber-security systems
                                                                    agents in a large data center may take months.
  and, more specifically, to techniques for securing virtual
                                                                       It would therefore be advantageous to provide a security
  machines.                                                         solution that would overcome the deficiencies noted above.
                                                                  20
                        BACKGROUND                                                            SUMMARY

     Organizations have increasingly adapted their applica-             A summary of several example embodiments of the
  tions to be run from multiple cloud computing platforms.           disclosure follows. This summary is provided for the con-
  Some leading public cloud service providers include Arna- 25 venience of the reader to provide a basic understanding of
  zon®, Microsoft®, Google®, and the like.                           such embodiments and does not wholly define the breadth of
     Virtualization is a key role in a cloud computing, allowing     the disclosure. This summary is not an extensive overview
  multiple applications and users to share the same cloud            of all contemplated embodiments, and is intended to neither
  computing infrastructure. For example, a cloud storage             identify key or critical elements of all embodiments nor to
  service can maintain data of multiple different users.          30 delineate the scope of any or all aspects. Its sole purpose is
     In one instance, virtualization can be achieved by means        to present some concepts of one or more embodiments in a
  of virtual machines. A virtual machine emulates a number of        simplified form as a prelude to the more detailed description
  "computers" or instances, all within a single physical device.     that is presented later. For convenience, the term "some
  In more detail, virtual machines provide the ability to            embodiments" or "certain embodiments" may be used
  emulate a separate operating system (OS), also referred to as 35 herein to refer to a single embodiment or multiple embodi-
  a guest OS, and therefore a separate computer, from an             ments of the disclosure.
  existing OS (the host). This independent instance is typically        Certain embodiments disclosed herein include a method
  isolated as a completely standalone environment.                   for securing virtual cloud assets in a cloud computing
     Modem virtualization technologies are also adapted by           environment against cyber threats, comprising: determining
  cloud computing platforms. Examples for such technologies 40 a location of a snapshot of at least one virtual disk of a
  include virtual machines, software containers, and serverless      protected virtual cloud asset, wherein the virtual cloud asset
  functions. With their computing advantages, applications           is instantiated in the cloud computing environment; access-
  and virtual machines running on top of virtualization tech-        ing the snapshot of the virtual disk based on the determined
  nologies are also vulnerable to some cyber threats. For            location; analyzing the snapshot of the protected virtual
  example, virtual machines can execute vulnerable software 45 cloud asset to detect potential cyber threats risking the
  applications or infected operating systems.                        protected virtual cloud asset; and alerting detected potential
     Protection of a cloud computing infrastructure, and par-        cyber threats based on a determined priority.
  ticularly of virtual machines can be achieved via inspection          Certain embodiments disclosed herein also include a
  of traffic. Traditionally, traffic inspection is performed by a    non-transitory computer readable medium having stored
  network device connected between a client and a server 50 thereon instructions for causing a processing circuitry to
  (deployed in a cloud computing platform or a data center)          execute a process, the process comprising: determining a
  hosting virtual machines. Traffic inspection may not provide       location of a snapshot of at least one virtual disk of a
  an accurate indication of the security status of the server due    protected virtual cloud asset, wherein the virtual cloud asset
  to inherent limitations, such as encryption and whether the        is instantiated in the cloud computing environment; access-
  necessary data is exposed in the communication.                 55 ing the snapshot of the virtual disk based on the determined
     Furthermore, inspection of computing infrastructure may         location; analyzing the snapshot of the protected virtual
  be performed by a network scanner deployed out of path.            cloud asset to detect potential cyber threats risking the
  The scanner queries the server to determine if the server          protected virtual cloud asset; and alerting detected potential
  executes an application that possess a security threat, such as    cyber threats based on a determined priority.
  vulnerability in the application. The disadvantage of such a 60       Certain embodiments disclosed herein also include a
  scanner is that the server may not respond to all queries by       system for securing virtual cloud assets in a cloud comput-
  the scanner, or not expose the necessary data in the response.     ing environment against cyber threats, comprising: a pro-
  Further, the network scanner usually communicates with the         cessing circuitry; and a memory, the memory containing
  server, and the network configuration may prevent it. In           instructions that, when executed by the processing circuitry,
  addition, some types of queries may require credentials to 65 configure the system to: determine a location of a snapshot
  access the server. Such credentials may not be available to        of at least one virtual disk of a protected virtual cloud asset,
  the scanner.                                                       wherein the virtual cloud asset is instantiated in the cloud
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 22 of 207 PageID #: 749


                                                      US 11,663,032 B2
                                 3                                                                    4
  computing environment; access the snapshot of the virtual           environment 130 may be part of a virtualized environment
  disk based on the determined location; analyze the snapshot         or on-premises virtualization environment, such as a
  of the protected virtual cloud asset to detect potential cyber      VMware® based solution.
  threats risking the protected virtual cloud asset; and alert           Also deployed in the cloud computing platform 110 is a
  detected potential cyber threats based on a determined           5 security system 140 configured to perform the various
  priority.                                                           disclosed embodiments. In some embodiments, the system
                                                                      140 may be part of the client environment 130. In an
         BRIEF DESCRIPTION OF THE DRAWINGS                            embodiment, the security system 140 may be realized as a
                                                                      physical machine configured to execute a plurality of virtual
     The foregoing and other objects, features, and advantages 10 instances, such as, but not limited to virtual machines
  of the disclosed embodiments will be apparent from the              executed by a host server. In yet another embodiment, the
  following detailed description taken in conjunction with the        security system 140 may be realized as a virtual machine
  accompanying drawings.                                              executed by a host server. Such a host server is a physical
     FIGS. lA and 1B are network diagrams utilized to                 machine (device) and may be either the server 115, a
  describe the various embodiments.                                15 dedicated server, a different shared server, or another virtu-
     FIG. 2 is a flowchart illustrating a method detecting cyber      alization-based computing entity, such as a serverless func-
  threats, including potential vulnerabilities in virtual             tion.
  machines executed in a cloud computing platform according              In an embodiment, the interface between the client envi-
  to some embodiments.                                                ronment 130 and the security system 140 can be realized
     FIG. 3 is an example block diagram of the security system 20 using APis or services provided by the cloud computing
  according to an embodiment.                                         platform 110. For example, in AWS, a cross account policy
                                                                      service can be utilized to allow interfacing the client envi-
                   DETAILED DESCRIPTION                               ronment 130 with the security system 140.
                                                                         In the deployment, illustrated in FIG. 1, the configuration
     It is important to note that the embodiments disclosed 25 of resources of the cloud computing platform 110 is per-
  herein are only examples of the many advantageous uses of           formed by means of the management console 150. As such,
  the innovative teachings herein. In general, statements made        the management console 150 may be queried on the current
  in the specification of the present application do not neces-       deployment and settings of resources in the cloud computing
  sarily limit any of the various claimed embodiments. More-          platform 110. Specifically, the management console 150
  over, some statements may apply to some inventive features 30 may be queried, by the security system 140, about as the
  but not to others. In general, unless otherwise indicated,          location (e.g., virtual address) of the virtual disk 118-1 in the
  singular elements may be in plural and vice versa with no           storage 117. The system 140 is configured to interface with
  loss of generality. In the drawings, like numerals refer to like    the management console 150 through, for example, an APL
  parts through several views.                                           In some example embodiments, the security system 140
     FIGS. lA and 1B show an example network diagram 100 35 may further interface with the cloud computing platform 110
  utilized to describe the various embodiments. A cloud com-          and external systems 170. The external systems may include
  puting platform 110 is communicably connected to a net-             intelligence systems, security information and event man-
  work 120. Examples of the cloud computing platform 110              agement (SIEM) systems, and mitigation tools. The external
  may include a public cloud, a private cloud, a hybrid cloud,        intelligence systems may include common vulnerabilities
  and the like. Examples for a public cloud, but are not limited 40 and exposures (CVE®) databases, reputation services, secu-
  to, AWS® by Amazon®, Microsoft Azure®, Google                       rity systems (providing feeds on discovered threats), and so
  Cloud®, and the like. In some configurations, the disclosed         on. The information provided by the intelligence systems
  embodiments operable in on premise virtual machines envi-           may detect certain known vulnerabilities identified in, for
  ronments. The network 120 may be the Internet, the world-           example, a CVE database.
  wide-web (WWW), a local area network (LAN), a wide area 45             According to the disclosed embodiments, the security
  network (WAN), and other networks.                                  system 140 is configured to detect vulnerabilities and other
     The arrangement of the example cloud computing plat-             cyberthreats related to the execution VM 119. The detection
  form 110 is shown in FIG. 1B. As illustrated, the platform          is performed while the VM 119 is live, without using any
  110 includes a server 115 and a storage 117, serving as the         agent installed in the server 115 or the VM 119, and without
  storage space for the server 115. The server 115 is a physical 50 relying on cooperation from VM 119 guest OS. Specifically,
  device hosting at least one virtual machine (VM) 119. The           the security system 140 can scan and detect vulnerable
  VM 119 is a protected VM, which may be any virtual cloud            software, non-secure configuration, exploitation attempts,
  asset including, but not limited to, a software container, a        compromised asserts, data leaks, data mining, and so on. The
  micro-service, a serverless function, and the like.                 security system 140 may be further utilized to provide
     The storage 117 emulates virtual discs for the VMs 55 security services, such as incident response, anti-ransom-
  executed in by the server 115. The storage 117 is typically         ware, and cyber insurance by accessing the security posture.
  connected to the server 115 through a high-speed connec-               In some embodiments, the security system 140 is config-
  tion, such as optic fiber allowing fast retrieval of data. In       ured to query the cloud management console 150 for the
  other configurations, the storage 117 may be part of the            address of the virtual disk 118-1 serving the VM 119 and a
  server 115. In this example illustrated in FIG. 1B, virtual 60 location of the snapshot. A VM' s snapshot is a copy of the
  disk 118-1 is allocated for the VM 119. The server 115, and         machine's virtual disk (or disk file) at a given point in time.
  hence the VM 119, may be executed in a client environment           Snapshots provide a change log for the virtual disk and are
  130 within the platform 110.                                        used to restore a VM to a particular point in time when a
     The client environment 130 is an environment within the          failure error occurs. Typically, any data that was writable on
  cloud computing platform 110 utilized to execute cloud- 65 a VM becomes read-only when the snapshot is taken.
  hosted applications of the client. A client may belong to a         Multiple snapshots of a VM can be created at multiple
  specific tenant. In some example embodiment, the client             possible point-in-time restore points. When a VM reverts to
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 23 of 207 PageID #: 750


                                                      US 11,663,032 B2
                                5                                                                   6
  a snapshot, current disk and memory states are deleted and         actively communicating with the VM 119, using either
  the snapshot becomes the new parent snapshot for that VM.          legitimate communicate and/or attack attempts, to assess its
     The snapshot of the VM 119 is located and may be saved          posture and by that deriving the security posture of the entire
  from the virtual disk 118-1 is accessed by the system 140. In      VM 119.
  an embodiment, the VM' s 119 snapshot may be copied to the 5          In order to determine if the vulnerability is relevant to the
  system 140. If such a snapshot does not exist, the system 140      VM 119, the security system 140 is configured to analyze the
  may take a new snapshot, or request such an action. The            machine memory, as reflected in the page file. The page file
  snapshots may be taken at a predefined schedule or upon            is saved in the snapshot and extends how much system-
  predefined events (e.g., a network event or abnormal event).       committed memory (also known as "virtual memory") a
  Further, the snapshots may be accessed or copied on a 10
                                                                     system can back. In an embodiment, analyzing the page file
  predefined schedule or upon predefined events. It should be
                                                                     allows deduction of running applications and modules by the
  noted that when the snapshot is taken or copied, the VM 119
                                                                     VM 119.
  still runs.
     It should be noted that the snapshot of the virtual disk           In an embodiment, the security system 140 is configured
  118-1 may not be necessary stored in the storage 117, but for 15 to read process identification number (PID) files and check
  ease of the discussion it is assumed that the snapshot is saved    their access or write times, which are matched against
  in the storage 117. It should be further noted that the            process descriptors. The PID can be used to deduce which
  snapshot is being accessed without cooperation of the guest,       processes are running, and hence the priority of vulnerabili-
  virtual OS of the virtual machine.                                 ties detected in processes existing on the disk. It should be
     The snapshot is parsed and analyzed by the security 20 noted the PID files are also maintained in the snapshot.
  system 140 to detect vulnerabilities. This analysis of the            In yet another embodiment, the security system 140 is
  snapshot does not require any interaction and/or information       configured to detect cyber threats that do not represent
  from the VM 119. As further demonstrated herein, the               vulnerabilities. For example, the security system 140 may
  analysis of the snapshot by the system 140 does not require        detect and alert on sensitive data not being encrypted on the
  any agent installed on the server 115 or VM 119.                25 logical disk, private keys found on the disks, system cre-
     Various techniques can be utilized to analyze the snap-         dentials stored clearly on the disk, risky application features
  shots, depending on the type of vulnerability and cyber            (e.g., support of weak cipher suites or authentication meth-
  threats to be detected. Following are some example embodi-         ods), weak passwords, weak encryption schemes, a disable
  ments for techniques that may be implemented by the                address space layout randomization (ASLR) feature, suspi-
  security system 140.                                            30 cious manipulation to a boot record, suspicious PATH,
     In an embodiment, the security system 140 is configured         LD_LIBRARY_PATH, or LD_PRELOAD definitions, ser-
  to detect whether there is vulnerable code executed by the         vices running on startup, and the like.
  VM 119. The VM 119 being checked may be running,                      In an embodiment, the security system 140 may further
  paused, or shutdown. To this end, the security system 140 is       monitor changes in sensitive machine areas, and alert on
  configured to match installed application lists, with their 35 unexpected changes (e.g., added or changed application files
  respective versions, to a known list of vulnerable applica-        without installation). In an example embodiment, this can be
  tions. Further, the security system 140 may be configured to       achieved by computing a cryptographic hash of the sensitive
  match the application files, either directly (using binary         areas in the virtual disk and checking for differences over
  comparison) or by computing a cryptographic hash against           time.
  database of files in vulnerable applications. The matching 40         In some embodiments, the detected cyber threats (includ-
  may be also on sub-modules of an application. Alternatively,       ing vulnerabilities) are reported to a user console 180 and/or
  the security system 140 may read installation logs of pack-        a security information and event management (SIEM) sys-
  age managers used to install the packages of the application.      tem (not shown). The reported cyber threats may be filtered
     In yet another embodiment, the security system 140 is           or prioritized based in part on their determined risk. Further,
  configured to verify whether the vulnerability is relevant to 45 the reported cyber threats may be filtered or prioritized
  the VM 119. For example, if there is a vulnerable version or       based in part on the risk level of the machine. This also
  module not in use, the priority of that issue is reduced           reduces the number of alerts reported to the user.
  dramatically.                                                         In an embodiment, any detected cyber threats related to
     To this end, the security system 140 may be configured to       sensitive data (including personally identifiable information,
  check the configuration files of the applications and aper- 50 PII) is reported at a higher priority. In an embodiment, such
  ating system of the VM 119; to verify access times to files        data is determined by searching for the PII, analyzing the
  by the operating system; and/or to analyze the active appli-       application logs to determine whether the machine accessed
  cation and/or system logs in order to deduce what applica-         PII/PII containing servers, or whether the logs themselves
  tions and modules are running.                                     contain PII, and searching the machine memory, as reflected
     In yet another embodiment, the security system 140 may 55 in the page file, for PII.
  instantiate a copy of the VM 119 and/or a subset of appli-            In an embodiment, the security system 140 may deter-
  cations of the VM 119 on the server 115 or a separate server       mine the risk of the VM 119 based on communication with
  and monitor all activity performed by the instance of the          an untrusted network. This can be achieved by analyzing the
  VM. The execution of the instance of the VM is an isolated         VM' s 119 logs as saved in the virtual disk and can be derived
  sandbox, which can be a full VM or subset of it, such as a 60 from the snapshot.
  software container (e.g., Docker® container) or another               In an example embodiment, the security system 140 may
  virtualized instances. The monitored activity may be further       cause an execution of one or more mitigation actions.
  analyzed to determine abnormality. Such analysis may               Examples of such actions may include blocking traffic from
  include monitoring of API activity, process creation, file         untrusted networks, halting the operation of the VM, quar-
  activity, network communication, registry changes, and 65 antining an infected VM, and the like. The mitigation actions
  active probing of the said subset in order to assess its           may be performed by a mitigation tool and not the system
  security posture. This may include, but not limited to,            140.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 24 of 207 PageID #: 751


                                                     US 11,663,032 B2
                                7                                                                  8
     It should be noted that the example implementation                 At optional S260, a mitigation action may be triggered to
  shown in FIG. 1 is described with respect to a single cloud        mitigate a detected threat or vulnerability. A mitigation
  computing platform 110 hosting a single VM 119 in a single         action may be executed by a mitigation tool and triggered by
  server 115, merely for simplicity purposes and without             the system 140. Such an action may include blocking traffic
  limitation on the disclosed embodiments. Typically, virtual 5 from untrusted networks, halting the operation of the VM,
  machines are deployed and executed in a single cloud               quarantining an infected VM, and the like.
  computing platform, a virtualized environment, or data                FIG. 3 is an example block diagram of the security system
  center and can be protected without departing from the             140 according to an embodiment. The security system 140
  scope of the disclosure. It should be further noted that the       includes a processing circuitry 310 coupled to a memory
                                                                  10 320, a storage 330, and a network interface 340. In an
  disclosed embodiments can operate using multiple security
                                                                     embodiment, the components of the security system 140
  systems 140, each of which may operate in a different client
                                                                     may be communicatively connected via a bus 360.
  environment.
                                                                        The processing circuitry 310 may be realized as one or
     FIG. 2 shows an example flowchart 200 illustrating a            more hardware logic components and circuits. For example,
  method for detecting cyber threats including potential vul- 15 and without limitation, illustrative types of hardware logic
  nerabilities in virtual machines executed in a cloud comput-       components that can be used include field programmable
  ing platform according to some embodiments. The method             gate arrays (FPGAs), application-specific integrated circuits
  may be performed by the security system 140.                       (ASICs), application-specific standard products (ASSPs),
     At S210, a request, for example, to scan a VM for               system-on-a-chip systems (SOCs), general-purpose micro-
  vulnerabilities is received. The request may be received, or 20 processors, microcontrollers, digital signal processors
  otherwise triggered every predefined time interval or upon         (DSPs ), and the like, or any other hardware logic compo-
  detection of an external event. An external event may be a         nents that can perform calculations or other manipulations of
  preconfigured event, such as a network event or abnormal           information.
  event including, but not limited to, changes to infrastructure        The memory 310 may be volatile (e.g., RAM, etc.),
  such as instantiation of an additional container on existing 25 non-volatile (e.g., ROM, flash memory, etc.), or a combi-
  VM, image change on a VM, new VM created, unexpected               nation thereof. In one configuration, computer readable
  shutdowns, access requests from unauthorized users, and the        instructions to implement one or more embodiments dis-
  like. The request may at least designate an identifier of the      closed herein may be stored in the storage 330.
  VM to be scanned.                                                     In another embodiment, the memory 320 is configured to
     At S220, a location of a snapshot of a virtual disk of the 30 store software. Software shall be construed broadly to mean
  VM to be scanned is determined. In an embodiment, S220             any type of instructions, whether referred to as software,
  may include determining the virtual disk allocated for the         firmware, middleware, microcode, hardware description
  VM, prior to determining the location of the snapshot. As          language, or otherwise. Instructions may include code (e.g.,
  noted above, this can be achieved by querying a cloud              in source code format, binary code format, executable code
  management console. At S230, a snapshot of the virtual disk 35 format, or any other suitable format of code). The instruc-
  is accessed, or otherwise copied.                                  tions, when executed by the one or more processors, cause
     At S240, the snapshot is analyzed to detect cyber threats       the processing circuitry 310 to perform the various processes
  and potential vulnerabilities. S240 may be also include            described herein. Specifically, the instructions, when
  detecting cyber threats that do not represent vulnerabilities.     executed, cause the processing circuitry 310 to determine
  Examples for cyber threats and vulnerabilities are provided 40 over-privileged roles vulnerabilities in serverless functions.
  above.                                                                The storage 330 may be magnetic storage, optical storage,
     In an embodiment, S240 may include comparing the                and the like, and may be realized, for example, as flash
  snapshot to some baseline, which may include, but is not           memory or other memory technology, CD-ROM, Digital
  limited to, a copy of the image used to create the VM, (e.g.,      Versatile Disks (DVDs), hard-drives, SSD, or any other
  lists of applications, previous snapshots), cryptographic 45 medium which can be used to store the desired information.
  hashes gathered in the previous scan, analyzing logs of the        The storage 330 may store communication consumption
  VMs, instantiating a copy of the VM and executing the              patterns associated with one or more communications
  instance or applications executed by the VM in a sandbox,          devices.
  analyzing the machine memory, as reflected in the page file,          The network interface 340 allows the security system 140
  or any combination of these techniques. Some example 50 to communicate with the external systems, such as intelli-
  embodiments for analyzing the snapshots and the types of           gence systems, SIEM systems, mitigation systems, a cloud
  detected vulnerabilities and threats are provided above.           management console, a user console, and the like.
     At S250, the detected cyber threats and/or vulnerabilities         It should be understood that the embodiments described
  are reported, for example, as alerts. In an embodiment, S250       herein are not limited to the specific architecture illustrated
  may include filtering and prioritizing the reported alerts. In 55 in FIG. 3, and other architectures may be equally used
  an embodiment, the prioritization is based, in part, on the        without departing from the scope of the disclosed embodi-
  risk level of a vulnerable machine. The filtering and priori-      ments.
  tizing allow to reduce the number of alerts reported to the           The various embodiments disclosed herein can be imple-
  user. The filtering can be done performed on external              mented as hardware, firmware, software, or any combination
  intelligence on the likelihood of this vulnerability being 60 thereof. Moreover, the software is preferably implemented
  exploited, analyzing the machine configuration in order to         as an application program tangibly embodied on a program
  deduce the vulnerability relevancy, and correlating the vul-       storage unit or computer readable medium consisting of
  nerability with the network location, and by weighting the         parts, or of certain devices and/or a combination of devices.
  risk of this machine being taken over by the attacker by           The application program may be uploaded to, and executed
  taking into consideration the criticality of the machine in the 65 by, a machine comprising any suitable architecture. Prefer-
  organization based by the contents stored or other assets          ably, the machine is implemented on a computer platform
  accessible from the VM 110.                                        having hardware such as one or more central processing
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 25 of 207 PageID #: 752


                                                      US 11,663,032 B2
                                9                                                                  10
  units ("CPUs"), a memory, and input/output interfaces. The            3. The method of claim 1, wherein determining whether
  computer platform may also include an operating system             the matching installed applications are used by the protected
  and microinstruction code. The various processes and func-         virtual cloud asset includes checking configuration files of
  tions described herein may be either part of the microin-          the matching installed applications to determine whether at
  struction code or part of the application program, or any 5 least one of the matching installed applications is not in use
  combination thereof, which may be executed by a CPU,               by the protected virtual cloud asset, and wherein prioritizing
  whether or not such a computer or processor is explicitly          reduces priority of potential cyber vulnerabilities for a
  shown. In addition, various other peripheral units may be          matching installed application not in use.
  connected to the computer platform such as an additional              4. The method of claim 1, wherein determining whether
  data storage unit and a printing unit. Furthermore, a non- 10 the matching installed applications are used by the protected
  transitory computer readable medium is any computer read-          virtual cloud asset includes verifying access times to files by
  able medium except for a transitory propagating signal.            an operating system of the protected virtual cloud asset to
     As used herein, the phrase "at least one of' followed by        determine whether at least one of the matching installed
  a listing of items means that any of the listed items can be       applications is not in use by the protected virtual cloud asset,
  utilized individually, or any combination of two or more of 15 and wherein prioritizing reduces priority of potential cyber
  the listed items can be utilized. For example, if a system is      vulnerabilities for a matching installed application not in
  described as including "at least one of A, B, and C," the          use.
  system can include A alone; B alone; C alone; A and B in              5. The method of claim 2, wherein determining whether
  combination; Band C in combination; A and C in combi-              the matching installed applications are used by the protected
  nation; or A, B, and C in combination.                          20 virtual cloud asset includes analyzing application logs or
     All examples and conditional language recited herein are        system logs to determine matching installed applications not
  intended for pedagogical purposes to aid the reader in             in use by the protected virtual cloud asset, and wherein
  understanding the principles of the disclosed embodiment           prioritizing reduces priority of potential cyber vulnerabili-
  and the concepts contributed by the inventor to furthering         ties for at least one of the matching installed applications not
  the art, and are to be construed as being without limitation 25 muse.
  to such specifically recited examples and conditions. More-           6. The method of claim 1, wherein reporting the deter-
  over, all statements herein reciting principles, aspects, and      mined potential cyber vulnerabilities includes communicat-
  embodiments of the disclosed embodiments, as well as               ing the determined potential cyber vulnerabilities to a user
  specific examples thereof, are intended to encompass both          console or a security information and event management
  structural and functional equivalents thereof. Additionally, it 30 (SIEM) system.
  is intended that such equivalents include both currently              7. The method of claim 1, wherein analyzing the snapshot
  known equivalents as well as equivalents developed in the          of the at least one virtual disk further includes matching
  future, i.e., any elements developed that perform the same         application files on the snapshot of the at least one virtual
  function, regardless of structure.                                 disk directly against application files associated with a
                                                                  35 known list of vulnerable applications.
     What is claimed is:                                                8. The method of claim 1, wherein analyzing the snapshot
     1. A method for securing virtual cloud assets against cyber     of the at least one virtual disk further includes matching
  vulnerabilities in a cloud computing environment, the              application files on the snapshot of the at least one virtual
  method comprising:                                                 disk by:
     determining, using an API or service provided by the 40            computing a cryptographic hash against at least one
        cloud computing environment, a location of a snapshot              application file to be matched; and
        of at least one virtual disk of a protected virtual cloud       matching the computed cryptographic hash against a
        asset, wherein the protected virtual cloud asset is                database of files associated with a known list of vul-
        instantiated in the cloud computing environment;                   nerable applications.
     accessing, based on the determined location and using an 45        9. The method of claim 1, wherein analyzing the snapshot
        API or service provided by the cloud computing envi-         of the at least one virtual disk further includes:
        ronment, the snapshot of the at least one virtual disk;         parsing the snapshot of the at least one virtual disk; and
     analyzing the snapshot of the at least one virtual disk by         scarming the parsed snapshot of the at least one virtual
        matching installed applications with applications on a             disk to detect the potential cyber vulnerabilities.
        known list of vulnerable applications;                    50    10. The method of claim 9, wherein scarming the parsed
     determining, based on the matching, an existence of             snapshot further includes at least one of:
        potential cyber vulnerabilities of the protected virtual        checking configuration files of applications and an oper-
        cloud asset;                                                       ating system installed in the protected virtual cloud
     determining whether the matching installed applications               asset;
        are used by the protected virtual cloud asset;            55    verifying access times to files by the operating system
     prioritizing the potential cyber vulnerabilities based on             installed in the in the protected virtual cloud asset; or
        the use determinations; and                                     analyzing system logs to deduce applications and modules
     reporting the determined potential cyber vulnerabilities,             executed in the protected virtual cloud asset.
        as prioritized alerts according to the use determina-           11. The method of claim 1, further comprising mitigating
        tions.                                                    60 a potential cyber vulnerability posing a risk to the protected
     2. The method of claim 1, wherein determining whether           virtual cloud asset.
  the matching installed applications are used by the protected         12. The method of claim 11, wherein mitigating a poten-
  virtual cloud asset includes determining whether at least one      tial cyber vulnerability includes at least one of:
  of the matching installed applications is not in use by the           blocking traffic from untrusted networks to the protected
  protected virtual cloud asset, and wherein prioritizing 65               virtual cloud asset,
  reduces priority of potential cyber vulnerabilities for a             halting operation of the protected virtual cloud asset, or
  matching installed application not in use.                            quarantining the protected virtual cloud asset.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 26 of 207 PageID #: 753


                                                      US 11,663,032 B2
                                11                                                                   12
     13. The method of claim 1, wherein determining the                 20. The non-transitory computer readable medium of
  location of the snapshot of at least one virtual disk further      claim 18, wherein determining the location of the snapshot
  includes determining a virtual disk allocated to the protected     of at least one virtual disk further includes querying a cloud
  virtual cloud asset.                                               management console of the cloud computing environment
     14. The method of claim 1, wherein determining the 5 for the location of the snapshot and the location of the virtual
  location of the snapshot of at least one virtual disk includes     disk.
  taking a new snapshot of the at least one virtual disk of a           21. The non-transitory computer readable medium of
  protected virtual cloud asset.                                     claim 18, wherein:
     15: The method of claim 1, wherein determining the                 the instructions further comprise making a copy of a
  locat10n of the snapshot of at least one virtual disk includes 10        snapshot of the virtual disk; and
  requesting the taking of a new snapshot of the at least one           wherein    analyzing the snapshot includes analyzing the
  virtual disk of a protected virtual cloud asset.                         copy of the snapshot by matching installed applications
     16. The method of claim 1, wherein determining the                    identified in the copy of the snapshot with applications
  location of the snapshot of at least one virtual disk further            on the known list of vulnerable applications.
  includes querying a cloud management console of the cloud 15          22. A system for securing virtual cloud assets against
  computing environment for the location of the snapshot and         cyber vulnerabilities in a cloud computing environment, the
  the location of the virtual disk.                                  system comprising:
     17. The method of claim 1, further comprising:                     at least one processor configured to:
     making a copy of a snapshot of the virtual disk; and                  determine, using an API or service provided by the
     wherein analyzing the snapshot includes analyzing the 20                 cloud computing environment, a location of a snap-
        copy of the snapshot by matching installed applications               shot of at least one virtual disk of a protected virtual
        identified in the copy of the snapshot with applications              cloud asset, wherein the protected virtual cloud asset
        on the known list of vulnerable applications.                         is instantiated in the cloud computing environment;
     18. A non-transitory computer readable medium contain-             access, based on the determined location and using an API
  ing instructions that when executed by at least one processor 25         or service provided by the cloud computing environ-
  cause the at least one processor to perform operations for               ment, the snapshot of the virtual disk;
  securing virtual cloud assets against cyber vulnerabilities in        analyze the snapshot of the at least one virtual disk by
  a cloud c~~puting_environment, the operations comprising:                matching installed applications with applications on a
     determmmg, usmg an API or service provided by the                     known list of vulnerable applications;
        cloud computing environment, a location of a snapshot 30        determine, based on the matching, an existence of a
        of at least one virtual disk of a protected virtual cloud          plurality of potential cyber vulnerabilities;
        asset, wherein the protected virtual cloud asset is             determine whether the matching installed applications are
        instantiated in the cloud computing environment·                   used by the protected virtual cloud asset;
     accessing, based on the determined location and usi~g an           prioritize the potential cyber vulnerabilities based on the
        API or service provided by the cloud computing envi- 35            use determinations; and
        ronment, the snapshot of the virtual disk;                      report the determined plurality of potential cyber vulner-
     analyzing the snapshot of the at least one virtual disk by            abilities, as prioritized alerts according to the use
        matching installed applications with applications on a             determinations.
        known list of vulnerable applications;                          23: The system of claim 22, wherein determining the
     determining, based on the matching, an existence of a 40 locat10n of the snapshot of at least one virtual disk further
        plurality of potential cyber vulnerabilities;                includes taking a new snapshot of the at least one virtual disk
     determining whether the matching installed applications         of a protected virtual cloud asset.
        are used by the protected virtual cloud asset;                  24: The system of claim 22, wherein determining the
     prioritizing the potential cyber vulnerabilities based on       locat10n of the snapshot of at least one virtual disk further
        the use determinations; and                               45 includes requesting the taking of a new snapshot of the at

     reporting the determined plurality of potential cyber vul-      least one virtual disk of a protected virtual cloud asset.
        nerabilities, as prioritized alerts according to the use        25. The system of claim 22, wherein:
        determinations.                                                 the at least one processor is further configured to make a
     19. The non-transitory computer readable medium of                    copy of a snapshot of the virtual disk; and
  claim 18, wherein analyzing the snapshot of the at least one 50       wherein analyzing the snapshot includes analyzing the
  virtual disk further includes matching application files on the          copy of the snapshot by matching installed applications
  snapshot of the at least one virtual disk directly against               identified in the copy of the snapshot with applications
  application files associated with a known list of vulnerable             on the known list of vulnerable applications.
  applications.                                                                              *   *   *    *   *
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 27 of 207 PageID #: 754




                   EXHIBIT 3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 28 of 207 PageID #: 755




                                                    SideScanning™ Technical Brief




 SideScanning™ –
 How the Engine that Powers
 Orca Security Works

 Every organization is searching for effective ways to scan its cloud estate to look for
 risks. These include vulnerabilities, misconfigurations, malware, improper segmentation,
 and customer data at risk. They’re also seeking to verify compliance with security
 frameworks and government/industry regulations.
 Orca Security introduces an innovative approach that secures the entire cloud estate
 without disrupting business operations in live environments—and with absolutely no
 need for agents or network scanners that fail to account for everything​.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 29 of 207 PageID #: 756




                                    Table of Contents
 Background

 Traditional Scanning Methods
    Agent-based scanning
    Authenticated scanning
    Unauthenticated scanning

 Cloud Security Posture Management (CSPM)

 A Radical New Approach – SideScanning™

 How SideScanning™ Works
    Onboarding
    The Scan Process
        The Control Plane Path
        The Data Plane Path
        Vulnerability Scanning
        Configuration Scanning
        Malware Scanning
        Detecting Lateral Movement Risk, Exploitable Keys, and Weak Passwords
        Sensitive Information Scanning
        Container Scanning
        Collector Teardown
    Combining Information, Analysis, and Reporting
        Showing Alerts in Context
        Combining Low Severity Issues into Larger Alerts
    Applicability to Containers

 In Summary

 About Orca Security
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 30 of 207 PageID #: 757




 Background
 As organizations put their workloads into the cloud, they must have the security policies, tools, and
 controls that will protect their assets from data breaches, misuse, and attacks. Securing the cloud
 requires complete visibility into vulnerable software, compromised resources, live exploitation attempts,
 neglected assets, misconfigurations, and more.

 Until now, providing for cloud security has involved legacy tools that have been adapted from their
 original on-premise versions. These adaptations bring with them tremendous cost, complexity, and
 limitations that can prohibit full visibility—especially in complex, multi-cloud environments.

 Orca Security takes a radical new approach. With no legacy on-prem environments to protect, Orca was
 free to create an inherently cloud-native security platform without the constraints of agents and network
 scanners.

 Orca Security delivers instant-on, work-load level visibility across 100% of AWS, Azure, and GCP assets
 without running a single opcode in the customer environment. The result is to help organizations:

 ●   Detect risks such as vulnerabilities, malware, misconfiguration, lateral movement risk,
     and unsecured sensitive data

 ●   See its entire full-stack cloud inventory

 ●   Discover and see previously missed assets

 This new technology is called SideScanning™ and provides both technical and business advantages to
 organizations. This white paper focuses on the technical aspects of how the engine that powers Orca
 Security works.

 Traditional Scanning Methods
 There aren’t many options when performing security vulnerability scans of a physical machine. When
 businesses began to move their workloads to the cloud, these technologies were lifted and shifted there.
 But cloud workloads are vastly different than ’90s-style physical servers running on bare metal.
 Organizations ended up having the same agents and scanners from their on-prem days for their cloud
 environments. The tools weren’t reimagined for the cloud.

 Agent-based scanning
 Relying on agents for security visibility in the cloud is fundamentally flawed. Visibility is critically limited to
 only those assets that are already known and accessible, and to which it’s possible to authenticate.
 What’s more, the assets must be capable of having an agent installed and maintained, and they must
 have ongoing network connectivity to the backend. Yet in the fast-paced world of DevOps, developers
 don’t want to be bothered with deploying agents on VMs, in containers, and in serverless
 configurations—let alone dealing with their never-ending maintenance.




 SideScanning™ Technical Brief                        ​©​ ​Orca Security, Inc.                                   ​3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 31 of 207 PageID #: 758



 Authenticated scanning
 An authenticated scan allows for direct host access using remote protocols such as SSH or RDP. The
 scanner uses a privileged account to log in and determine how secure each host is from an inside
 vantage point. While scans can derive good results on potential vulnerabilities, they’re limited as they
 require a privileged account on each scanned host. Furthermore, scans use significant system resources
 during the test procedures and require opening ports that by themselves pose a security risk.

 Unauthenticated scanning
 An unauthenticated scan can only examine publicly visible information and isn’t able to provide detailed
 information about assets. It’s essentially acting as a friendly attacker. An unauthenticated scan can easily
 miss identifying some assets and vulnerabilities, making it much less effective. For example, say you
 have a website called ​mydomain.com/email_campaign​ that isn’t linked from your main website. The site
 won’t be scanned unless the scanner is manually configured, but no organization can really make sure
 it’s set up that way. This leaves many organizations exposed to vulnerabilities in areas where the
 scanner hasn’t reached.

 While unauthenticated scanners act like an attacker, they often get stuck in flows where a real attacker
 would not. In many cases there are measures in place, such as CAPTCHA, which can easily prevent any
 automatic mechanism (including scanners) from registering. However, these techniques won’t have any
 effect on a human who tries to attack the same system. For example, Orca found a critical vulnerability in
 a section of a customer’s website that’s only accessible to registered users. A network scanner would get
 blocked here, but a real attacker could register as a user and trigger a vulnerability leading to a breach.



 Orca’s earliest customer engagements revealed that the average organization lacks security
 visibility into at least 50% of their cloud infrastructure footprint. This is mostly due to their
 inability to keep up with the incredibly high TCO involved with agent deployment and
 maintenance.



 Cloud Security Posture Management (CSPM)
 But there is one scanning tool developed specifically for the cloud. Rather than going inside the machine,
 a cloud security posture manager (CSPM) analyzes the cloud configuration itself for errors. This type of
 tool is used to discover, assess, and solve cloud misconfigurations, but provides shallow coverage where
 cloud security is concerned. CSPMs will never detect critical issues such as vulnerabilities, malware, and
 misconfigurations within the workloads themselves.

 Organizations choosing to combine agent-based solutions with a CSPM end up getting flooded with
 separate alerts on the issues they see. But without the context seen by the CSPM, this results in alert
 fatigue on behalf of security analysts.




 SideScanning™ Technical Brief                     ​©​ ​Orca Security, Inc.                                ​4
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 32 of 207 PageID #: 759



 A Radical New Approach – SideScanning™
 Orca Security uses our patent-pending SideScanning™ technology. It’s a radical approach because
 Orca doesn’t go ​inside​ each workload to fetch data. Instead, it uses an out-of-band process to reach
 cloud workloads through the runtime storage layer, combining this with metadata gathered from cloud
 provider APIs. Orca is able to provide deep and contextualized visibility of cloud environments. It covers
 100% of an organization’s assets with absolutely no agent or network scanner.

 Orca Security requires a one-time, essentially instantaneous, impact-free integration into the cloud
 infrastructure. It supports Amazon Web Services, Google Cloud Platform, and Microsoft Azure. Following
 its one-time integration, Orca scans the configuration, network layout, and security configuration. It does
 so while also reading into virtual machines, disks, databases, and datastores, as well as logs for all cloud
 assets. It then analyzes the data and builds a full-stack inventory. Next it automatically assesses the
 security state of every discovered asset throughout the technology stack, including all four cloud layers:
 I/S, OS, apps, and data.

 An apt analogy is to think of a medical MRI. Instead of probing inside
 the body with needles and scalpels, such imaging is an out-of-band
 method of obtaining a detailed picture of the organs and tissue
 within. The person is never physically touched. SideScanning is
 similar in that it’s able to build a full model of the cloud environment
 without affecting it in any way—and everything within is clearly
 visible. Orca can probe the read-only view it has obtained in an
 entirely touchless manner.

 Orca doesn’t affect or run on the cloud machines, where it might
 consume resources. This lets an organization fully deploy it across
 100% of its cloud environment without worrying about potential side effects. And it does this without the
 friction of working with disparate teams (e.g.,, DevOps) to assess that the timing for deployment is
 correct.

 How SideScanning™ Works
 Although this paper uses AWS terminology, readers can apply the same information to Azure and GCP,
 where everything works virtually the same.

 Onboarding
 Overview – Orca’s onboarding process is simple and quick. You provide it with a role and establish trust
 between your account and Orca’s production account. The role has a few permissions, the most
 important being read-only permissions and permissions to read the block storage layer. The entire
 process is encapsulated within a cloud formation template, which means that an administrator only has
 to click once to open the template, then again to apply it. A third mouse click copies and pastes the
 resulting ARN in the Orca user interface. That’s essentially it, and it takes but a few minutes.




 SideScanning™ Technical Brief                      ​©​ ​Orca Security, Inc.                              ​5
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 33 of 207 PageID #: 760




 Permission Detail – Orca’s read-only permission enables it to visualize and build a map of your entire
 environment. The same permission also lets Orca create a temporary snapshot of the block storage for
 its subsequent analysis. Here it applies Orca-specific tags to the snapshot, then has permission to delete
 snapshots having the Orca-specific tags. (Orca cannot delete other snapshots in your customer
 account.)

 Orca requests permission to read encrypted key management service (KMS) volumes so as to open
 snapshots in that account. Orca doesn’t copy the customer key, but rather uses it to re-encrypt the
 snapshots using its own key to continue the examination.

 The entire process is quite fast. It’s a lightweight operation that records blocks that are part of the
 snapshot and the copy itself. The solution just records a reference count to those blocks and copies them
 like a copy and write operation.




 SideScanning™ Technical Brief                    ​©​ ​Orca Security, Inc.                              ​6
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 34 of 207 PageID #: 761



 The Scan Process
 After you’ve added your account to Orca, the process starts with building a map of your organization’s
 entire estate. Every asset in the account is enumerated in all regions, including:

    ●   API gateway resources, API gateway REST APIs
    ●   Autoscaling groups
    ●   CloudTrail logs
    ●   CloudFront services
    ●   Databases—such as ElasticCache, ElasticSearch, DocumentDb, DynamoDB, Neptune,
        RDS and Aurora
    ●   Redshift and Kafka clusters
    ●   EC2 instances, volumes, snapshots
    ●   VPCs, subnets, route tables, network ACLs, VPC endpoints, NAT gateways
    ●   ELB and ALB
    ●   ECR repositories
    ●   ECS clusters, services, and tasks
    ●   EKS
    ●   S3 bucket and Glacier storage
    ●   SNS topics
    ●   IAM roles, policies, groups, and users
    ●   KMS keys
    ●   Lambda functions


 The Control Plane Path
 Once all of the information is gathered, the scan process splits into two paths. The first is the control
 plane path, where Orca builds an infrastructure map that acts as a guide for its assessment and analysis
 processes. Because putting risks in context is one of the most valuable features it provides, the map also
 enables Orca to contextualize everything found in the customer account.




 SideScanning™ Technical Brief                    ​©​ ​Orca Security, Inc.                                ​7
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 35 of 207 PageID #: 762




 During this phase, Orca provides definitive alerts regarding:

    ●   S3 buckets exposed to the world
    ●   snapshots that have been published to the entire world
    ●   other misconfigurations at the cloud control plane level

 Orca’s control plane path yields a complete overview of the cloud estate. Looking at all assets, Orca can
 see which ones are connected to each other in order to understand the relationships among them. It can
 detect risks in this phase without having to drill down—a task Orca uniquely does in its second phase
 and is what constitutes its “secret sauce”.



 If an inspected machine is already infected by an advanced tool, the malware can't affect the
 scanning process because we never run the malicious application—we just look at it from a
 different machine. In this way we are able to see rootkits that are invisible to host-based
 solutions.




 SideScanning™ Technical Brief                     ​©​ ​Orca Security, Inc.                            ​8
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 36 of 207 PageID #: 763



 The Data Plane Path
 Its data plane path, or asset scan, is what makes Orca stand out as a comprehensive cloud security tool.
 For each region in your cloud account, Orca enumerates all the possible compute assets, taking
 snapshots of their data volumes to share with the Orca production account. A collector—an ephemeral
 EC2 instance—is created in the Orca side of the cloud (usually in the form of a spot instance). It
 successively mounts each snapshot, then immediately deletes it so customer billing isn’t affected. Next,
 the collector starts reorganizing the volumes. It mounts them in the same way as the scanned OS
 would’ve done and runs several data collection steps:

    ●   Vulnerability Scanning
    ●   Configuration Scanning
    ●   Malware Scanning
    ●   Lateral Movement Risk
    ●   Exploitable Keys and Weak Password Detection
    ●   Sensitive Information Scanning
    ●   Container Scanning

 Each step is discussed in more detail in a moment.

 Orca doesn’t run your machine volumes directly. Rather, the collector rebuilds the correct configuration
 and mounts the volumes in their native file systems in Orca’s collection machine. This is done to ensure
 that Orca—and not any other entity—controls the scanning process. Also, this assists it in being more
 deliberate about the information it gathered from the machine.

 AWS and all other cloud providers allow Orca to create a snapshot of the disk state while the machine is
 running. The process can snapshot multiple volumes at the same point in time, resulting in deep and
 consistent visibility.




 SideScanning™ Technical Brief                    ​©​ ​Orca Security, Inc.                             ​9
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 37 of 207 PageID #: 764



 Vulnerability Scanning




 In performing vulnerability assessment, Orca extracts all the OS packages, libraries, and program
 language libraries such as Java archives, Python packages, Go modules, Ruby gems, PHP packages,
 and Node.js modules. It gathers library versions and other identifying characteristics, and in a later phase
 tries matching them to known vulnerabilities in its vulnerability database. Among others, this database
 includes aggregated vulnerability data from:

     ●   NVD                                        ●    WPVulnDB

     ●   US-CERT                                    ●    Node.js Security Working Group

     ●   OVAL – Red Hat, Oracle Linux,
                                                    ●    Ruby Advisory Database
         Debian, Ubuntu, SUSE

     ●   JVN                                        ●    Safety DB(Python)

     ●   Alpine secdb                               ●    PHP Security Advisories Database

     ●   Amazon ALAS                                ●    RustSec Advisory Database

     ●   Red Hat Security Advisories                ●    Microsoft MSRC, KB

     ●   Debian Security Bug Tracker                ●    Kubernetes security announcements

     ●   Exploit Database                           ●    Drupal security advisories

     ●   JPCERT

 Note: This list is current as of May 2020. More sources will be occasionally added.




 SideScanning™ Technical Brief                     ​©​ ​Orca Security, Inc.                              ​10
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 38 of 207 PageID #: 765


 Configuration Scanning
 Because some packages might only be vulnerable in specific configurations, this is later augmented with
 configuration-specific details in the backend. Thus, Orca gathers configuration information—such as
 which user is on a machine, its services, and password hashes—in addition to application-specific
 configurations for Apache, Nginx, SSH, and other services. Orca performs the first-level analysis on all
 that is collected to remove sensitive information, only sending high-level configuration information to its
 backend. At this point Orca runs the ​CIS Benchmarks​ on the workloads to check for misconfigurations.


 After taking snapshots, Orca is not accessing the customer’s environment to derive any other
 security value. No customer resources are used at all—no disk, no RAM. Nothing.


 Malware Scanning




 Another data collector performs deep malware scanning across the entire file system; it uses a smart,
 third-party heuristic engine. For example, another security solution that only compares hashes won’t
 detect polymorphic malware, but Orca does so with its deep scanning capabilities.

 Malware scanning is performed totally on the Orca side, so it doesn’t affect production workloads. Orca is
 very liberal with respect to its compute operation devoted to scanning because—unlike an agent—it isn’t
 limited by the customer machine’s CPU and available memory.




 SideScanning™ Technical Brief                     ​©​ ​Orca Security, Inc.                              ​11
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 39 of 207 PageID #: 766


 Another aspect of this approach is that the scanner can’t be tampered by malware running on a machine,
 as the scanner runs on the Orca host. This enables Orca to detect advanced threats, such as rootkits
 that can easily circumvent other forms of detection.

 Detecting Lateral Movement Risk, Exploitable Keys, and Weak Passwords




 An attacker who establishes a network foothold usually attempts to move laterally from one resource to
 another in search of rich targets such as valuable data. Stolen passwords and keys unlock access to
 servers, files, and privileged accounts.

 For each scanned machine, Orca gathers all the remote access keys installed there, as well as any keys
 that could provide access to other network resources. Orca looks for passwords and IT scripts containing
 passwords that could be used by attackers against the environment—as well as AWS keys, SSH keys,
 or other key types that provide unchecked access to important resources. In essence, Orca acts like a
 whitelisted attacker. Once it reaches a machine, it looks for everything an attacker searches for and
 enumerates that in detailed reports.

 Suppose there is a weak, unprotected password stored in one of the environments. For example, if
 someone’s personal email has been compromised at any point, Orca looks for similar names and—either
 using known dictionaries or the account owner’s previously leaked passwords—attempts a brute force
 login to the machine being tested. (Additional information on this topic is found in ​How Orca’s Cloud




 SideScanning™ Technical Brief                   ​©​ ​Orca Security, Inc.                             ​12
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 40 of 207 PageID #: 767


 Security Solution Detects Weak Passwords​.) Orca makes note of the stored password along with a
 corresponding pointer to it, the password is not shared outside of its ephemeral collector.


 This is also how Orca handles keys and other sensitive information. For example, for SSH keys Orca
 only extracts the key digest—the key hash. For AWS keys Orca extracts only the access key ID (which is
 not confidential) and the permissions the key is able to access. The key digest enables Orca to compare
 private and public keys and to show where lateral movement is not only possible but quite trivial to
 accomplish.

 It’s possible that keys having no meaning—such as test keys—are discovered. Rather than report a false
 positive, Orca tests the validity of the keys, extracts their permissions, and reports that. For other keys
 having multi-machine interactions, such as SSH keys, Orca uses the information to verify which other
 workloads, if any, can be opened by them. Here it reports, "This machine had a private key stored in an
 unprotected place; it can provide root access to these other machines where the matching public key is
 installed."

 In addition, Orca highlights bugs or other configuration issues that are only exploitable from internal
 machines but facilitate an attacker’s lateral movement.


 Sensitive Information Scanning
 Another data collector searches the entire file system for sensitive information, such as PII, Social
 Security numbers, healthcare information, credit card numbers, and the like. It also searches data
 repository history. This is because it's not uncommon for an entire production environment repository to
 be cloned, with no one remembering the copy contains sensitive information. Orca tags such areas as
 risky, noting their location in its vulnerability report.

 To be certain that such alerts don’t constitute false positives, Orca performs statistical scans on the
 workload level. It’s very likely for a random number to resemble a Social Security number, yet it’s
 extremely unlikely for the majority of a file with thousands of numbers to contain one valid SSN by pure
 chance.


 Container Scanning
 Also in the data plane path, Orca scans any containers—just as it has the host machines. Here it
 reconstructs each container’s layered file system and recursively runs all the collection steps on it,
 thereby yielding the same information previously outlined. Orca reads the container’s network
 configuration so as to extend the contextual map built during its control plane assessment phase.


 Collector Teardown
 At this point, Orca tears down its collectors and securely sends the gathered information to its backend to
 begin its data analysis and reporting phase.




 SideScanning™ Technical Brief                      ​©​ ​Orca Security, Inc.                               ​13
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 41 of 207 PageID #: 768



 Combining Information, Analysis, and Reporting
 Continuing to build on its ability to achieve such high fidelity and meaningful results. All the gathered
 information is analyzed to produce actionable, context-based alerts and reports. This thoughtful
 approach shows what each vulnerability is, where it’s located, and its priority. In this way security
 engineers and DevOps teams can easily assess how to best allocate their time and attention.


 Showing Alerts in Context
 Orca combines conclusions from different environmental perspectives into a single model. It takes the
 asset map from the control plane—where the service meshes and containers talk to each other—and
 augments this information with a vulnerability management solution. For example, Orca takes a
 customer’s instance, maps the running services on it, then check them for vulnerabilities. It
 contextualizes the information to establish whether an asset is internet-facing and easily accessible to
 attackers, or if it’s private and hence a less important vulnerability. (A resource that isn’t accessible by
 any other machine in the account represents less risk than one that’s internet-facing.)

 Consider a vulnerability in a web service. Orca scores it as:

    ●   High risk if it's connected to the internet, either directly or indirectly via a load balancer or reverse
        proxy

    ●   Medium severity if it's only accessible internally

    ●   Low severity if it's blocked by a security group configuration of the cloud provider

 Another example would be if a machine is stopped. It could have an important vulnerability, but one that
 is less likely to be exploited because the machine isn’t running. This affects its risk score and other
 mitigating factors.

 Orca also evaluates network misconfigurations and their implications. A common problem it has
 witnessed is when organizations use an external CI/CD service (such as Bitbucket) and whitelists their IP
 ranges—in effect whitelisting all of these services’ customers while exposing internal services to the
 internet.




 It’s a big advantage that the “bird’s eye view” of the control plane path and the “detailed view” of
 the data plane path are done by a single vendor and all the data is in a single holistic database.
 Now, everything can be connected together and viewed in full context. No integration of
 disparate data sources is necessary.




 SideScanning™ Technical Brief                       ​©​ ​Orca Security, Inc.                                   ​14
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 42 of 207 PageID #: 769




 Context is critical; it’s the difference between effective security and dreaded analyst alert fatigue. Orca
 assumes responsibility for the heavy lifting associated with this additional context and assesses the real
 and effective risk. Orca’s mission is to provide the best contextualized security intelligence possible.

 This is in contrast to the status quo, where an organization purchases best of breed security tools for
 each of these to perform its own, independent vulnerability detection. Getting the set of tools to talk to
 one another and provide clear context about each finding is nearly impossible. The onus is put on
 customers to first establish context before being able to understand and subsequently prioritize risk; only
 then can they ultimately address the incomplete set of reported vulnerabilities. Traditional SIEM tools that
 ingest dissimilar data often suffer a similar fate, as they don’t intimately understand the meaning of each
 alert created by the different tools and their collective meaning.


 Combining Low Severity Issues into Larger Alerts
 A common finding is when a machine hasn’t been patched for an extended period and has a large
 number—hundreds or even thousands—of vulnerabilities. While other security tools might send out one
 alert for each vulnerability, Orca aggregates the information to combine them with the appropriate
 context to show they’re related. For example, if a machine goes unpatched for a duration because it’s not
 internet-facing or connected to other machines, its risk score will be low—despite the fact that it has
 hundreds of vulnerabilities. This helps analysts in prioritizing which security fixes to address first.




 SideScanning™ Technical Brief                     ​©​ ​Orca Security, Inc.                               ​15
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 43 of 207 PageID #: 770



 Applicability to Containers
 Orca’s data aggregation and deep analysis apply to containers just as it does to discrete workloads. As
 Orca processes containers, network information about each container is parsed into the map. This
 means Orca understands which services within the container are mapped for external attackers, which
 ports are used within each, and which protocols are externally accessible. All such context is merged into
 the “master map” discussed earlier, where it’s continually augmented with even more context enhancing
 information to keep it current.



 In Summary
 The Orca Security is revolutionary—both in its SideScanning approach to gathering cloud estate
 information and the way it presents risks and vulnerabilities in context. No other cloud security tool can
 deliver 100% deep, workload-level visibility across multiple cloud accounts and cloud platforms—with no
 impact whatsoever on the running cloud environment. Orca doesn’t require any agents or network
 scanners to deeply and thoroughly scan the full-stack cloud inventory.

 Orca detects risks such as vulnerabilities, malware, misconfiguration, and lateral movement risk in the
 cloud. It sees what other security tools miss. Following data gathering and analysis, Orca reports all
 issues in full context, including where each risk resides and its true level of risk. This lets its customers
 prioritize their mitigation actions while mitigating cloud risk.



 About Orca Security
 Orca Security is the cloud security innovation leader, providing deeper visibility into AWS, Azure, and
 GCP without the gaps in coverage and operational costs of agents. With Orca Security, there are no
 overlooked assets, no DevOps headaches, and no performance hits on live environments.

 Unlike legacy tools that operate in silos, Orca treats your cloud as an interconnected web of assets,
 prioritizing risk based on environmental context. This does away with thousands of meaningless security
 alerts to provide you with only the critical few that matter, along with their precise path to remediation.

 Delivered as SaaS, Orca Security’s patent-pending SideScanning™ technology reads your cloud
 configuration and workloads’ run-time block storage out-of-band. It detects vulnerabilities, malware,
 misconfigurations, lateral movement risk, weak and leaked passwords, and high-risk data such as PII.

 For more information, please visit https://orca.security




 © Copyright Orca Security, 2020. All trademarks, service marks, and trade names referenced in this
 material are the property of their respective owners.




 SideScanning™ Technical Brief                       ​©​ ​Orca Security, Inc.                                ​16
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 44 of 207 PageID #: 771




                   EXHIBIT 4
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 45 of 207 PageID #: 772


                 Guides                                                                                         

       Agentless Scanning

       Agentless Scanning                                                                                     




       Wiz uses several techniques to scan your entire cloud environment without a single agent or
       sidecar deployed on your workloads. This assures that you can get Wiz up and running across
       your environment in minutes without suffering from the coverage gaps that the limited
       deployment of agents typically cause.

       How it works
       Cloud API interrogation
       Wiz connects using a reader role to your cloud APIs (AWS, Azure, GCP, Kubernetes, etc.) in
       order to list the cloud resources and interrogate the control plane for their configuration.
       Workload scanning
       Snapshot scanning is the new way to perform workload scanning. Instead of using an intrusive
       agent, Wiz leverages cloud-native tools to perform scans without interrupting or impacting
       production workloads. Just like an MRI performs a 3D scan of the body without affecting the
       body itself, snapshot scanning achieves deep analysis of the workload without any impact or
       interruption to the live workload.
       At its core, snapshot scanning is a very simple process. In order to scan the workload, a
       snapshot is created from the running workload and that snapshot is scanned by Wiz to extract
       vulnerabilities and misconfigurations.
       The snapshots are created by the Wiz workload scanner, and live only during the scan period,
       always remaining within the customer tenant. Once the snapshot is created, a workload scanner
       running within the same region performs the snapshot scan by mounting a read-only volume
       that is backed by the snapshot. Once the scan is complete, the snapshot is deleted.
       The results of the scan are then sent back to the Wiz backend. For a detailed list of the results
       sent see below.

       Snapshot scanning architecture
https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                          1/11
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 46 of 207 PageID #: 773




       Encrypted volumes
       Wiz supports encrypted volumes for all cloud native encryption types in AWS, Azure and GCP.
           In AWS, this is achieved without Wiz having access to the original encryption key thanks to
           the permission kms:ReEncryptTo.
           In Azure and GCP, this is supported with the standard snapshot and volumes permissions
           required by the Azure connector and GCP connector. No additional permissions are
           required, as creating a volume from a snapshot of an encrypted volume does not require
           additional permissions or encryption methods.

       The snapshotting process
       There are four distinct steps in the snapshot scan process:
         1. Scan configuration—The list of disks for scanning is composed by the cloud fetcher
            leveraging the cloud provider APIs and sent to the Wiz workload scanner.
         2. Snapshot creation—The workload scanner, which runs in a dedicated account, creates the
            snapshot and shares it with the scanner cluster. These snapshots are created with 'wiz:
            auto-gen-snapshot' tag to help identify them.
         3. Snapshot scan—The snapshot is mapped as a read-only volume and scanned. The scan
            results include metadata on packages, vulnerabilities and mis-configurations and are sent
            to the backend.
         4. Cleanup—The snapshot is deleted from the customer tenant.
       The Wiz workload scanner runs in a dedicated account, or it can be deployed by the customer
       via the Outpost deployment (see the Wiz Outpost Overview).

       FAQ
https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                          2/11
       What operating systems, file systems, container runtime
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 47 of 207 PageID #: 774




       technologies and virtual appliances are supported?
       Wiz scans:
           Operating systems—see table below
           File systems—NTFS, ext2, ext3, ext4, XFS, OSTree
           Encrypted file systems—crypto_LUKS (Azure integration) and BitLocker (Azure integration)
           Container runtimes—Docker, containerd, CRI-O
           Virtual appliances—F5 BIG-IP Advanced Firewall Manager, FortiOS, IBM Security Access
           Manager (ISAM), IBM Security Verify Access (formerly ISAM), PAN-OS
                VMs running containers with a supported OS image on a non-supported host OS are
                 still scanned by Wiz.

             Operating   Detection Technologies Vulnerabilities Malware Secrets
              System
          SUSE Linux
          Enterprise        ✅           ✅             ✅           ✅       ✅
          Server
          Amazon Linux      ✅           ✅             ✅           ✅       ✅
          2022
          Windows Server    ✅           ✅             ✅           ✅       ✅
          2022
          Windows 11        ✅           ✅             ✅           ✅       ✅
          Container-        ✅           ✅             ✅           ✅       ✅
          Optimized OS
          Linux Photon      ✅           ✅             ✅           ✅       ✅
          Linux Oracle      ✅           ✅             ✅           ✅       ✅
          Amazon Linux 2    ✅           ✅             ✅           ✅       ✅
          Amazon Linux      ✅           ✅             ✅           ✅       ✅
          AMI
          Azure Virtual     ✅           ✅             ✅           ✅       ✅
          Desktop
          Windows Server    ✅           ✅             ✅           ✅       ✅
          2019

https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                          3/11
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 48 of 207 PageID #: 775


             Operating   Detection Technologies Vulnerabilities Malware Secrets
              System
          Windows Server    ✅           ✅             ✅           ✅       ✅
          2016
          Windows Server    ✅           ✅             ✅           ✅       ✅
          2012 R2
          Windows Server    ✅           ✅             ✅           ✅       ✅
          2012
          Windows Server    ✅           ✅             ✅           ✅       ✅
          2008 R2
          Windows Server    ✅           ✅             ✅           ✅       ✅
          2008
          Windows Server    ✅           ✅             ✅           ✅       ✅
          2003 R2
          Windows Server    ✅           ✅             ✅           ✅       ✅
          2003
          Windows Server    ✅           ✅             ✅           ✅       ✅
          Windows 8.1       ✅           ✅             ✅           ✅       ✅
          Windows 7         ✅           ✅             ✅           ✅       ✅
          Windows 10        ✅           ✅             ✅           ✅       ✅
          Linux Alpine      ✅           ✅             ✅           ✅       ✅
          Linux CentOS      ✅           ✅             ✅           ✅       ✅
          Amazon Linux      ✅           ✅             ✅           ✅       ✅
          Linux             ✅           ✅             ✅           ✅       ✅
          openSUSE
          Linux Red Hat     ✅           ✅             ✅           ✅       ✅
          Linux Fedora      ✅           ✅             ✅           ✅       ✅
          Linux Ubuntu      ✅           ✅             ✅           ✅       ✅
          Linux Debian      ✅           ✅             ✅           ✅       ✅
          Wind River        ✅         Partial       Partial       ✅       ✅
          Linux
          Oracle Linux      ✅         Partial       Partial       ✅       ✅
          Server
https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                          4/11
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 49 of 207 PageID #: 776

              Operating                  Detection Technologies Vulnerabilities Malware Secrets
               System
          Buildroot                            ✅                    Partial     Partial          ✅           ✅
          McAfee Linux                         ✅                    Partial     Partial          ✅           ✅
          OS
          Wind River                           ✅                    Partial     Partial          ✅           ✅
          Linux
          Rocky Linux                          ✅                    Partial     Partial          ✅           ✅
          PexOS                                ✅                    Partial     Partial          ✅           ✅
          TanOS                                ✅                    Partial     Partial          ✅           ✅
          Appgate SDP                          ✅                    Partial     Partial          ✅           ✅
          Arch Linux                           ✅                    Partial     Partial          ✅           ✅
          Aruba
          ClearPass                            ✅                    Partial     Partial          ✅           ✅
          Platform
          Common Base                          ✅                    Partial     Partial          ✅           ✅
          Linux Delridge
          Silver Peak                          ✅                    Partial     Partial          ✅           ✅
          VXOA
          Linux Gentoo                         ✅                    Partial     Partial          ✅           ✅
          Trend Micro
          Smart                                ✅                    Partial     Partial          ✅           ✅
          Protection
          Server
          Clear Linux OS                       ✅                    Partial     Partial          ✅           ✅
          Darktrace OS                         ✅                    Partial     Partial          ✅           ✅
          Imperva                              ✅                    Partial     Partial          ✅           ✅
          SecureSphere
          Barracuda
          CloudGen                             ✅                    Partial     Partial          ✅           ✅
          Firewall
          F5 TMOS Linux                        ✅                    Partial     Partial          ✅           ✅
          N-centralOS                          ✅                    Partial     Partial          ✅           ✅
          Linux
https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                          5/11
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 50 of 207 PageID #: 777


            Operating                    Detection Technologies Vulnerabilities Malware Secrets
              System
          MgmtOS                               ✅                    Partial     Partial          ✅           ✅
          Sangoma Linux                        ✅                    Partial     Partial          ✅           ✅
          AWS                                  ✅                        -         -               -           -
          BottleRocket

                Partial support means that Wiz can apply only file-based detection.

       How much data is flowing in terms of byte transfer?
       Each disk scan is around 2-3 MB.
       What attributes and parameters are transferred for any
       resources while scanning for any finding, secret, vulnerability, or
       data?
              List of installed packages + versions
              List of programming languages libraries + versions
              Local users
              Authentication configuration
              Operating system info
              Hashes of all files
              CIS benchmarks output
              Secret metadata (without the sensitive info)
              Deployed Git repositories
              Deployed containers
              For Windows machines: installed programs, services, and installed KBs
       How does Wiz identify the compute instances' boot volumes?
       It depends on your cloud provider:
            AWS—For each instance fetched using the API, AWS reports the RootDeviceName (e.g. -
             "RootDeviceName": "/dev/sda1" ) and BlockDeviceMappings . The volume ID written
            under the DeviceName from the RootDeviceName is the OS volume; the rest are the data
            volumes.
            Azure—For each instance fetched using the API, Azure reports the osDisk . The disk under
            osDisk is the boot volume; the rest (under dataDisks) are the data volumes.
https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                          6/11
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 51 of 207 PageID #: 778

              GCP—For each instance fetched using API, GCP reports whether it is a boot volume. The
              boot volume is marked using boot: true , and the rest using boot: false .
       Does Wiz capture ephemeral resources?
       Yes, all VMs that exist when the snapshot is created are represented on the Security Graph.
       Moreover, Wiz groups all ephemeral resources instantiated from the same parent into a single
       Compute Instance Group, which is a persistent object on the Security Graph. All vulnerabilities,
       Findings, Issues, etc. associated with ephemeral resources are attached to their parent
       Compute Instance Groups in order to prevent duplication.
       However, Wiz does not retroactively track the number of ephemeral resources, so the number
       of ephemeral resources in a Compute Instance Group does not reflect its "history". For instance,
       if a particular Compute Instance Group included 1,000 VMs at 10:00 am but 990 of them were
       taken down at 12:00 pm, then Wiz would show only the 10 VMs that still existed when the scan
       occurred the following night.
       Does Wiz detect spot instances and databricks instance pools
       as created from the same group?
       Yes, Wiz groups together spot instances and databricks instances based on common tags and
       presents them as compute instance groups. The tag keys used for grouping are:
           DatabricksInstancePoolCreatorId
           spotinst:aws:ec2:group:id
           aws:ec2:fleet-id
           gitlab_autoscaler_token
       How does Wiz identify an ephemeral resource?
       Because there is no single attribute across all cloud providers that identifies a resource as
       ephemeral, Wiz uses an in-house dictionary that captures different types of short-lived
       resources. These various definitions are normalized on the Security Graph as the ephemeral
       property.
       Why wasn't a disk scanned?
       There are several reasons a disk scan can fail. To troubleshoot disk scan errors:
        1. Identify all VMs whose disks failed to scan or were skipped.
        2. Click a Security Tool Scan. Its details drawer opens on the right.



https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                          7/11
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 52 of 207 PageID #: 779




          3. Look up its Status and Status Details:
          Status            Status Details                                  Description
          Failed            Internal error                                  The Wiz backend failed to complete the scan.
                                                                            Either the Wiz connector missing the required
          Failed            Missing permissions: *                          permission, or there exists a policy that blocks
                                                                            Wiz from accessing a required resource.
                            Missing Key Vault                               Follow the guide to grant permissions to the
          Failed            permissions to read the                         specified Key Vault.
                            ADE encrypted disk secret
                            NoValidPartitionWasFound:
                            No valid partition was                          No valid partition was found. Either an
          Failed            found. Either an                                unsupported, corrupt or encrypted
                            unsupported, corrupt or                         filesystem/OS.
                            encrypted filesystem/OS
          Failed            Unexpected error                                The Wiz backend failed to complete the scan.
                                                                            To ensure that the attached disk has the correct
          Failed            VolumeIsFull: Unable to                         volume to scan, Wiz writes to that volume scan-
                            attach full volume                              related identifiers. Therefore, Wiz cannot scan
                                                                            volumes that are completely full.
                  VolumeIsReadOnly: Unable Wiz is unable to scan read-only volumes as it
          Failed to operate on read-only   requires writing scan-related metadata.
                  volume
          Skipped Databricks               Wiz does not scan Databricks.
          Skipped Instance group sampling Instead  of scanning all disk volumes in an
                                           instance group, Wiz samples only one.


https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                                  8/11
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 53 of 207 PageID #: 780

          Status            Status Details                                  Description
                                                                            The specified resource group is locked, which
                                                                            would prevent Wiz deleting snapshots. To fix
                                                                            this, either remove the lock from the specified
          Skipped Locked by: *                                              resource group or use the Dedicated Resource
                                                                            Group option in the Connector settings to set a
                                                                            dedicated resource group in which snapshots
                                                                            will be created, scanned and then deleted by
                                                                            Wiz.
                                                                            Access to the specified secret is blocked from
          Skipped Secret External ID: *                                     Wiz, which is required to perform the scan on
                                                                            encrypted disks.
          Skipped Unmanaged disk                                            Legacy disk format that Wiz does not support.
          Skipped Volume contains tag "wiz"                                 Wiz does not scan resources it created in
                                                                            customers environment.
                                                                            VMs or ephemeral resources that existed when
          Skipped Volume not found                                          Wiz intiated the scan but were destroyed later
                                                                            when Wiz tried to create a snapshot.

       Why does Wiz need access to storage in order to scan functions
       in Azure?
       In order to scan functions for vulnerabilities, Wiz needs access to the function code and
       dependencies. In Azure, App Services code is saved in a zip in a dedicated storage account, so
       Wiz requires access to the code files in those specific storage accounts. There is no other way
       in Azure to get the function code—it is always in a storage account. For some application types
       (e.g. Python apps), the code can be quite a lot of files, which can trigger alerts.
       To access these specific storage accounts, Wiz uses the keys for the dedicated storage
       accounts containing service app code files. This access is granted by the following permissions:
              “Microsoft.Web/sites/config/list/Action”
              “Microsoft.Web/sites/slots/config/list/Action”
       It is important to emphasize that Wiz does not have permissions to read data from other storage
       accounts, only to the storage used for function code. You can review our permissions to validate
       that Wiz does not have generic access to storage data. You can also see in your cloud logs
       exactly which storage accounts Wiz accesses.
       Finally, when Wiz scans the function code for vulnerabilities, dependencies, etc., the scan is
       performed ad-hoc in memory. We do not store the code files anywhere. Wiz only ends up
       storing the metadata, i.e. the vulnerabilities.
https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                                 9/11
       Can specific workloads be excluded from scanning?
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 54 of 207 PageID #: 781




       Yes. In order to exclude a workload from being scanned, add the following tag to the machine:
            key: "WizExclude"
            value: null
       If you would like to use a tag other than "WizExclude", let us know.
       How often does Wiz scan?
       By default, your entire environment is scanned every ~24 hours. You can initiate manual scans
       on an individual resource from its details drawer, on a subscription, or on a connector.
       Can scans be scheduled to start or end at a specific time of the
       day?
       No. Wiz automatically scans your entire environment every ~24 hours, but these scans are
       staggered and optimized to avoid overloading the Wiz backend. This means there is some
       inherent variability around when exactly each account, subscription, VM, etc. was last scanned
       and will be scanned again.
       You can always manually initiate scans of a specific VM or connector.
       How many snapshots does Wiz scan concurrently?
       Up to 20 disk snapshots are scanned concurrently.
       Does Wiz support scanning physically attached disks (e.g. AWS
       instance store volumes)?
       No. Physically attached disks do not support snapshots, so Wiz cannot scan them.
       Does Wiz scan inactive VMs?
       Absolutely. Inactive VMs are no less risky than active VMs for a number of reasons:
          A VM can be turned on very easily. It's better to know about its risks before it is turned on.
          VMs can be turned off for good security reasons, but you still want to know about their
          potential risks.
          A VM that was safe when it was turned off can become unsafe due to newly disclosed
          vulnerabilities, other infrastructure changes, etc.
          With sufficient permissions, malicious actors can identify vulnerable inactive VMs in much
          the same way Wiz does, turn them on, and then move laterally through your environment,
          escalate privileges, or gain access to sensitive data.
https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                          10/11
1/19/22,Case
        3:18 PM 1:23-cv-00758-GBW                   Document 15-1 Filed  10/10/23
                                                                     Agentless Scanning Page 55 of 207 PageID #: 782

       If you want to focus only on active VMs, you can always click ➕ > Status > Active on the VM
       criterion in the query builder:




           Updated about 1 hour ago

            Connect                                                                 Supported Cloud Services 

                                                 Did this page help you?  Yes  No




https://docs.wiz.io/wiz-docs/docs/agentless-scanning#why-wasnt-a-disk-scanned                                          11/11
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 56 of 207 PageID #: 783




                   EXHIBIT 5
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 57 of 207 PageID #: 784




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                         Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 58 of 207 PageID #: 785




PRT254


SPONSORED BY WIZ




Context is everything: Join the
CNAPP revolution to secure
your AWS deployments
Yinon Costica
Co-Founder and VP of Product
Wiz


         © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                     Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 59 of 207 PageID #: 786

Agenda

What is holding back your cloud journey?

A new approach to reducing risk

Fireside chat with John Visneski, CISO of MGM Studios

Open Q&A




     © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                          Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 60 of 207 PageID #: 787

Wiz: Redefining cloud security
One of the fastest-growing SaaS companies in history*
                                                                                                    Industry leaders trust Wiz as their cloud security partner


5M workloads
Scanned daily


Over 30%
of the Fortune 100




*Forbes Article by Peter Cohan,
https://www.forbes.com/sites/petercohan/2021/10/30/outpacing-palo-alto-
networks-wizs-valuation-soars-11000-in-10-months/?sh=2e2a725463d2

          © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 61 of 207 PageID #: 788

What is holding back your cloud security journey?




      Complex environment                                                      Complex risk                          Complex to operationalize

     Multiple clouds                                                           Vulnerabilities & misconfigurations    Lack of visibility


     Multiple architectures                                                    Risk likelihood                        Fragmented suite of tools


     Thousands of technologies                                                 Risk impact                            Remediation process across teams




   © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                     Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 62 of 207 PageID #: 789

Traditional security does not always detect
the real issues

• Traditional tools like CSPMs and
 vulnerability scanners don’t always
 detect the real issues

• Scan independently and lack context,
 unable to prioritize

• Generate noise and may increase your
 key security metrics



     © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 63 of 207 PageID #: 790


Misconfigurations != risks




   © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                     Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 64 of 207 PageID #: 791

Example: Which security issues do you prioritize?

 • Traditional security tooling drive
   alert fatigue



 • Your team lacks the context to
   focus on the right issue

   • Workload

   • Cloud

   • Business context




     © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                     Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 65 of 207 PageID #: 792

Example: Which security issues do you prioritize?
                                                                                                                       Internet exposure
                                                                                                                       (CSPM)

 • Traditional security tooling drive
   alert fatigue
                                                                                                                                                       Amazon Aurora
                                                                                                                                                      (Data discovery)



 • Your team lacks the context to                                                                                    Amazon EC2
                                                                                                                     Compute Instance
   focus on the right issue
                                                                                                                            Web server


   • Workload                                                                                                               Production     Sensitive Data
                                                                                   Vulnerability CVSS 9.8
                                                                                                                          eCommerce App
                                                                                 (Vulnerability Assessment)
   • Cloud

   • Business context                                                                                                                               AWS Admin
                                                                                                 Exposed secret
                                                                                              (Secrets scanner)                                     (CIEM)




     © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 66 of 207 PageID #: 793




                                                            Cloud Native Application Protection Platform (CNAPP)



                         CSPM                                                Compliance reporting                           Host Configuration


           Serverless Security                                                      CWPP                                       Cloud CMDB


         Network Architecture                                                   IaC Scanning                                Container Security


             Secrets scanning                                                       CIEM                                Vulnerability Management



                                                            Cloud Native Application Protection Platform (CNAPP)




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                        Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 67 of 207 PageID #: 794

Wiz is a new approach to securing your cloud
Agentless, graph-based security solution to give you a comprehensive understanding of your AWS resources and risk




                  Frictionless visibility



                 Prioritization and context



                 Democratized for agility




        © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                        Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 68 of 207 PageID #: 795

Securing your AWS environment in 4 steps

1     Agentless scan of cloud
      metadata and workloads                                         2          Perform a deep
                                                                                cloud assessment    3    Identify the most
                                                                                                         critical risks                    4   Proactively
                                                                                                                                               harden your cloud


                                                                      Traditional scanning                                                 Partner integrations
                                                                      Vulnerabilities and patches
                                                                      Misconfigurations
                                                                      Malware
                                                                                                                                            20+ integrations
                                                                      Sensitive data

Serverless                                                            Cloud risk engine                                                    Cloud remediation
Containers                                                            External exposure                                                    One-click remediation
VMs                                                                   Excessive permissions                                                Automated security response
PaaS                                                                  Exposed secrets                                                      Remediation guidance
                                                                      Lateral movement paths

                                                                      Integrated tools                                                     CI/CD Guardrails
                                                                      AWS CloudTrail                                                       One policy across the stack
                                                                      Amazon GuardDuty                                                     Container and VM image scan
                                                                      Amazon Macie                                                         IaC scanning
                                                                      3rd party tools



        © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                       Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 69 of 207 PageID #: 796

Step 1: Full visibility in minutes across 60+ AWS
services without agents

 1    Agentless scan of cloud
      metadata and workloads
                                                                                                                        Compute                               Application and Data

                                                                                                           Amazon     Amazon               AWS
                                                                                                                                AWS                 Amazon     Amazon      Amazon   Amazon    Amazon
                                                                                                            EC2        EKS                Lamba
                                                                                                                               Fargate               ECS     ElastiCache     S3     Neptune   Redshift
                                                                                                                                         function




                                                                                                             AWS    Amazon     Amazon               Amazon    Amazon       Amazon             Amazon
                                                                                                                                          Elastic                                   Amazon
                                                                                                            Transit  VPC        Route                ECR     DynamoDB       RDS                SQS
                                                                                   Serverless              Gateway               53        Load
                                                                                                                                         Balancer
                                                                                                                                                                                     SNS


                                                                                   Containers
Frictionless visibility
                                                                                   VMs
                                                                                                                                                              Amazon        AWS                Amazon
                                                                                   PaaS                                                                                               MQ

    Agentless scanning via API                                                                              Security and Identity                            SageMaker      Glue              CloudFront




    Cloud and architecture agnostic
                                                                                                           Amazon                AWS     AWS Secrets
                                                                                                                       IAM
                                                                                                           Cognito               KMS      Manager

    Quick deployment, low maintenance
                                                                                                           Amazon         AWS      AWS Systems
                                                                                                          GuardDuty     CloudTrail  Manager




       © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                         Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 70 of 207 PageID #: 797

Step 2: See the whole risk picture with the Wiz
Security Graph
                                                                                                                               Configuration –
                                                                                                                               misconfigured path not


    2
                                                                                                                               through CloudFront
        Perform a deep
        cloud assessment
                                                                                              Effective exposure path


Traditional scanning                                               Cloud risk engine                                                                    Exposed keys on disk allowing
•   Vulnerabilities and patches                                    •      External exposure                                                             an escalation path to the
                                                                                                                                                        private production DB
•   Misconfigurations                                              •      Excessive permissions
•   Malware                                                        •      Exposed secrets
•   Sensitive data                                                 •      Lateral movement paths


Integrated tools
                                                                                                           Workload – the exposed
•   AWS CloudTrail                                                                                         machine is unpatched with
•   Amazon GuardDuty                                                                                       vulnerable Linux versions

•   Amazon Macie
•   3rd party tools


         © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                     Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 71 of 207 PageID #: 798

Example: Effective network exposure

Step 1 – Effective Exposure Analysis                                                                                Step 2 –                    Step 3 –
                                                                                                                  Port validation              HTTP GET
                                                                                               Port: 80              Port: 80            Port: 80
                                                                                               IP: 123.45.67.87      IP: 123.45.67.87    IP: 123.45.67.87
                                                                                                                                         HTTP status: 200 OK
                                                                                               Port: 22               Port: 22
                                                                                               IP: 123.45.67.87       IP: 123.45.67.87
                                                                                                                                         Port: 3389
                                                                                               Port: 3389             Port: 3389         IP: 123.45.67.87
                                                                                               IP: 123.45.67.87       IP: 123.45.67.87   HTTP status: 403 Forbidden
                                                                                               Port: 8080             Port: 8080
                                                                                               IP: 123.45.67.87       IP: 123.45.67.87
                                                                                                                                         Port: 8082
                                                                                                                     Port: 8082          IP: 123.45.67.87
                                                                                               Port: 8082            IP: 123.45.67.87     HTTP status: 200 OK
                                                                                               IP: 123.45.67.87

                                                                                               Port: 4443             Port: 4443
                                                                                               IP: 123.45.67.87       IP: 123.45.67.87   Port: 22
                                                                                                                                         IP: 123.45.67.87
                                                                                               Port: 22               Port: 22
                                                                                               IP: 123.45.67.87       IP: 123.45.67.87   HTTP status: 200 OK
                                                                                               Port: 80               Port: 80           Port: 80
                                                                                               IP: 123.45.67.87       IP: 123.45.67.87   IP: 123.45.67.87
                                                                                                                                          HTTP status: 401 Unauthorized




     © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                      Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 72 of 207 PageID #: 799


Example: Escalation path

• Identify lateral movement and
  escalation paths using graph
  analysis
                                                                                                                                  Sensitive Data
                                                                                                     Development

• Correlate exposed secrets,
  permissions, and the resources
  they can access
                                                                                                             Cross-account
                                                                                                                access




                                                                                                                                   Production




      © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                       Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 73 of 207 PageID #: 800

Step 3: Prioritize risk and attack paths to critical assets
                                                                                                                         Internet exposure


 3
                                                                                                                         (CSPM)
     Identify the most
     critical risks


                                                                                                                                                          AWS Aurora
                                                                                                                                                        (Data discovery)


                                                                                                                        Amazon EC2
                                                                                                                        Compute Instance
Prioritization and context
                                                                                                                              Web server

   Security findings from Wiz and AWS                                                                                         Production     Sensitive Data
                                                                                     Vulnerability CVSS 9.8
                                                                                                                            eCommerce App
   Correlates risk from multiple security                                          (Vulnerability Assessment)
   domains
   Provides meaningful context
                                                                                                   Exposed secret                                     AWS Admin
   High fidelity alerting                                                                       (Secrets scanner)                                     (CIEM)




       © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 74 of 207 PageID #: 801




Exposure
+
Vulnerability
+
Secrets
+
Identity
+
Data


   © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                      Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 75 of 207 PageID #: 802

Amazon GuardDuty findings prioritization


• Cloud alerts lack context as well

• Contextualize and prioritize
  threat detection with the graph

• SSH brute force correlated to a:
   • High-risk workload
   • Password authentication
   • User with a weak password
   • Lateral movement path




      © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 76 of 207 PageID #: 803


Secrets scanning in data assets




   © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                     Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 77 of 207 PageID #: 804


Kubernetes, containers, and serverless

• Network exposure
• Vulnerability scanning
• K8s to cloud identity
• Data scanning
                                                                                                                   Amazon EKS cluster
                                                                                                                                          DynamoDB
                                                                                                                                          customer list




                                                                                                                                        Amazon S3 bucket

     © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                      Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 78 of 207 PageID #: 805

Step 4: Proactively harden your cloud


 4   Proactively harden
     your cloud




Democratize security and build process

   Works with your developers' native tooling

   All cloud teams get access to their risks

   Automation to correctly route issues

   Remediation to the left and to the right


      © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 79 of 207 PageID #: 806

Wiz for AWS: Cloud Security for Builders and Defenders




   Set up within minutes                                                       Real risks, out of the box,              Democratize security and
   using a cloud role                                                          no tunning required                      build a program
           Connect with 50+ AWS Services                                           Security findings from Wiz and AWS        Works with AWS Tooling

           Agentless scanning via API                                              Correlates toxic combinations             All cloud teams get access to risk

           Cloud and architecture agnostic                                         Provides meaningful context               Automation for correctly routing issues

           Quick deployment, low maintenance                                       High fidelity alerting                    Remediation to the left and to the right




   © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 80 of 207 PageID #: 807




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 81 of 207 PageID #: 808




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 82 of 207 PageID #: 809




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 83 of 207 PageID #: 810




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 84 of 207 PageID #: 811




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 85 of 207 PageID #: 812




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 86 of 207 PageID #: 813




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 87 of 207 PageID #: 814




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 88 of 207 PageID #: 815




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                     Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 89 of 207 PageID #: 816

Where Wiz fits in the security stack today
  Wiz CNAPP                                                                                       Wiz Guardrails (CI/CD integration)

                Secure cloud and Kubernetes configuration                                                       Container image scanning
   CSPM




                Cloud external attack surface management                                                        VM Image Gallery scans




                                                                                                    DevSecOps
                Cloud Infrastructure Entitlement Management (CIEM)
                                                                                                                Registry scanning
                Vulnerability and secure configuration assessment                                               IaC Scanning (TF, CF, ARM, YAML, …)
                Container and serverless security
   CWPP




                                                                                                                Kubernetes Admission Controllers
                Secrets scanning

                Malware scanning                                                                   Wiz complements

                Asset Inventory and Security Graph                                                 SaaS security (CASB, SASE, SSPM)

                Attack Path Analysis (APA)                                                         Identity Management, Access and Zero trust (IAM, ZTNA)
   CNAPP




                Toxic Combination and risk prioritization                                          Application Security (SAST, DAST, WAF)

                Cloud Detection and Response (CDR)                                                 Runtime Protection and behavior analysis (EDR, UEBA)

                Data Security Posture Management (DSPM)                                            Orchestration and event management (SIEM, SOAR)


     © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 90 of 207 PageID #: 817

Wiz provides immediate business value
for AWS customers
                         Risk mitigation                                                        Operational efficiency

                                   Eliminate blind spots                                             Eliminate overhead of agents

                                   Prevent issues in production                                      Reduce noise and manual effort

                                   Ensure readiness                                                  Automate governance

                                   Scale in the cloud seamlessly                                     Speed remediation




                         Cost reduction                                                         Accelerate the business

                                  Reduce license, deployment, integration,                           Keep your devs focused on building
                                  and support costs of point security products
                                                                                                     Prevent issues in production

                                   Identify unnecessary cloud usage                                  Ensure readiness

                                                                                                     Scale in the cloud seamlessly



   © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 91 of 207 PageID #: 818




Fireside chat


                                                                                                                   John Visneski
                                                                                                                CISO – MGM Studios
© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 92 of 207 PageID #: 819




Q&A



© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 93 of 207 PageID #: 820




                                     Visit us at booth #419
                              Learn more at www.wiz.io | Find Wiz in the AWS Marketplace




© 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
                                                 Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 94 of 207 PageID #: 821




Thank you!

                                                                                                                            Please complete the session
                                                                                                                            survey in the mobile app


 © 2022, Amazon Web Services, Inc. or its affiliates. All rights reserved.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 95 of 207 PageID #: 822




                   EXHIBIT 6
   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 96 of 207 PageID #: 823
Datasheet


Wiz Cloud Security Platform
Take control of your cloud infrastructure security
Wiz analyzes all layers of the cloud stack to reveal actionable insights about high-risk attack vectors in your cloud so you
can prioritize and ﬁx them.


Key use cases
 Get a complete and up-to-date
 inventory of all cloud resources:
 PaaS, VMs, containers, etc.
 Correlate issues across the cloud
 stack that together create high-risk
 inﬁltration vectors
 Route high-risk issues to the right
 teams to ﬁx them and track
 resolution
 Create a cloud governance practice
 that manages risk within a deﬁned
 risk budget




What makes Wiz different




You don't deploy Wiz, you connect it      Actionable insights without the noise      Total coverage ofyour environment

With no agents or sidecars to deploy,     Wiz combines the functionality of a        Wiz analyzes the full cloud stack
Wiz begins delivering security value      CSPM, vulnerability scanner, container     without the limits of agents—every
in minutes after you connect Wiz to       security, and CIEM into a single graph     VM, every container, and every cloud
your cloud environment API.               to correlate risks without the noise.      service across AWS, Azure, GCP,
                                                                                     Kubernetes and OpenShift.




© Wiz, Inc.                             For more information visit www.wiz.io
   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 97 of 207 PageID #: 824
Datasheet


The ﬁrst full-stack multi-cloud security platform

Depth into the full cloud stack
As soon as you connect Wiz to your cloud environment API,
Wiz scans your entire cloud stack, not just the infrastructure
layer. Inside workloads, Wiz analyzes the operating system,
applications, code libraries, and secrets. Wiz also scans your                                App
cloud conﬁguration and metadata.                                                    App
 Virtual machines
                                                                       App
                                                                                           container
 Containers                                                                                                      Function

 Serverless                                                          Container

 PaaS services                                                                       Virtual Machine



Breadth across multiple clouds                                         Kubernetes                          Serverless

Wiz gives you a uniﬁed view and ability to perform security
                                                                                     PaaS resources
with a common tool set across all your cloud environments.
 Public cloud – Amazon Web Services, Microsoft Azure, and
                                                                                                Identity
 Google Cloud Platform.                                                                                    Network

 On premises – Container environments deployed with
 OpenShift.
                                                                                     Cloud Plarform
 Every ﬂavor of Kubernetes – Self-managed Kubernetes
 clusters and managed container services from cloud


Agentless coverage of everything
Wiz scans all the resources and workloads in your cloud
environment using a unique snapshot technology that
covers more than an agent can.
 Complete coverage – Complete coverage of all VMs and
 containers, not just the ones with the agent or sidecar
 installed.
 Short-lived resources – Analyze short-lived resources
 created on the ﬂy for autoscaling, which agents can't scan.
 Managed instances – Preconﬁgured virtual machine
 templates from third parties and marketplaces you can’t
 install agents on.




© Wiz, Inc.                            For more information visit www.wiz.io
   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 98 of 207 PageID #: 825
Datasheet

Identify high-risk attack vectors
Until now, cloud security tools have created thousands of low-priority alerts because they look at vulnerabilities or
misconﬁgurations in isolation. Wiz uses the full context of your cloud and combines this information in a single graph in
order to correlate related issues that together create an inﬁltration vector, giving you actionable information about the
highest risks so you can ﬁx what matters most.



Secure use of secrets                      Cloud Security Graph                                          Lateral movement
Identify all keys located on your                                                                        Remove lateral movement risks
                                           Wiz combines all of the data about
workloads cross referenced                                                                               such as private keys used to
                                           your cloud and workloads into a
with the privileges they have in                                                                         access both development and
                                           single graph, making it possible to
your cloud environment.                                                                                  production environments.
                                           correlate related issues that create
                                           attack vectors.
Identity and access
                                                                                                         Vulnerability and patch
Map the identity structure of
                                                                                                         management
every resource to the role it can
                                                                                                         Scan       for      vulnerable    and
assume, taking into account
                                                                                                         unpatched operating systems,
mitigating controls such as
                                                                                                         installed software, and code
service control policies (SCP)
                                                                                                         libraries in your workloads
and permissions boundaries.
                                                                                                         prioritized by risk.


External exposure                                                                                        Secure conﬁguration
See    which    resources     are                                                                        Assess the conﬁguration of
publicly exposed to the internet                                                                         cloud infrastructure,
based on a full analysis of your                                                                         Kubernetes, and VM operating
cloud network, even those                                                                                systems against your baselines
behind multiple hops.                                                                                    and industry best practices.


Real-world example
Unpatched Jenkins container running on a VM exposed to
the internet with exploitable vulnerabilities and                                                                            Internet

high-privilege secrets that give access to the production
environment.

Only Wiz is able to pinpoint this kind of high-risk situation                                                                API Gateway


because it understands the full cloud context:
                                                                                     Jenkins Container    Virtual Machines

 Scans the workloads inside the container to determine the
                                                                             !
 version of Jenkins and its vulnerabilities.

 Analyzes networking in your cloud to identify internet                          Jenkins         Secret


 exposure on a machine with no public IP.

 Finds private keys (secrets) on the container and analyzes
 the permissions they have in your environment.                             Vulnerability         Admin




© Wiz, Inc.                             For more information visit www.wiz.io
   Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 99 of 207 PageID #: 826
Datasheet

Where Wiz ﬁts in the security stack
Wiz includes many cloud security capabilities typically      There are also some cloud security features adjacent to
found in standalone products in one platform:                Wiz that we don’t cover:
   Patch and vulnerability assessment                          Cloud access security broker (CASB)
   Cloud security posture management (CSPM)                    Secure access service edge (SASE)
   Cloud inventory and asset management                        Zero trust network access (ZTNA)
   Container and serverless security                           Runtime protection
   Cloud network visibility – conﬁguration analysis            Netﬂow analysis
   Cloud identity and entitlement management (CIEM)            Secrets mangement
   Secrets scanning and analysis in cloud workloads


Key features
Snapshot scanning                                            Inventory and asset management
Takes a snapshot of each VM system volume and analyzes       Creates a complete and up-to-date inventory of all
its operating system, application layer, and data layer      services and software in your cloud environment including
statically with no performance impact.                       the application version and package.


Secrets scanning and analysis                                Noise-cancelling alerts
Finds cleartext keys stored on VMs and containers, parses    Collapses alerts for related resources into one alert (e.g.
the key to understand it, and maps the permissions it has    multiple VMs part of an instance group or containers from
within your environment.                                     the same image).


Remediation workﬂow                                          Project-based cloud governance
Creates tickets directly in service tracking products like   Gives role-based access to Wiz’s security capabilities, so
Jira and ServiceNow and sends alerts via email or            developers and other teams can track risk in their projects
messaging applications like Slack.                           and stay under a deﬁned risk budget.


Supported Platforms                                          Integrations
Cloud platforms                                              CI/CD Pipelines
Get deep visibility into your cloud environment.             Shift-left your security scans with Wiz CLI that integrates
 Amazon Web Services                                         seamlessly to the leading CI/CD pipelines.
 Microsoft Azure
 Google Cloud Platform (GCP)                                 Remediation workﬂow
                                                             Send risks to the right people to ﬁx using built-in
Containers                                                   integrations to Slack, ServiceNow, Jira, and more…
Get deep visibility into your Kubernetes clusters.
 OpenShift                                                   Extensibility
 Kubernetes                                                  Build upon Wiz’s robust and fully documented webhooks
 Google Kubernetes Engine (GKE)                              and APIs that enable easy integration to any data platform
 Amazon Elastic Kubernetes Service (EKS)                     you need.
 Azure Kubernetes Service (AKS)
 Standalone Containers



© Wiz, Inc.                             For more information visit www.wiz.io
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 100 of 207 PageID #: 827




                    EXHIBIT 7
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 101 of 207 PageID #: 828
                                     I 1111111111111111 1111111111 111111111111111 IIIII IIIII IIIII lll111111111111111
                                                                                                                        US011693685B2


    c12)   United States Patent                                                            (IO) Patent No.:                          US 11,693,685 B2
           Shua                                                                            (45) Date of Patent:                                 Jul. 4, 2023

    (54)   VIRTUAL MACHINE VULNERABILITIES                                             (58)     Field of Classification Search
           AND SENSITIVE DATA ANALYSIS AND                                                      CPC ............. H04L 63/1416; H04L 63/1433; H04L
           DETECTION                                                                                            63/1441; G06F 9/45558; G06F 16/128;
                                                                                                                 G06F 2009/45562; G06F 2009/45583;
    (71)   Applicant: Orea Security LTD., Tel Aviv (IL)                                                              G06F 2009/45595; G06F 2201/84
                                                                                                See application file for complete search history.
    (72)   Inventor:    Avi Shua, Tel Aviv (IL)
                                                                                       (56)                                  References Cited
    (73)   Assignee: Orea Security Ltd., Tel Aviv (IL)
                                                                                                              U.S. PATENT DOCUMENTS
    ( *)   Notice:      Subject to any disclaimer, the term ofthis
                        patent is extended or adjusted under 35                               9,069,983 Bl    6/2015 Nijjar
                        U.S.C. 154(b) by O days.                                              9,177,145 B2   11/2015 Todorovic
                                                                                              9,229,758 B2    1/2016 Ammons et al.
                                                                                              9,268,689 Bl * 2/2016 Chen ................... G06F 12/1027
    (21)   Appl. No.: 17/361,861
                                                                                              9,519,781 B2   12/2016 Golshan et al.
    (22)   Filed:       Jun. 29, 2021                                                                                          (Continued)

    (65)                  Prior Publication Data                                                                 OTHER PUBLICATIONS
           US 2021/0329019 Al           Oct. 21, 2021                                  Non-Final Office Action U.S. Appl. No. 16/585,967 dated Feb. 3,
                                                                                       2022, in the United States Patent and Trademark Office.
                    Related U.S. Application Data
                                                                                                                               (Continued)
    (63)   Continuation of application No. 16/585,967, filed on
           Sep. 27, 2019, now Pat. No. 11,431,735.                                     Primary Examiner - Benjamin C Wu
    (60)   Provisional application No. 62/797,718, filed on Jan.                       (74) Attorney, Agent, or Firm - Finnegan, Henderson,
           28, 2019.                                                                   Farabow, Garrett & Dunner, L.L.P.

    (51)   Int. Cl.                                                                    (57)                                   ABSTRACT
           G06F 9/455            (2018.01)                                             A system and method for securing virtual cloud assets in a
           H04L 9/40             (2022.01)                                             cloud computing environment against cyber threats. The
           G06F 16111            (2019.01)                                             method includes: determining a location of a snapshot of at
           G06F 11114            (2006.01)                                             least one virtual disk of a protected virtual cloud asset,
    (52)   U.S. Cl.                                                                    wherein the virtual cloud asset is instantiated in the cloud
           CPC ...... G06F 9/45558 (2013.01); G06F 1111464                             computing environment; accessing the snapshot of the vir-
                     (2013.01); G06F 161128 (2019.01); H04L                            tual disk based on the determined location; analyzing the
                  63/1416 (2013.01); H04L 63/1433 (2013.01);                           snapshot of the protected virtual cloud asset to detect
                   H04L 63/1441 (2013.01); G06F 2009/45562                             potential cyber threats risking the protected virtual cloud
                (2013.01); G06F 2009/45583 (2013.01); G06F                             asset; and alerting detected potential cyber threats based on
                      2009/45587 (2013.01); G06F 2009/45591                            a determined priority.
                (2013.01); G06F 2009/45595 (2013.01); G06F
                                            2201/84 (2013.01)                                                22 Claims, 4 Drawing Sheets

                                                                                                     /200
                                                                               Start

                                                                                                                      S210
                                                   Receive a request to scan a VM for vulnerabilities

                                                                                                                      S220
                                                Determine a location of the virtual disk of the VM and its snapshot


                                                                                                                      S230
                                                             Access a snapshot of virtual disk

                                                                                                                      S240
                                                                    Analyze the snapshot

                                                                                                                      S250

                                                                   Report detected threats

                                                                                                                      S260
                                                                 Trigger a mitigation action



                                                                               End
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 102 of 207 PageID #: 829


                                                            US 11,693,685 B2
                                                                        Page 2


   (56)                  References Cited                                        2023/0087080 Al*    3/2023   Shua                      G06F 16/128
                                                                                 2023/0089313 Al*    3/2023   Shua                     G06F 11/1451
                 U.S. PATENT DOCUMENTS                                           2023/0092220 Al*    3/2023   Shua ................... H04L 63/1441
                                                                                 2023/0093527 Al*    3/2023   Shua                     G06F 11/1464
        9,563,777 B2      2/2017   Deng et al.
        9,734,325 Bl      8/2017   Neumann et al.                                              OTHER PUBLICATIONS
        9,756,070 Bl      9/2017   Crowell et al.
        9,798,885 B2     10/2017   Deng et al.                               Notice of Allowance U.S. Appl. No. 16/585,967 dated Jul. 7, 2022,
        9,858,105 Bl      1/2018   Upadhyay et al.
                                                                             in the United States Patent and Trademark Office.
       10,079,842 Bl      9/2018   Brandwine et al.
                                                                             Non-Final Office Action U.S. Appl. No. 17/330,998 dated Mar. 4,
       10,402,560 B2      9/2019   Gilbert
       10,412,109 B2      9/2019   Loureiro et al.                           2022, in the United States Patent and Trademark Office.
       10,469,304 Bl*    11/2019   Kempe ................. H04L 41/085       Final Office Action U.S. Appl. No. 17/330,998 dated Jun. 30, 2022,
       10,534,915 B2      1/2020   Cherny et al.                             in the United States Patent and Trademark Office.
       10,536,471 Bl      1/2020   Derbeko                                   Notice of Allowance U.S. Appl. No. 17/330,998 dated Aug. 10,
       10,782,952 Bl      9/2020   Doring et al.                             2022, in the United States Patent and Trademark Office.
       10,812,521 Bl*    10/2020   Sharifi Mehr ...... H04L 63/1433          Wei et al., "Managing Security of Virtual Machine Images in a
       10,944,778 Bl      3/2021   Golan                                     Cloud Environment", CCSW'09, pp. 91-96, Nov. 13, 2009.
       11,068,353 Bl      7/2021   Ved                                       Rani et al.; "An Efficient Approach to Forensic Investigation in
       11,120,124 B2      9/2021   Fusenig et al.                            Cloud using VM Snapshots", 2015 International Conference on
       11,216,563 Bl      1/2022   Veselov et al.                            Pervasive Computing (ICPC), 5 pages, (2015).
       11,431,735 B2 *    8/2022   Shua ................... H04L 63/1433     Almulla et al., "Digital Forensic of a Cloud Based Snapshot", The
       11,516,231 B2 *   11/2022   Shua ..................... G06F 16/128    Sixth International Conference on Innovative Computing Technol-
    2007/0266433 Al      11/2007   Moore                                     ogy (INTECH 2016), pp. 724-729, (2016).
    2008/0189788 Al *     8/2008   Bahl ................... H04L 63/1416     Pandey et al., "An Approach for Virtual Machine Image Security",
                                                                    726/25   Computer Science and Engineering MNNIT, Allahabad, 2014 Inter-
    2008/0263658 Al  10/2008       Michael et al.                            national Conference on Signal Propagation and Computer Technol-
    2009/0007100 Al   1/2009       Field et al.                              ogy (ICSPCT), pp. 616-623, (2014).
    2010/0017512 Al   1/2010       Ciano et al.                              Rajasekaran et al., "Scalable Cloud Security via Asynchronous
    2011/0289584 Al* 11/2011       Palagummi ........... G06F 21/562         Virtual Machine Introspection", 8th USENIX Workshop on Hot
                                                                    726/24   Topics in Cloud Computing, Cover page and pp. 1-6, (2016).
    2012/0323853 Al  12/2012       Fries et al.                              Kaur et al., "Secure VM Backup and Vulnerability Removal in
    2013/0191643 Al   7/2013       Song                                      Infrastructure Clouds", 2014 International Conference on Advances
    2013/0247133 Al* 9/2013        Price ..................... G06F 21/577   in Computing, Communications and Informatics (ICACCI), pp.
                                                                     726/1   1217-1226, (2014).
    2014/0096135 Al       4/2014   Kundu et al.                              Fernandez et al., "Two patterns for cloud computing: Secure Virtual
    2014/0137190 Al       5/2014   Careyetal.
    2015/0052520 Al       2/2015   Crowell et al.                            Machine Image Repository and Cloud Policy Management Point",
    2016/0004449 Al       1/2016   Lakshman                                  PLoP '13: Proceedings of the 20th Conference on Pattern Lan-
    2016/0094568 Al       3/2016   Balasubrarnanian                          guages of Programs Oct. 2013 Article No. 15, Association for
    2016/0241573 Al*      8/2016   Mixer ..................... H04L 63/20    Computing Machinery (ACM), Cover sheet and pp. 1-11, (2013).
    2016/0364255 Al *    12/2016   Chefalas ................... G06F 8/60    Fernandez et al. "Building a security reference architecture for
    2017/0011138 Al       1/2017   Venkatesh et al.                          cloud systems", Springer, Requirements Eng, vol. 21, pp. 225-249,
    2017/0031704 Al*      2/2017   Sudhakaran .......... G06F 16/128         (2016).
    2017/0103212 Al       4/2017   Deng                                      Ammons et al., "Virtual machine images as structured data: the
    2017/0111384 Al*      4/2017   Loureiro ............. H04L 63/1408       Mirage image library", IBM Research, Cover sheet 2 pages and pp.
    2018/0052762 Al*      2/2018   Vyas                       G06F 11/3668   1-6, (2011 ).
    2018/0137032 Al       5/2018   Tannous                                   "IBM Point ofView Security and Cloud Computing", IBM SmartCloud
    2018/0255080 Al       9/2018   Paine
                                                                             Enterprise, Cloud Computing White Paper, 13 sheets of cover pages
    2018/0293374 Al      10/2018   Chen
    2019/0065754 Al*      2/2019   Ochs ..................... G06F 21/577    and pp. 1-20, (2009).
    2020/0042707 Al       2/2020   Kucherov et al.                           Cui et al., "A Less Resource-Consumed Security Architecture on
    2020/0065487 Al *     2/2020   Timashev ............. G06F 21/561        Cloud Platform", Wuhan University Journal of Natural Sciences,
    2020/0244678 Al *     7/2020   Shua ................... G06F 9/45558     vol. 21, No. 5, pp. 407-414, (2016).
    2020/0244692 Al *     7/2020   Shua ................... H04L 63/1416     Bugiel et al., "AmazonIA: When Elasticity Snaps Back", CCS' 11,
    2021/0336976 Al *    10/2021   Shua ..................... G06F 16/128    ACM, pp. 389-400, (2011).
    2021/0377287 Al*     12/2021   Shua ................... H04L 63/1441
    2022/0417270 Al *    12/2022   Shua                       G06F 11/3476   * cited by examiner
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 103 of 207 PageID #: 830


   U.S. Patent          Jul. 4, 2023           Sheet 1 of 4              US 11,693,685 B2




                                                                   100
                                                                   _)
                        User Console
                            .180


                                                        External




                                                                     Management
                                                                      Console
                                                                        .150.
                    Cloud Computing Platform
                              11.Q




                                     FIG. 1A
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 104 of 207 PageID #: 831


   U.S. Patent          Jul. 4, 2023          Sheet 2 of 4   US 11,693,685 B2




                                 Security System
                                        140                              \
                                                                             110

                                       115~




                                        FIG.1B
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 105 of 207 PageID #: 832


   U.S. Patent             Jul. 4, 2023          Sheet 3 of 4                US 11,693,685 B2




                                                                      (      200
                                               Start

                                                                                       S210
                   Receive a request to scan a VM for vulnerabilities

                                                                                       S220
                Determine a location of the virtual disk of the VM and its snapsl1ot


                                                                                       S230
                             Access a snapshot of virtual disk

                                                                                       S240
                                    Analyze the snapshot

                                                                                       S250

                                   Report detected threats

                                                                                       S260
                                 Trigger a mitigation action


                                                 l
                                  ( __
                                     End_)




                                            FIG. 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 106 of 207 PageID #: 833


   U.S. Patent          Jul. 4, 2023      Sheet 4 of 4                    US 11,693,685 B2




                                                                          140




                                          r
                                          ~             _,I
                    Memory
                      320.                       Storage
                                                  330


                                          '---
                                                   I
                                                                                l_ 360
                             Processing                       Network
                              Circuitry                       Interface
                                 310.                            340




                                           FIG. 3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 107 of 207 PageID #: 834


                                                       US 11,693,685 B2
                                 1                                                                   2
        VIRTUAL MACHINE VULNERABILITIES                              e.g., based on the volume of traffic. However, the monitor
         AND SENSITIVE DATA ANALYSIS AND                             can detect threats only based on the monitored traffic. For
                    DETECTION                                        example, misconfiguration of the server may not be detected
                                                                     by the traffic monitor. As such, traffic monitoring would not
      This application is a continuation of U.S. application Ser. 5 allow detection of vulnerabilities in software executed by
   No. 16/585,967 (now pending), filed Sep. 27, 2019, which          the server.
   claims the benefit of U.S. Provisional Application No.               To overcome the limitations of traffic inspection solutions,
   62/797,718 filed on Jan. 28, 2019. Each of the above-             some cyber-security solutions, such as vulnerability man-
   referenced application is incorporated herein by reference in     agement and security assessment solutions are based on
   its entirety.                                                  10 agents installed in each server in a cloud computing platform
                                                                     or data center. Using agents is a cumbersome solution for a
                       TECHNICAL FIELD                               number of reasons, including IT resources management,
                                                                     governance, and performance. For example, installing
      This disclosure relates generally to cyber-security systems    agents in a large data center may take months.
   and, more specifically, to techniques for securing virtual 15        It would therefore be advantageous to provide a security
   machines.                                                         solution that would overcome the deficiencies noted above.

                         BACKGROUND                                                            SUMMARY

      Organizations have increasingly adapted their applica- 20          A summary of several example embodiments of the
   tions to be run from multiple cloud computing platforms.           disclosure follows. This summary is provided for the con-
   Some leading public cloud service providers include Ama-           venience of the reader to provide a basic understanding of
   zon®, Microsoft®, Google®, and the like.                           such embodiments and does not wholly define the breadth of
      Virtualization is a key role in a cloud computing, allowing     the disclosure. This summary is not an extensive overview
   multiple applications and users to share the same cloud 25 of all contemplated embodiments, and is intended to neither
   computing infrastructure. For example, a cloud storage             identify key or critical elements of all embodiments nor to
   service can maintain data of multiple different users.             delineate the scope of any or all aspects. Its sole purpose is
      In one instance, virtualization can be achieved by means        to present some concepts of one or more embodiments in a
   of virtual machines. A virtual machine emulates a number of        simplified form as a prelude to the more detailed description
   "computers" or instances, all within a single physical device. 30 that is presented later. For convenience, the term "some
   In more detail, virtual machines provide the ability to            embodiments" or "certain embodiments" may be used
   emulate a separate operating system (OS), also referred to as      herein to refer to a single embodiment or multiple embodi-
   a guest OS, and therefore a separate computer, from an             ments of the disclosure.
   existing OS (the host). This independent instance is typically        Certain embodiments disclosed herein include a method
   isolated as a completely standalone environment.                35 for securing virtual cloud assets in a cloud computing
      Modem virtualization technologies are also adapted by           environment against cyber threats, comprising: determining
   cloud computing platforms. Examples for such technologies          a location of a snapshot of at least one virtual disk of a
   include virtual machines, software containers, and serverless      protected virtual cloud asset, wherein the virtual cloud asset
   functions. With their computing advantages, applications           is instantiated in the cloud computing environment; access-
   and virtual machines running on top of virtualization tech- 40 ing the snapshot of the virtual disk based on the determined
   nologies are also vulnerable to some cyber threats. For            location; analyzing the snapshot of the protected virtual
   example, virtual machines can execute vulnerable software          cloud asset to detect potential cyber threats risking the
   applications or infected operating systems.                        protected virtual cloud asset; and alerting detected potential
      Protection of a cloud computing infrastructure, and par-        cyber threats based on a determined priority.
   ticularly of virtual machines can be achieved via inspection 45       Certain embodiments disclosed herein also include a
   of traffic. Traditionally, traffic inspection is performed by a    non-transitory computer readable medium having stored
   network device connected between a client and a server             thereon instructions for causing a processing circuitry to
   (deployed in a cloud computing platform or a data center)          execute a process, the process comprising: determining a
   hosting virtual machines. Traffic inspection may not provide       location of a snapshot of at least one virtual disk of a
   an accurate indication of the security status of the server due 50 protected virtual cloud asset, wherein the virtual cloud asset
   to inherent limitations, such as encryption and whether the        is instantiated in the cloud computing environment; access-
   necessary data is exposed in the communication.                    ing the snapshot of the virtual disk based on the determined
      Furthermore, inspection of computing infrastructure may         location; analyzing the snapshot of the protected virtual
   be performed by a network scanner deployed out of path.            cloud asset to detect potential cyber threats risking the
   The scanner queries the server to determine if the server 55 protected virtual cloud asset; and alerting detected potential
   executes an application that possess a security threat, such as    cyber threats based on a determined priority.
   vulnerability in the application. The disadvantage of such a          Certain embodiments disclosed herein also include a
   scanner is that the server may not respond to all queries by       system for securing virtual cloud assets in a cloud comput-
   the scanner, or not expose the necessary data in the response.     ing environment against cyber threats, comprising: a pro-
   Further, the network scanner usually communicates with the 60 cessing circuitry; and a memory, the memory containing
   server, and the network configuration may prevent it. In           instructions that, when executed by the processing circuitry,
   addition, some types of queries may require credentials to         configure the system to: determine a location of a snapshot
   access the server. Such credentials may not be available to        of at least one virtual disk of a protected virtual cloud asset,
   the scanner.                                                       wherein the virtual cloud asset is instantiated in the cloud
      Traffic inspection may also be performed by a traffic 65 computing environment; access the snapshot of the virtual
   monitor that listens to traffic flows between clients and the      disk based on the determined location; analyze the snapshot
   server. The traffic monitor can detect some cyber threats,         of the protected virtual cloud asset to detect potential cyber
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 108 of 207 PageID #: 835


                                                       US 11,693,685 B2
                                  3                                                                    4
   threats risking the protected virtual cloud asset; and alert           Also deployed in the cloud computing platform 110 is a
   detected potential cyber threats based on a determined              security system 140 configured to perform the various
   priority.                                                           disclosed embodiments. In some embodiments, the system
                                                                       140 may be part of the client environment 130. In an
          BRIEF DESCRIPTION OF THE DRAWINGS                         5 embodiment, the security system 140 may be realized as a
                                                                       physical machine configured to execute a plurality of virtual
      The foregoing and other objects, features, and advantages        instances, such as, but not limited to virtual machines
   of the disclosed embodiments will be apparent from the              executed by a host server. In yet another embodiment, the
   following detailed description taken in conjunction with the        security system 140 may be realized as a virtual machine
   accompanying drawings.                                           10
                                                                       executed by a host server. Such a host server is a physical
      FIGS. lA and 1B are network diagrams utilized to                 machine (device) and may be either the server 115, a
   describe the various embodiments.
                                                                       dedicated server, a different shared server, or another virtu-
      FIG. 2 is a flowchart illustrating a method detecting cyber
                                                                       alization-based computing entity, such as a serverless func-
   threats, including potential vulnerabilities in virtual
   machines executed in a cloud computing platform according 15 tion.
                                                                          In an embodiment, the interface between the client envi-
   to some embodiments.
      FIG. 3 is an example block diagram of the security system        ronment 130 and the security system 140 can be realized
   according to an embodiment.                                         using APis or services provided by the cloud computing
                                                                       platform 110. For example, in AWS, a cross account policy
                    DETAILED DESCRIPTION                            20 service can be utilized to allow interfacing the client envi-
                                                                       ronment 130 with the security system 140.
      It is important to note that the embodiments disclosed              In the deployment, illustrated in FIG. 1, the configuration
   herein are only examples of the many advantageous uses of           of resources of the cloud computing platform 110 is per-
   the innovative teachings herein. In general, statements made        formed by means of the management console 150. As such,
   in the specification of the present application do not neces- 25 the management console 150 may be queried on the current
   sarily limit any of the various claimed embodiments. More-          deployment and settings of resources in the cloud computing
   over, some statements may apply to some inventive features          platform 110. Specifically, the management console 150
   but not to others. In general, unless otherwise indicated,          may be queried, by the security system 140, about as the
   singular elements may be in plural and vice versa with no           location (e.g., virtual address) of the virtual disk 118-1 in the
   loss of generality. In the drawings, like numerals refer to like 30 storage 117. The system 140 is configured to interface with
   parts through several views.                                        the management console 150 through, for example, an APL
      FIGS. lA and 1B show an example network diagram 100                 In some example embodiments, the security system 140
   utilized to describe the various embodiments. A cloud com-          may further interface with the cloud computing platform 110
   puting platform 110 is communicably connected to a net-             and external systems 170. The external systems may include
   work 120. Examples of the cloud computing platform 110 35 intelligence systems, security information and event man-
   may include a public cloud, a private cloud, a hybrid cloud,        agement (SIEM) systems, and mitigation tools. The external
   and the like. Examples for a public cloud, but are not limited      intelligence systems may include common vulnerabilities
   to, AWS® by Amazon®, Microsoft Azure®, Google                       and exposures (CVE®) databases, reputation services, secu-
   Cloud®, and the like. In some configurations, the disclosed         rity systems (providing feeds on discovered threats), and so
   embodiments operable in on premise virtual machines envi- 40 on. The information provided by the intelligence systems
   ronments. The network 120 may be the Internet, the world-           may detect certain known vulnerabilities identified in, for
   wide-web (WWW), a local area network (LAN), a wide area             example, a CVE database.
   network (WAN), and other networks.                                     According to the disclosed embodiments, the security
      The arrangement of the example cloud computing plat-             system 140 is configured to detect vulnerabilities and other
   form 110 is shown in FIG. 1B. As illustrated, the platform 45 cyberthreats related to the execution VM 119. The detection
   110 includes a server 115 and a storage 117, serving as the         is performed while the VM 119 is live, without using any
   storage space for the server 115. The server 115 is a physical      agent installed in the server 115 or the VM 119, and without
   device hosting at least one virtual machine (VM) 119. The           relying on cooperation from VM 119 guest OS. Specifically,
   VM 119 is a protected VM, which may be any virtual cloud            the security system 140 can scan and detect vulnerable
   asset including, but not limited to, a software container, a 50 software, non-secure configuration, exploitation attempts,
   micro-service, a serverless function, and the like.                 compromised asserts, data leaks, data mining, and so on. The
      The storage 117 emulates virtual discs for the VMs               security system 140 may be further utilized to provide
   executed in by the server 115. The storage 117 is typically         security services, such as incident response, anti-ransom-
   connected to the server 115 through a high-speed connec-            ware, and cyber insurance by accessing the security posture.
   tion, such as optic fiber allowing fast retrieval of data. In 55       In some embodiments, the security system 140 is config-
   other configurations, the storage 117 may be part of the            ured to query the cloud management console 150 for the
   server 115. In this example illustrated in FIG. 1B, virtual         address of the virtual disk 118-1 serving the VM 119 and a
   disk 118-1 is allocated for the VM 119. The server 115, and         location of the snapshot. A VM' s snapshot is a copy of the
   hence the VM 119, may be executed in a client environment           machine's virtual disk (or disk file) at a given point in time.
   130 within the platform 110.                                     60 Snapshots provide a change log for the virtual disk and are
      The client environment 130 is an environment within the          used to restore a VM to a particular point in time when a
   cloud computing platform 110 utilized to execute cloud-             failure error occurs. Typically, any data that was writable on
   hosted applications of the client. A client may belong to a         a VM becomes read-only when the snapshot is taken.
   specific tenant. In some example embodiment, the client             Multiple snapshots of a VM can be created at multiple
   environment 130 may be part of a virtualized environment 65 possible point-in-time restore points. When a VM reverts to
   or on-premises virtualization environment, such as a                a snapshot, current disk and memory states are deleted and
   VMware® based solution.                                             the snapshot becomes the new parent snapshot for that VM.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 109 of 207 PageID #: 836


                                                       US 11,693,685 B2
                                 5                                                                   6
      The snapshot of the VM 119 is located and may be saved          legitimate communicate and/or attack attempts, to assess its
   from the virtual disk 118-1 is accessed by the system 140. In      posture and by that deriving the security posture of the entire
   an embodiment, the VM' s 119 snapshot may be copied to the         VM 119.
   system 140. If such a snapshot does not exist, the system 140         In order to determine if the vulnerability is relevant to the
   may take a new snapshot, or request such an action. The 5 VM 119, the security system 140 is configured to analyze the
   snapshots may be taken at a predefined schedule or upon            machine memory, as reflected in the page file. The page file
   predefined events (e.g., a network event or abnormal event).       is saved in the snapshot and extends how much system-
   Further, the snapshots may be accessed or copied on a              committed memory (also known as "virtual memory") a
   predefined schedule or upon predefined events. It should be        system can back. In an embodiment, analyzing the page file
                                                                   10 allows deduction of running applications and modules by the
   noted that when the snapshot is taken or copied, the VM 119
                                                                      VM 119.
   still runs.
                                                                         In an embodiment, the security system 140 is configured
      It should be noted that the snapshot of the virtual disk
                                                                      to read process identification number (PID) files and check
   118-1 may not be necessary stored in the storage 117, but for      their access or write times, which are matched against
   ease of the discussion it is assumed that the snapshot is saved 15 process descriptors. The PID can be used to deduce which
   in the storage 117. It should be further noted that the            processes are running, and hence the priority of vulnerabili-
   snapshot is being accessed without cooperation of the guest,       ties detected in processes existing on the disk. It should be
   virtual OS of the virtual machine.                                 noted the PID files are also maintained in the snapshot.
      The snapshot is parsed and analyzed by the security                In yet another embodiment, the security system 140 is
   system 140 to detect vulnerabilities. This analysis of the 20 configured to detect cyber threats that do not represent
   snapshot does not require any interaction and/or information       vulnerabilities. For example, the security system 140 may
   from the VM 119. As further demonstrated herein, the               detect and alert on sensitive data not being encrypted on the
   analysis of the snapshot by the system 140 does not require        logical disk, private keys found on the disks, system cre-
   any agent installed on the server 115 or VM 119.                   dentials stored clearly on the disk, risky application features
      Various techniques can be utilized to analyze the snap- 25 ( e.g., support of weak cipher suites or authentication meth-
   shots, depending on the type of vulnerability and cyber            ods), weak passwords, weak encryption schemes, a disable
   threats to be detected. Following are some example embodi-         address space layout randomization (ASLR) feature, suspi-
   ments for techniques that may be implemented by the                cious manipulation to a boot record, suspicious PATH,
   security system 140.                                               LD_LIBRARY_PATH, or LD_PRELOAD definitions, ser-
      In an embodiment, the security system 140 is configured 30 vices running on startup, and the like.
   to detect whether there is vulnerable code executed by the            In an embodiment, the security system 140 may further
   VM 119. The VM 119 being checked may be running,                   monitor changes in sensitive machine areas, and alert on
   paused, or shutdown. To this end, the security system 140 is       unexpected changes (e.g., added or changed application files
   configured to match installed application lists, with their        without installation). In an example embodiment, this can be
   respective versions, to a known list of vulnerable applica- 35 achieved by computing a cryptographic hash of the sensitive
   tions. Further, the security system 140 may be configured to       areas in the virtual disk and checking for differences over
   match the application files, either directly (using binary         time.
   comparison) or by computing a cryptographic hash against              In some embodiments, the detected cyber threats (includ-
   database of files in vulnerable applications. The matching         ing vulnerabilities) are reported to a user console 180 and/or
   may be also on sub-modules of an application. Alternatively, 40 a security information and event management (SIEM) sys-
   the security system 140 may read installation logs of pack-        tem (not shown). The reported cyber threats may be filtered
   age managers used to install the packages of the application.      or prioritized based in part on their determined risk. Further,
      In yet another embodiment, the security system 140 is           the reported cyber threats may be filtered or prioritized
   configured to verify whether the vulnerability is relevant to      based in part on the risk level of the machine. This also
   the VM 119. For example, if there is a vulnerable version or 45 reduces the number of alerts reported to the user.
   module not in use, the priority of that issue is reduced              In an embodiment, any detected cyber threats related to
   dramatically.                                                      sensitive data (including personally identifiable information,
      To this end, the security system 140 may be configured to       PII) is reported at a higher priority. In an embodiment, such
   check the configuration files of the applications and oper-        data is determined by searching for the PII, analyzing the
   ating system of the VM 119; to verify access times to files 50 application logs to determine whether the machine accessed
   by the operating system; and/or to analyze the active appli-       PII/PII containing servers, or whether the logs themselves
   cation and/or system logs in order to deduce what applica-         contain PII, and searching the machine memory, as reflected
   tions and modules are running.                                     in the page file, for PII.
      In yet another embodiment, the security system 140 may             In an embodiment, the security system 140 may deter-
   instantiate a copy of the VM 119 and/or a subset of appli- 55 mine the risk of the VM 119 based on communication with
   cations of the VM 119 on the server 115 or a separate server       an untrusted network. This can be achieved by analyzing the
   and monitor all activity performed by the instance of the          VM' s 119 logs as saved in the virtual disk and can be derived
   VM. The execution of the instance of the VM is an isolated         from the snapshot.
   sandbox, which can be a full VM or subset of it, such as a            In an example embodiment, the security system 140 may
   software container (e.g., Docker® container) or another 60 cause an execution of one or more mitigation actions.
   virtualized instances. The monitored activity may be further       Examples of such actions may include blocking traffic from
   analyzed to determine abnormality. Such analysis may               untrusted networks, halting the operation of the VM, quar-
   include monitoring of API activity, process creation, file         antining an infected VM, and the like. The mitigation actions
   activity, network communication, registry changes, and             may be performed by a mitigation tool and not the system
   active probing of the said subset in order to assess its 65 140.
   security posture. This may include, but not limited to,               It should be noted that the example implementation
   actively communicating with the VM 119, using either               shown in FIG. 1 is described with respect to a single cloud
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 110 of 207 PageID #: 837


                                                      US 11,693,685 B2
                                 7                                                                  8
   computing platform 110 hosting a single VM 119 in a single         the system 140. Such an action may include blocking traffic
   server 115, merely for simplicity purposes and without             from untrusted networks, halting the operation of the VM,
   limitation on the disclosed embodiments. Typically, virtual        quarantining an infected VM, and the like.
   machines are deployed and executed in a single cloud                  FIG. 3 is an example block diagram of the security system
   computing platform, a virtualized environment, or data 5 140 according to an embodiment. The security system 140
   center and can be protected without departing from the             includes a processing circuitry 310 coupled to a memory
   scope of the disclosure. It should be further noted that the       320, a storage 330, and a network interface 340. In an
   disclosed embodiments can operate using multiple security          embodiment, the components of the security system 140
   systems 140, each of which may operate in a different client       may be communicatively connected via a bus 360.
   environment.                                                    10    The processing circuitry 310 may be realized as one or
      FIG. 2 shows an example flowchart 200 illustrating a            more hardware logic components and circuits. For example,
   method for detecting cyber threats including potential vul-        and without limitation, illustrative types of hardware logic
   nerabilities in virtual machines executed in a cloud comput-       components that can be used include field programmable
   ing platform according to some embodiments. The method             gate arrays (FPGAs), application-specific integrated circuits
   may be performed by the security system 140.                    15 (ASICs), application-specific standard products (ASSPs),
      At S210, a request, for example, to scan a VM for               system-on-a-chip systems (SOCs), general-purpose micro-
   vulnerabilities is received. The request may be received, or       processors, microcontrollers, digital signal processors
   otherwise triggered every predefined time interval or upon         (DSPs ), and the like, or any other hardware logic compo-
   detection of an external event. An external event may be a         nents that can perform calculations or other manipulations of
   preconfigured event, such as a network event or abnormal 20 information.
   event including, but not limited to, changes to infrastructure        The memory 310 may be volatile (e.g., RAM, etc.),
   such as instantiation of an additional container on existing       non-volatile (e.g., ROM, flash memory, etc.), or a combi-
   VM, image change on a VM, new VM created, unexpected               nation thereof. In one configuration, computer readable
   shutdowns, access requests from unauthorized users, and the        instructions to implement one or more embodiments dis-
   like. The request may at least designate an identifier of the 25 closed herein may be stored in the storage 330.
   VM to be scanned.                                                     In another embodiment, the memory 320 is configured to
      At S220, a location of a snapshot of a virtual disk of the      store software. Software shall be construed broadly to mean
   VM to be scanned is determined. In an embodiment, S220             any type of instructions, whether referred to as software,
   may include determining the virtual disk allocated for the         firmware, middleware, microcode, hardware description
   VM, prior to determining the location of the snapshot. As 30 language, or otherwise. Instructions may include code (e.g.,
   noted above, this can be achieved by querying a cloud              in source code format, binary code format, executable code
   management console. At S230, a snapshot of the virtual disk        format, or any other suitable format of code). The instruc-
   is accessed, or otherwise copied.                                  tions, when executed by the one or more processors, cause
      At S240, the snapshot is analyzed to detect cyber threats       the processing circuitry 310 to perform the various processes
   and potential vulnerabilities. S240 may be also include 35 described herein. Specifically, the instructions, when
   detecting cyber threats that do not represent vulnerabilities.     executed, cause the processing circuitry 310 to determine
   Examples for cyber threats and vulnerabilities are provided        over-privileged roles vulnerabilities in serverless functions.
   above.                                                                The storage 330 may be magnetic storage, optical storage,
      In an embodiment, S240 may include comparing the                and the like, and may be realized, for example, as flash
   snapshot to some baseline, which may include, but is not 40 memory or other memory technology, CD-ROM, Digital
   limited to, a copy of the image used to create the VM, (e.g.,      Versatile Disks (DVDs), hard-drives, SSD, or any other
   lists of applications, previous snapshots), cryptographic          medium which can be used to store the desired information.
   hashes gathered in the previous scan, analyzing logs of the        The storage 330 may store communication consumption
   VMs, instantiating a copy of the VM and executing the              patterns associated with one or more communications
   instance or applications executed by the VM in a sandbox, 45 devices.
   analyzing the machine memory, as reflected in the page file,          The network interface 340 allows the security system 140
   or any combination of these techniques. Some example               to communicate with the external systems, such as intelli-
   embodiments for analyzing the snapshots and the types of           gence systems, SIEM systems, mitigation systems, a cloud
   detected vulnerabilities and threats are provided above.           management console, a user console, and the like.
      At S250, the detected cyber threats and/or vulnerabilities 50      It should be understood that the embodiments described
   are reported, for example, as alerts. In an embodiment, S250       herein are not limited to the specific architecture illustrated
   may include filtering and prioritizing the reported alerts. In     in FIG. 3, and other architectures may be equally used
   an embodiment, the prioritization is based, in part, on the        without departing from the scope of the disclosed embodi-
   risk level of a vulnerable machine. The filtering and priori-      ments.
   tizing allow to reduce the number of alerts reported to the 55        The various embodiments disclosed herein can be imple-
   user. The filtering can be done performed on external              mented as hardware, firmware, software, or any combination
   intelligence on the likelihood of this vulnerability being         thereof. Moreover, the software is preferably implemented
   exploited, analyzing the machine configuration in order to         as an application program tangibly embodied on a program
   deduce the vulnerability relevancy, and correlating the vul-       storage unit or computer readable medium consisting of
   nerability with the network location, and by weighting the 60 parts, or of certain devices and/or a combination of devices.
   risk of this machine being taken over by the attacker by           The application program may be uploaded to, and executed
   taking into consideration the criticality of the machine in the    by, a machine comprising any suitable architecture. Prefer-
   organization based by the contents stored or other assets          ably, the machine is implemented on a computer platform
   accessible from the VM 110.                                        having hardware such as one or more central processing
      At optional S260, a mitigation action may be triggered to 65 units ("CPUs"), a memory, and input/output interfaces. The
   mitigate a detected threat or vulnerability. A mitigation          computer platform may also include an operating system
   action may be executed by a mitigation tool and triggered by       and microinstruction code. The various processes and func-
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 111 of 207 PageID #: 838


                                                       US 11,693,685 B2
                                 9                                                                   10
   tions described herein may be either part of the microin-               6. The system of claim 1, wherein the at least one
   struction code or part of the application program, or any            processor is further configured to implement a remedial
   combination thereof, which may be executed by a CPU,                 action for at least one of the detected vulnerabilities and
   whether or not such a computer or processor is explicitly            sensitive data.
   shown. In addition, various other peripheral units may be 5             7. The system of claim 1, wherein the identification of the
   connected to the computer platform such as an additional             location of the virtual disks of the virtual machine includes
   data storage unit and a printing unit. Furthermore, a non-           a virtual address of at least one of the virtual disks.
   transitory computer readable medium is any computer read-               8. The system of claim 1, wherein the at least one
   able medium except for a transitory propagating signal.              snapshot includes a change log of at least one of the virtual
      As used herein, the phrase "at least one of' followed by 10
                                                                        disks configured to restore the virtual machine to a particular
   a listing of items means that any of the listed items can be
                                                                        point in time.
   utilized individually, or any combination of two or more of
                                                                           9. The system of claim 1, wherein the at least one
   the listed items can be utilized. For example, if a system is
   described as including "at least one of A, B, and C," the            snapshot   includes a plurality of snapshots, and the at least
   system can include A alone; B alone; C alone; A and B in 15 one processor is configured to generate the plurality of
   combination; Band C in combination; A and C in combi-                snapshots according to a predetermined schedule.
   nation; or A, B, and C in combination.                                  10. The system of claim 1, wherein the at least one
      All examples and conditional language recited herein are          processor   is configured to generate the at least one snapshot
   intended for pedagogical purposes to aid the reader in               in response to a predetermined trigger event.
   understanding the principles of the disclosed embodiment 20             11. The system of claim 1, wherein the at least one
   and the concepts contributed by the inventor to furthering           processor is further configured to analyze the at least one
   the art, and are to be construed as being without limitation         snapshot to detect a list of installed applications and keys.
   to such specifically recited examples and conditions. More-             12. The system of claim 1, wherein the at least one
   over, all statements herein reciting principles, aspects, and        processor is further configured to analyze the at least one
   embodiments of the disclosed embodiments, as well as 25 snapshot to detect non-secure configurations.
   specific examples thereof, are intended to encompass both               13. A computer-implemented method for inspecting data,
   structural and functional equivalents thereof. Additionally, it      the method comprising:
   is intended that such equivalents include both currently                establishing an interface between a client environment
   known equivalents as well as equivalents developed in the                  and security components; using the interface to utilize
   future, i.e., any elements developed that perform the same 30              cloud computing platform APis to identify virtual disks
   function, regardless of structure.
                                                                              of a virtual machine in the client environment;
      What is claimed is:
                                                                           using the computing platform APis to query a location of
      1. A system for inspecting data, the system comprising: at
                                                                              at least one of the identified virtual disks;
   least one processor configured to:
      establish an interface between a client environment and 35           receiving   an identification of the location of the virtual
         security components;                                                 disks of the virtual machine;
      using the interface, utilize cloud computing platformAPis            emulating the virtual disks of the virtual machine to
         to identify virtual disks of a virtual machine in the                generate at least one snapshot;
         client environment;                                               analyzing the at least one snapshot to detect vulnerabili-
      use the computing platform APis to query a location of at 40            ties and sensitive data, wherein analyzing the at least
         least one of the identified virtual disks;                           one snapshot requires no interaction with the virtual
      receive an identification of the location of the virtual disks          machine;
         of the virtual machine;                                           determine a risk level of the virtual machine; and
      generate at least one snapshot of the virtual disks of the           report the detected vulnerabilities and sensitive data as
         virtual machine;                                            45       alerts, wherein the alerts are filtered and prioritized
      analyze the at least one snapshot to detect vulnerabilities             based on the determined risk level of the virtual
         and sensitive data, wherein analyzing the at least one               machine.
         snapshot requires no interaction with the virtual                 14. The method of claim 13, wherein during the analysis
         machine;                                                       of the at least one snapshot, the virtual machine is inactive
      determine a risk level of the virtual machine; and             50 wherein the snapshot includes a page file of memory asso-
      report the detected vulnerabilities and sensitive data as         ciated with the virtual machine.
         alerts, wherein the alerts are filtered and prioritized           15. The method of claim 14, wherein the page file is
         based on the determined risk level of the virtual              configured to allow deduction of one or more applications
         machine.                                                       running on the virtual machine.
      2. The system of claim 1, wherein during the analysis of 55          16. The method of claim 13, wherein during the analysis
   the at least one snapshot, the virtual machine is inactive           of the at least one snapshot, the virtual machine is active.
   wherein the snapshot includes a page file of memory asso-               17. The method of claim 13, wherein reporting the
   ciated with the virtual machine.                                     detected vulnerabilities and sensitive data as alerts includes
      3. The system of claim 2, wherein the page file is                providing indications of the detected vulnerabilities based
   configured to allow deduction of one or more applications 60 on priority levels associated with the detected vulnerabili-
   running on the virtual machine.                                      ties.
      4. The system of claim 1, wherein during the analysis of             18. The method of claim 13, further comprising imple-
   the at least one snapshot, the virtual machine is active.            menting a remedial action for at least one of the detected
      5. The system of claim 1, wherein reporting the detected          vulnerabilities and sensitive data.
   vulnerabilities and sensitive data as alerts includes indicat- 65       19. The method of claim 13, wherein the identification of
   ing priority levels associated with the detected vulnerabili-        the location of the virtual disks of the virtual machine
   ties.                                                                includes a virtual address ofat least one of the virtual disks.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 112 of 207 PageID #: 839


                                                        US 11,693,685 B2
                                 11                                        12
     20. The method of claim 13, wherein the at least one
   snapshot includes a change log of at least one of the virtual
   disks configured to restore the virtual machine to a particular
   point in time.
      21. The method of claim 13, wherein the at least one 5
   snapshot includes a plurality of snapshots and wherein the
   method further includes generating the plurality of snapshots
   based on a predetermined schedule.
      22. A non-transitory computer-readable medium storing
   instructions, which, when executed by at least one processor, 10
   cause a computing device to:
      establish an interface between a client environment and
         security components; using the interface, utilize cloud
         computing platform APis to identify virtual disks of a
        virtual machine in the client environment;                   15
      use the computing platform APis to query a location of at
         least one of the identified virtual disks;
      receive an identification of the location of the virtual disks
         of the virtual machine;
      emulate the virtual disks of the virtual machine to gen- 20
         erate at least one snapshot;
      analyze the at least one snapshot to detect vulnerabilities
         and sensitive data, wherein analyzing the at least one
         snapshot requires no interaction with the virtual
        machine;                                                     25
      determine a risk level of the virtual machine; and
      report the detected vulnerabilities and sensitive data as
         alerts, wherein the alerts are filtered and prioritized
        based on the determined risk level of the virtual
        machine.                                                     30

                          * * * * *
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 113 of 207 PageID #: 840




                    EXHIBIT 8
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 114 of 207 PageID #: 841
                                     I 1111111111111111 1111111111 lllll lllll 111111111111111 111111111111111 IIII IIII
                                                                                                                           USO 11726809B2


    c12)   United States Patent                                                              (IO) Patent No.:     US 11,726,809 B2
           Shua                                                                              (45) Date of Patent:     *Aug. 15, 2023

    (54)   TECHNIQUES FOR SECURING VIRTUAL                                                                H04L 63/1441 (2013.01); G06F 2009/45562
           MACHINES BY APPLICATION EXISTENCE                                                            (2013.01); G06F 2009/45583 (2013.01); G06F
           ANALYSIS                                                                                                              2009/45587 (2013.01);
                                                                                                                    (Continued)
    (71)   Applicant: Orea Security Ltd., Tel Aviv (IL)                                  (58)      Field of Classification Search
                                                                                                   None
    (72)   Inventor:    Avi Shua, Tel Aviv (IL)                                                    See application file for complete search history.

    (73)   Assignee: Orea Security Ltd., Tel Aviv (IL)                                   (56)                                  References Cited

    ( *)   Notice:      Subject to any disclaimer, the term ofthis                                              U.S. PATENT DOCUMENTS
                        patent is extended or adjusted under 35
                        U.S.C. 154(b) by O days.                                                9,069,983 Bl                    6/2015 Nijjar
                                                                                                9,177,145 B2                   11/2015 Todorovic
                        This patent is subject to a terminal dis-                               9,229,758 B2                    1/2016 Ammons et al.
                        claimer.                                                                                                 (Continued)

    (21)   Appl. No.: 18/055,201                                                                                    OTHER PUBLICATIONS

    (22)   Filed:       Nov. 14, 2022                                                    Rani et al.; "An Efficient Approach to Forensic Investigation in
                                                                                         Cloud using VM Snapshots", 2015 International Conference on
    (65)                  Prior Publication Data                                         Pervasive Computing (ICPC), 5 pages, (2015).

           US 2023/0093527 Al           Mar. 23, 2023                                                                            (Continued)

                                                                                         Primary Examiner - Joseph P Hirl
                    Related U.S. Application Data                                        Assistant Examiner - Hassan Saadoun
    (63)   Continuation of application No. 17/330,998, filed on                          (74) Attorney, Agent, or Firm - Finnegan, Henderson,
           May 26, 2021, now Pat. No. 11,516,231, which is a                             Farabow, Garrett & Dunner, L.L.P.
           continuation of application No. 16/585,967, filed on
           Sep. 27, 2019, now Pat. No. 11,431,735.                                       (57)                                    ABSTRACT
                                                                                         A system and method for securing virtual cloud assets in a
    (60)   Provisional application No. 62/797,718, filed on Jan.                         cloud computing environment against cyber threats. The
           28, 2019.                                                                     method includes: determining a location of a snapshot of at
                                                                                         least one virtual disk of a protected virtual cloud asset,
    (51)   Int. Cl.                                                                      wherein the virtual cloud asset is instantiated in the cloud
           H04L 9/40             (2022.01)                                               computing environment; accessing the snapshot of the vir-
           G06F 9/455            (2018.01)                                               tual disk based on the determined location; analyzing the
           G06F 16111            (2019.01)                                               snapshot of the protected virtual cloud asset to detect
           G06F 11114            (2006.01)                                               potential cyber threats risking the protected virtual cloud
    (52)   U.S. Cl.                                                                      asset; and alerting detected potential cyber threats based on
           CPC ...... G06F 9/45558 (2013.01); G06F 1111464                               a determined priority.
                     (2013.01); G06F 161128 (2019.01); H04L
                  63/1416 (2013.01); H04L 63/1433 (2013.01);                                                    23 Claims, 4 Drawing Sheets

                                                                                                       (200
                                                                                 Start

                                                                                                                        S210
                                                     Receive a request to scan a VM for vulnerabilities

                                                                                                                        S220
                                                  Determine a location of the virtual disk of the VM and its snapshot


                                                                                                                        S230
                                                               Access a snapshot of virtual disk

                                                                                                                        S240
                                                                      Analyze the snapshot

                                                                                                                        S250

                                                                     Report detected threats

                                                                                                                        S260
                                                                   Trigger a mitigation action




                                                                                 End
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 115 of 207 PageID #: 842


                                                           US 11,726,809 B2
                                                                      Page 2


   (52)   U.S. Cl.                                                                           OTHER PUBLICATIONS
          CPC             G06F 2009/45591 (2013.01); G06F                  Wei et al., "Managing Security of Virtual Machine Images in a
                        2009/45595 (2013.01); G06F 2201/84                 Cloud Environment", CCSW'09, pp. 91-96, Nov. 13, 2009.
                                                 (2013.01)                 Almulla et al., "Digital Forensic of a Cloud Based Snapshot", The
                                                                           Sixth International Conference on Innovative Computing Technol-
                                                                           ogy (INTECH 2016), pp. 724-729, (2016).
   (56)                 References Cited                                   Pandey et al., "An Approach for Virtual Machine Image Security",
                                                                           Computer Science and Engineering MNNIT, Allahabad, 2014 Inter-
                 U.S. PATENT DOCUMENTS                                     national Conference on Signal Propagation and Computer Technol-
                                                                           ogy (ICSPCT), pp. 616-623, (2014).
        9,268,689 Bl     2/2016   Chen et al.                              Rajasekaran et al., "Scalable Cloud Security via Asynchronous
        9,519,781 B2    12/2016   Golshan et al.                           Virtual Machine Introspection", 8th USENIX Workshop on Hot
        9,563,777 B2     2/2017   Deng et al.                              Topics in Cloud Computing, Cover page and pp. 1-6, (2016).
        9,734,325 Bl     8/2017   Neumann et al.                           Kaur et al., "Secure VM Backup and Vulnerability Removal in
        9,756,070 Bl     9/2017   Crowell et al.                           Infrastructure Clouds", 2014 International Conference on Advances
        9,798,885 B2    10/2017   Deng et al.
                                                                           in Computing, Communications and Informatics (ICACCI), pp.
        9,858,105 Bl     1/2018   Upadhyay et al.
       10,079,842 Bl     9/2018   Brandwine et al.                         1217-1226, (2014).
       10,402,560 B2     9/2019   Gilbert                                  Fernandez et al., "Two patterns for cloud computing: Secure Virtual
       10,412,109 B2     9/2019   Loureiro et al.                          Machine Image Repository and Cloud Policy Management Point",
       10,469,304 Bl    11/2019   Kempe et al.                             PLoP '13: Proceedings of the 20th Conference on Pattern Lan-
       10,534,915 B2     1/2020   Cherny et al.                            guages of Programs Oct. 2013 Article No. 15, Association for
       10,536,471 Bl*    1/2020   Derbeko ................. G06F 21/53     Computing Machinery (ACM), Cover sheet and pp. 1-11, (2013).
       10,782,952 Bl     9/2020   Doring et al.                            Fernandez et al. "Building a security reference architecture for
       10,812,521 Bl    10/2020   Sharifi Mehr                             cloud systems", Springer, Requirements Eng, vol. 21, pp. 225-249,
       10,944,778 Bl*    3/2021   Golan ................. H04L 63/1491     (2016).
       11,068,353 Bl*    7/2021   Ved ..................... G06F 9/45558   Ammons et al., "Virtual machine images as structured data: the
       11,120,124 B2     9/2021   Fusenig et al.
                                                                           Mirage image library", IBM Research, Cover sheet 2 pages and pp.
       11,216,563 Bl     1/2022   Veselov et al.
       11,431,735 B2     8/2022   Shua                                     1-6, (2011 ).
       11,516,231 B2    11/2022   Shua                                     "IBM Point ofView Security and Cloud Computing", IBM SmartCloud
    2007/0266433 Al     11/2007   Moore                                    Enterprise, Cloud Computing White Paper, 13 sheets of cover pages
    2008/0189788 Al      8/2008   Bahl                                     and pp. 1-20, (2009).
    2008/0263658 Al     10/2008   Michael et al.                           Cui et al., "A Less Resource-Consumed Security Architecture on
    2009/0007100 Al      1/2009   Field et al.                             Cloud Platform", Wuhan University Journal of Natural Sciences,
    2010/0017512 Al      1/2010   Ciano et al.                             vol. 21, No. 5, pp. 407-414, (2016).
    2011/0289584 Al     11/2011   Palagummi                                Bugiel et al., "AmazonIA: When Elasticity Snaps Back", CCS' 11,
    2012/0323853 Al     12/2012   Fries et al.                             ACM, pp. 389-400, (2011).
    2013/0191643 Al*     7/2013   Song ..................... H04L 9/3265   Non-Final Office Action U.S. Appl. No. 16/585,967 dated Feb. 3,
                                                                 713/176   2022, in the United States Patent and Trademark Office.
    2013/0247133 Al      9/2013   Price et al.
                                                                           Notice of Allowance U.S. Appl. No. 16/585,967 dated Jul. 7, 2022,
    2014/0096135 Al      4/2014   Kundu et al.
    2014/0137190 Al      5/2014   Careyetal.                               in the United States Patent and Trademark Office.
    2015/0052520 Al      2/2015   Crowell et al.                           Non-Final Office Action U.S. Appl. No. 17/330,998 dated Mar. 4,
    2016/0004449 Al *    1/2016   Lakshman ............ G06F 3/0604        2022, in the United States Patent and Trademark Office.
                                                                 711/162   Final Office Action U.S. Appl. No. 17/330,998 dated Jun. 30, 2022,
    2016/0094568 Al *    3/2016   Balasubrarnanian                         in the United States Patent and Trademark Office.
                                                            G06F 9/45558   Notice of Allowance U.S. Appl. No. 17/330,998 dated Aug. 10,
                                                                  726/23   2022, in the United States Patent and Trademark Office.
    2016/0241573 Al   8/2016      Mixer                                    Non-Final Office Action U.S. Appl. No. 17/361,861 dated Aug. 29,
    2016/0364255 Al  12/2016      Chefalas et al.                          2022, in the United States Patent and Trademark Office.
    2017/0011138 Al   1/2017      Venkatesh et al.                         Advisory Action U.S. Appl. No. 17/361,861 dated May 20, 2022, in
    2017/0031704 Al   2/2017      Sudhakaran et al.                        the United States Patent and Trademark Office.
    2017/0103212 Al* 4/2017       Deng .................... G06F 3/0619    Final Office Action U.S. Appl. No. 17/361,861 dated Mar. 8, 2022,
    2017/0111384 Al   4/2017      Loureiro et al.                          in the United States Patent and Trademark Office.
    2018/0052762 Al   2/2018      Vyas et al.
                                                                           Non-Final Office Action U.S. Appl. No. 17/361,861 dated Oct. 25,
    2018/0137032 Al   5/2018      Tannous et al.
    2018/0255080 Al   9/2018      Paine                                    2021, in the United States Patent and Trademark Office.
    2018/0293374 Al  10/2018      Chen                                     Notice of Allowance U.S. Appl. No. 17/361,861 dated May 10,
    2019/0065754 Al   2/2019      Ochs et al.                              2023, in the United States Patent and Trademark Office.
    2020/0042707 Al   2/2020      Kucherov et al.
    2020/0065487 Al   2/2020      Timashev et al.                          * cited by examiner
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 116 of 207 PageID #: 843


   U.S. Patent         Aug. 15, 2023         Sheet 1 of 4              US 11,726,809 B2




                                                                 100
                                                                 _/
                        User Console
                             180



                                                      External




                                                                   Management
                                                                    Console
                                                                      150
                    Cloud Computing Platform
                             110




                                   FIG. 1A
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 117 of 207 PageID #: 844


   U.S. Patent         Aug. 15, 2023       Sheet 2 of 4             US 11,726,809 B2




                                 Security System
                                       140                \
                                                              130                110




                                       FIG. 18
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 118 of 207 PageID #: 845


   U.S. Patent           Aug. 15, 2023           Sheet 3 of 4                US 11,726,809 B2




                                                                            200
                                               Start                 1
                                                l                                     S210
                   Receive a request to scan a VM for vulnerabilities


                                                l                                     S220
                Determine a location of the virtual disk of the VM and its snapshot


                                                l                                     S230
                             Access a snapshot of virtual disk


                                                l                                     S240
                                    Analyze the snapshot


                                                l                                     S250

                                   Report detected threats


                                                l                                     S260
                                 Trigger a mitigation action




                                  ( __
                                     End_)




                                              FIG. 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 119 of 207 PageID #: 846


   U.S. Patent         Aug. 15, 2023      Sheet 4 of 4                         US 11,726,809 B2




                                                                               140




                                          r             -....___

                                          '---
                                                        _,,,
                    Memory
                      320                        Storage
                                                  330

                                          '--           ~

                                                   I
                                                                                     l_ 360
                             Processing                            Network
                              Circuitry                            Interface
                                310                                   340




                                           FIG. 3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 120 of 207 PageID #: 847


                                                       US 11,726,809 B2
                                 1                                                                   2
       TECHNIQUES FOR SECURING VIRTUAL                                  Traffic inspection may also be performed by a traffic
       MACHINES BY APPLICATION EXISTENCE                             monitor that listens to traffic flows between clients and the
                   ANALYSIS                                          server. The traffic monitor can detect some cyber threats,
                                                                     e.g., based on the volume of traffic. However, the monitor
      This application is a continuation of U.S. application Ser. 5 can detect threats only based on the monitored traffic. For
   No. 17/330,998 (now allowed), filed May 26, 2021, which           example, misconfiguration of the server may not be detected
   is a continuation of U.S. application Ser. No. 16/585,967         by the traffic monitor. As such, traffic monitoring would not
   (now U.S. Pat. No. 11,431,735), filed Sep. 27, 2019, which        allow detection of vulnerabilities in software executed by
   claims the benefit of U.S. Provisional Application No.            the server.
   62/797,718 filed on Jan. 28, 2019, the contents of each of
                                                                  10    To overcome the limitations of traffic inspection solutions,
   which are hereby incorporated by reference in their entire-       some cyber-security solutions, such as vulnerability man-
                                                                     agement and security assessment solutions are based on
   ties.
                                                                     agents installed in each server in a cloud computing platform
                       TECHNICAL FIELD                               or data center. Using agents is a cumbersome solution for a
                                                                  15 number of reasons, including IT resources management,
                                                                     governance, and performance. For example, installing
      This disclosure relates generally to cyber-security systems
                                                                     agents in a large data center may take months.
   and, more specifically, to techniques for securing virtual
                                                                        It would therefore be advantageous to provide a security
   machines.                                                         solution that would overcome the deficiencies noted above.
                                                                   20
                         BACKGROUND                                                            SUMMARY

      Organizations have increasingly adapted their applica-             A summary of several example embodiments of the
   tions to be run from multiple cloud computing platforms.           disclosure follows. This summary is provided for the con-
   Some leading public cloud service providers include Arna- 25 venience of the reader to provide a basic understanding of
   zon®, Microsoft®, Google®, and the like.                           such embodiments and does not wholly define the breadth of
      Virtualization is a key role in a cloud computing, allowing     the disclosure. This summary is not an extensive overview
   multiple applications and users to share the same cloud            of all contemplated embodiments, and is intended to neither
   computing infrastructure. For example, a cloud storage             identify key or critical elements of all embodiments nor to
   service can maintain data of multiple different users.          30 delineate the scope of any or all aspects. Its sole purpose is
      In one instance, virtualization can be achieved by means        to present some concepts of one or more embodiments in a
   of virtual machines. A virtual machine emulates a number of        simplified form as a prelude to the more detailed description
   "computers" or instances, all within a single physical device.     that is presented later. For convenience, the term "some
   In more detail, virtual machines provide the ability to            embodiments" or "certain embodiments" may be used
   emulate a separate operating system (OS), also referred to as 35 herein to refer to a single embodiment or multiple embodi-
   a guest OS, and therefore a separate computer, from an             ments of the disclosure.
   existing OS (the host). This independent instance is typically        Certain embodiments disclosed herein include a method
   isolated as a completely standalone environment.                   for securing virtual cloud assets in a cloud computing
      Modem virtualization technologies are also adapted by           environment against cyber threats, comprising: determining
   cloud computing platforms. Examples for such technologies 40 a location of a snapshot of at least one virtual disk of a
   include virtual machines, software containers, and serverless      protected virtual cloud asset, wherein the virtual cloud asset
   functions. With their computing advantages, applications           is instantiated in the cloud computing environment; access-
   and virtual machines running on top of virtualization tech-        ing the snapshot of the virtual disk based on the determined
   nologies are also vulnerable to some cyber threats. For            location; analyzing the snapshot of the protected virtual
   example, virtual machines can execute vulnerable software 45 cloud asset to detect potential cyber threats risking the
   applications or infected operating systems.                        protected virtual cloud asset; and alerting detected potential
      Protection of a cloud computing infrastructure, and par-        cyber threats based on a determined priority.
   ticularly of virtual machines can be achieved via inspection          Certain embodiments disclosed herein also include a
   of traffic. Traditionally, traffic inspection is performed by a    non-transitory computer readable medium having stored
   network device connected between a client and a server 50 thereon instructions for causing a processing circuitry to
   (deployed in a cloud computing platform or a data center)          execute a process, the process comprising: determining a
   hosting virtual machines. Traffic inspection may not provide       location of a snapshot of at least one virtual disk of a
   an accurate indication of the security status of the server due    protected virtual cloud asset, wherein the virtual cloud asset
   to inherent limitations, such as encryption and whether the        is instantiated in the cloud computing environment; access-
   necessary data is exposed in the communication.                 55 ing the snapshot of the virtual disk based on the determined
      Furthermore, inspection of computing infrastructure may         location; analyzing the snapshot of the protected virtual
   be performed by a network scanner deployed out of path.            cloud asset to detect potential cyber threats risking the
   The scanner queries the server to determine if the server          protected virtual cloud asset; and alerting detected potential
   executes an application that possess a security threat, such as    cyber threats based on a determined priority.
   vulnerability in the application. The disadvantage of such a 60       Certain embodiments disclosed herein also include a
   scanner is that the server may not respond to all queries by       system for securing virtual cloud assets in a cloud comput-
   the scanner, or not expose the necessary data in the response.     ing environment against cyber threats, comprising: a pro-
   Further, the network scanner usually communicates with the         cessing circuitry; and a memory, the memory containing
   server, and the network configuration may prevent it. In           instructions that, when executed by the processing circuitry,
   addition, some types of queries may require credentials to 65 configure the system to: determine a location of a snapshot
   access the server. Such credentials may not be available to        of at least one virtual disk of a protected virtual cloud asset,
   the scanner.                                                       wherein the virtual cloud asset is instantiated in the cloud
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 121 of 207 PageID #: 848


                                                       US 11,726,809 B2
                                  3                                                                    4
   computing enviromnent; access the snapshot of the virtual           enviromnent 130 may be part of a virtualized enviromnent
   disk based on the determined location; analyze the snapshot         or on-premises virtualization enviromnent, such as a
   of the protected virtual cloud asset to detect potential cyber      VMware® based solution.
   threats risking the protected virtual cloud asset; and alert           Also deployed in the cloud computing platform 110 is a
   detected potential cyber threats based on a determined           5 security system 140 configured to perform the various
   priority.                                                           disclosed embodiments. In some embodiments, the system
                                                                       140 may be part of the client enviromnent 130. In an
          BRIEF DESCRIPTION OF THE DRAWINGS                            embodiment, the security system 140 may be realized as a
                                                                       physical machine configured to execute a plurality of virtual
      The foregoing and other objects, features, and advantages 10 instances, such as, but not limited to virtual machines
   of the disclosed embodiments will be apparent from the              executed by a host server. In yet another embodiment, the
   following detailed description taken in conjunction with the        security system 140 may be realized as a virtual machine
   accompanying drawings.                                              executed by a host server. Such a host server is a physical
      FIGS. lA and 1B are network diagrams utilized to                 machine (device) and may be either the server 115, a
   describe the various embodiments.                                15 dedicated server, a different shared server, or another virtu-
      FIG. 2 is a flowchart illustrating a method detecting cyber      alization-based computing entity, such as a serverless func-
   threats, including potential vulnerabilities in virtual             tion.
   machines executed in a cloud computing platform according              In an embodiment, the interface between the client envi-
   to some embodiments.                                                romnent 130 and the security system 140 can be realized
      FIG. 3 is an example block diagram of the security system 20 using APis or services provided by the cloud computing
   according to an embodiment.                                         platform 110. For example, in AWS, a cross account policy
                                                                       service can be utilized to allow interfacing the client envi-
                    DETAILED DESCRIPTION                               romnent 130 with the security system 140.
                                                                          In the deployment, illustrated in FIG. 1, the configuration
      It is important to note that the embodiments disclosed 25 of resources of the cloud computing platform 110 is per-
   herein are only examples of the many advantageous uses of           formed by means of the management console 150. As such,
   the innovative teachings herein. In general, statements made        the management console 150 may be queried on the current
   in the specification of the present application do not neces-       deployment and settings of resources in the cloud computing
   sarily limit any of the various claimed embodiments. More-          platform 110. Specifically, the management console 150
   over, some statements may apply to some inventive features 30 may be queried, by the security system 140, about as the
   but not to others. In general, unless otherwise indicated,          location (e.g., virtual address) of the virtual disk 118-1 in the
   singular elements may be in plural and vice versa with no           storage 117. The system 140 is configured to interface with
   loss of generality. In the drawings, like numerals refer to like    the management console 150 through, for example, an APL
   parts through several views.                                           In some example embodiments, the security system 140
      FIGS. lA and 1B show an example network diagram 100 35 may further interface with the cloud computing platform 110
   utilized to describe the various embodiments. A cloud com-          and external systems 170. The external systems may include
   puting platform 110 is communicably connected to a net-             intelligence systems, security information and event man-
   work 120. Examples of the cloud computing platform 110              agement (SIEM) systems, and mitigation tools. The external
   may include a public cloud, a private cloud, a hybrid cloud,        intelligence systems may include common vulnerabilities
   and the like. Examples for a public cloud, but are not limited 40 and exposures (CVE®) databases, reputation services, secu-
   to, AWS® by Amazon®, Microsoft Azure®, Google                       rity systems (providing feeds on discovered threats), and so
   Cloud®, and the like. In some configurations, the disclosed         on. The information provided by the intelligence systems
   embodiments operable in on premise virtual machines envi-           may detect certain known vulnerabilities identified in, for
   romnents. The network 120 may be the Internet, the world-           example, a CVE database.
   wide-web (WWW), a local area network (LAN), a wide area 45             According to the disclosed embodiments, the security
   network (WAN), and other networks.                                  system 140 is configured to detect vulnerabilities and other
      The arrangement of the example cloud computing plat-             cyberthreats related to the execution VM 119. The detection
   form 110 is shown in FIG. 1B. As illustrated, the platform          is performed while the VM 119 is live, without using any
   110 includes a server 115 and a storage 117, serving as the         agent installed in the server 115 or the VM 119, and without
   storage space for the server 115. The server 115 is a physical 50 relying on cooperation from VM 119 guest OS. Specifically,
   device hosting at least one virtual machine (VM) 119. The           the security system 140 can scan and detect vulnerable
   VM 119 is a protected VM, which may be any virtual cloud            software, non-secure configuration, exploitation attempts,
   asset including, but not limited to, a software container, a        compromised asserts, data leaks, data mining, and so on. The
   micro-service, a serverless function, and the like.                 security system 140 may be further utilized to provide
      The storage 117 emulates virtual discs for the VMs 55 security services, such as incident response, anti-ransom-
   executed in by the server 115. The storage 117 is typically         ware, and cyber insurance by accessing the security posture.
   connected to the server 115 through a high-speed connec-               In some embodiments, the security system 140 is config-
   tion, such as optic fiber allowing fast retrieval of data. In       ured to query the cloud management console 150 for the
   other configurations, the storage 117 may be part of the            address of the virtual disk 118-1 serving the VM 119 and a
   server 115. In this example illustrated in FIG. 1B, virtual 60 location of the snapshot. A VM' s snapshot is a copy of the
   disk 118-1 is allocated for the VM 119. The server 115, and         machine's virtual disk (or disk file) at a given point in time.
   hence the VM 119, may be executed in a client enviromnent           Snapshots provide a change log for the virtual disk and are
   130 within the platform 110.                                        used to restore a VM to a particular point in time when a
      The client enviromnent 130 is an enviromnent within the          failure error occurs. Typically, any data that was writable on
   cloud computing platform 110 utilized to execute cloud- 65 a VM becomes read-only when the snapshot is taken.
   hosted applications of the client. A client may belong to a         Multiple snapshots of a VM can be created at multiple
   specific tenant. In some example embodiment, the client             possible point-in-time restore points. When a VM reverts to
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 122 of 207 PageID #: 849


                                                       US 11,726,809 B2
                                 5                                                                   6
   a snapshot, current disk and memory states are deleted and         actively communicating with the VM 119, using either
   the snapshot becomes the new parent snapshot for that VM.          legitimate communicate and/or attack attempts, to assess its
      The snapshot of the VM 119 is located and may be saved          posture and by that deriving the security posture of the entire
   from the virtual disk 118-1 is accessed by the system 140. In      VM 119.
   an embodiment, the VM' s 119 snapshot may be copied to the 5          In order to determine if the vulnerability is relevant to the
   system 140. If such a snapshot does not exist, the system 140      VM 119, the security system 140 is configured to analyze the
   may take a new snapshot, or request such an action. The            machine memory, as reflected in the page file. The page file
   snapshots may be taken at a predefined schedule or upon            is saved in the snapshot and extends how much system-
   predefined events (e.g., a network event or abnormal event).       committed memory (also known as "virtual memory") a
   Further, the snapshots may be accessed or copied on a 10
                                                                      system can back. In an embodiment, analyzing the page file
   predefined schedule or upon predefined events. It should be
                                                                      allows deduction of running applications and modules by the
   noted that when the snapshot is taken or copied, the VM 119
                                                                      VM 119.
   still runs.
      It should be noted that the snapshot of the virtual disk           In an embodiment, the security system 140 is configured
   118-1 may not be necessary stored in the storage 117, but for 15 to read process identification number (PID) files and check
   ease of the discussion it is assumed that the snapshot is saved    their access or write times, which are matched against
   in the storage 117. It should be further noted that the            process descriptors. The PID can be used to deduce which
   snapshot is being accessed without cooperation of the guest,       processes are running, and hence the priority of vulnerabili-
   virtual OS of the virtual machine.                                 ties detected in processes existing on the disk. It should be
      The snapshot is parsed and analyzed by the security 20 noted the PID files are also maintained in the snapshot.
   system 140 to detect vulnerabilities. This analysis of the            In yet another embodiment, the security system 140 is
   snapshot does not require any interaction and/or information       configured to detect cyber threats that do not represent
   from the VM 119. As further demonstrated herein, the               vulnerabilities. For example, the security system 140 may
   analysis of the snapshot by the system 140 does not require        detect and alert on sensitive data not being encrypted on the
   any agent installed on the server 115 or VM 119.                25 logical disk, private keys found on the disks, system cre-
      Various techniques can be utilized to analyze the snap-         dentials stored clearly on the disk, risky application features
   shots, depending on the type of vulnerability and cyber            (e.g., support of weak cipher suites or authentication meth-
   threats to be detected. Following are some example embodi-         ods), weak passwords, weak encryption schemes, a disable
   ments for techniques that may be implemented by the                address space layout randomization (ASLR) feature, suspi-
   security system 140.                                            30 cious manipulation to a boot record, suspicious PATH,
      In an embodiment, the security system 140 is configured         LD_LIBRARY_PATH, or LD_PRELOAD definitions, ser-
   to detect whether there is vulnerable code executed by the         vices running on startup, and the like.
   VM 119. The VM 119 being checked may be running,                      In an embodiment, the security system 140 may further
   paused, or shutdown. To this end, the security system 140 is       monitor changes in sensitive machine areas, and alert on
   configured to match installed application lists, with their 35 unexpected changes (e.g., added or changed application files
   respective versions, to a known list of vulnerable applica-        without installation). In an example embodiment, this can be
   tions. Further, the security system 140 may be configured to       achieved by computing a cryptographic hash of the sensitive
   match the application files, either directly (using binary         areas in the virtual disk and checking for differences over
   comparison) or by computing a cryptographic hash against           time.
   database of files in vulnerable applications. The matching 40         In some embodiments, the detected cyber threats (includ-
   may be also on sub-modules of an application. Alternatively,       ing vulnerabilities) are reported to a user console 180 and/or
   the security system 140 may read installation logs of pack-        a security information and event management (SIEM) sys-
   age managers used to install the packages of the application.      tem (not shown). The reported cyber threats may be filtered
      In yet another embodiment, the security system 140 is           or prioritized based in part on their determined risk. Further,
   configured to verify whether the vulnerability is relevant to 45 the reported cyber threats may be filtered or prioritized
   the VM 119. For example, if there is a vulnerable version or       based in part on the risk level of the machine. This also
   module not in use, the priority of that issue is reduced           reduces the number of alerts reported to the user.
   dramatically.                                                         In an embodiment, any detected cyber threats related to
      To this end, the security system 140 may be configured to       sensitive data (including personally identifiable information,
   check the configuration files of the applications and aper- 50 PII) is reported at a higher priority. In an embodiment, such
   ating system of the VM 119; to verify access times to files        data is determined by searching for the PII, analyzing the
   by the operating system; and/or to analyze the active appli-       application logs to determine whether the machine accessed
   cation and/or system logs in order to deduce what applica-         PII/PII containing servers, or whether the logs themselves
   tions and modules are running.                                     contain PII, and searching the machine memory, as reflected
      In yet another embodiment, the security system 140 may 55 in the page file, for PII.
   instantiate a copy of the VM 119 and/or a subset of appli-            In an embodiment, the security system 140 may deter-
   cations of the VM 119 on the server 115 or a separate server       mine the risk of the VM 119 based on communication with
   and monitor all activity performed by the instance of the          an untrusted network. This can be achieved by analyzing the
   VM. The execution of the instance of the VM is an isolated         VM' s 119 logs as saved in the virtual disk and can be derived
   sandbox, which can be a full VM or subset of it, such as a 60 from the snapshot.
   software container (e.g., Docker® container) or another               In an example embodiment, the security system 140 may
   virtualized instances. The monitored activity may be further       cause an execution of one or more mitigation actions.
   analyzed to determine abnormality. Such analysis may               Examples of such actions may include blocking traffic from
   include monitoring of API activity, process creation, file         untrusted networks, halting the operation of the VM, quar-
   activity, network communication, registry changes, and 65 antining an infected VM, and the like. The mitigation actions
   active probing of the said subset in order to assess its           may be performed by a mitigation tool and not the system
   security posture. This may include, but not limited to,            140.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 123 of 207 PageID #: 850


                                                      US 11,726,809 B2
                                 7                                                                  8
      It should be noted that the example implementation                 At optional S260, a mitigation action may be triggered to
   shown in FIG. 1 is described with respect to a single cloud        mitigate a detected threat or vulnerability. A mitigation
   computing platform 110 hosting a single VM 119 in a single         action may be executed by a mitigation tool and triggered by
   server 115, merely for simplicity purposes and without             the system 140. Such an action may include blocking traffic
   limitation on the disclosed embodiments. Typically, virtual 5 from untrusted networks, halting the operation of the VM,
   machines are deployed and executed in a single cloud               quarantining an infected VM, and the like.
   computing platform, a virtualized environment, or data                FIG. 3 is an example block diagram of the security system
   center and can be protected without departing from the             140 according to an embodiment. The security system 140
   scope of the disclosure. It should be further noted that the       includes a processing circuitry 310 coupled to a memory
                                                                   10 320, a storage 330, and a network interface 340. In an
   disclosed embodiments can operate using multiple security
                                                                      embodiment, the components of the security system 140
   systems 140, each of which may operate in a different client
                                                                      may be communicatively connected via a bus 360.
   environment.
                                                                         The processing circuitry 310 may be realized as one or
      FIG. 2 shows an example flowchart 200 illustrating a            more hardware logic components and circuits. For example,
   method for detecting cyber threats including potential vul- 15 and without limitation, illustrative types of hardware logic
   nerabilities in virtual machines executed in a cloud comput-       components that can be used include field programmable
   ing platform according to some embodiments. The method             gate arrays (FPGAs), application-specific integrated circuits
   may be performed by the security system 140.                       (ASICs), application-specific standard products (ASSPs),
      At S210, a request, for example, to scan a VM for               system-on-a-chip systems (SOCs), general-purpose micro-
   vulnerabilities is received. The request may be received, or 20 processors, microcontrollers, digital signal processors
   otherwise triggered every predefined time interval or upon         (DSPs ), and the like, or any other hardware logic compo-
   detection of an external event. An external event may be a         nents that can perform calculations or other manipulations of
   preconfigured event, such as a network event or abnormal           information.
   event including, but not limited to, changes to infrastructure        The memory 310 may be volatile (e.g., RAM, etc.),
   such as instantiation of an additional container on existing 25 non-volatile (e.g., ROM, flash memory, etc.), or a combi-
   VM, image change on a VM, new VM created, unexpected               nation thereof. In one configuration, computer readable
   shutdowns, access requests from unauthorized users, and the        instructions to implement one or more embodiments dis-
   like. The request may at least designate an identifier of the      closed herein may be stored in the storage 330.
   VM to be scanned.                                                     In another embodiment, the memory 320 is configured to
      At S220, a location of a snapshot of a virtual disk of the 30 store software. Software shall be construed broadly to mean
   VM to be scanned is determined. In an embodiment, S220             any type of instructions, whether referred to as software,
   may include determining the virtual disk allocated for the         firmware, middleware, microcode, hardware description
   VM, prior to determining the location of the snapshot. As          language, or otherwise. Instructions may include code (e.g.,
   noted above, this can be achieved by querying a cloud              in source code format, binary code format, executable code
   management console. At S230, a snapshot of the virtual disk 35 format, or any other suitable format of code). The instruc-
   is accessed, or otherwise copied.                                  tions, when executed by the one or more processors, cause
      At S240, the snapshot is analyzed to detect cyber threats       the processing circuitry 310 to perform the various processes
   and potential vulnerabilities. S240 may be also include            described herein. Specifically, the instructions, when
   detecting cyber threats that do not represent vulnerabilities.     executed, cause the processing circuitry 310 to determine
   Examples for cyber threats and vulnerabilities are provided 40 over-privileged roles vulnerabilities in serverless functions.
   above.                                                                The storage 330 may be magnetic storage, optical storage,
      In an embodiment, S240 may include comparing the                and the like, and may be realized, for example, as flash
   snapshot to some baseline, which may include, but is not           memory or other memory technology, CD-ROM, Digital
   limited to, a copy of the image used to create the VM, (e.g.,      Versatile Disks (DVDs), hard-drives, SSD, or any other
   lists of applications, previous snapshots), cryptographic 45 medium which can be used to store the desired information.
   hashes gathered in the previous scan, analyzing logs of the        The storage 330 may store communication consumption
   VMs, instantiating a copy of the VM and executing the              patterns associated with one or more communications
   instance or applications executed by the VM in a sandbox,          devices.
   analyzing the machine memory, as reflected in the page file,          The network interface 340 allows the security system 140
   or any combination of these techniques. Some example 50 to communicate with the external systems, such as intelli-
   embodiments for analyzing the snapshots and the types of           gence systems, SIEM systems, mitigation systems, a cloud
   detected vulnerabilities and threats are provided above.           management console, a user console, and the like.
      At S250, the detected cyber threats and/or vulnerabilities         It should be understood that the embodiments described
   are reported, for example, as alerts. In an embodiment, S250       herein are not limited to the specific architecture illustrated
   may include filtering and prioritizing the reported alerts. In 55 in FIG. 3, and other architectures may be equally used
   an embodiment, the prioritization is based, in part, on the        without departing from the scope of the disclosed embodi-
   risk level of a vulnerable machine. The filtering and priori-      ments.
   tizing allow to reduce the number of alerts reported to the           The various embodiments disclosed herein can be imple-
   user. The filtering can be done performed on external              mented as hardware, firmware, software, or any combination
   intelligence on the likelihood of this vulnerability being 60 thereof. Moreover, the software is preferably implemented
   exploited, analyzing the machine configuration in order to         as an application program tangibly embodied on a program
   deduce the vulnerability relevancy, and correlating the vul-       storage unit or computer readable medium consisting of
   nerability with the network location, and by weighting the         parts, or of certain devices and/or a combination of devices.
   risk of this machine being taken over by the attacker by           The application program may be uploaded to, and executed
   taking into consideration the criticality of the machine in the 65 by, a machine comprising any suitable architecture. Prefer-
   organization based by the contents stored or other assets          ably, the machine is implemented on a computer platform
   accessible from the VM 110.                                        having hardware such as one or more central processing
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 124 of 207 PageID #: 851


                                                       US 11,726,809 B2
                                 9                                                                  10
   units ("CPUs"), a memory, and input/output interfaces. The          ing the prioritized alerts to a user console or a security
   computer platform may also include an operating system              information and event management (SIEM) system.
   and microinstruction code. The various processes and func-             3. The method of claim 2, further comprising filtering the
   tions described herein may be either part of the microin-           determined potential cyber vulnerabilities based on a deter-
   struction code or part of the application program, or any 5 mined risk level associated with each determined potential
   combination thereof, which may be executed by a CPU,                cyber vulnerability, such that a number of the prioritized
   whether or not such a computer or processor is explicitly           alerts reported to a user console or a SIEM system is less
   shown. In addition, various other peripheral units may be           than a total number of determined potential cyber vulner-
   connected to the computer platform such as an additional            abilities.
   data storage unit and a printing unit. Furthermore, a non- 10          4. The method of claim 3, wherein determining the risk of
   transitory computer readable medium is any computer read-           the protected virtual cloud asset to the cloud computing
   able medium except for a transitory propagating signal.             environment is based on external intelligence on the likeli-
      As used herein, the phrase "at least one of' followed by         hood of the determined potential cyber vulnerabilities being
   a listing of items means that any of the listed items can be        exploited.
   utilized individually, or any combination of two or more of 15         5. The method of claim 4, wherein determining a risk of
   the listed items can be utilized. For example, if a system is       the protected virtual cloud asset to the cloud computing
   described as including "at least one of A, B, and C," the           environment includes:
   system can include A alone; B alone; C alone; A and B in               analyzing a configuration of the protected virtual cloud
   combination; Band C in combination; A and C in combi-                      asset, and wherein the method further comprises:
   nation; or A, B, and C in combination.                           20    weighting a takeover risk of the protected virtual cloud
      All examples and conditional language recited herein are                asset.
   intended for pedagogical purposes to aid the reader in                  6. The method of claim 1, wherein analyzing the snapshot
   understanding the principles of the disclosed embodiment            of the at least one virtual disk includes matching application
   and the concepts contributed by the inventor to furthering          files on the snapshot of the at least one virtual disk directly
   the art, and are to be construed as being without limitation 25 against application files associated with a known list of
   to such specifically recited examples and conditions. More-         vulnerable applications.
   over, all statements herein reciting principles, aspects, and          7. The method of claim 1, wherein analyzing the snapshot
   embodiments of the disclosed embodiments, as well as                of the at least one virtual disk includes matching application
   specific examples thereof, are intended to encompass both           files on the snapshot of the at least one virtual disk by:
   structural and functional equivalents thereof. Additionally, it 30     computing a cryptographic hash against at least one
   is intended that such equivalents include both currently                   application file to be matched; and
   known equivalents as well as equivalents developed in the              matching the computed cryptographic hash against a
   future, i.e., any elements developed that perform the same                 database of files associated with a known list of vul-
   function, regardless of structure.                                         nerable applications.
                                                                    35    8. The method of claim 1, wherein analyzing the snapshot
      What is claimed is:                                              of the at least one virtual disk includes:
      1. A method for securing virtual cloud assets against cyber         parsing the snapshot of the at least one virtual disk; and
   vulnerabilities in a cloud computing environment, the                  scarming the parsed snapshot of the at least one virtual
   method comprising:                                                         disk to detect the potential cyber vulnerabilities.
      determining, using an API or service provided by the 40             9. The method of claim 8, wherein scanning the parsed
         cloud computing environment, a location of a snapshot         snapshot further includes at least one of:
         of at least one virtual disk of a protected virtual cloud        checking configuration files of applications and an oper-
         asset, wherein the protected virtual cloud asset is                  ating system installed in the protected virtual cloud
         instantiated in the cloud computing environment;                     asset;
      accessing, based on the determined location and using an 45         verifying access times to files by the operating system
         API or service provided by the cloud computing envi-                 installed in the protected virtual cloud asset; or
         ronment, the snapshot of the virtual disk;                       analyzing system logs to deduce applications and modules
      analyzing the snapshot of the at least one virtual disk by              executed in the protected virtual cloud asset.
         matching installed applications with applications on a           10. The method of claim 1, further comprising mitigating
         known list of vulnerable applications;                     50 a potential cyber vulnerability posing a risk to the protected
      determining, based on the matching, an existence of a            virtual cloud asset.
         plurality of potential cyber vulnerabilities;                    11. The method of claim 10, wherein mitigating a poten-
      correlating the determined potential cyber vulnerabilities       tial cyber vulnerability includes at least one of:
         with a network location of the protected virtual cloud           blocking traffic from untrusted networks to the protected
         asset;                                                     55        virtual cloud asset,
      using the determined plurality of potential cyber vulner-           halting operation of the protected virtual cloud asset, or
         abilities and the network location of the protected                  quarantining the protected virtual cloud asset.
         virtual cloud asset to determine a risk of the protected         12. The method of claim 1, wherein determining the
         virtual cloud asset to the cloud computing environ-           location of the snapshot of at least one virtual disk further
         ment;                                                      60 includes determining a virtual disk allocated to the protected
      prioritizing, by the determined risk, the plurality of poten-    virtual cloud asset.
         tial cyber vulnerabilities; and                                  13. The method of claim 1, wherein determining the
      reporting the determined plurality of potential cyber vul-       location of the snapshot of at least one virtual disk further
         nerabilities as alerts prioritized according to the deter-    includes:
         mined risk.                                                65    using an API or service provided by the cloud computing
      2. The method of claim 1, wherein reporting the deter-                  environment for taking the snapshot or requesting the
   mined potential cyber vulnerabilities includes communicat-                 taking of the snapshot.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 125 of 207 PageID #: 852


                                                       US 11,726,809 B2
                                 11                                                                   12
      14. The method of claim 13, wherein determining the                matching the computed cryptographic hash against a
   location of the snapshot of at least one virtual disk further             database of files associated with a known list of vul-
   includes obtaining the location of the snapshot after the                 nerable applications.
   snapshot is taken.                                                     19. A system for securing virtual cloud assets against
      15. The method of claim 1, wherein determining the 5             cyber  vulnerabilities in a cloud computing environment, the
                                                                       system comprising:
   location of the snapshot of at least one virtual disk further
                                                                          at least one processor configured to:
   includes querying a cloud management console of the cloud                 determine, using an API or service provided by the
   computing environment for the location of the snapshot and                   cloud computing environment, a location of a snap-
   the location of the virtual disk.                                            shot of at least one virtual disk of a protected virtual
                                                                    10
      16. A non-transitory computer readable medium contain-                    cloud asset, wherein the protected virtual cloud asset
   ing instructions that when executed by at least one processor                is instantiated in the cloud computing environment;
   cause the at least one processor to perform operations for                access, based on the determined location and using an
   securing virtual cloud assets against cyber vulnerabilities in               API or service provided by the cloud computing
   a cloud computing environment, the operations comprising: 15                 environment, the snapshot of the virtual disk;
      determining, using an API or service provided by the                   analyze   the snapshot of the at least one virtual disk by
         cloud computing environment, a location of a snapshot                  matching installed applications with applications on
         of at least one virtual disk of a protected virtual cloud              a known list of vulnerable applications;
         asset, wherein the protected virtual cloud asset is                 determine, based on the matching, an existence of a
         instantiated in the cloud computing environment;                       plurality of potential cyber vulnerabilities;
                                                                    20       correlate the determined potential cyber vulnerabilities
      accessing, based on the determined location and using an
         API or service provided by the cloud computing envi-                   with a network location of the protected virtual cloud
         ronment, the snapshot of the virtual disk;                             asset;
      analyzing the snapshot of the at least one virtual disk by             use  the determined plurality of potential cyber vulner-
         matching installed applications with applications on a 25              abilities network location of the protected virtual
         known list of vulnerable applications;                                 cloud asset to determine a risk of the protected
      determining, based on the matching, an existence of a                     virtual cloud asset to the cloud computing environ-
         plurality of potential cyber vulnerabilities;                          ment;
      correlating the determined potential cyber vulnerabilities             prioritize, by the determined risk, the plurality of
         with a network location of the protected virtual cloud 30              potential cyber vulnerabilities; and
         asset;                                                              report the determined plurality of potential cyber vul-
      using the determined plurality of potential cyber vulner-                 nerabilities as alerts prioritized according to the
         abilities and the network location of the protected                    determined risk.
         virtual cloud asset to determine a risk of the protected         20.  The   system of claim 19, wherein determining the
         virtual cloud asset to the cloud computing environ- 35 location of the snapshot of at least one virtual disk further
         ment;                                                         includes:
      prioritizing, by the determined risk, the plurality of poten-      using an API or service provided by the cloud computing
         tial cyber vulnerabilities; and                                     environment for taking the snapshot or requesting the
      reporting, the determined plurality of potential cyber                 taking of the snapshot.
         vulnerabilities as alerts prioritized according to the 40        21. The system of claim 20, wherein determining the
         determined risk.                                              location of the snapshot of at least one virtual disk further
      17. The non-transitory computer readable medium of               includes obtaining the location of the snapshot that is taken.
   claim 16, wherein analyzing the snapshot of the at least one           22. The system of claim 19, wherein determining the
   virtual disk further includes matching application files on the     location   of the snapshot of at least one virtual disk further
   snapshot of the at least one virtual disk directly against 45 includes· querying a cloud management console of the cloud
   application files associated with a known list of vulnerable        computmg environment for the location of the snapshot and
   applications.                                                       the location of the virtual disk.
      18. The non-transitory computer readable medium of                  23. The method of claim 1, further comprising copying
   claim 16, wherein analyzing the snapshot of the at least one        the snapshot of the at least one virtual disk- and
   virtual disk further includes matching application files on the 50     further wherein analyzing the snapshot or'the at least one
   snapshot of the at least one virtual disk by:                             virtual disk comprises analyzing the copy of the snap-
      computing a cryptographic hash against at least one                    shot.
         application file to be matched; and                                                    * * * * *
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 126 of 207 PageID #: 853




                    EXHIBIT 9
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 127 of 207 PageID #: 854
                                                                             I1111111111111111 1111111111 USO
                                                                                                          111111111111111 1111111111 11111 lll111111111111111
                                                                                                                 11740926B2


   c12)   United States Patent                                                          (IO) Patent No.:     US 11,740,926 B2
          Shua                                                                          (45) Date of Patent:     *Aug. 29, 2023

   (54)   TECHNIQUES FOR SECURING VIRTUAL                                                              2009/45587 (2013.01); G06F 2009/45591
          MACHINES BY ANALYZING DATA FOR                                                          (2013.01); G06F 2009/45595 (2013.01); G06F
          CYBER THREATS                                                                                                        2201/84 (2013.01)
                                                                                     (58)    Field of Classification Search
   (71)   Applicant: Orea Security Ltd., Tel Aviv (IL)                                       None
                                                                                             See application file for complete search history.
   (72)   Inventor:    Avi Shua, Tel Aviv (IL)
                                                                                     (56)                            References Cited
   (73)   Assignee: Orea Security Ltd., Tel Aviv (IL)
                                                                                                         U.S. PATENT DOCUMENTS
   ( *)   Notice:      Subject to any disclaimer, the term ofthis
                                                                                            9,069,983 Bl               6/2015 Nijjar
                       patent is extended or adjusted under 35                              9,177,145 B2              11/2015 Todorovic
                       U.S.C. 154(b) by O days.
                                                                                                                           (Continued)
                       This patent is subject to a terminal dis-
                       claimer.                                                                             OTHER PUBLICATIONS

   (21)   Appl. No.: 18/055,220                                                      Non-Final Office Action U.S. Appl. No. 16/585,967 dated Feb. 3,
                                                                                     2022, in the United States Patent and Trademark Office.
   (22)   Filed:       Nov. 14, 2022                                                                                       (Continued)

   (65)                  Prior Publication Data                                      Primary Examiner - Joseph P Hirl
          US 2023/0092220 Al           Mar. 23, 2023                                 Assistant Examiner - Hassan Saadoun
                                                                                     (74) Attorney, Agent, or Firm - Finnegan, Henderson
                   Related U.S. Application Data                                     Farabow, Garrett & Dunner LLP

   (63)   Continuation of application No. 17/330,998, filed on                       (57)                                  ABSTRACT
          May 26, 2021, now Pat. No. 11,516,231, which is a
                                                                                     A system and method for securing virtual cloud assets in a
                           (Continued)                                               cloud computing environment against cyber threats. The
                                                                                     method includes: determining a location of a snapshot of at
   (51)   Int. Cl.
                                                                                     least one virtual disk of a protected virtual cloud asset,
          H04L 9/40               (2022.01)
                                                                                     wherein the virtual cloud asset is instantiated in the cloud
          G06F 9/455              (2018.01)
                                                                                     computing environment; accessing the snapshot of the vir-
                            (Continued)                                              tual disk based on the determined location; analyzing the
   (52)   U.S. Cl.                                                                   snapshot of the protected virtual cloud asset to detect
          CPC ...... G06F 9/45558 (2013.01); G06F 1111464                            potential cyber threats risking the protected virtual cloud
                    (2013.01); G06F 161128 (2019.01); H04L                           asset; and alerting detected potential cyber threats based on
                63/1416 (2013.01); H04L 63/1433 (2013.01);                           a determined priority.
                 H04L 63/1441 (2013.01); G06F 2009/45562
               (2013.01); G06F 2009/45583 (2013.01); G06F                                                15 Claims, 4 Drawing Sheets

                                                                                                   (200
                                                                             Start

                                                                                                                    S210

                                                 Receive a request to scan a VM for vulnerabilities

                                                                                                                    S220
                                              Determine a location of the virtual disk of the VM and its snapshot



                                                                                                                    S230
                                                           Access a snapshot of virtual disk

                                                                                                                    S240

                                                                  Analyze the snapshot

                                                                                                                    S250

                                                                 Report detected threats

                                                                                                                    S260

                                                               Trigger a mitigation action




                                                                (~_End~)
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 128 of 207 PageID #: 855


                                                           US 11,740,926 B2
                                                                      Page 2


                Related U.S. Application Data                                  2019/0065754 Al     2/2019 Ochs et al.
                                                                               2020/0042707 Al     2/2020 Kucherov et al.
          continuation of application No. 16/585,967, filed on                 2020/0065487 Al     2/2020 Timashev et al.
          Sep. 27, 2019, now Pat. No. 11,431,735.
                                                                                             OTHER PUBLICATIONS
   (60)   Provisional application No. 62/797,718, filed on Jan.
          28, 2019.                                                        Notice of Allowance U.S. Appl. No. 16/585,967 dated Jul. 7, 2022,
                                                                           in the United States Patent and Trademark Office.
   (51)   Int. Cl.                                                         Non-Final Office Action U.S. Appl. No. 17/330,998 dated Mar. 4,
                                                                           2022, in the United States Patent and Trademark Office.
          G06F 16111              (2019.01)                                Final Office Action U.S. Appl. No. 17/330,998 dated Jun. 30, 2022,
          G06F 11114              (2006.01)                                in the United States Patent and Trademark Office.
                                                                           Notice of Allowance U.S. Appl. No. 17/330,998 dated Aug. 10,
   (56)                 References Cited                                   2022, in the United States Patent and Trademark Office.
                                                                           Non-Final Office Action U.S. Appl. No. 17/361,861 dated Aug. 29,
                 U.S. PATENT DOCUMENTS                                     2022, in the United States Patent and Trademark Office.
                                                                           Advisory Action U.S. Appl. No. 17/361,861 dated May 20, 2022, in
        9,229,758 B2     1/2016   Ammons et al.                            the United States Patent and Trademark Office.
        9,268,689 Bl     2/2016   Chen et al.                              Final Office Action U.S. Appl. No. 17/361,861 dated Mar. 8, 2022,
        9,519,781 B2    12/2016   Golshan et al.                           in the United States Patent and Trademark Office.
        9,563,777 B2     2/2017   Deng et al.                              Non-Final Office Action U.S. Appl. No. 17/361,861 dated Oct. 25,
        9,734,325 Bl     8/2017   Neumann et al.                           2021, in the United States Patent and Trademark Office.
        9,756,070 Bl     9/2017   Crowell et al.                           Rani et al.; "An Efficient Approach to Forensic Investigation in
        9,798,885 B2    10/2017   Deng et al.
                                                                           Cloud using VM Snapshots", 2015 International Conference on
        9,858,105 Bl     1/2018   Upadhyay et al.
       10,079,842 Bl     9/2018   Brandwine et al.                         Pervasive Computing (ICPC), 5 pages, (2015).
       10,402,560 B2     9/2019   Gilbert                                  Wei et al., "Managing Security of Virtual Machine Images in a
       10,412,109 B2     9/2019   Loureiro et al.                          Cloud Environment", CCSW'09, pp. 91-96, Nov. 13, 2009.
       10,469,304 Bl    11/2019   Kempe et al.                             Almulla et al., "Digital Forensic of a Cloud Based Snapshot", The
       10,534,915 B2     1/2020   Cherny et al.                            Sixth International Conference on Innovative Computing Technol-
       10,536,471 Bl*    1/2020   Derbeko ................. G06F 21/53     ogy (INTECH 2016), pp. 724-729, (2016).
       10,552,610 Bl     2/2020   Vashisht et al.                          Pandey et al., "An Approach for Virtual Machine Image Security",
       10,782,952 Bl     9/2020   Doring et al.                            Computer Science and Engineering MNNIT, Allahabad, 2014 Inter-
       10,812,521 Bl    10/2020   Sharifi Mehr                             national Conference on Signal Propagation and Computer Technol-
       10,944,778 Bl*    3/2021   Golan ................. H04L 63/1491     ogy (ICSPCT), pp. 616-623, (2014).
       11,068,353 Bl*    7/2021   Ved ..................... G06F 9/45558
                                                                           Rajasekaran et al., "Scalable Cloud Security via Asynchronous
       11,120,124 B2     9/2021   Fusenig et al.
       11,216,563 Bl     1/2022   Veselov et al.                           Virtual Machine Introspection", 8th USENIX Workshop on Hot
       11,431,735 B2     8/2022   Shua                                     Topics in Cloud Computing, Cover page and pp. 1-6, (2016).
       11,516,231 B2    11/2022   Shua                                     Kaur et al., "Secure VM Backup and Vulnerability Removal in
    2007/0266433 Al     11/2007   Moore                                    Infrastructure Clouds", 2014 International Conference on Advances
    2008/0189788 Al      8/2008   Bahl                                     in Computing, Communications and Informatics (ICACCI), pp.
    2008/0263658 Al     10/2008   Michael et al.                           1217-1226, (2014).
    2009/0007100 Al      1/2009   Field et al.                             Fernandez et al., "Two patterns for cloud computing: Secure Virtual
    2010/0017512 Al      1/2010   Ciano et al.                             Machine Image Repository and Cloud Policy Management Point",
    2011/0289584 Al     11/2011   Palagummi                                PLoP '13: Proceedings of the 20th Conference on Pattern Lan-
    2012/0072968 Al      3/2012   Wysopal et al.                           guages of Programs Oct. 2013 Article No. 15, Association for
    2012/0323853 Al     12/2012   Fries et al.
                                                                           Computing Machinery (ACM), Cover sheet and pp. 1-11, (2013).
    2013/0191643 Al*     7/2013   Song ..................... H04L 9/3265
                                                                           Fernandez et al. "Building a security reference architecture for
                                                                 713/176
    2013/0247133 Al      9/2013   Price et al.                             cloud systems", Springer, Requirements Eng, vol. 21, pp. 225-249,
    2014/0089916 Al      3/2014   Gross et al.                             (2016).
    2014/0096135 Al      4/2014   Kundu et al.                             Ammons et al., "Virtual machine images as structured data: the
    2014/0137190 Al      5/2014   Careyetal.                               Mirage image library", IBM Research, Cover sheet 2 pages and pp.
    2015/0052520 Al      2/2015   Crowell et al.                           1-6, (2011 ).
    2016/0004449 Al *    1/2016   Lakshman ............ G06F 3/0604        "IBM Point ofView Security and Cloud Computing", IBM SmartCloud
                                                                 711/162   Enterprise, Cloud Computing White Paper, 13 sheets of cover pages
    2016/0094568 Al *    3/2016   Balasubrarnanian                         and pp. 1-20, (2009).
                                                            G06F 9/45558   Cui et al., "A Less Resource-Consumed Security Architecture on
                                                                  726/23   Cloud Platform", Wuhan University Journal of Natural Sciences,
    2016/0241573 Al   8/2016      Mixer                                    vol. 21, No. 5, pp. 407-414, (2016).
    2016/0364255 Al  12/2016      Chefalas et al.                          Bugiel et al., "AmazonIA: When Elasticity Snaps Back", CCS' 11,
    2017/0011138 Al   1/2017      Venkatesh et al.                         ACM, pp. 389-400, (2011).
    2017/0031704 Al   2/2017      Sudhakaran et al.
                                                                           Notice of Allowance U.S. Appl. No. 17/361,861 dated May 10,
    2017/0103212 Al* 4/2017       Deng .................... G06F 3/0619
    2017/0111384 Al   4/2017      Loureiro et al.                          2023, in the United States Patent and Trademark Office.
    2018/0052762 Al   2/2018      Vyas et al.                              Non-Final Office Action U.S. Appl. No. 17/821,345 dated May 25,
    2018/0137032 Al   5/2018      Tannous et al.                           2023, in the United States Patent and Trademark Office.
    2018/0255080 Al   9/2018      Paine
    2018/0293374 Al  10/2018      Chen                                     * cited by examiner
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 129 of 207 PageID #: 856


   U.S. Patent         Aug. 29, 2023             Sheet 1 of 4              US 11,740,926 B2




                                                                    100
                                                                    __)
                          User Console
                               180


                                                         External
                          Network                        systems
                                                           170
                            120



                                                                      Management
                                                                       Console
                                                                          150
                      Cloud Computing Platform
                                  110




                                        FIG.1A
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 130 of 207 PageID #: 857


   U.S. Patent         Aug. 29, 2023       Sheet 2 of 4             US 11,740,926 B2




                                 Security System
                                       140                \
                                                              130                110




                                       FIG. 18
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 131 of 207 PageID #: 858


   U.S. Patent           Aug. 29, 2023           Sheet 3 of 4                US 11,740,926 B2




                                                                            200
                                               Start                 1
                                                l                                     S210
                   Receive a request to scan a VM for vulnerabilities


                                                l                                     S220
                Determine a location of the virtual disk of the VM and its snapshot


                                                l                                     S230
                             Access a snapshot of virtual disk


                                                l                                     S240
                                    Analyze the snapshot


                                                l                                     S250

                                   Report detected threats


                                                l                                     S260
                                 Trigger a mitigation action




                                  ( __
                                     End_)




                                              FIG. 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 132 of 207 PageID #: 859


   U.S. Patent         Aug. 29, 2023      Sheet 4 of 4                         US 11,740,926 B2




                                                                               140




                                          r             -....___

                                          '---
                                                        _,,,
                    Memory
                      320                        Storage
                                                  330

                                          '--           ~

                                                   I
                                                                                     l_ 360
                             Processing                            Network
                              Circuitry                            Interface
                                310                                   340




                                           FIG. 3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 133 of 207 PageID #: 860


                                                       US 11,740,926 B2
                                 1                                                                   2
        TECHNIQUES FOR SECURING VIRTUAL                                 Traffic inspection may also be performed by a traffic
         MACHINES BY ANALYZING DATA FOR                              monitor that listens to traffic flows between clients and the
                 CYBER THREATS                                       server. The traffic monitor can detect some cyber threats,
                                                                     e.g., based on the volume of traffic. However, the monitor
      This application is a continuation of U.S. application Ser. 5 can detect threats only based on the monitored traffic. For
   No. 17/330,998 (now allowed), filed May 26, 2021, which           example, misconfiguration of the server may not be detected
   is a continuation of U.S. application Ser. No. 16/585,967         by the traffic monitor. As such, traffic monitoring would not
   (now U.S. Pat. No. 11,431,735), filed Sep. 27, 2019, which        allow detection of vulnerabilities in software executed by
   claims the benefit of U.S. Provisional Application No.            the server.
   62/797,718 filed on Jan. 28, 2019, the contents of each of
                                                                  10    To overcome the limitations of traffic inspection solutions,
   which are hereby incorporated by reference in their entire-       some cyber-security solutions, such as vulnerability man-
                                                                     agement and security assessment solutions are based on
   ties.
                                                                     agents installed in each server in a cloud computing platform
                       TECHNICAL FIELD                               or data center. Using agents is a cumbersome solution for a
                                                                  15 number of reasons, including IT resources management,
                                                                     governance, and performance. For example, installing
      This disclosure relates generally to cyber-security systems
                                                                     agents in a large data center may take months.
   and, more specifically, to techniques for securing virtual
                                                                        It would therefore be advantageous to provide a security
   machines.                                                         solution that would overcome the deficiencies noted above.
                                                                   20
                         BACKGROUND                                                            SUMMARY

      Organizations have increasingly adapted their applica-             A summary of several example embodiments of the
   tions to be run from multiple cloud computing platforms.           disclosure follows. This summary is provided for the con-
   Some leading public cloud service providers include Arna- 25 venience of the reader to provide a basic understanding of
   zon®, Microsoft®, Google®, and the like.                           such embodiments and does not wholly define the breadth of
      Virtualization is a key role in a cloud computing, allowing     the disclosure. This summary is not an extensive overview
   multiple applications and users to share the same cloud            of all contemplated embodiments, and is intended to neither
   computing infrastructure. For example, a cloud storage             identify key or critical elements of all embodiments nor to
   service can maintain data of multiple different users.          30 delineate the scope of any or all aspects. Its sole purpose is
      In one instance, virtualization can be achieved by means        to present some concepts of one or more embodiments in a
   of virtual machines. A virtual machine emulates a number of        simplified form as a prelude to the more detailed description
   "computers" or instances, all within a single physical device.     that is presented later. For convenience, the term "some
   In more detail, virtual machines provide the ability to            embodiments" or "certain embodiments" may be used
   emulate a separate operating system (OS), also referred to as 35 herein to refer to a single embodiment or multiple embodi-
   a guest OS, and therefore a separate computer, from an             ments of the disclosure.
   existing OS (the host). This independent instance is typically        Certain embodiments disclosed herein include a method
   isolated as a completely standalone environment.                   for securing virtual cloud assets in a cloud computing
      Modem virtualization technologies are also adapted by           environment against cyber threats, comprising: determining
   cloud computing platforms. Examples for such technologies 40 a location of a snapshot of at least one virtual disk of a
   include virtual machines, software containers, and serverless      protected virtual cloud asset, wherein the virtual cloud asset
   functions. With their computing advantages, applications           is instantiated in the cloud computing environment; access-
   and virtual machines running on top of virtualization tech-        ing the snapshot of the virtual disk based on the determined
   nologies are also vulnerable to some cyber threats. For            location; analyzing the snapshot of the protected virtual
   example, virtual machines can execute vulnerable software 45 cloud asset to detect potential cyber threats risking the
   applications or infected operating systems.                        protected virtual cloud asset; and alerting detected potential
      Protection of a cloud computing infrastructure, and par-        cyber threats based on a determined priority.
   ticularly of virtual machines can be achieved via inspection          Certain embodiments disclosed herein also include a
   of traffic. Traditionally, traffic inspection is performed by a    non-transitory computer readable medium having stored
   network device connected between a client and a server 50 thereon instructions for causing a processing circuitry to
   (deployed in a cloud computing platform or a data center)          execute a process, the process comprising: determining a
   hosting virtual machines. Traffic inspection may not provide       location of a snapshot of at least one virtual disk of a
   an accurate indication of the security status of the server due    protected virtual cloud asset, wherein the virtual cloud asset
   to inherent limitations, such as encryption and whether the        is instantiated in the cloud computing environment; access-
   necessary data is exposed in the communication.                 55 ing the snapshot of the virtual disk based on the determined
      Furthermore, inspection of computing infrastructure may         location; analyzing the snapshot of the protected virtual
   be performed by a network scanner deployed out of path.            cloud asset to detect potential cyber threats risking the
   The scanner queries the server to determine if the server          protected virtual cloud asset; and alerting detected potential
   executes an application that possess a security threat, such as    cyber threats based on a determined priority.
   vulnerability in the application. The disadvantage of such a 60       Certain embodiments disclosed herein also include a
   scanner is that the server may not respond to all queries by       system for securing virtual cloud assets in a cloud comput-
   the scanner, or not expose the necessary data in the response.     ing environment against cyber threats, comprising: a pro-
   Further, the network scanner usually communicates with the         cessing circuitry; and a memory, the memory containing
   server, and the network configuration may prevent it. In           instructions that, when executed by the processing circuitry,
   addition, some types of queries may require credentials to 65 configure the system to: determine a location of a snapshot
   access the server. Such credentials may not be available to        of at least one virtual disk of a protected virtual cloud asset,
   the scanner.                                                       wherein the virtual cloud asset is instantiated in the cloud
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 134 of 207 PageID #: 861


                                                       US 11,740,926 B2
                                  3                                                                    4
   computing enviromnent; access the snapshot of the virtual           enviromnent 130 may be part of a virtualized enviromnent
   disk based on the determined location; analyze the snapshot         or on-premises virtualization enviromnent, such as a
   of the protected virtual cloud asset to detect potential cyber      VMware® based solution.
   threats risking the protected virtual cloud asset; and alert           Also deployed in the cloud computing platform 110 is a
   detected potential cyber threats based on a determined           5 security system 140 configured to perform the various
   priority.                                                           disclosed embodiments. In some embodiments, the system
                                                                       140 may be part of the client enviromnent 130. In an
          BRIEF DESCRIPTION OF THE DRAWINGS                            embodiment, the security system 140 may be realized as a
                                                                       physical machine configured to execute a plurality of virtual
      The foregoing and other objects, features, and advantages 10 instances, such as, but not limited to virtual machines
   of the disclosed embodiments will be apparent from the              executed by a host server. In yet another embodiment, the
   following detailed description taken in conjunction with the        security system 140 may be realized as a virtual machine
   accompanying drawings.                                              executed by a host server. Such a host server is a physical
      FIGS. lA and 1B are network diagrams utilized to                 machine (device) and may be either the server 115, a
   describe the various embodiments.                                15 dedicated server, a different shared server, or another virtu-
      FIG. 2 is a flowchart illustrating a method detecting cyber      alization-based computing entity, such as a serverless func-
   threats, including potential vulnerabilities in virtual             tion.
   machines executed in a cloud computing platform according              In an embodiment, the interface between the client envi-
   to some embodiments.                                                romnent 130 and the security system 140 can be realized
      FIG. 3 is an example block diagram of the security system 20 using APis or services provided by the cloud computing
   according to an embodiment.                                         platform 110. For example, in AWS, a cross account policy
                                                                       service can be utilized to allow interfacing the client envi-
                    DETAILED DESCRIPTION                               romnent 130 with the security system 140.
                                                                          In the deployment, illustrated in FIG. 1, the configuration
      It is important to note that the embodiments disclosed 25 of resources of the cloud computing platform 110 is per-
   herein are only examples of the many advantageous uses of           formed by means of the management console 150. As such,
   the innovative teachings herein. In general, statements made        the management console 150 may be queried on the current
   in the specification of the present application do not neces-       deployment and settings of resources in the cloud computing
   sarily limit any of the various claimed embodiments. More-          platform 110. Specifically, the management console 150
   over, some statements may apply to some inventive features 30 may be queried, by the security system 140, about as the
   but not to others. In general, unless otherwise indicated,          location (e.g., virtual address) of the virtual disk 118-1 in the
   singular elements may be in plural and vice versa with no           storage 117. The system 140 is configured to interface with
   loss of generality. In the drawings, like numerals refer to like    the management console 150 through, for example, an APL
   parts through several views.                                           In some example embodiments, the security system 140
      FIGS. lA and 1B show an example network diagram 100 35 may further interface with the cloud computing platform 110
   utilized to describe the various embodiments. A cloud com-          and external systems 170. The external systems may include
   puting platform 110 is communicably connected to a net-             intelligence systems, security information and event man-
   work 120. Examples of the cloud computing platform 110              agement (SIEM) systems, and mitigation tools. The external
   may include a public cloud, a private cloud, a hybrid cloud,        intelligence systems may include common vulnerabilities
   and the like. Examples for a public cloud, but are not limited 40 and exposures (CVE®) databases, reputation services, secu-
   to, AWS® by Amazon®, Microsoft Azure®, Google                       rity systems (providing feeds on discovered threats), and so
   Cloud®, and the like. In some configurations, the disclosed         on. The information provided by the intelligence systems
   embodiments operable in on premise virtual machines envi-           may detect certain known vulnerabilities identified in, for
   romnents. The network 120 may be the Internet, the world-           example, a CVE database.
   wide-web (WWW), a local area network (LAN), a wide area 45             According to the disclosed embodiments, the security
   network (WAN), and other networks.                                  system 140 is configured to detect vulnerabilities and other
      The arrangement of the example cloud computing plat-             cyberthreats related to the execution VM 119. The detection
   form 110 is shown in FIG. 1B. As illustrated, the platform          is performed while the VM 119 is live, without using any
   110 includes a server 115 and a storage 117, serving as the         agent installed in the server 115 or the VM 119, and without
   storage space for the server 115. The server 115 is a physical 50 relying on cooperation from VM 119 guest OS. Specifically,
   device hosting at least one virtual machine (VM) 119. The           the security system 140 can scan and detect vulnerable
   VM 119 is a protected VM, which may be any virtual cloud            software, non-secure configuration, exploitation attempts,
   asset including, but not limited to, a software container, a        compromised asserts, data leaks, data mining, and so on. The
   micro-service, a serverless function, and the like.                 security system 140 may be further utilized to provide
      The storage 117 emulates virtual discs for the VMs 55 security services, such as incident response, anti-ransom-
   executed in by the server 115. The storage 117 is typically         ware, and cyber insurance by accessing the security posture.
   connected to the server 115 through a high-speed connec-               In some embodiments, the security system 140 is config-
   tion, such as optic fiber allowing fast retrieval of data. In       ured to query the cloud management console 150 for the
   other configurations, the storage 117 may be part of the            address of the virtual disk 118-1 serving the VM 119 and a
   server 115. In this example illustrated in FIG. 1B, virtual 60 location of the snapshot. A VM' s snapshot is a copy of the
   disk 118-1 is allocated for the VM 119. The server 115, and         machine's virtual disk (or disk file) at a given point in time.
   hence the VM 119, may be executed in a client enviromnent           Snapshots provide a change log for the virtual disk and are
   130 within the platform 110.                                        used to restore a VM to a particular point in time when a
      The client enviromnent 130 is an enviromnent within the          failure error occurs. Typically, any data that was writable on
   cloud computing platform 110 utilized to execute cloud- 65 a VM becomes read-only when the snapshot is taken.
   hosted applications of the client. A client may belong to a         Multiple snapshots of a VM can be created at multiple
   specific tenant. In some example embodiment, the client             possible point-in-time restore points. When a VM reverts to
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 135 of 207 PageID #: 862


                                                       US 11,740,926 B2
                                 5                                                                   6
   a snapshot, current disk and memory states are deleted and         actively communicating with the VM 119, using either
   the snapshot becomes the new parent snapshot for that VM.          legitimate communicate and/or attack attempts, to assess its
      The snapshot of the VM 119 is located and may be saved          posture and by that deriving the security posture of the entire
   from the virtual disk 118-1 is accessed by the system 140. In      VM 119.
   an embodiment, the VM' s 119 snapshot may be copied to the 5          In order to determine if the vulnerability is relevant to the
   system 140. If such a snapshot does not exist, the system 140      VM 119, the security system 140 is configured to analyze the
   may take a new snapshot, or request such an action. The            machine memory, as reflected in the page file. The page file
   snapshots may be taken at a predefined schedule or upon            is saved in the snapshot and extends how much system-
   predefined events (e.g., a network event or abnormal event).       committed memory (also known as "virtual memory") a
   Further, the snapshots may be accessed or copied on a 10
                                                                      system can back. In an embodiment, analyzing the page file
   predefined schedule or upon predefined events. It should be
                                                                      allows deduction of running applications and modules by the
   noted that when the snapshot is taken or copied, the VM 119
                                                                      VM 119.
   still runs.
      It should be noted that the snapshot of the virtual disk           In an embodiment, the security system 140 is configured
   118-1 may not be necessary stored in the storage 117, but for 15 to read process identification number (PID) files and check
   ease of the discussion it is assumed that the snapshot is saved    their access or write times, which are matched against
   in the storage 117. It should be further noted that the            process descriptors. The PID can be used to deduce which
   snapshot is being accessed without cooperation of the guest,       processes are running, and hence the priority of vulnerabili-
   virtual OS of the virtual machine.                                 ties detected in processes existing on the disk. It should be
      The snapshot is parsed and analyzed by the security 20 noted the PID files are also maintained in the snapshot.
   system 140 to detect vulnerabilities. This analysis of the            In yet another embodiment, the security system 140 is
   snapshot does not require any interaction and/or information       configured to detect cyber threats that do not represent
   from the VM 119. As further demonstrated herein, the               vulnerabilities. For example, the security system 140 may
   analysis of the snapshot by the system 140 does not require        detect and alert on sensitive data not being encrypted on the
   any agent installed on the server 115 or VM 119.                25 logical disk, private keys found on the disks, system cre-
      Various techniques can be utilized to analyze the snap-         dentials stored clearly on the disk, risky application features
   shots, depending on the type of vulnerability and cyber            (e.g., support of weak cipher suites or authentication meth-
   threats to be detected. Following are some example embodi-         ods), weak passwords, weak encryption schemes, a disable
   ments for techniques that may be implemented by the                address space layout randomization (ASLR) feature, suspi-
   security system 140.                                            30 cious manipulation to a boot record, suspicious PATH,
      In an embodiment, the security system 140 is configured         LD_LIBRARY_PATH, or LD_PRELOAD definitions, ser-
   to detect whether there is vulnerable code executed by the         vices running on startup, and the like.
   VM 119. The VM 119 being checked may be running,                      In an embodiment, the security system 140 may further
   paused, or shutdown. To this end, the security system 140 is       monitor changes in sensitive machine areas, and alert on
   configured to match installed application lists, with their 35 unexpected changes (e.g., added or changed application files
   respective versions, to a known list of vulnerable applica-        without installation). In an example embodiment, this can be
   tions. Further, the security system 140 may be configured to       achieved by computing a cryptographic hash of the sensitive
   match the application files, either directly (using binary         areas in the virtual disk and checking for differences over
   comparison) or by computing a cryptographic hash against           time.
   database of files in vulnerable applications. The matching 40         In some embodiments, the detected cyber threats (includ-
   may be also on sub-modules of an application. Alternatively,       ing vulnerabilities) are reported to a user console 180 and/or
   the security system 140 may read installation logs of pack-        a security information and event management (SIEM) sys-
   age managers used to install the packages of the application.      tem (not shown). The reported cyber threats may be filtered
      In yet another embodiment, the security system 140 is           or prioritized based in part on their determined risk. Further,
   configured to verify whether the vulnerability is relevant to 45 the reported cyber threats may be filtered or prioritized
   the VM 119. For example, if there is a vulnerable version or       based in part on the risk level of the machine. This also
   module not in use, the priority of that issue is reduced           reduces the number of alerts reported to the user.
   dramatically.                                                         In an embodiment, any detected cyber threats related to
      To this end, the security system 140 may be configured to       sensitive data (including personally identifiable information,
   check the configuration files of the applications and aper- 50 PII) is reported at a higher priority. In an embodiment, such
   ating system of the VM 119; to verify access times to files        data is determined by searching for the PII, analyzing the
   by the operating system; and/or to analyze the active appli-       application logs to determine whether the machine accessed
   cation and/or system logs in order to deduce what applica-         PII/PII containing servers, or whether the logs themselves
   tions and modules are running.                                     contain PII, and searching the machine memory, as reflected
      In yet another embodiment, the security system 140 may 55 in the page file, for PII.
   instantiate a copy of the VM 119 and/or a subset of appli-            In an embodiment, the security system 140 may deter-
   cations of the VM 119 on the server 115 or a separate server       mine the risk of the VM 119 based on communication with
   and monitor all activity performed by the instance of the          an untrusted network. This can be achieved by analyzing the
   VM. The execution of the instance of the VM is an isolated         VM' s 119 logs as saved in the virtual disk and can be derived
   sandbox, which can be a full VM or subset of it, such as a 60 from the snapshot.
   software container (e.g., Docker® container) or another               In an example embodiment, the security system 140 may
   virtualized instances. The monitored activity may be further       cause an execution of one or more mitigation actions.
   analyzed to determine abnormality. Such analysis may               Examples of such actions may include blocking traffic from
   include monitoring of API activity, process creation, file         untrusted networks, halting the operation of the VM, quar-
   activity, network communication, registry changes, and 65 antining an infected VM, and the like. The mitigation actions
   active probing of the said subset in order to assess its           may be performed by a mitigation tool and not the system
   security posture. This may include, but not limited to,            140.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 136 of 207 PageID #: 863


                                                      US 11,740,926 B2
                                 7                                                                  8
      It should be noted that the example implementation                 At optional S260, a mitigation action may be triggered to
   shown in FIG. 1 is described with respect to a single cloud        mitigate a detected threat or vulnerability. A mitigation
   computing platform 110 hosting a single VM 119 in a single         action may be executed by a mitigation tool and triggered by
   server 115, merely for simplicity purposes and without             the system 140. Such an action may include blocking traffic
   limitation on the disclosed embodiments. Typically, virtual 5 from untrusted networks, halting the operation of the VM,
   machines are deployed and executed in a single cloud               quarantining an infected VM, and the like.
   computing platform, a virtualized environment, or data                FIG. 3 is an example block diagram of the security system
   center and can be protected without departing from the             140 according to an embodiment. The security system 140
   scope of the disclosure. It should be further noted that the       includes a processing circuitry 310 coupled to a memory
                                                                   10 320, a storage 330, and a network interface 340. In an
   disclosed embodiments can operate using multiple security
                                                                      embodiment, the components of the security system 140
   systems 140, each of which may operate in a different client
                                                                      may be communicatively connected via a bus 360.
   environment.
                                                                         The processing circuitry 310 may be realized as one or
      FIG. 2 shows an example flowchart 200 illustrating a            more hardware logic components and circuits. For example,
   method for detecting cyber threats including potential vul- 15 and without limitation, illustrative types of hardware logic
   nerabilities in virtual machines executed in a cloud comput-       components that can be used include field programmable
   ing platform according to some embodiments. The method             gate arrays (FPGAs), application-specific integrated circuits
   may be performed by the security system 140.                       (ASICs), application-specific standard products (ASSPs),
      At S210, a request, for example, to scan a VM for               system-on-a-chip systems (SOCs), general-purpose micro-
   vulnerabilities is received. The request may be received, or 20 processors, microcontrollers, digital signal processors
   otherwise triggered every predefined time interval or upon         (DSPs ), and the like, or any other hardware logic compo-
   detection of an external event. An external event may be a         nents that can perform calculations or other manipulations of
   preconfigured event, such as a network event or abnormal           information.
   event including, but not limited to, changes to infrastructure        The memory 310 may be volatile (e.g., RAM, etc.),
   such as instantiation of an additional container on existing 25 non-volatile (e.g., ROM, flash memory, etc.), or a combi-
   VM, image change on a VM, new VM created, unexpected               nation thereof. In one configuration, computer readable
   shutdowns, access requests from unauthorized users, and the        instructions to implement one or more embodiments dis-
   like. The request may at least designate an identifier of the      closed herein may be stored in the storage 330.
   VM to be scanned.                                                     In another embodiment, the memory 320 is configured to
      At S220, a location of a snapshot of a virtual disk of the 30 store software. Software shall be construed broadly to mean
   VM to be scanned is determined. In an embodiment, S220             any type of instructions, whether referred to as software,
   may include determining the virtual disk allocated for the         firmware, middleware, microcode, hardware description
   VM, prior to determining the location of the snapshot. As          language, or otherwise. Instructions may include code (e.g.,
   noted above, this can be achieved by querying a cloud              in source code format, binary code format, executable code
   management console. At S230, a snapshot of the virtual disk 35 format, or any other suitable format of code). The instruc-
   is accessed, or otherwise copied.                                  tions, when executed by the one or more processors, cause
      At S240, the snapshot is analyzed to detect cyber threats       the processing circuitry 310 to perform the various processes
   and potential vulnerabilities. S240 may be also include            described herein. Specifically, the instructions, when
   detecting cyber threats that do not represent vulnerabilities.     executed, cause the processing circuitry 310 to determine
   Examples for cyber threats and vulnerabilities are provided 40 over-privileged roles vulnerabilities in serverless functions.
   above.                                                                The storage 330 may be magnetic storage, optical storage,
      In an embodiment, S240 may include comparing the                and the like, and may be realized, for example, as flash
   snapshot to some baseline, which may include, but is not           memory or other memory technology, CD-ROM, Digital
   limited to, a copy of the image used to create the VM, (e.g.,      Versatile Disks (DVDs), hard-drives, SSD, or any other
   lists of applications, previous snapshots), cryptographic 45 medium which can be used to store the desired information.
   hashes gathered in the previous scan, analyzing logs of the        The storage 330 may store communication consumption
   VMs, instantiating a copy of the VM and executing the              patterns associated with one or more communications
   instance or applications executed by the VM in a sandbox,          devices.
   analyzing the machine memory, as reflected in the page file,          The network interface 340 allows the security system 140
   or any combination of these techniques. Some example 50 to communicate with the external systems, such as intelli-
   embodiments for analyzing the snapshots and the types of           gence systems, SIEM systems, mitigation systems, a cloud
   detected vulnerabilities and threats are provided above.           management console, a user console, and the like.
      At S250, the detected cyber threats and/or vulnerabilities         It should be understood that the embodiments described
   are reported, for example, as alerts. In an embodiment, S250       herein are not limited to the specific architecture illustrated
   may include filtering and prioritizing the reported alerts. In 55 in FIG. 3, and other architectures may be equally used
   an embodiment, the prioritization is based, in part, on the        without departing from the scope of the disclosed embodi-
   risk level of a vulnerable machine. The filtering and priori-      ments.
   tizing allow to reduce the number of alerts reported to the           The various embodiments disclosed herein can be imple-
   user. The filtering can be done performed on external              mented as hardware, firmware, software, or any combination
   intelligence on the likelihood of this vulnerability being 60 thereof. Moreover, the software is preferably implemented
   exploited, analyzing the machine configuration in order to         as an application program tangibly embodied on a program
   deduce the vulnerability relevancy, and correlating the vul-       storage unit or computer readable medium consisting of
   nerability with the network location, and by weighting the         parts, or of certain devices and/or a combination of devices.
   risk of this machine being taken over by the attacker by           The application program may be uploaded to, and executed
   taking into consideration the criticality of the machine in the 65 by, a machine comprising any suitable architecture. Prefer-
   organization based by the contents stored or other assets          ably, the machine is implemented on a computer platform
   accessible from the VM 110.                                        having hardware such as one or more central processing
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 137 of 207 PageID #: 864


                                                       US 11,740,926 B2
                                 9                                                                   10
   units ("CPUs"), a memory, and input/output interfaces. The                   at least one change in at least one area of the virtual
   computer platform may also include an operating system                          disk, as compared to an earlier point in time;
   and microinstruction code. The various processes and func-             determining a risk associated with each of the determined
   tions described herein may be either part of the microin-                 plurality of potential cyber threats;
   struction code or part of the application program, or any 5            prioritizing the potential cyber threats associated with the
   combination thereof, which may be executed by a CPU,                      protected virtual cloud asset based on the determined
   whether or not such a computer or processor is explicitly                 risk associated with each of the plurality of potential
   shown. In addition, various other peripheral units may be                 cyber threats; and
   connected to the computer platform such as an additional               reporting at least some of the determined plurality of
   data storage unit and a printing unit. Furthermore, a non- 10
                                                                             potential cyber threats as alerts prioritized according to
   transitory computer readable medium is any computer read-
                                                                             their associated risks.
   able medium except for a transitory propagating signal.
                                                                          2. The method of claim 1, further comprising detecting the
      As used herein, the phrase "at least one of' followed by
   a listing of items means that any of the listed items can be        data  stored on the virtual disk by determining an unexpected
   utilized individually, or any combination of two or more of 15 change in the data stored on the virtual disk.
   the listed items can be utilized. For example, if a system is          3. The method of claim 1, further comprising detecting the
   described as including "at least one of A, B, and C," the           data stored on the virtual disk by determining added or
   system can include A alone; B alone; C alone; A and B in            changed files on the virtual disk without a corresponding
   combination; Band C in combination; A and C in combi-               installation process.
   nation; or A, B, and C in combination.                           20    4. The method of claim 1, further comprising detecting the
      All examples and conditional language recited herein are         data stored on the virtual disk by:
   intended for pedagogical purposes to aid the reader in                 computing a cryptographic hash of at least one area of the
   understanding the principles of the disclosed embodiment                  virtual disk; and
   and the concepts contributed by the inventor to furthering             comparing the computed cryptographic hash of the at
   the art, and are to be construed as being without limitation 25           least one area of the virtual disk to an earlier computer
   to such specifically recited examples and conditions. More-               cryptographic hash of the at least one area of the virtual
   over, all statements herein reciting principles, aspects, and             disk.
   embodiments of the disclosed embodiments, as well as                   5. The method of claim 1, wherein locating the snapshot
   specific examples thereof, are intended to encompass both           of at least one virtual disk further includes taking a snapshot
   structural and functional equivalents thereof. Additionally, it 30 or requesting the taking of the snapshot.
   is intended that such equivalents include both currently               6. The method of claim 1, wherein the determined poten-
   known equivalents as well as equivalents developed in the           tial cyber threats are filtered based on a determined risk level
   future, i.e., any elements developed that perform the same          of each determined potential cyber threat.
   function, regardless of structure.                                     7. The method of claim 6, wherein filtering a determined
                                                                    35 potential cyber threat is based on external intelligence on the
      What is claimed is:                                              likelihood of the determined potential cyber threat being
      1. A method for securing virtual cloud assets against cyber      exploited.
   threats in a cloud computing environment, the method                   8. The method of claim 1, wherein analyzing the copy of
   comprising:                                                         the snapshot of at least one virtual disk further includes:
      receiving a request to scan a protected virtual cloud asset 40      parsing the copy of the snapshot of the at least one virtual
         in the cloud computing environment;                                 disk; and
      locating, using an API or service provided by the cloud             scarming the parsed copy of the snapshot of the at least
         computing environment, a snapshot of at least one                   one virtual disk to detect the potential cyber threats.
         virtual disk of the protected virtual cloud asset;               9. The method of claim 8, wherein scanning the parsed
      accessing, using an API or service provided by the cloud 45 copy further includes at least one of:
         computing environment, the snapshot of the at least one          checking configuration files of applications and an oper-
         virtual disk;                                                       ating system installed in the respective protected virtual
      analyzing the snapshot of the at least one virtual disk to             cloud asset;
         determine the existence of a plurality of potential cyber        verifying access times to files by the operating system
         threats, each cyber threat based on data stored on the 50           installed in the in the respective protected virtual cloud
         virtual disk,                                                       asset; or
         wherein the data includes at least one of:                       analyzing system logs to deduce applications and modules
            unencrypted sensitive data,                                      executed in the respective protected virtual cloud asset.
            unencrypted system credentials,                               10. The method of claim 1, further comprising mitigating
            weak passwords,                                         55 at least one of the plurality of potential cyber threats posing
            weak encryption schemes,                                   a risk to the respective protected virtual cloud asset.
            disabled Address Space Layout Randomization,                  11. The method of claim 8, wherein mitigating a potential
            boot record manipulation,                                  cyber threat includes at least one of:
            suspicious definitions,                                       blocking traffic from untrusted networks to the respective
            services to be run on startup,                          60       protected virtual cloud asset,
            personally identifiable information,                          halting operation of the respective protected virtual cloud
            data in application logs indicating that the protected           asset, or
               virtual cloud asset accessed personally identifiable       quarantining the respective protected virtual cloud asset.
               information,                                               12. The method of claim 1, wherein locating the snapshot
            data in application logs indicating that the protected 65 of at least one virtual disk of the respective protected virtual
               virtual cloud asset accessed a computer containing      cloud asset further includes determining a virtual disk allo-
               personally identifiable information, or                 cated to the respective protected virtual cloud asset.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 138 of 207 PageID #: 865


                                                       US 11,740,926 B2
                                 11                                                                   12
      13. The method of claim 1, wherein locating the snapshot           reportinll: at least some of the determined plurality of
   of at least one virtual disk further includes querying a cloud           potential cyber threats as alerts prioritized according to
   management console of the cloud computing environment                    their associated risks.
   for the location of the snapshot and the location of the virtual      15. A syst~m for securing virtual cloud assets against
                                                                     5 cyber ~~eats m a cloud computing environment, the system
   disk of the respective protected virtual cloud asset.
      14. A non-transitory computer readable medium contain-           compnsmg:
   ing instructions that when executed by at least one processor         at least one processor configured to:
   cause the at least one processor to perform operations for            receive a request to scan a protected virtual cloud asset in
   securing virtual cloud assets against cyber threats in a cloud           the cloud computing environment;
   computing environment, the operations comprising:                10   locating, using an API or service provided by the cloud
      receiving a request to scan a protected virtual cloud asset           computing environment, a snapshot of at least one
         in the cloud computing environment;                                virtual disk of the protected virtual cloud asset
      locating, using an API or service provided by the cloud            access, using an API or service provided by the ~loud
         computing environment, a snapshot of at least one               computing environment, the snapshot of the at least one
         virtual disk of the protected virtual cloud asset;         15      virtual disk,
      accessing, using an API or service provided by the cloud           analyze the snapshot of the at least one virtual disk to
         computing environment, the snapshot of the at least one            determine the existence of a plurality of potential cyber
         virtual disk;                                                      threats, each cyber threat based on data stored on the
     analyzing the snapshot of the at least one virtual disk to             virtual disk, wherein the data includes at least one of:
         determine the                                              20      unencrypted sensitive data,
     existence of a plurality of potential cyber threats, each              unencrypted system credentials,
         cyber threat based on data stored on the virtual disk              weak passwords,
         wherein the data includes at least one of:              '          weak encryption schemes,
            unencrypted sensitive data,                                     disabled Address Space Layout Randomization,
            unencrypted system credentials,                         25      boot   record manipulation,
            weak passwords,                                                 suspicious definitions,
            weak encryption schemes,                                        services to be run on startup,
            disabled Address Space Layout Randomization,                    personally identifiable information,
            boot record manipulation,                                       data in application logs indicating that the protected
            suspicious definitions,                                 30         virtual cloud asset accessed personally identifiable
            services to be run on startup,                                     information,
            personally identifiable information,                            data in application logs indicating that the protected
            data in application logs indicating that the protected             virtual cloud asset accessed a computer containing
               virtual cloud asset accessed personally identifiable            personally identifiable information, or
               information,                                         35      at  least one change in at least one area of the virtual
            data in application logs indicating that the protected             disk, as compared to an earlier point in time;
               virtual cloud asset accessed a computer containing        determine a risk associated with each of the determined
               personally identifiable information, or                      plurality of potential cyber threats;
            at least one change in at least one area of the virtual      prioritize  the potential cyber threats associated with the
               disk, as compared to an earlier point in time;       40      protected virtual cloud asset based on the determined
     determining a risk associated with each of the determined              risk associated with each of the plurality of potential
        plurality of potential cyber threats;                               cyber threats; and
     prioritizing the potential cyber threats associated with the        rep?rt at least some of the determined plurality of poten-
        protected virtual cloud asset based on the determined               tial cyber threats as alerts prioritized according to their
        risk associated with each of the plurality of potential 45          associated risks.
        cyber threats; and                                                                    *   *   *    *   *
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 139 of 207 PageID #: 866




                    EXHIBIT 10
  Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 140 of 207 PageID #: 867
    Douglas E. Lumish                                                   140 Scott Drive
    doug.lumish@lw.com                                                  Menlo Park, California 94025
                                                                        Tel: +1.650.328.4600 Fax: +1.650.463.2600
                                                                        www.lw.com

                                                                        FIRM / AFFILIATE OFFICES
LATHAM&WATKI N SLLP                                                     Austin            Milan
                                                                        Beijing           Munich
                                                                        Boston            New York
                                                                        Brussels          Orange County
                                                                        Century City      Paris
    September 12, 2023                                                  Chicago           Riyadh
                                                                        Dubai             San Diego
                                                                        Düsseldorf        San Francisco
    VIA EMAIL:                                                          Frankfurt         Seoul
    Jordan Jaffe                                                        Hamburg           Shanghai
    Wilson Sonsini Goodrich & Rosati                                    Hong Kong         Silicon Valley
                                                                        Houston           Singapore
    One Market Plaza, Spear Tower, Suite 3300
                                                                        London            Tel Aviv
    San Francisco, CA 94105                                             Los Angeles       Tokyo
    jjaffe@wsgr.com                                                     Madrid            Washington, D.C.




    Re: Wiz, Inc.’s Infringement of U.S. Patent Nos. 11,693,685, 11,726,809, 11,740,926, and
    Allowed U.S. Patent Application No. 18/055,181

    Dear Mr. Jaffe,

              We write on behalf of Orca Security (“Orca”) to provide formal notice to Wiz, Inc. (“Wiz”)
    that it is infringing Orca’s U.S. Patent Nos. 11,693,685, 11,726,809, 11,740,926, and allowed U.S.
    Patent Application No. 18/055,181. To the extent that Wiz is not already aware of these patents
    and pending application as a result of monitoring Orca’s patent portfolio or otherwise, they are
    attached as Appendices A-D1 to this letter. Orca is the owner of all rights, title and interest in these
    patents.

            Wiz infringes one or more claims of the ’685, ’809, and ’925 patents and the allowed claims
    of the ’181 Application, literally and/or under the doctrine of equivalents, by making, using,
    selling, offering to sell, and/or importing within the United States without authority, Wiz’s Cloud
    Security Platform (“CSP”) and other similar products or services (the “Infringing Products”).
    Enclosed as Appendices E-H are exemplary descriptions of Wiz’s infringement of at least one
    claim of each patent and at least one allowed claim of the ’181 Application.2

            Orca requests that Wiz immediately cease and desist from making, using, selling, or
    offering for sale any Infringing Products in the United States. Please provide an affidavit from Wiz
    confirming that Wiz has ceased all such infringing activity no later than Friday, September 15 at




    1 Appendix D is the prosecution history for the ’181 Application. The USPTO provided a Notice

    of Allowance on April 14, 2023 and Orca paid the issuance fee on April 19, 2023.
    2 The allowed claims are set forth in Appendix D at the January 20, 2023 Preliminary

    Amendment.
    Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 141 of 207 PageID #: 868
      September 12, 2023
      Page 2



LATHAM&WATKI NSLLP

      3 pm Eastern. Orca reserves its rights to take all lawful steps that it deems necessary to protect its
      intellectual property.

                                                            Best regards,




                                                            Douglas E. Lumish

      Enclosures
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 142 of 207 PageID #: 869




                        APPENDIX E
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 143 of 207 PageID #: 870




                 Appendix E – Wiz’s Exemplary Infringement of the ’685 Patent


          1.      Wiz, without authorization, directly infringes one or more claims of the ’685 patent,

  literally and/or under the doctrine of equivalents. Wiz infringes under 35 U.S.C. § 271 including,

  without limitation, 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing

  within the United States without authority, Wiz’s CSP and other similar products or services,

  which includes (or is otherwise referred to) but is not limited to Wiz’s CNAPP, CSPM, CIEM,

  DSPM, IaC scanning, and CDR platforms and/or features. See https://www.wiz.io/; see also

  https://www.wiz.io/product. Wiz’s infringement includes infringement of, for example, claim 1

  of the ’685 patent.

          2.      The preamble of claim 1 recites “[a] system for inspecting data, the system

  comprising: at least one processor configured to . . . .” Wiz’s public presentations and technical

  documentation confirm that Wiz’s CSP system is a system for inspecting data. See, e.g., Exhibit

  51 at 13 (Wiz performs an “[a]gentless scan of cloud metadata and workloads,” including

  “Application and Data”), 20 (Wiz performs “[s]ecrets scanning in data assets”), 21 (Wiz performs

  “[d]ata scanning”); Exhibit 6 at 2 (“Wiz analyzes the operating system, applications, code libraries,

  and secrets. Wiz also scans your cloud configuration and metadata.”). On information and belief,

  Wiz’s CSP is implemented in software running on at least one processor including to “scan

  everything, provide context and prioritization on the most pressing risks, and enable secure

  practice practices.”     https://www.wiz.io/solutions/cnapp; see id. (“Wiz leverages unique

  technology to scan PaaS resources, Virtual Machines, Containers, Serverless Functions, . . . to

  identify the risks in each layer”).



  1
    All Exhibits cited herein are Exhibits to the Complaint, Dkt. 1, in Orca Security Ltd. v. Wiz,
  Inc., No. 1:23-cv-00758-GBW (D. Del. July 12, 2023).
                                                    1
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 144 of 207 PageID #: 871




         3.      Claim 1 further recites “establish an interface between a client environment and

  security components . . . .” Wiz’s CSP practices this element by, for example, establishing an

  interface “via API” to a client environment and security components.




  See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

  Google Cloud Platform (GCP)); https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-

  Connector-Basics (“Wiz connects to your cloud environment via your cloud service provider’s

  APIs in order to extract metadata and perform snapshot scans.”); https://support.wiz.io/hc/en-

  us/articles/5449816387100-AWS-Connector-Basics            (same);      https://support.wiz.io/hc/en-

  us/articles/5642208092572-GCP-Connector-Basics                                               (same);

  https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

  deployment, continuously assess workloads without deploying agents”).


         4.      Claim 1 further recites “using the interface, utilize cloud computing platform APIs

  to identify virtual disks of a virtual machine in the client environment . . . .” Wiz’s CSP satisfies

  this limitation because, for example, it utilizes APIs provided by AWS, GCP, and Azure, among

                                                   2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 145 of 207 PageID #: 872




  other cloud computing environments, to identify virtual disks of a virtual machine in the client

  environment.




  See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

  Google Cloud Platform (GCP)). Through the API, Wiz’s system creates a graph of a client

  environment “with full context on the resource[s],” which includes identifying virtual disks of

  virtual machines. See https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-

  cloud-security; Exhibit 6 at 3 (“Wiz uses the full context of your cloud and combines this

  information into a single graph in order to correlate related issues”), 4 (Wiz “takes a snapshot of

  each VM system volume and analyzes its operating system, application layer, and data layer

  statically with no performance impact.”).


         5.      Claim 1 further recites “use the computing platform APIs to query a location of at

  least one of the identified virtual disks . . . .” Wiz’s CSP satisfies this limitation because, for

  example, it uses computing platform APIs from AWS, GCP, Azure, and other providers, to

  perform a query to locate virtual disks and other resources. See Exhibit 5 at 13 (“Agentless

                                                  3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 146 of 207 PageID #: 873




  scanning         via    API”);    https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-

  vulnerabilities-kev-with-wiz (“You can query and locate all the VMs, containers, and serverless

  functions in your cloud environment that are vulnerable to a specific CVE in the catalog with a

  simple query shortcut.”); https://www.wiz.io/solutions/cnapp (“Scan buckets, data volumes, and

  databases        and    quickly   classify   the    data   to    track    wh[ere]    data   is   located.”);

  https://support.wiz.io/hc/en-us/articles/5643759466396-Security-Graph-Basics (“[C]heck out our

  guide      for     optimizing     your   Security    Graph      queries.”);    https://support.wiz.io/hc/en-

  us/articles/5641497256860-Azure-Connector-Basics (“Wiz connects to your cloud environment

  via your cloud service provider’s APIs in order to extract metadata and perform snapshot scans.”);

  https://support.wiz.io/hc/en-us/articles/5449816387100-AWS-Connector-Basics                         (same);

  https://support.wiz.io/hc/en-us/articles/5642208092572-GCP-Connector-Basics                         (same);

  https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

  deployment, continuously assess workloads without deploying agents”).

            6.       Claim 1 further recites “receive an identification of the location of the virtual disks

  of the virtual machine . . . .” Wiz’s CSP satisfies this limitation because, for example, it identifies

  virtual    disks       and other resources     it   locates when         it   performs   a query.       See

  https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz

  (“You can query and locate all the VMs, containers, and serverless functions in your cloud

  environment that are vulnerable to a specific CVE in the catalog with a simple query shortcut.”).

  As another example, Wiz’s CSP system creates a graph showing the locations of virtual cloud

  assets, including virtual machines and virtual disks, within a client environment. See Exhibit 6 at

  3 (Wiz “uses the full context of your cloud and combines this information into a single graph in




                                                        4
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 147 of 207 PageID #: 874




  order to correlate related issues”); see also Exhibit 5 at 13 (“Full visibility in minutes . . . without

  agents”).

            7.       Claim 1 further recites “generate at least one snapshot of the virtual disks of the

  virtual machine . . . .” Wiz’s CSP satisfies this limitation because, for example, it generates a

  snapshot of a virtual disk in order to “analyze[] [the] operating system, application layer, and data

  layer” of virtual machines in a client environment. See Exhibit 6 at 4, 2 (“Wiz scans all the

  resources and workloads in your cloud environment using a unique snapshot technology that

  covers more than an agent can.”). Wiz’s technical documentation explains that “Wiz connects to

  [a] cloud environment via [a] cloud service provider’s APIs in order to extract metadata and

  perform        snapshot     scans.”         https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-

  Connector-Basics;              https://support.wiz.io/hc/en-us/articles/5449816387100-AWS-Connector-

  Basics (same); https://support.wiz.io/hc/en-us/articles/5642208092572-GCP-Connector-Basics

  (same).

            8.       Claim 1 further recites “analyze the at least one snapshot to detect vulnerabilities

  and sensitive data, wherein analyzing the at least one snapshot requires no interaction with the

  virtual machine . . . .” Wiz’s CSP satisfies this limitation because, for example, it analyzes the

  snapshot of a virtual disk to determine cyber vulnerabilities affecting the virtual disk.

                 70K+ Supported Vulnerabilities: Our industry-leading vulnerability catalog consists of more than
                      70,000 supported vulnerabilities, across 30+ operating systems, CISA KEV catalog and
                                                    thousands of applications.


  https://www.wiz.io/solutions/vulnerability-management.                         Wiz’s CSP also “analyzes [the]

  operating system, application layer, and data layer” of virtual machines to provide full visibility

  into vulnerabilities across the cloud computing environment. See Exhibit 6 at 4 (Wiz “[s]cans the

  workloads         inside      the      container       to     determine         .    .    .     its    vulnerabilities”);


                                                                5
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 148 of 207 PageID #: 875




  https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-cloud-security

  (“[D]efenders can now analyze activities and review timelines within the graph, with full context

  on the resource, roles, vulnerabilities, and potential impact.”). Wiz’s CSP also detects “sensitive

  data and secrets exposure.” See, e.g., https://www.wiz.io/solutions/dspm. Furthermore, Wiz’s

  CSP         analyzes          snapshots                 without               “deploying            agents.”             See,        e.g.,

  https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

  deployment, continuously assess workloads without deploying agent”).


         9.            Claim 1 further recites “determine a risk level of the virtual machine . . . .” Wiz’s

  CSP satisfies this limitation because, for example, it identifies assets with “toxic combinations”

  and “finding the resources that pose the highest risk in [a] cloud environment.”

            Wiz scans the entire stack to identify the toxic combinations that represent real risk to your
            environment. Using the Wiz contextual security graph, you can prioritize patching by
            focusing on these toxic combinations and finding the resources that pose the highest risk in
            your cloud environment. For example:


  https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-
  wiz.




                                     Vulnerability                  Severity     Score   ExploiL   Link     Publis_      Resources


                                     Cl     CVE-2021-36955
                                           Vulnerab1hty
                                                                    Ill   -      m                 nvd.nL   Wed. s _    11 resources

                     •               Cl    CVE-2021- 33771
                                                                    HI    -      m m               nvd.nL   Wed. J _    6 resources




              -
                                           Vulnerabihty

                                     Cl    CVE-2021- 31979
                                           Vulnerability
                                                                    Ill   -      m m               nvd.nL   Wed. J _    6 resources




                      -
         Vutnerab1l1t1es
                                     Cl    CVE-2021-34527
                                           Vulnerabihty
                                                                    Ill   -      CD m              nvd.nL   Sat. Ju_,



                                                                    II    M._                      nvd.nL   Thu.IL




                                                                     6
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 149 of 207 PageID #: 876




  Id.

   §) *               a_                                Category v        Severit y v      Created by v      Risk v    Status v                     483 controls    .J,;     r,i
                                                                                                                                                                             I<,'




                      'i7:: More Filters

            Control                                                                            Issues      Projects          Severity       Risks                   Status



    ro      Publicly exposed VM instance with effective global admin permissions
            Security graph control
                                                                                               18 issu._     All   .          ....          ~         I;_)
                                                                                                                                                                     •
    :0:     High/ Critical network vulnerability with a known exploit on a publicly facL
            Security graph control
                                                                                               1 issues      All   .          ....          ~        ~       I;_)
                                                                                                                                                                     •
    ro      CVE-2022-23131 (Zabbix vulnerab ility) detected on a publicly exposed V._
            Security graph control
                                                                                                             All   .          ....          ~         ©              •
    :G):    CVE-2022-30190 (Follina) detected on a highly privileged container
            Security graph control
                                                                                                             All   .          ....           I;_)     ©              •
    ro      Lateral movement path v ia clear text cloud keys to an admin u ser
            Security graph control
                                                                                                             All   .          ....      V    I;_)
                                                                                                                                                                     •
    &.
            SSH Brute Force on Admin VM
            Security graph control
                                                                                               4 issu _      All   .          1111 V        "3)       I;_)
                                                                                                                                                                     •
    :(i):   CVE-2022-22963 (Spring Cloud Function RCE v ulnerability) d et ected on ...
            Security graph control
                                                                                                             All   .          ....          ~         ©              •
    ro      Suspicious n etwork activity on VM infected with malware
            Security graph control
                                                                                                             All   .          ....          "3) ~
                                                                                                                                                                     •
    ro      Publicly exposed VM instance/serverless with high/ critical severity netw...
            Security graph control
                                                                                                             All   .          ....          ~        ~       I;_)
                                                                                                                                                                     •
  See also Exhibit 5 at 27. Wiz also states that it “[p]rioritize[s] risk and attack paths to critical

  assets” within the cloud computing environment.




                                                                                           7
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 150 of 207 PageID #: 877




  Id. at 17; see also Exhibit 6 at 3 (“Scan for vulnerable and unpatched operating systems, installed

  software,           and          code   libraries             in   your         workloads              prioritized             by         risk.”);

  https://www.wiz.io/solutions/cnapp (“ruthless risk prioritization”, “prioritize the most critical

  risks”).


             10.            Claim 1 further recites “report the detected vulnerabilities and sensitive data as

  alerts, wherein the alerts are filtered and prioritized based on the determined risk level of the virtual

  machine.”            Wiz’s CSP satisfies this element because, for example, it reports detected

  vulnerabilities and sensitive data and “prioritize[s] the most critical risks.”                                                      See, e.g.,

  https://www.wiz.io/solutions/cnapp (“ruthless risk prioritization”, “prioritize the most critical

  risks”).




                       ■      IC
                                          Vulnerability              Severity    Score   Exploit..   Link        Publis_.     Resources




                  -     ■
                                          CiJ
                                          CiJ
                                                CVE-2021-36955
                                                Vulnerability


                                                CVE-2021-33771
                                                                     Ill



                                                                     Ill
                                                                           -·

                                                                           -
                                                                                 m
                                                                                 m m
                                                                                                     nvd.n i._



                                                                                                     nvd.n i._
                                                                                                                 Wed. S,_



                                                                                                                 Wed,J__
                                                                                                                             11 resources


                                                                                                                             6 resources



                 -
                                                Vulnerability


                                          CiJ   CVE- 2021-31979
                                                Vulnerability
                                                                     Ill   -     m m                 nvd.nL      Wed, J,_    6 resources




                           -
             Vulnerab1ht1es
                                          CiJ   CVE-2021-34527
                                                Vulnerability
                                                                     Ill
                                                                           -     m m                 nvd.ni__    Sat. Ju_,


                                          D     CVE-2021-36942
                                                Vulnerability
                                                                     II    M._
                                                                                 m m                 nvd.n L     Thu, A._




  https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz

  (“CISA Known Exploited Vulnerability Catalog CVEs dashboard in Wiz”); see also Exhibit 6 at

  3 (“Scan for vulnerable and unpatched operating systems, installed software, and code libraries in

  your workloads prioritized by risk.”).

                                                                     8
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 151 of 207 PageID #: 878




         Visibility, Prioritization, and Agility - from Build Time to Runtime




         Scan Everything                Fix What Matters Most                Build Bridges Across Teams




  See, e.g., https://www.wiz.io/solutions/cnapp;                https://www.wiz.io/blog/uniting-builders-and-

  defenders-a-new-vision-for-cloud-security (“[D]efenders can now analyze activities and review

  timelines within the graph, with full context on the resource, roles, vulnerabilities, and potential

  impact.”); Exhibit 6 at 3 (“Wiz uses the full context of your cloud and combines this information

  into     a         single    graph      in         order          to     correlate          related     issues”);

  https://www.wiz.io/solutions/vulnerability-management (“Use the Threat Center to immediately

  identify workload exposure to the latest vulnerabilities sourced from Wiz Research along with

  numerous third-party threat intelligence feeds.”).


         11.        As described in the preceding paragraphs, Wiz’s CSP satisfies each limitation of

  claim 1 of the ’685 patent, either literally or under the doctrine of equivalents.




                                                         9
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 152 of 207 PageID #: 879




                        APPENDIX F
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 153 of 207 PageID #: 880




                 Appendix F – Wiz’s Exemplary Infringement of the ’809 Patent


         1.      Wiz, without authorization, directly infringes one or more claims of the ’809 patent,

  literally and/or under the doctrine of equivalents. Wiz infringes under 35 U.S.C. § 271 including,

  without limitation, 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing

  within the United States without authority, Wiz’s CSP and other similar products or services,

  which includes (or is otherwise referred to) but is not limited to Wiz’s CNAPP, CSPM, CIEM,

  DSPM, IaC scanning, and CDR platforms and/or features. See https://www.wiz.io/; see also

  https://www.wiz.io/product. Wiz’s infringement includes infringement of, for example, claim 1

  of the ’809 patent.

         2.      The preamble of claim 1 recites “[a] method for securing virtual cloud assets against

  cyber vulnerabilities in a cloud computing environment, the method comprising . . . .” To the

  extent the preamble is limiting, Wiz practices this step by, for example, using Wiz’s CSP to detect

  cyber vulnerabilities in cloud computing environments and secure virtual cloud assets within those

  environments against said vulnerabilities.           See, e.g., https://www.wiz.io/solutions/cnapp

  (advertising that Wiz “identif[ies] and remediate[s] risks and respond[s] to threats in [] cloud

  environments”);              https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-

  vulnerabilities-kev-with-wiz (“Detect and prioritize CISA Known Exploited Vulnerabilities in the

  cloud with Wiz”).

         3.      Claim 1 further recites “determining, using an API or service provided by the cloud

  computing environment, a location of a snapshot of at least one virtual disk of a protected virtual

  cloud asset, wherein the protected virtual cloud asset is instantiated in the cloud computing

  environment . . . .” Wiz’s public presentations and technical documentation confirm that Wiz




                                                   1
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 154 of 207 PageID #: 881




  practices this step by, for example, using Wiz’s CSP to perform “[a]gentless scanning via API” or

  services provided by AWS, GCP, and Azure, among other cloud computing environments.




  See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

  Google Cloud Platform (GCP)).1 Wiz’s technical documentation confirms that its agentless

  scanning includes “snapshot scanning” of instantiated virtual cloud assets, wherein Wiz “takes a

  snapshot of each VM system volume and analyzes its operating system, application layer, and data

  layer statically with no performance impact.” Exhibit 6 at 4, 2 (“Wiz scans all the resources and

  workloads in your cloud environment using a unique snapshot technology that covers more than

  an agent can.”); https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-Connector-Basics

  (“Wiz connects to your cloud environment via your cloud service provider’s APIs in order to

  extract    metadata     and     perform      snapshot     scans.”);    https://support.wiz.io/hc/en-

  us/articles/5449816387100-AWS-Connector-Basics            (same);      https://support.wiz.io/hc/en-



  1
    All Exhibits cited herein are Exhibits to the Complaint, Dkt. 1, in Orca Security Ltd. v. Wiz,
  Inc., No. 1:23-cv-00758-GBW (D. Del. July 12, 2023).
                                                   2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 155 of 207 PageID #: 882




  us/articles/5642208092572-GCP-Connector-Basics                                                                  (same);

  https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

  deployment, continuously assess workloads without deploying agents”).

          4.          Claim 1 further recites “accessing, based on the determined location and using an

  API or service provided by the cloud computing environment, the snapshot of the virtual disk . . .

  .” Wiz performs this step by, for example, accessing the snapshot of a virtual disk in order to

  “analyze[] [the] operating system, application layer, and data layer” of virtual cloud assets. See

  Exhibit 6 at 4, 3 (Wiz “[s]cans the workloads inside the container to determine . . . its

  vulnerabilities”).       Wiz’s technical documentation explains that “Wiz connects to [a] cloud

  environment via [a] cloud service provider’s APIs in order to extract metadata and perform

  snapshot scans.”              https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-Connector-

  Basics; https://support.wiz.io/hc/en-us/articles/5449816387100-AWS-Connector-Basics (same);

  https://support.wiz.io/hc/en-us/articles/5642208092572-GCP-Connector-Basics (same).

          5.          Claim 1 further recites “analyzing the snapshot of the at least one virtual disk by

  matching installed applications with applications on a known list of vulnerable applications . . . .”

  Wiz practices this step by, for example, analyzing the snapshot of a virtual disk by matching

  installed applications to a known list of vulnerabilities in the “CISA Known Exploited

  Vulnerability (KEV) Catalog,” which is “a catalog of known exploited vulnerabilities that carry

  significant risk,” including “vulnerabilities in . . . proprietary applications.”                                  See

  https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-

  wiz.

               70K+ Supported Vulnerabilities: Our industry-leading vulnerability catalog consists of more than
                    70,000 supported vulnerabilities, across 30+ operating systems, CISA KEV catalog and
                                                  thousands of applications.




                                                                3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 156 of 207 PageID #: 883




  https://www.wiz.io/solutions/vulnerability-management.

            6.           Claim 1 further recites “determining, based on the matching, an existence of a

  plurality of potential cyber vulnerabilities . . . .” Wiz practices this step because, for example, it

  uses results of matching installed applications to “list[] all the resources . . . that are currently

  vulnerable to one or more vulnerabilities in the catalog.” See https://www.wiz.io/blog/detect-and-

  prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz.




                                      Vulnerability           Severity    Score   Exploit..   Link        Publis_.     Resources




                  -    •
                                      CiJ
                                      CiJ
                                            CVE-2021-36955
                                            Vulnerability


                                            CVE-2021-33771
                                                              Ill



                                                              Ill
                                                                    -·

                                                                    -
                                                                          m
                                                                          m m
                                                                                              nvd.n i._



                                                                                              nvd.n i._
                                                                                                          Wed.S,_



                                                                                                          Wed,J__
                                                                                                                      11 resources



                                                                                                                      6 resources



                 -
                                            Vulnerability


                                      CiJ   CVE- 2021-31979
                                            Vulnerability
                                                              Ill   -     m m                 nvd.nL      Wed, J,_    6 resources




                        -
            Vulnerab1ht1es
                                      CiJ   CVE-2021-34527
                                            Vulnerability
                                                              Ill
                                                                    -·    m m                 nvd.nL      Sat. Ju_,



                                                              II    M..                       nvd.n i._   Thu, A..




  See id.




                                                              4
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 157 of 207 PageID #: 884




                                                                                                                                                                       ,.,.
   ~ * a.                                               Category v        Severit y v      Created by v      Risk v    Status v               483 cont rols   ,1.;     IV


                      'ii':: More Filters

            Control                                                                            Issues      Projects          Severity   Risks                 Status


    ro      Publicly exposed VM instance with effective global admin permissions
            Security graph control
                                                                                               18 issu._     All   .          ■ Ill     ~       @
                                                                                                                                                                •
    :0:     High/ Critical network vulnerability with a known exploit on a publicly facL                           .          ■ Ill             ~    @
                                                                                                                                                                •
            Security graph control
                                                                                               1 issues      All
                                                                                                                                        *
    ro      CVE-2022-23131 (Zabbix vulnerability) detected on a publicly exposed v._
            Security graph control
                                                                                                             All   .          1111      ~       ©               •
    :Ci):   CVE-2022-30190 (Follina) detected on a highly privileged container
            Security graph control
                                                                                                             All   .          1111       @      ©
                                                                                                                                                                •
    ro      Lateral movement path via clear text cloud keys to an admin user
            Security graph control
                                                                                                             All   .          1111 V     @
                                                                                                                                                                •
    &
            SSH Brute Force on Admin VM
            Security graph control
                                                                                               4 issu_       All   .          1111 V    "3)     @
                                                                                                                                                                •
    :Ci)~   CVE-2022-22963 (Spring Cloud Function RCE vulnerability) detected on ...
            Security graph control
                                                                                                             All   .          1111      ~       ©               •
    ro      Suspicious network activity on VM infected with malware
            Security graph control
                                                                                                             All   .          1111      "3) ~
                                                                                                                                                                •
    ro      Publicly exposed VM instance/serverless with high/critical severity netw...                            .                            ~
                                                                                                                                                                •
            Security graph control
                                                                                                             All              1111
                                                                                                                                        *            @




  See also Exhibit 5 at 27.

               7.              Claim 1 further recites “correlating the determined potential cyber vulnerabilities

  with a network location of the protected virtual cloud asset . . . .” Wiz practices this step because,

  for example, Wiz “correlates vulnerabilities to other risk factors such as public exposure.”




                                                                                           5
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 158 of 207 PageID #: 885




   l$SUH


    _.   ..   - ---- ............                                                                                                              S ._ . ..




                                                                                                                                                  -- .. • •
                                                                                                                                                           ■~     .... --.



         .. ______,_._ . __ __
    0    Q                                                                                                                                                   II       :?



                   ....,_                         ......._.,...._.._         .,.                                          - ·---
                                                                                                                          0
                                                                                                                                             ••            ....
                       ....... .._..
              ca ,,.,.........,..,_......,..
                    0                        _ _.....,...__.......... ___._._....... _. ________ __
                                                                                                                          0
                                                                                                                               ·-            •••           ....
                                                                                                                                                           ....
                                                                                                               -·- -..·---
         ..        .....,......,_.....__._...._                  ,....._..         ....,....,._                                              ••
                                                                                                                          _               -
              ~
                                                                                                                          0




                                                                                                                          ............... -  ~--·          •
                                                                                                                                                    ......
                                                                                                                         --      ........ -
                                                                                                                ........                            -•au• ..-

                                                                                                                                          -- -•IIN1•--
                                                                                                      p   ·-
              · =-. . ._-..,-~---..---•------...-.....                                                          ........
              .---------·------
                                                                                                                              -:'.:-
                                                                                                          .... ·-               _.,_.__,     _._, .___
                                                                                                                                                    .....
                                                                                                                                                    __.,
                                                                                                                ·- -----~· -
                                                                                                                          0
                                                                                                                               ·-             •            ..n



                                  To help you prioritize risks, Wiz correlates vulnerabilities
                                  tc, c,thc, ,i5:S: fact0,5 5u,..,.-~t"\'t-ff"lrttt"..._...,..,,..,...,....l'r'I>, identities.
    ~         ►I     '4•   UM) 2 17 , Vulne,ab,lrtyCa1alog   >                                                                        110   m II)     ~       D       ~~




  https://www.youtube.com/watch?v=GP0NWZa_7vk at 1:00.




  See Exhibit 5 at 14, 11 (showing vulnerabilities corresponding to network locations of virtual

  cloud assets).



                                                                                                  6
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 159 of 207 PageID #: 886




                                                                               Internet




                                       Jenkins Container    Virtual Machines


                                      ~~

                                  Jenkins
                                                 0 Secret




                                00
                                Vulnerability      Admin




  See also Exhibit 6 at 3 (showing vulnerability correlated with a Jenkins container in the network).

         8.      Claim 1 further recites “using the determined plurality of potential cyber

  vulnerabilities and the network location of the protected virtual cloud asset to determine a risk of

  the protected virtual cloud asset to the cloud computing environment . . . .” Wiz practices this step

  because, for example, Wiz determines the risk of virtual cloud assets to the cloud computing

  environment based on the determined cyber vulnerabilities and network locations of the virtual

  cloud asset.




                                                             7
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 160 of 207 PageID #: 887




   l$SUH


    _.   ..   - ---- ............                                                          ---.. c-. . ... . --- - ..... ~--- -
                                                                                                                                                                       S ._ . ..




                                                                                                                                                                          -- .. • •
                                                                                                                                                                                   ■~      .... --.



         .. ______,_._ . __ __
    0    Q                                                                                                                                                                            II       :?


                                                                                                                                           - ·---
                                . . - . - . ........ .       c....,. ..   ----- ·



                  ....,_                      ......._.,...._.._               .,.                                                                                                 ....
                                                                                                                                           0
                                                                                                                                                                      ••
                       ....... .._..
              ca ,,.,.........,..,_......,..
                    0                        _ _.....,...__.......... ___._._....... _. ________ __
                                                                                                                                           0
                                                                                                                                                      ·-              •••          ....
                                                                                                                    -·- -..·---
         ..       .....,......,_.....__._...._               ,....._..                 ....,....,._                                                                   ••           ....
                                                                                                                               _               -
              ~
                                                                                                                                           0




                                                                                                                               ............... -  ~--·            •
                                                                                                                                                        ......
                                                                                                                              --      ........ -
              • -..-.--                                                                                              ........                                                 -•au• ..-

                                                                                                                                               -- -•IIN1•--______
                                                                                                          p    ·-
              · =-. . ._-..,-~---..---•------...-.....                                                               ........                     -:'.:-
                                                                                                                                                                              __ _,
              ·--                                                                                              .... ·-                              _.,_.__,
                                                                                                                                                                              __.,
                                                                                                                     ·- -----~· -
                                                                                                                                           0
                                                                                                                                                      ·-                           ....



  https://www.youtube.com/watch?v=GP0NWZa_7vk at 1:00.


                                                                                             -                ..........
                                                         -__ -..........--.....·-·..-.--------............
                                                          o..,_.,         o, ...........   ♦ t
                                                                                                                       -.



                                                         ___ __.................................. _,.,,.,,.._.._ ..........,.... ..........,_._........,.QIII .....

                                                         "'---------------~-------
                                                         ---....
                                                               ...,.
                                                                                                  ........__............-...
                                                                          .. ........... ...... .......
                                                         ..............-.....................-..........
                                                                          .....--~ ,._,                        __..         .....,         -.-- ~...-.
                                                                                                                                                                          ........
                                                                                                 -·-                                                                      --
                                                                                                                                                                          ·-·
                                                                                                 --
                                                                                                                                     I t, •


                                                                                                 o-                                  --
                                                                                                                                     '   !'I" -   -   .. -




                                                         ---
                                                                                                                            -'-                                       .!t.
                                                                                                                                •
                                                         .
                                                           •                          •-                                        •-
                                                                                                                                •
                                                                                                                                             -·-             ~
                                                                                                                                                                      0
                                                                                                                                                                          -




  Id.at 1:17.




                                                                                                      8
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 161 of 207 PageID #: 888




  See Exhibit 5 at 14, 11 (showing vulnerabilities corresponding to network locations of virtual cloud

  assets). Wiz “[p]riotize[s] risk and attack paths to critical assets” within the cloud computing

  environment based on detected vulnerabilities and the network locations, including “external

  exposure.”




                                                   9
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 162 of 207 PageID #: 889




  See, e.g., id. at 17; Exhibit 6 at 3 (“Scan for vulnerable and unpatched operating systems, installed

  software,              and       code               libraries                   in           your               workloads                   prioritized             by          risk.”);

  https://www.wiz.io/solutions/cnapp (“The Wiz Security Graph immediately uncovers the toxic

  combinations that create attack paths in your cloud and eliminates the need for manual work of

  sifting through and analyzing siloed alerts.”); https://www.wiz.io/solutions/vulnerability-

  management (“Contextual Risk-Based Prioritization Reduce alert fatigue by correlating

  vulnerabilities with multiple risk factors, including external exposure, cloud entitlements, secrets,

  misconfigurations, malware, and more, to surface the vulnerabilities that should be prioritized.”).

                    9.    Claim 1 further recites “prioritizing, by the determined risk, the plurality of

  potential cyber vulnerabilities . . . .” Wiz performs this step by, for example, “prioritiz[ing] and

  mitigat[ing] the critical risks.” See https://www.wiz.io/blog/detect-and-prioritize-cisa-known-

  exploited-vulnerabilities-kev-with-wiz.                                          Wiz also prioritizes cyber vulnerabilities based on

  determined risk as shown below.



   -
   wn· ...... ~_...


   o---
   f!l ..... twt ....



  ·---
                         - .



                                                                      ---                                         ,..   __ --                                          • .. • ~




                                                                                                                                                                           -
                                                                                                                                                                                      .




  ---
  ·-
                               143                                                                                      ...............____,___
                                                                                                                  • ............__....______.....,           I    •        t UJ




  ·--
   411 ........._
                               173
                                65
                                                                      _ ___ ·- • ...,
                                                                                                                  ~
                                                                                                                                                     ·-      I
                                                                                                                                                                 • • ....
                                                                                                                                                                 • • ....
  ·--
   ■-­

  o--
   p ........, .....
                                315
                                                                          .. ...              ...
                                                                                                                  ra ---~-------.--·-
                                                                                                                  •
                                                                                                                     .,.... _._,..
                                                                                                                                                             I




   __
   ■-­

   ·-
   "--
   .,                              .-·--·- --
                                   --
                                    -
                                           • --
                                             ............
                                           • --
                                                                -• -="· -·= ----
                                                                 .            ---
                                                                            ...
                                                                                  -A::..
                               ...... ~ C . . . . . . - - - U l m ~ . . . . . . . . .




                                                                   -----· ·= --- 6::..
                                                                                       --.,....          ill


                                                                                        .......................
                                                                                   A::.--.--..
                                   --      • -- --- ·=
                                             ..     ...........                            .,.
                                                                                       .........
                               .--
                                -          ·=. . . . . .
                               C&Aa,c--. ..........
                                                                          ·=       6:............                 ■ --
                                                                                                                                                     -..r-0... ............




                                                                                                10
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 163 of 207 PageID #: 890




  https://www.youtube.com/watch?v=GP0NWZa_7vk at 0:47.




                         _-.............
                          o c--

                                 - _______ .......... ...------
                                        0, -.. ........   ♦ b.-•   ....   c3 ...........       -




                         __..............................
                         -----------.------=---------.
                                    ...................................... _.... . ........
                                                                       .,
                                                                                    .~--•...----
                         ..._ . . . . . . . . . . . . . . ~ .....................................,.... ........,_,.......,......ewt . . .


                                                                                            __......




                                                                                           ~
                         .............._..
                                                                      _..,.                        .,....               _,.,.._


                                                               ·----                                        s • •                             --
                                                                                                                                              ·-·
                                                                o-
                                                                                                                                              ....-....._
                         ---
                                                                                                   J _
                                                                                                                                            ~
                                                                                                       •                     ~
                         ...
                           •                         •-                            ~                   •-
                                                                                                       •
                                                                                                               -·-                          .!)_




  Id. at 1:17.




                                                                    11
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 164 of 207 PageID #: 891




              Vulnerability                                  Severity        Score


             D         CVE-2021-36955
                       Vulnerability
                                                             Ill       ...   m
             D         CVE-2021-33771
                       Vulnerability
                                                             Ill       ...   m
             D         CVE- 2021 - 31979
                       Vulnerability
                                                             Ill       ...   m
             D         CVE-2021-34527
                       Vulnerability
                                                             Ill       ...   m
             D         CVE-2021-36942
                                                                      M...
                       Vulnerability
                                                             "
  https://www.wiz.io/solutions/vulnerability-management; see also Exhibit 5 at 27 (same).




  https://www.wiz.io/solutions/cnapp; see also Exhibit 5 at 17, 27.




                                                 12
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 165 of 207 PageID #: 892




                                                              =-=~•"""                   ~                             __
                                                                                                                                                                                              ·-...... .. . .-...
                                                                                                                                           Top YUM«ability lssu.s
                                      Yutnerabitity ls   Q)                                                        ,
                                                              t . - M ( U P I " ).....




  ...............

                                                                                                                   ~
                                                                                                                                            •     ~ . - - . . . ~ ........ lft...                            I


   (j)--
   (l)-
                                                                                                                                            lo    ~..,....YN/MMttitU          ..,.,""1flll_                  I   ii " ..         ,111
   6)Ellt«l'III~

   liJ Qol.loEnatllrn9nU
   @S.CinCOn~
   /;'~UMOISolCrttl
                                      I ~ ~- 'Iii ~"-""-~ia.,_.11 ...

                                       --
                                       315
                                                              flwfftoeteetlonltws


                                                              '""''--
                                                                                             _ . u , r , , l 'f'



                                                                                                                   ...
                                                                                                                                            <o

                                                                                                                                            •
                                                                                                                                                  _,.,_..   __
                                                                                                                                                  Cntiut/....,_ ___...,...__ ~
                                                                                                                                                                         "_..., __            ··- ... . ........
                                                                                                                                                                                              ··-
                                                                                                                                                                                                             I   S    A




   ii""'""""'


                                                                                                                                                                         -·- --
                                                                                                                                           P\ablicty ExpoHd Containers With Latest Exptoiu,ble Yl.drwrabilitles
   .,,._
   B eonuin.~


   ,:,---
  cm ,accn Mlnlglment

   ·O ' nwut:Ott.:Uon
                                                                                                                                                                     •
                                                                                                                                                                         1t..'IU.2Jt.'90:22



   1w l.09'sn.~MIMY




                                      CISAKEVC,,t.alogv~bilitie•



                                                                             -......                                   _,         ...
                                                                                                                                            __    -·-.
                                                                                                                                                                                              Most Common Cribc:_, U ploit able Yuln




                                      ,:,
                                            -
                                      ,:, CVE•JOJ1•J06'1                                      Cl)

                                                                                              m
                                                                                                                       e
                                                                                                                       •a
                                                                                                                                         --
                                                                                                                                         -- --- __ .--..
                                                                                                                                                                ,_                             ,:, CW:•10ll•WM

                                                                                                                                                                                               ,:, CW:•202-J.527
                                                                                                                                                                                                                                 __
                                      ,:, CYll-10:n•.Ok                      ... ...          m                                          --          ~2to'l.2..
                                                                                                                                                                         .,
                                                                                                                                                                                               ,:, CW•ICIJ.l•.114M
                                                                                                                                                                                                                            .,


  https://www.wiz.io/solutions/vulnerability-management.

                    10.           Claim 1 further recites “reporting the determined plurality of potential cyber

  vulnerabilities as alerts prioritized according to the determined risk.” Wiz performs this step by,

  for example, reporting “Vulnerabilit[ies],” prioritized according to risk.




                                                                  Vulnerability                                             Severity      Score          Exploit..            Link.            Publis_               Resources



                            -   •
                                                                  II
                                                                  II
                                                                              CVE-2021-36955
                                                                              Vulrerab111ty


                                                                              CVE-2021-33771
                                                                                                                            HI



                                                                                                                            Ill
                                                                                                                                    -

                                                                                                                                    -
                                                                                                                                          m
                                                                                                                                          m m
                                                                                                                                                                              nvd.nL


                                                                                                                                                                              nvd.nL
                                                                                                                                                                                                Wed. S._


                                                                                                                                                                                                Wed.J,_
                                                                                                                                                                                                                 11 resources


                                                                                                                                                                                                                     6 resources



                           -
                                                                              Vulre~ablllty

                                                                  II          CVE-2021-31979
                                                                              Vulr erablUty
                                                                                                                            HI      -     m m                                 nvd.nL            Wed.J,_              6 resources




                     --
                    Vulnerab11lt1es
                                                                  II          CVE-2021- 34527
                                                                              Vulre·dbilily
                                                                                                                            Ill     -     m m                                 nvct.nL          Sat J u __



                                                                                                                            II     M.•
                                                                                                                                          m              m                    nvd.nL            Thu, A..




                                                                                                                            13
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 166 of 207 PageID #: 893




  See                      https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-

  with-wiz; see also Exhibit 5 at 27 (prioritizing vulnerabilities).




                                                                                                                              __
   Dashboards                      Vulnerabilit             ~o,,j:,..          ..    ,..,,...,lftai....,..,"tlf                                                                                                 ~~IIIOUI D~
                                                                                                                                                                                                                                             '
                                                                                                                                                                                               __
                                                            ~11.,0,.,

                                                       6:) 0MtCI conftgurltlonltulK


                                                                                                                                                                                                                - -....
                                    Yuk\erability Is                                            (;                                            Top V!Mefability l ssu.s
                                                                                                                                                                                              ,
                                                                                                                                                   -
                                                                                                                          ,


   + cw.ai.~

   (1)-                                                                                                                                                                              . ......
                                                                                                                          ~
                                                                                                                                              ■    ~~~~                                .,__                        ii   !!) ..



   (1) --                           l ~ ,-                                                                                                    ~ ~...,.....YM/__._wtl;h.""'flt/-       ......
                                                                                                                                                   Cfflktl/,..._"""_._....,"""'•t.n.. ......
                                                                                                                                                                                                                   I Ii " .           ....
   6)bt«rlll~

   GI ca-iEnl,ftlamentt
   ® s.aneon~
                                   1~ -
                                     315
                                                       'ii ftwffto.teetlonltulff
                                                            .........,..-   ~.,_.!.................""°f
                                                                          . . 0.,,
                                                             • .,. .. ! _ _
                                                                                                                                              ~


                                                                                                                                              • ....,_..        __         ".__.._...,._ ,        ..... • .. ..
                                                                                                                                                                                                                   ii   s ..          ....
                                                                                                                                                                                                                                      ....
   iii--
   /'StcurtUMOISolCrttl



   •Conuin.MNltty
   .,.__
                                                            ~·~·
                                                            ~rw,      1-..       ~ ,a_
                                                                                           ........ '°"'4;.,.......
                                                                                                ·-
                                                                                                                              u ..

                                                                                                                                              Put:llicfy Exposed Cont ainers W"rth Lat est Expk,iuble Vu1Mf11bilities




   ,:,--
  cm l"'Mdl"41Mgell'llnt
   ft TivUI: Otttt:UOn
   Q Log.I~ 'MWlt!MV



                                                                                                                      ht\p:.l«,JJUUN:aoeo
                                                                                                               •
                                                                                                                      ~           l   •



                                    CISA KEY catalog wlnerabiliU.s                                                                                                                              Most Common C,ibc;.. Exploitable Vuln


                                                                                                     -
                                                                                                     CD
                                                                                                                              _,.._
                                                                                                                              a               __
                                                                                                                                          -·- ---     --·__         ,
                                                                                                                                                                                                              .,
                                                                                                                                                                                                  ,:, CW:•20U•2.5J:J.6


                                                                                                                                          -·-     .._ .- ..
                                                                                      ""'                                                                                                                 _,
                                                                                                                                                                                                  ,:, CW:•2021-43527


                                                                                                                                          -
                                    ,:,                                                              fD                       D
                                                                                                     fD                       a                        ~2tlft.2...                                ,:, CW:•202J:•.17t.M           ..
                                                                                                                                                                                                                                  ,__



  https://www.wiz.io/solutions/vulnerability-management.

                    11.         As described in the preceding paragraphs, Wiz practices each limitation of claim 1

  of the ’809 patent, either literally or under the doctrine of equivalents.




                                                                                                                                  14
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 167 of 207 PageID #: 894




                         APPENDIX G
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 168 of 207 PageID #: 895




                 Appendix G – Wiz’s Exemplary Infringement of the ’926 Patent


         1.      Wiz, without authorization, directly infringes one or more claims of the ’926 patent,

  literally and/or under the doctrine of equivalents. Wiz infringes under 35 U.S.C. § 271 including,

  without limitation, 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing

  within the United States without authority, Wiz’s CSP and other similar products or services,

  which includes (or is otherwise referred to) but is not limited to Wiz’s CNAPP, CSPM, CIEM,

  DSPM, IaC scanning, and CDR platforms and/or features. See https://www.wiz.io/; see also

  https://www.wiz.io/product. Wiz’s infringement includes infringement of, for example, claim 1

  of the ’926 patent.

         2.      The preamble of claim 1 recites “[a] method for securing virtual cloud assets against

  cyber threats in a cloud computing environment, the method comprising . . . .” To the extent the

  preamble is limiting, Wiz practices this step by, for example, using Wiz’s CSP to detect cyber

  threats in cloud computing environments and secure virtual cloud assets within those environments

  against said threats.     See, e.g., https://www.wiz.io/solutions/cnapp (advertising that Wiz

  “identif[ies] and remediate[s] risks and respond[s] to threats in [] cloud environments”).

         3.      Claim 1 further recites “receiving a request to scan a protected virtual cloud asset

  in the cloud computing environment . . . .” Wiz’s public presentations and technical documentation

  confirm that Wiz practices this step by, for example, receiving requests to perform an “agentless

  scan” of “workloads” in an organization’s cloud computing environment.




                                                   1
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 169 of 207 PageID #: 896




  See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

  GCP).1 Wiz states that in response to the requests, Wiz “connects within minutes with zero impact

  on resource or workload performance” and “builds an inventory of every technology running in

  your cloud and delivers complete visibility into every layer of your cloud stack.”                 See

  https://www.datocms-assets.com/75231/1682034689-wiz-solution-brief-march-2023.pdf.

         4.      Claim 1 further recites “locating, using an API or service provided by the cloud

  computing environment, a snapshot of at least one virtual disk of the protected virtual cloud asset

  . . . .” Wiz’s public presentations and technical documentation confirm that Wiz practices this step

  by, for example, using Wiz’s CSP to perform “agentless scanning via API” provided by AWS,

  GCP, and Azure, among other cloud computing environments.




  1
    All Exhibits cited herein are Exhibits to the Complaint, Dkt. 1, in Orca Security Ltd. v. Wiz,
  Inc., No. 1:23-cv-00758-GBW (D. Del. July 12, 2023).
                                                   2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 170 of 207 PageID #: 897




  See Exhibit 5 at 13 (“Full visibility in minutes . . . without agents”); Exhibit 6 (supported cloud

  computing platforms include AWS, Azure, and GCP). Wiz’s technical documentation confirms

  that its agentless scanning includes “snapshot scanning” of virtual cloud assets, wherein Wiz’s

  CSP “takes a snapshot of each VM system volume and analyzes its operating system, application

  layer, and data layer statistically with no performance impact.” Exhibit 6 at 4, 2 (“Wiz scans all

  the resources and workloads in your cloud environment using a unique snapshot technology that

  covers more than an agent can.”); https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-

  Connector-Basics (“Wiz connects to your cloud environment via your cloud service provider’s

  APIs in order to extract metadata and perform snapshot scans.”); https://support.wiz.io/hc/en-

  us/articles/5449816387100-AWS-Connector-Basics           (same);      https://support.wiz.io/hc/en-

  us/articles/5642208092572-GCP-Connector-Basics                                             (same);

  https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

  deployment, continuously assess workloads without deploying agents”).




                                                  3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 171 of 207 PageID #: 898




         5.      Claim 1 further recites “accessing, using an API or service provided by the cloud

  computing environment, the snapshot of the at least one virtual disk . . . .” Wiz performs this step

  by, for example, accessing the snapshot of a virtual disk in order to “analyze[] [the] operating

  system, application layer, and data layer” of virtual cloud assets. See Exhibit 6 at 4. Wiz’s

  technical documentation explains that “Wiz connects to [a] cloud environment via [a] cloud service

  provider’s   APIs     in   order    to      extract    metadata   and     perform   snapshot     scans.”

  https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-Connector-Basics;

  https://support.wiz.io/hc/en-us/articles/5449816387100-AWS-Connector-Basics                     (same);

  https://support.wiz.io/hc/en-us/articles/5642208092572-GCP-Connector-Basics (same).

         6.      Claim 1 further recites “analyzing the snapshot of the at least one virtual disk to

  determine the existence of a plurality of potential cyber threats, each cyber threat based on data

  stored on the virtual disk, wherein the data includes at least one of: unencrypted sensitive data,

  unencrypted system credentials, weak passwords, weak encryption schemes, disabled Address

  Space Layout Randomization, boot record manipulation, suspicious definitions, services to be run

  on startup, personally identifiable information, data in application logs indicating that the protected

  virtual cloud asset accessed personally identifiable information, data in application logs indicating

  that the protected virtual cloud asset accessed a computer containing personally identifiable

  information, or at least one change in at least one area of the virtual disk, as compared to an earlier

  point in time . . . .” Wiz practices this step by, for example, analyzing the snapshot for threats

  embodied in data stored on the virtual disk like “personally identifiable information” and “weak

  passwords.” See, e.g., https://www.wiz.io/solutions/ciem (“[I]dentify potential risks associated

  with     exposed      secrets,     access      keys,      credentials,    or   weak        passwords.”);

  https://www.wiz.io/solutions/dspm              (“Discover          your        sensitive         data”);



                                                        4
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 172 of 207 PageID #: 899




  https://www.wiz.io/blog/hardening-your-cloud-environment-against-lapsus-like-threat-actor

  (“With Wiz, you can easily locate . . . particularly weak or empty passwords”).

                    7.                  Claim 1 further recites “determining a risk associated with each of the determined

  plurality of potential cyber threats . . . .” Wiz practices this step by, for example, determining risks

  associated with data security and “sensitive data issues.”

   WIZ              tD All projects"'     Dashboard          1n,l'YO 1      1   uL     txp oru v        f-'01   L    co1 p l nu         krnor•        Pro1Lct                                                     0.      ®     Q)   g

  Dashboards                     < Data Security                                                                                                                                                        ~ Leam about Dashboards

  ff3' Quick Start Gulde
                                         Data Security Issues by Severity                     Sensitive Data by Category                            Created and Resolved Issues
  !01 Threat center


   @ Overview
                                                                                                      41
   ~ External Exposure                   I   ~i~cal Issues
                                                                                               a      Resources With PII

   ~   Cloud Entitlements

   ® Secure Configuration
                                             35                                                a      2
                                             High Issues                                              Resources With PCI
   I) Secure Use of Secrets
   el Data Security                          68                                                a      0
                                             Medium Issues                                            Resources With DlgltaJ Identity
  ITII[ Container Security

   A   Servertess                            43                                                a 7Resources With secrets                                        6, Feb       13.Feb               20. Feb              27.Feb
                                             Low Issues
   ~ Vulnerabilities

  III Patch Management

  ~ Malware
                                         Top Sensitive Data Issues
   © Log4Shell Vulnerability
                                                 Issue Type (Control)                                                                            Total Issues              Risks                                   Severity


                                          Co     Publicly facing VM instance with data access to sensitive data and high/critical severity_      9 Issues                   t, 13     ti)   Ill                    1111


                                         g       Publicly exposed data asset with sensitive personal data                                        7 Issues                   13 ti)                                 1111


                                          6      Public bucket with sensitive d at a                                                             3 issues                   13 ti) Ill                             1111


                                         t)      Publicly exposed KMS Encryption Keys                                                            3 issues                   13 Ill ,9                              1111


                                         @       Service account that can be assumed by all users has data access to a bucket/database_          3 issues                   13 Ill                                 1111




  https://www.wiz.io/solutions/dspm (“Data risk prioritization Focus your teams on what is critical

  with a single prioritized queue of data issues ranked by severity and type”); see also id. (“With

  fully integrated DSPM, the Wiz Security Graph automatically alerts you when toxic combinations

  of risks create attack paths to your sensitive data so your teams can focus on the highest priority

  issues before they become breaches.”).

                    8.                  Claim 1 further recites “prioritizing the potential cyber threats associated with the

  protected virtual cloud asset based on the determined risk associated with each of the plurality of




                                                                                                                           5
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 173 of 207 PageID #: 900




  potential cyber threats . . . .” Wiz practices this step by, for example, prioritizing data security

  issues associated with virtual cloud assets based on risk shown in its “Data Security” dashboard:

    WIZ             O   All projects v     Dashboard          1'1,1 'l'O,   1 su(        f xp or( r '-"    1 01   (     co1 pl 'IU          Rrpo,•        f'ro1 ct                                                        0.       ®    (i)   &


  Dashboards                       < Data Security                                                                                                                                                              ~ Leam about oashboards

  it9" Quick Start Gulde
                                          Data Security Issues by Severity                       Sensitive Data by Category                             Creat ed and Resolved Issues
  101 Threat center


   @ Overview
                                                                                                   e      41
   ~ External Exposure                    I   ~l~cal Issues                                               Resources With PII

   (!I   Cloud Entitlements
                                              35                                                   e      2
   ® Secure Configuration                     High Issues                                                 Resources With PCI

   I) Secure Use of Secrets
   13 Cata security                           68                                                   e      0
                                              Medium Issues                                               Resources With Olgltal Identity
  l]]J Container Security

   l\. Servertess                             43                                                   e 7                                                               6 . Feb         13.Fet>               20. Feb             27.Feb
                                              Low Issues                                                  Resou rces With Secrets
   ~ Vulnerabilities

  III Patch Management

  ~ Malware
                                          Top Sensitive Data Issues
   © Log4Shetl Vulnerability
                                                  Issue Type (Cont rol)                                                                              Total Issues               Risks                                      Severity


                                          (a      Publicly facing VM instance wit h data access to sensitive data and high /critical severity".      9 Issues                    ,:,    §      ti)   Ill                   ■ Ill


                                          g       Publicly exposed data asset with sensitive personal data                                           7 Issues                    §      ti)                                1111


                                           e Public bucket wlth sensitive data                                                                       3 issues                    §      ti)    Ill                         1111


                                          t)      Publicly exposed ICMS En cryption Keys                                                             3 issues                    §      Ill p                              ■ Ill


                                           ®      Service account that can be assumed by all users has data access to a bucket/database_             3 issues                    §      Ill                                1111




  https://www.wiz.io/solutions/dspm (“Data risk prioritization Focus your teams on what is critical

  with a single prioritized queue of data issues ranked by severity and type”).

                    9.                   Claim 1 further recites “reporting at least some of the determined plurality of

  potential cyber threats as alerts prioritized according to their associated risks.” Wiz practices this

  step by, for example, reporting at least some of the determined plurality of potential cyber threats

  as alerts as shown in its “Data Security” dashboard that displays a “prioritized queue of data issues

  ranked by severity and type.”




                                                                                                                               6
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 174 of 207 PageID #: 901



    WIZ                ti;;, All projects "     Dashboard          11,   1·11 ,   I'> u       f-xr or r "'     f-'01         v   l 1 pl   1     k ,Jor•        1- re   rh                                               Q.     ®   (v   £

  Dashboards                            < Data Security                                                                                                                                                      ~ Leam about Dashboar ds   ;

  J8" Quick: Start Gulde
                                               Data Security Issues by Severity                      Sensitive Data by Category                              Created and Resolved Issues
  (01 Threat Center


   @ overview
                                                                                                      e      41
   ({) External Exposure                       I   ~l~cal Issues                                             Resources With PII

   Iii Clou d Entitlements
   ® secure configuration
                                                   35                                                 e      2
                                                   High Issues                                               Resources With PCI
   t) secure Use of secret s
   ~ Data security                                 68                                                 e      0
                                                   Medium Issues                                             Resou rces With Dlgltal Identity
  IIiiI container security
   7'..., server1ess
                                                   43                                                  6     7
   ~ Vulnerabllltles                               Low Issues                                                Resources With Secrets

  III Patch Management

  ~    Malware
                                               Top Sensitive Data Issues
   (;} Log4Shell Vulnerability
                                                       Issue Type (Control)                                                                               Total Issues              Risks                               Severity


                                               (a      Publicly facing VM instance with data access to sensitive data arni high /critical severity_       9 Issu es                  ,i,    El   I!)   Ill              1111


                                               g       Publicly exposed data asset with sensitive personal data                                           7 Issues                   El I!)                             1111


                                                8      PubUc bucket w ith sensitive d ata                                                                 3 issues                   El I!) Ill                         1111


                                               ?)      Publicly exposed KMS Encryption Keys                                                               3 Issues                   El Ill p                           1111


                                                B      Service account that can be assumed by all users has data access to a bucket/database_             3 issu~s                   El Ill                             1111




  https://www.wiz.io/solutions/dspm (“Data risk prioritization Focus your teams on what is critical

  with a single prioritized queue of data issues ranked by severity and type”).

                        10.                   As described in the preceding paragraphs, Wiz practices each limitation of claim 1

  of the ’926 patent, either literally or under the doctrine of equivalents.




                                                                                                                                      7
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 175 of 207 PageID #: 902




                           APPENDIX H
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 176 of 207 PageID #: 903




           Appendix H – Wiz’s Exemplary Infringement of the ’181 Patent Application


           1.      Wiz, without authorization, directly infringes one or more allowed claims of the

  ’181 patent application, literally and/or under the doctrine of equivalents. Wiz infringes and will

  infringe under 35 U.S.C. § 271 including, without limitation, 35 U.S.C. § 271(a), by making, using,

  selling, offering to sell, and/or importing within the United States without authority, Wiz’s CSP

  and other similar products or services, which includes (or is otherwise referred to) but is not limited

  to Wiz’s CNAPP, CSPM, CIEM, DSPM, IaC scanning, and CDR platforms and/or features. See

  https://www.wiz.io/; see also https://www.wiz.io/product.             Wiz’s infringement includes

  infringement of, for example, allowed claim 22 of the ’181 patent application. See Appx. D at

  January 20, 2023 Preliminary Amendment (claim 22); id. at April 14, 2023 Notice of Allowance.

           2.      The preamble of claim 22 recites “[a] method for securing virtual cloud assets

  against cyber vulnerabilities in a cloud computing environment, the method comprising . . . .” To

  the extent the preamble is limiting, Wiz practices this step by, for example, using Wiz’s CSP to

  detect cyber vulnerabilities in cloud computing environments and secure virtual cloud assets

  within        those    environments       against       said   vulnerabilities.          See,     e.g.,

  https://www.wiz.io/solutions/cnapp (advertising that Wiz “identif[ies] and remediate[s] risks and

  respond[s] to threats in [] cloud environments”); https://www.wiz.io/blog/detect-and-prioritize-

  cisa-known-exploited-vulnerabilities-kev-with-wiz (“Detect and prioritize CISA Known

  Exploited Vulnerabilities in the cloud with Wiz”).

           3.      Claim 22 further recites “receiving a request to scan a plurality of protected virtual

  cloud assets in the cloud computing environment . . . .” Wiz’s public presentations and technical

  documentation confirm that Wiz practices this step by, for example, receiving requests to perform

  an “agentless scan” of “workloads” in an organization’s cloud computing environment.

                                                      1
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 177 of 207 PageID #: 904




  See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

  GCP).1 Wiz states that in response to requests, Wiz “connects within minutes with zero impact on

  resource or workload performance” and “builds an inventory of every technology running in your

  cloud and delivers complete visibility into every layer of your cloud stack.” See

  https://www.datocms-assets.com/75231/1682034689-wiz-solution-brief-march-2023.pdf.

         4.       Claim 22 further recites “for each of the requested plurality of protected virtual

  cloud assets in the cloud computing environment: determining, using an API or service provided

  by the cloud computing environment, a location of a snapshot of at least one virtual disk of a

  respective protected virtual cloud asset . . . .”      Wiz’s public presentations and technical

  documentation confirm that Wiz practices this step by, for example, using Wiz’s CSP to perform

  “agentless scanning via API” provided by AWS, GCP, and Azure, among other cloud computing

  environments.



  1
    All Exhibits cited herein are Exhibits to the Complaint, Dkt. 1, in Orca Security Ltd. v. Wiz,
  Inc., No. 1:23-cv-00758-GBW (D. Del. July 12, 2023).
                                                   2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 178 of 207 PageID #: 905




  See Exhibit 5 at 13 (“Full visibility in minutes . . . without agents”); Exhibit 6 (supported cloud

  computing platforms include AWS, Azure, and GCP). Wiz’s technical documentation confirms

  that its agentless scanning includes “snapshot scanning” of virtual cloud assets, wherein Wiz’s

  CSP “takes a snapshot of each VM system volume and analyzes its operating system, application

  layer, and data layer statistically with no performance impact.” Exhibit 6 at 4, 2 (“Wiz scans all

  the resources and workloads in your cloud environment using a unique snapshot technology that

  covers more than an agent can.”); https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-

  Connector-Basics (“Wiz connects to your cloud environment via your cloud service provider’s

  APIs in order to extract metadata and perform snapshot scans.”); https://support.wiz.io/hc/en-

  us/articles/5449816387100-AWS-Connector-Basics           (same);      https://support.wiz.io/hc/en-

  us/articles/5642208092572-GCP-Connector-Basics                                             (same);

  https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

  deployment, continuously assess workloads without deploying agents”).




                                                  3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 179 of 207 PageID #: 906




          5.       Claim 22 further recites “accessing, based on the determined location and using an

  API or service provided by the cloud computing environment, the snapshot of the at least one

  virtual disk . . . .” Wiz performs this step by, for example, accessing the snapshot of a virtual disk

  in order to “analyze[] [the] operating system, application layer, and data layer” of virtual cloud

  assets. See Exhibit 6 at 4, 3 (Wiz “[s]cans the workloads inside the container to determine . . . its

  vulnerabilities”).     Wiz’s technical documentation explains that “Wiz connects to [a] cloud

  environment via [a] cloud service provider’s APIs in order to extract metadata and perform

  snapshot      scans.”       https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-Connector-

  Basics; https://support.wiz.io/hc/en-us/articles/5449816387100-AWS-Connector-Basics (same);

  https://support.wiz.io/hc/en-us/articles/5642208092572-GCP-Connector-Basics (same).

          6.       Claim 22 further recites “analyzing the snapshot of the at least one virtual disk to

  determine an existence of potential cyber vulnerabilities . . . .” Wiz practices this step by, for

  example, analyzing the snapshot of a virtual disk to determine cyber vulnerabilities affecting the

  virtual disk. Wiz employs “agentless scanning” to “identify [] toxic combinations” between

  applications installed on a virtual disk and known vulnerable applications in Wiz’s “vulnerability

  catalog consist[ing] of more than 70,000 supported vulnerabilities, across 30+ operating systems,

  CISA KEV catalog and thousands of applications.”

               70K+ Supported Vulnerabilities: Our industry-leading vulnerability catalog consists of more than
                    70,000 supported vulnerabilities, across 30+ operating systems, CISA KEV catalog and
                                                  thousands of applications.



  https://www.wiz.io/solutions/vulnerability-management; see also https://www.wiz.io/blog/detect-

  and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz.




                                                              4
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 180 of 207 PageID #: 907




         7.     Claim 22 further recites “determining a risk associated with each of the determined

  potential cyber vulnerabilities . . . .” Wiz practices this step by, for example, assigning risks

  associated with determined cyber vulnerabilities for a “VM image scan.”




  https://www.wiz.io/solutions/vulnerability-management.




                                                 5
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 181 of 207 PageID #: 908




               Vulnerability                                             Severity             Score



              D             CVE-2021-36955
                            Vulnerability
                                                                         Ill
                                                                                              m
              D             CVE-2021-33771
                            Vulnerability
                                                                         Ill
                                                                                              m
              D             CVE- 2021 - 31979
                            Vulnerability
                                                                         Ill
                                                                                              m
              D             CVE-2021-34527
                            Vulnerability
                                                                         Ill
                                                                                              m
              D             CVE-2021-36942
                            Vulnerability
                                                                         "       M...


  See also https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-

  with-wiz.

         8.        Claim 22 further recites “for each of the requested plurality of protected virtual

  cloud assets with the determined potential cyber vulnerabilities, determining a risk level to the

  cloud computing environment . . . .” Wiz performs this step by, for example, identifying assets

  with “toxic combinations” and “finding the resources that pose the highest risk in [a] cloud

  environment.”

           \Viz scans the entire stack to ·dantify the tox·c comb·nations t hat represent real risk t o your
           environment. Using the Wiz contextual security graph. you can prioritize patc hing by
           tocu~in_g on t hc~c toxic combinmion!: ond tinoing the rC$OUrcc~ thct p oc.c the higl)CSt r isk in
           your cluu c.f E:mviromnenl. =or E:tXturiµ h:t:


  https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-

  wiz. Wiz also determines risk levels for resources with determined potential cyber vulnerabilities.

                                                            6
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 182 of 207 PageID #: 909




                           ■    IC
                                                       Vulnerability                         Severity          Score           Exploit..     Link          Publis_.           Resou rces




                      -     ■
                                                       CiJ
                                                       CiJ
                                                             CVE-2021-36955
                                                             Vulnerability


                                                             CVE-2021-33771
                                                                                             Ill



                                                                                             Ill
                                                                                                    -·

                                                                                                    -
                                                                                                               m
                                                                                                               m m
                                                                                                                                             nvd.n i._



                                                                                                                                             nvd.n i._
                                                                                                                                                           Wed.S,_


                                                                                                                                                           Wed, J __
                                                                                                                                                                             11 resources


                                                                                                                                                                             6 resources



                     -
                                                             Vulnerability


                                                       CiJ   CVE-2021-31979
                                                             Vulnerability
                                                                                             Ill    -          m m                           nvd.nL        Wed, J,_          6 resources




                               -
             Vulnerab1ht1es
                                                       CiJ   CVE-2021-34527
                                                             Vulnerability
                                                                                             Ill
                                                                                                    -          m m                           nvd.ni__      Sat. Ju_,


                                                       D     CVE-2021-36942
                                                             Vulnerability
                                                                                             II    M._
                                                                                                               m m                           nvd.n L       Thu, A._




  See id.

                                                                                                                                                                                                     ,..,.
   ~ * a.                                                Category v          Severity v           Created by v           Risk v            Status v                          483 controls   J,;      IV


                     '17:: More Filters

           Control                                                                                 Issues              Projects                     Severity           Risks                Status



    ro     Publicly exposed VM i nstance with effective global admin permissions
           Security graoh control
                                                                                                   18 iSSU-              All    .                   ,111               ~       I!!           •
    :G):   Htgh/Crilical network v ulnerability with a known exploit on a publicly facL
           Security graph control
                                                                                                   1 issues              All    .                   ,Ill               ~       ~     I!!     •
    ro     CVE-2022-23131 (Zabbix vulnerability) detected on a p ublicly exposed V,_
           Security graph control
                                                                                                                         All    .                   ....               ~       ®             •
    :0:    CVE-2022- 30190 ( Follina) detected on a highly privileged container
           Security graph control
                                                                                                                         All    .                   ....               I!! ®                 •
    ro     Lateral movement path via clear text cloud keys to an ad min user
           Security graph control
                                                                                                                         All    .                   .... V             I!!                   •
    &
           SSH Brute Force on Admin VM
           Security graph control
                                                                                                   4 issu _.             All    .                   1111       V       ".9 I!!               •
    :G):   CVE-2022-22963 (Spring Cloud Function RCE vulnerability) detect ed on ...
           Security graph control
                                                                                                                         All    .                   ....               ~       ®
                                                                                                                                                                                             •
    ro     Suspicious network act ivity on VM inf ected with malware
           Security graph control
                                                                                                                         All    .                   ....               ".9 tj,               •
    ro     Publicly exposed VM i nstance/serverless with high / critical severit y netw...
           Security graph control
                                                                                                                         All    .                   ....               ~       ~     I!!     •
  See also Exhibit 5 at 27. Wiz also “[p]rioritize[s] risk and attack paths to critical assets” within

  the cloud computing environment.




                                                                                             7
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 183 of 207 PageID #: 910




  Id. at 17; see also Exhibit 6 at 3 (“Scan for vulnerable and unpatched operating systems, installed

  software, and code libraries in your workloads prioritized by risk.”).

          9.      Claim 22 further recites “reporting, for each of the requested plurality of protected

  virtual cloud assets with the determined potential cyber vulnerabilities, the existence of the

  potential cyber vulnerabilities, such that the plurality of protected virtual cloud assets with the

  determined potential cyber vulnerabilities are prioritized based on associated risk levels.” Wiz

  performs this step by, for example, “correlating vulnerabilities with multiple risk factors, including

  external exposure, cloud entitlements, secrets, misconfigurations, malware, and more, to surface

  the vulnerabilities that should be prioritized.”        https://www.wiz.io/solutions/vulnerability-

  management. Wiz reports the existence of virtual cloud assets with determined potential cyber

  vulnerabilities prioritized by risk levels.




                                                    8
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 184 of 207 PageID #: 911




                   ■      IC
                                     Vulnerability                    Severity     Score   Exploit..   Link        Publis_.       Resources




            -                        m     CVE-2021-36955
                                           Vulnerability
                                                                      Ill    -·    m                   nvd.n i._   Wed.S,_      11 resources

                    ■
                                     m     CVE-2021-33771             Ill
                                                                             -     m m                 nvd.n i._   Wed,J__      6 resources



           -
                                           Vulnerability


                                     m     CVE-2021-31979
                                           Vulnerability
                                                                      Ill    -     m m                 nvd.nL      Wed, J,_     6 resources




              -
         Vulnerab1ht1es
                                     m     CVE-2021-34527
                                                                             -     m m                 nvd.ni__



          -
                                                                      Ill                                          Sat. J u_,
                                           Vulnerability


                                     D     CVE-2021-36942
                                           Vulnerability
                                                                      II     M._
                                                                                   m m                 nvd.n L     Thu, A._




  See       https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-

  with-wiz; see also Exhibit 6 at 3 (“Scan for vulnerable and unpatched operating systems, installed

  software, and code libraries in your workloads prioritized by risk.”).

         Visibility, Prioritization, and Agility - from Build Time to Runtime




         Scan Everything                             Fix What Matters Most                         Bu ild Brid ges Across Teams




  See https://www.wiz.io/solutions/cnapp; see also Exhibit 5 at 17, 27.

         10.            As described in the preceding paragraphs, Wiz infringes allowed claim 22 of the

  ’181 patent application either literally or under the doctrine of equivalents.




                                                                      9
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 185 of 207 PageID #: 912




                    EXHIBIT 11
                    Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 186 of 207 PageID #: 913
        WIZ                  Help Center                                                                        Status Page    Community   Blog   Gotoappaz




        | Q         Search



        Wiz     >    Connectors     > Azure




        Azure                Connector                Basics
                                                                                                            Articles in this section

                                                                                                            Azure Connector Basics

        Wiz connects to your cloud environment via your cloud service provider's APIs in order to extract
        metadata and perform snapshot scans. Learn about connectors.


        Azure connection guides                                                                             Related articles

        e     Azure Connector                                                                               AWS Connector Basics
        e     Azure Manual        Connector
                                                                                                            AWS Outpost Overview
        e Azure Troubleshooting
                                                                                                            Wiz API Overview

        Update permissions                                                                                  Staying Updated

        It may occasionally be necessary to update permissions for existing connectors. See the             Security Graph Basics
        relevant guide(s) for your cloud:

        e Update AWS           permissions
        e Update Azure permissions
        e Update GCP permissions
        e Update         OCI permissions



        FAQ
        Questions? See the Connecting Wiz FAQ.




                                                Was this article helpful?

                                                         &          Fi
                                              Have more questions? Submit a request




Document title: Azure Connector Basics – Wiz
Capture URL: https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-Connector-Basics
Capture timestamp (UTC): Mon, 05 Jun 2023 20:55:09 GMT                                                                                                    Page 1 of 2
                                                                                                   ves   weve



               Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page
                                                                      AWS187  of 207
                                                                          Outpost       PageID #: 914
                                                                                  Overview

                                                                                                  Wiz API Overview

        Update permissions                                                                        Staying Updated

        It may occasionally be necessary to update permissions for existing connectors. See the   Security Graph Basics
        relevant guide(s) for your cloud:




        FAQ
        Questions? See the




                                            Was this article helpful?

                                                    oe        F'
                                       Have more questions?




                                                                                                                          Goto appa




Document title: Azure Connector Basics – Wiz
Capture URL: https://support.wiz.io/hc/en-us/articles/5641497256860-Azure-Connector-Basics
Capture timestamp (UTC): Mon, 05 Jun 2023 20:55:09 GMT                                                                           Page 2 of 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 188 of 207 PageID #: 915




                    EXHIBIT 12
                    Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 189 of 207 PageID #: 916
        WIZ.             Help Center                                                                            Status Page    Community   Blog   Gotoappaz




        | Q     Search



        Wiz     >» Connectors   >» GCP




        GCP Connector Basics                                                                                Articles in this section

                                                                                                            GCP Connector Basics

        Wiz connects to your cloud environment via your cloud service provider's APIs in order to extract
        metadata and perform snapshot scans. Learn about connectors.

        GCP connectors support two methods of granting Wiz access to the GCP environment for
        fetching cloud resources and configurations: (Old) Customer-managed service account whose
                                                                                                            Related articles
        key is uploaded to the Wiz portal, and (New, recommended) Wiz-managed service account.
                                                                                                            AWS Connector Basics

        New GCP connection guides                                                                           OCI Connector Basics

                                                                                                            Wiz API Overview
        e     GCP Connector
        e     GCP    Manual Connection                                                                      Full Doc Set
        e GCP Troubleshooting
                                                                                                            GCP Outpost Overview
        For the old connection guides, refer to the full doc set.


        Update permissions

        It may occasionally be necessary to update permissions for existing connectors. See the
        relevant guide(s) for your cloud:

        e Update AWS        permissions
        e Update Azure permissions
        e Update GCP permissions
        e Update OCI permissions


        FAQ
        Questions? See the Connecting Wiz FAO.




                                            Was this article helpful?

                                                     &          FF
                                          Have more questions? Submit a request




Document title: GCP Connector Basics – Wiz
Capture URL: https://support.wiz.io/hc/en-us/articles/5642208092572-GCP-Connector-Basics
Capture timestamp (UTC): Mon, 05 Jun 2023 20:54:05 GMT                                                                                                    Page 1 of 2
                                                                      GCP Outpost Overview
               Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page  190 of 207 PageID #: 917
        For the old connection guides, refer to the


        Update permissions

        It may occasionally be necessary to update permissions for existing connectors. See the
        relevant guide(s) for your cloud:




        FAQ
        Questions? See the




                                            Was this article helpful?

                                                  oe          F'
                                       Have more questions?




                                                                                                  Goto appa




Document title: GCP Connector Basics – Wiz
Capture URL: https://support.wiz.io/hc/en-us/articles/5642208092572-GCP-Connector-Basics
Capture timestamp (UTC): Mon, 05 Jun 2023 20:54:05 GMT                                                  Page 2 of 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 191 of 207 PageID #: 918




                    EXHIBIT 13
                 Case
                  +   1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 192 of 207 PageID #: 919
        WIZ              Help Center                                                                                       Status Page   Community   Blog   Gotoappa




        | Q     Search



        Wiz     > Security Graph
                              & Issues      > Security Graph




        Security Graph                      Basics                                                                    Articles in this section

                                                                                                                      Security Graph Basics

        The Security Graph is the basis for everything Wiz does. It is a node-and-edge model of your
        cloud environment, enriched with the results of Wiz analyses of effective exposure, effective
        permissions, vulnerabilities, malware, exposed secrets and lateral movement.

        Learn more about:                                                                                             Related        articles

        e How the Security Graph works                                                                                Wiz API Overview
        e     Security Graph   Object Normalization
        e Security Graph Schema                                                                                       Full Doc Set

                                                                                                                      Control & Issue Basics
        Once you feel comfortable with the basics, check out our guide for optimizing your Security
        Graph queries.                                                                                                Integrations

                                                                                                                      Wiz-cli Overview




                                          Was this article helpful?

                                                   &           F
                                        Have more questions? Submit a request




                                   Didn’t find what you’re looking for?
                                  Sorry about that! You can submit a ticket, or try searching the complete doc set.




Document title: Security Graph Basics – Wiz
Capture URL: https://support.wiz.io/hc/en-us/articles/5643759466396-Security-Graph-Basics
Capture timestamp (UTC): Mon, 05 Jun 2023 20:55:10 GMT                                                                                                             Page 1 of 2
                                                                                                        Security Graph Basics
              Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 193 of 207 PageID #: 920
        The Security Graph is the basis for everything Wiz does. It is a node-and-edge model of your
        cloud environment, enriched with the results of Wiz analyses of effective exposure, effective
        permissions, vulnerabilities, malware, exposed secrets and lateral movement.

        Learn more about:
                                                                                                        Related articles

                                                                                                        Wiz API Overview

                                                                                                        Full Doc Set

                                                                                                        Control & Issue Basics
        Once you feel comfortable with the basics, check out our guide for
                                                                                                        Integrations

                                                                                                        Wiz-cli Overview




                                        Was this article helpful?

                                                 e           F'
                                      Have more questions?




                                                                                                                                 Goto appa




Document title: Security Graph Basics – Wiz
Capture URL: https://support.wiz.io/hc/en-us/articles/5643759466396-Security-Graph-Basics
Capture timestamp (UTC): Mon, 05 Jun 2023 20:55:10 GMT                                                                                 Page 2 of 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 194 of 207 PageID #: 921




                    EXHIBIT 14
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 195 of 207 PageID #: 922
                                                                                 IIIIII IIIIIIII Ill IIIII IIIIIUS01
                                                                                                                IIIII IIIIIl 775326B2
                                                                                                                              IIIII IIIII IIIII IIIII IIIIII IIII IIII IIII

   02)    United States Patent                                                                  (10) Patent No.:                          US 11,775,326 B2
          Shua                                                                                  (45) Date of Patent:                                   Oct. 3, 2023

   (54)   TECHNIQUES FOR SECURING A                                                       (58)        Field of Classification Search
          PLURALITY OF VIRTUAL MACHINES IN A                                                          None
          CLOUD COMPUTING ENVIRONMENT                                                                 See application file for complete search history.
   (71)   Applicant: Orea Security Ltd., Tel Aviv-Jaffa (IL)
                                                                                          (56)                                  References Cited
   (72)   Inventor:     Avi Shua, Tel Aviv-Jaffa (IL)
                                                                                                                     U.S. PATENT DOCUMENTS
   (73)   Assignee: Orea Security Ltd., Tel Aviv (IL)
                                                                                                   9,069,983             Bl      6/2015   Nijjar
   ( *)   Notice:       Subject to any disclaimer, the term of this                                9,177,145             B2     11/2015   Todorovic
                                                                                                   9,229,758             B2      1/2016   Ammons et al.
                        patent is extended or adjusted under 35
                                                                                                   9,268,689             Bl      2/2016   Chen et al.
                        U.S.C. 154(b) by 45 days.                                                  9,519,781             B2     12/2016   Golshan et al.

   (21)   Appl. No.: 18/055,181                                                                                                    (Continued)

   (22)   Filed:        Nov. 14, 2022                                                                                      OTHER PUBLICATIONS

   (65)                   Prior Publication Data                                          "IBM Point of View Security and Cloud Computing", IBM Smart-
                                                                                          Cloud Enterprise, Cloud Computing White Paper, 13 sheets of
          US 2023/0087080 Al            Mar. 23, 2023                                     cover pages and pages 1-20, (2009).
                                                                                          Advisory Action U.S. Appl. No. 17/361,861 dated May 20, 2022, in
                    Related U.S. Application Data                                         the United States Patent and Trademark Office.
   (63)   Continuation of application No. 17/330,998, filed on                                                                     (Continued)
          May 26, 2021, now Pat. No. 11,516,231, which is a
          continuation of application No. 16/585,967, filed on                            Primary Examiner - Joseph P Hirl
          Sep. 27, 2019, now Pat. No. 11,431,735.                                         Assistant Examiner - Hassan Saadoun
                                                                                          (74) Attorney, Agent, or Firm - Finnegan, Henderson,
          Provisional application No. 62/797,718, filed on Jan.                           Farabow, Garrett & Dunner, L.L.P.
          28, 2019.
                                                                                          (57)                                    ABSTRACT
   (51)   Int. Cl.
          H04L 9/40                (2022.01)
          G06F 9/455               (2018.01)                                              A system and method for securing virtual cloud assets in a
          G06F 16/11               (2019.01)                                              cloud computing environment against cyber threats. The
          G06F 11/14               (2006.01)                                              method includes: determining a location of a snapshot of
                                                                                          at least one virtual disk of a protected virtual cloud asset,
   (52)   U.S. Cl.                                                                        wherein the virtual cloud asset is instantiated in the cloud
          CPC ........ H04L 63/1416 (2013.01); G06F 9/45558                               computing environment; accessing the snapshot of the vir-
                      (2013.01); G06F 11/1464 (2013.01); G06F                             tual disk based on the determined location; analyzing the
                     16/128 (2019.01); H04L 63/1433 (2013.01);                            snapshot of the protected virtual cloud asset to detect poten-
                     H04L 63/1441 (2013.01); G06F 2009/45562                              tial cyber threats risking the protected virtual cloud asset;
                   (2013.01); G06F 2009/45583 (2013.01); G06F                             and alerting detected potential cyber threats based on a
                       2009/45587 (2013.01); G06F 2009/45591                              determined priority.
                         (2013.01); G06F 2009/45595 (2013.01);
                                        G06F 2201/84 (2013.01)                                                       28 Claims, 4 Drawing Sheets

                                                                                                        /200
                                                                                  Start

                                                                                                                         S210

                                                      Receive a request to scan a VM for vulnerabilities

                                                                                                                         S220
                                                   Determine a location of the virtual disk of the VM and its snapshot


                                                                                                                         S230
                                                                Access a snapshot of virtual disk

                                                                                                                         S240

                                                                       Analyze the snapshot



                                                                      Report detected threats



                                                                    Trigger a mitigation action




                                                                                  End
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 196 of 207 PageID #: 923


                                                            US 11,775,326 B2
                                                                       Page 2


   (56)                   References Cited                                  Ammons et al., "Virtual machine images as structured data: the
                                                                            Mirage image library", IBM Research, Cover sheet 2 pages and
                  U.S. PATENT DOCUMENTS                                     pages 1-6, (2011).
                                                                            Bugiel et al., "AmazonIA: When Elasticity Snaps Back", CCS' 11,
        9,563,777 B2       2/2017   Deng et al.                             ACM, pp. 389-400, (2011).
        9,734,325 Bl       8/2017   Neumann et al.                          Cui et al., "A Less Resource-Consumed Security Architecture on
        9,756,070 Bl       9/2017   Crowell et al.                          Cloud Platform", Wuhan University Journal of Natural Sciences,
        9,798,885 B2      10/2017   Deng et al.                             vol. 21, No. 5, pp. 407-414, (2016).
        9,858,105 Bl       1/2018   Upadhyay et al.                         Fernandez et al. "Building a security reference architecture for
       10,079,842 Bl       9/2018   Brandwine et al.
                                                                            cloud systems", Springer, Requirements Eng, vol. 21, pp. 225-
       10,402,560 B2       9/2019   Gilbert
       10,412,109 B2       9/2019   Loureiro et al.                         249, (2016).
       10,469,304 B 1     11/2019   Kempe et al.                            Fernandez et al., "Two patterns for cloud computing: Secure Virtual
       10,534,915 B2       1/2020   Cherny et al.                           Machine Image Repository and Cloud Policy Management Point",
       10,536,471 Bl*      1/2020   Derbeko et al.             G06F 21/53   PLoP '13: Proceedings of the 20th Conference on Pattern Lan-
       10,782,952 Bl       9/2020   Doring et al.                           guages of Programs Oct. 2013 Article No.: 15, Association for
       10,944,778 B 1 *    3/2021   Golan et al.             H04L 63/1491   Computing Machinery (ACM), Cover sheet and pages 1-11, (2013).
       11,068,353 Bl*      7/2021   Ved .................... G06F 9/45558   Final Office Action U.S. Appl. No. 17/330,998 dated Jun. 30, 2022,
       11,120,124 B2       9/2021   Fusenig et al.                          in the United States Patent and Trademark Office.
       11,216,563 Bl       1/2022   Veselov et al.
       11,431,735 B2       8/2022   Shua                                    Final Office Action U.S. Appl. No. 17/361,861 dated Mar. 8, 2022,
       11,516,231 B2      11/2022   Shua                                    in the United States Patent and Trademark Office.
    2007 /0266433 Al      11/2007   Moore                                   Kaur et al., "Secure VM Backup and Vulnerability Removal in
    2008/0189788 Al        8/2008   Bahl                                    Infrastructure Clouds", 2014 International Conference on Advances
    2008/0263658 Al       10/2008   Michael et al.                          in Computing, Communications and Informatics (ICACCI), pp.
    2009/0007100 Al        1/2009   Field et al.                            1217-1226, (2014).
    2010/0017512 Al        1/2010   Ciano et al.                            Non-Final Office Action U.S. Appl. No. 16/585,967 dated Feb. 3,
    2011/0289584 Al       11/2011   Palagummi                               2022, in the United States Patent and Trademark Office.
    2012/0323853 Al       12/2012   Fries et al.
                                                                            Non-Final Office Action U.S. Appl. No. 17/330,998 dated Mar. 4,
    2013/0191643 Al*       7/2013   Song et al.               H04L 9/3265
                                                                  713/176   2022, in the United States Patent and Trademark Office.
    2014/009613 5 Al      4/2014    Kundu et al.                            Non-Final Office Action U.S. Appl. No. 17/361,861 dated Aug. 29,
    2014/0137190 Al       5/2014    Carey et al.                            2022, in the United States Patent and Trademark Office.
    2015/0052520 Al       2/2015    Crowell et al.                          Non-Final Office Action U.S. Appl. No. 17/361,861 dated Oct. 25,
    2016/0004449 Al*      1/2016    Lakshman et al.           G06F 3/0604   2021, in the United States Patent and Trademark Office.
                                                                  711/162   Notice of Allowance U.S. Appl. No. 16/585,967 dated Jul. 7, 2022,
    2016/0094568 Al*      3/2016    Balasubramanian et al.                  in the United States Patent and Trademark Office.
                                                             G06F 9/45558   Notice of Allowance U.S. Appl. No. 17/330,998 dated Aug. 10,
                                                                   726/23
                                                                            2022, in the United States Patent and Trademark Office.
    2016/0364255 Al  12/2016        Chefalas et al.
    2017/0011138 Al   1/2017        Venkatesh et al.                        Pandey et al., "An Approach for Virtual Machine Image Security",
    2017 /0031704 Al  2/2017        Sudhakaran et al.                       Computer Science and Engineering MNNIT, Allahabad, 2014
    2017/0103212 Al* 4/2017         Deng et al.               G06F 3/0619   International Conference on Signal Propagation and Computer
    2017 /0111384 Al  4/2017        Loureiro et al.                         Technology (ICSPCT), pp. 616-623, (2014).
    2018/0137032 Al   5/2018        Tannous et al.                          Rajasekaran et al., "Scalable Cloud Security via Asynchronous Vir-
    2018/0255080 Al   9/2018        Paine                                   tual Machine Introspection", 8th USENIX Workshop on Hot Topics
    2018/0293374 Al  10/2018        Chen                                    in Cloud Computing, Cover page and pages 1-6, (2016).
    2020/0042707 Al   2/2020        Kucherov et al.                         Rani et al.; "An Efficient Approach to Forensic Investigation in
                                                                            Cloud using VM Snapshots", 2015 International Conference on
                     OTHER PUBLICATIONS                                     Pervasive Computing (ICPC), 5 pages, (2015).
                                                                            Wei et al., "Managing Security of Virtual Machine Images in a
   Almulla et al., "Digital Forensic of a Cloud Based Snapshot", The
                                                                            Cloud Environment", CCSW'09, pp. 91-96, Nov. 13, 2009.
   Sixth International Conference on Innovative Computing Technol-
   ogy (INTECH 2016), pp. 724-729, (2016).                                  * cited by examiner
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 197 of 207 PageID #: 924


   U.S. Patent         Oct. 3, 2023        Sheet 1 of 4              US 11,775,326 B2




                                                               100
                                                               _/
                        User Console
                             180



                                                    External
                        Network                     systems
                                                      170




                                                                 Management
                                                                  Console
                                                                    150
                    Cloud Computing Platform
                             110




                                   FIG. 1A
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 198 of 207 PageID #: 925


   U.S. Patent         Oct. 3, 2023       Sheet 2 of 4         US 11,775,326 B2




                                Security System
                                      140                ~
                                                         130


               11                     115~




                                        m    9




                                       FIG. 1B
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 199 of 207 PageID #: 926


   U.S. Patent            Oct. 3, 2023          Sheet 3 of 4                US 11,775,326 B2




                                                                            200
                                               Start                 1
                                                                                      S210
                   Receive a request to scan a VM for vulnerabilities

                                                                                      S220
                Determine a location of the virtual disk of the VM and its snapshot


                                                                                      S230
                             Access a snapshot of virtual disk

                                                                                      S240
                                    Analyze the snapshot

                                                                                      S250

                                   Report detected threats

                                                                                      S260
                                 Trigger a mitigation action


                                                l
                                  ( __
                                     End_)




                                              FIG. 2
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 200 of 207 PageID #: 927


   U.S. Patent         Oct. 3, 2023       Sheet 4 of 4                  US 11,775,326 B2




                                                                        140




                                          r             ~
                                          ~             ~
                    Memory
                      320                        Storage
                                                  330

                                          '---          ~

                                                   I
                                                                              l_ 360
                             Processing                     Network
                              Circuitry                     Interface
                                310                            340




                                           FIG. 3
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 201 of 207 PageID #: 928


                                                      US 11,775,326 B2
                                 1                                                                  2
           TECHNIQUES FOR SECURING A                                   Traffic inspection may also be performed by a traffic
       PLURALITY OF VIRTUAL MACHINES IN A                           monitor that listens to traffic flows between clients and the
         CLOUD COMPUTING ENVIRONMENT                                server. The traffic monitor can detect some cyber threats,
                                                                    e.g., based on the volume of traffic. However, the monitor
      This application is a continuation of U.S. Application No. 5 can detect threats only based on the monitored traffic. For
   17/330,998 (now U.S. Patent No. 11,516,231), filed May 26,       example, misconfiguration of the server may not be detected
   2021, which is a continuation of U.S. Application No. 16/        by the traffic monitor. As such, traffic monitoring would not
   585,967 (now U.S. Patent No. 11,431,735), filed September        allow detection of vulnerabilities in software executed by
   27, 2019, which claims the benefit of U.S. Provisional           the server.
   Applicantion No. 62/797,718 filed on January 28, 2019, 10           To overcome the limitations of traffic inspection solu-
   the contents of each of which are hereby incorporated by         tions, some cyber-security solutions, such as vulnerability
   reference in their entireties.                                   management and security assessment solutions are based
                                                                    on agents installed in each server in a cloud computing plat-
                       TECHNICAL FIELD                              form or data center. Using agents is a cumbersome solution
                                                                 15 for a number of reasons, including IT resources manage-
      This disclosure relates generally to cyber-security sys-      ment, governance, and performance. For example, installing
   tems and, more specifically, to techniques for securing vir-     agents in a large data center may take months.
   tual machines.                                                      It would therefore be advantageous to provide a security
                                                                    solution that would overcome the deficiencies noted above.
                                                                  20
                         BACKGROUND
                                                                                               SUMMARY
      Organizations have increasingly adapted their applica-
                                                                         A summary of several example embodiments of the dis-
   tions to be run from multiple cloud computing platforms.
                                                                      closure follows. This summary is provided for the conveni-
   Some leading public cloud service providers include Ama-
                                                                   25 ence of the reader to provide a basic understanding of such
   zon®, Microsoft®, Google®, and the like.
                                                                      embodiments and does not wholly define the breadth of the
      Virtualization is a key role in a cloud computing, allowing
                                                                      disclosure. This summary is not an extensive overview of all
   multiple applications and users to share the same cloud
                                                                      contemplated embodiments, and is intended to neither iden-
   computing infrastructure. For example, a cloud storage ser-
                                                                      tify key or critical elements of all embodiments nor to
   vice can maintain data of multiple different users.             30 delineate the scope of any or all aspects. Its sole purpose is
      In one instance, virtualization can be achieved by means
                                                                      to present some concepts of one or more embodiments in a
   of virtual machines. A virtual machine emulates a number of
                                                                      simplified form as a prelude to the more detailed description
   "computers" or instances, all within a single physical
                                                                      that is presented later. For convenience, the term "some
   device. In more detail, virtual machines provide the ability       embodiments" or "certain embodiments" may be used
   to emulate a separate operating system (OS), also referred to 35 herein to refer to a single embodiment or multiple embodi-
   as a guest OS, and therefore a separate computer, from an          ments of the disclosure.
   existing OS (the host). This independent instance is typi-            Certain embodiments disclosed herein include a method
   cally isolated as a completely standalone environment.             for securing virtual cloud assets in a cloud computing envir-
      Modem virtualization technologies are also adapted by           onment against cyber threats, comprising: determining a
   cloud computing platforms. Examples for such technologies 40 location of a snapshot of at least one virtual disk of a pro-
   include virtual machines, software containers, and server-         tected virtual cloud asset, wherein the virtual cloud asset is
   less functions. With their computing advantages, applica-          instantiated in the cloud computing environment; accessing
   tions and virtual machines running on top of virtualization        the snapshot of the virtual disk based on the determined
   technologies are also vulnerable to some cyber threats. For        location; analyzing the snapshot of the protected virtual
   example, virtual machines can execute vulnerable software 45 cloud asset to detect potential cyber threats risking the pro-
   applications or infected operating systems.                        tected virtual cloud asset; and alerting detected potential
      Protection of a cloud computing infrastructure, and parti-      cyber threats based on a determined priority.
   cularly of virtual machines can be achieved via inspection of         Certain embodiments disclosed herein also include a non-
   traffic. Traditionally, traffic inspection is performed by a       transitory computer readable medium having stored thereon
   network device connected between a client and a server 50 instructions for causing a processing circuitry to execute a
   (deployed in a cloud computing platform or a data center)          process, the process comprising: determining a location of a
   hosting virtual machines. Traffic inspection may not provide       snapshot of at least one virtual disk of a protected virtual
   an accurate indication of the security status of the server due    cloud asset, wherein the virtual cloud asset is instantiated
   to inherent limitations, such as encryption and whether the        in the cloud computing environment; accessing the snapshot
   necessary data is exposed in the communication.                 55 of the virtual disk based on the determined location; analyz-
      Furthermore, inspection of computing infrastructure may         ing the snapshot of the protected virtual cloud asset to detect
   be performed by a network scanner deployed out of path.            potential cyber threats risking the protected virtual cloud
   The scanner queries the server to determine if the server          asset; and alerting detected potential cyber threats based
   executes an application that possess a security threat, such       on a determined priority.
   as vulnerability in the application. The disadvantage of such 60      Certain embodiments disclosed herein also include a sys-
   a scanner is that the server may not respond to all queries by     tem for securing virtual cloud assets in a cloud computing
   the scanner, or not expose the necessary data in the               environment against cyber threats, comprising: a processing
   response. Further, the network scanner usually communi-            circuitry; and a memory, the memory containing instruc-
   cates with the server, and the network configuration may           tions that, when executed by the processing circuitry, con-
   prevent it. In addition, some types of queries may require 65 figure the system to: determine a location of a snapshot of at
   credentials to access the server. Such credentials may not         least one virtual disk of a protected virtual cloud asset,
   be available to the scanner.                                       wherein the virtual cloud asset is instantiated in the cloud
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 202 of 207 PageID #: 929


                                                       US 11,775,326 B2
                                 3                                                                   4
   computing environment; access the snapshot of the virtual         or on-premises virtualization environment, such as a
   disk based on the determined location; analyze the snapshot       VMware® based solution.
   of the protected virtual cloud asset to detect potential cyber       Also deployed in the cloud computing platform 110 is a
   threats risking the protected virtual cloud asset; and alert      security system 140 configured to perform the various dis-
   detected potential cyber threats based on a determined          5 closed embodiments. In some embodiments, the system 140
   priority.                                                         may be part of the client environment 130. In an embodi-
                                                                     ment, the security system 140 may be realized as a physical
           BRIEF DESCRIPTION OF THE DRAWINGS                         machine configured to execute a plurality of virtual
                                                                     instances, such as, but not limited to virtual machines exe-
      The foregoing and other objects, features, and advantages
                                                                  10 cuted by a host server. In yet another embodiment, the secur-
   of the disclosed embodiments will be apparent from the fol-
                                                                     ity system 140 may be realized as a virtual machine exe-
   lowing detailed description taken in conjunction with the
   accompanying drawings.                                            cuted   by a host server. Such a host server is a physical
      FIGS. lA and 1B are network diagrams utilized to               machine    (device) and may be either the server 115, a dedi-
   describe the various embodiments.                                 cated server, a different shared server, or another virtualiza-
      FIG. 2 is a flowchart illustrating a method detecting cyber 15 tion-based computing entity, such as a serverless function.
   threats, including potential vulnerabilities in virtual              In an embodiment, the interface between the client envir -
   machines executed in a cloud computing platform according         onment    130 and the security system 140 can be realized
   to some embodiments.                                              using APis or services provided by the cloud computing
      FIG. 3 is an example block diagram of the security system 20 platform 110. For example, in AWS, a cross account policy
   according to an embodiment.                                       service can be utilized to allow interfacing the client envir-
                                                                     onment 130 with the security system 140.
                    DETAILED DESCRIPTION                                In the deployment, illustrated in FIGS. 1, the configura-
                                                                     tion of resources of the cloud computing platform 110 is
      It is important to note that the embodiments disclosed         performed by means of the management console 150. As
   herein are only examples of the many advantageous uses 25 such, the management console 150 may be queried on the
   of the innovative teachings herein. In general, statements        current deployment and settings of resources in the cloud
   made in the specification of the present application do not       computing platform 110. Specifically, the management con-
   necessarily limit any of the various claimed embodiments.         sole 150 may be queried, by the security system 140, about
   Moreover, some statements may apply to some inventive             as the location (e.g., virtual address) of the virtual disk 118-1
   features but not to others. In general, unless otherwise indi- 30
                                                                     in the storage 117. The system 140 is configured to interface
   cated, singular elements may be in plural and vice versa          with the management console 150 through, for example, an
   with no loss of generality. In the drawings, like numerals        APL
   refer to like parts through several views.                           In some example embodiments, the security system 140
      FIGS. lA and 1B show an example network diagram 100            may   further interface with the cloud computing platform
   utilized to describe the various embodiments. A cloud com- 35 110 and external systems 170. The external systems may
   puting platform 110 is communicably connected to a net-           include intelligence systems, security information and
   work 120. Examples of the cloud computing platform 110
                                                                     event management (SIEM) systems, and mitigation tools.
   may include a public cloud, a private cloud, a hybrid cloud,
                                                                     The external intelligence systems may include common vul-
   and the like. Examples for a public cloud, but are not limited
                                                                  40 nerabilities and exposures (CVE®) databases, reputation
   to, AWS® by Amazon®, Microsoft Azure®, Google
                                                                     services, security systems (providing feeds on discovered
   Cloud®, and the like. In some configurations, the disclosed
                                                                     threats), and so on. The information provided by the intelli-
   embodiments operable in on premise virtual machines
                                                                     gence systems may detect certain known vulnerabilities
   environments. The network 120 may be the Internet, the
                                                                     identified in, for example, a CVE database.
   world-wide-web (WWW), a local area network (LAN), a
                                                                  45    According to the disclosed embodiments, the security
   wide area network (WAN), and other networks.
      The arrangement of the example cloud computing plat-           system   140 is configured to detect vulnerabilities and other
   form 110 is shown in FIG. lB. As illustrated, the platform        cyber threats related to the execution VM 119. The detection
   110 includes a server 115 and a storage 117, serving as the       is performed while the VM 119 is live, without using any
   storage space for the server 115. The server 115 is a physical    agent installed in the server 115 or the VM 119, and without
   device hosting at least one virtual machine (VM) 119. The 50 relying on cooperation from VM 119 guest OS. Specifically,
   VM 119 is a protected VM, which may be any virtual cloud          the security system 140 can scan and detect vulnerable soft-
   asset including, but not limited to, a software container, a      ware, non-secure configuration, exploitation attempts, com-
   micro-service, a serverless function, and the like.               promised asserts, data leaks, data mining, and so on. The
      The storage 117 emulates virtual discs for the VMs exe-        security system 140 may be further utilized to provide
   cuted in by the server 115. The storage 117 is typically con- 55 security services, such as incident response, anti-ransom-
   nected to the server 115 through a high-speed connection,         ware, and cyber insurance by accessing the security posture.
   such as optic fiber allowing fast retrieval of data. In other        In some embodiments, the security system 140 is config-
   configurations, the storage 117 may be part of the server         ured to query the cloud management console 150 for the
   115. In this example illustrated in FIG. lB, virtual disk         address of the virtual disk 118-1 serving the VM 119 and a
   118-1 is allocated for the VM 119. The server 115, and 60 location of the snapshot. A VM's snapshot is a copy of the
   hence the VM 119, may be executed in a client environment         machine's virtual disk (or disk file) at a given point in time.
   130 within the platform 110.                                      Snapshots provide a change log for the virtual disk and are
      The client environment 130 is an environment within the        used to restore a VM to a particular point in time when a
   cloud computing platform 110 utilized to execute cloud-           failure error occurs. Typically, any data that was writable on
   hosted applications of the client. A client may belong to a 65 a VM becomes read-only when the snapshot is taken. Multi-
   specific tenant. In some example embodiment, the client           ple snapshots of a VM can be created at multiple possible
   environment 130 may be part of a virtualized environment          point-in-time restore points. When a VM reverts to a snap-
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 203 of 207 PageID #: 930


                                                       US 11,775,326 B2
                                 5                                                                   6
   shot, current disk and memory states are deleted and the           ity posture. This may include, but not limited to, actively
   snapshot becomes the new parent snapshot for that VM.              communicating with the VM 119, using either legitimate
      The snapshot of the VM 119 is located and may be saved          communicate and/or attack attempts, to assess its posture
   from the virtual disk 118-1 is accessed by the system 140. In      and by that deriving the security posture of the entire VM
   an embodiment, the VM's 119 snapshot may be copied to 5 119.
   the system 140. If such a snapshot does not exist, the system         In order to determine if the vulnerability is relevant to the
   140 may take a new snapshot, or request such an action. The        VM 119, the security system 140 is configured to analyze
   snapshots may be taken at a predefined schedule or upon            the machine memory, as reflected in the page file. The page
   predefined events (e.g., a network event or abnormal               file is saved in the snapshot and extends how much system-
   event). Further, the snapshots may be accessed or copied 10 committed memory (also known as "virtual memory") a
   on a predefined schedule or upon predefined events. It             system can back. In an embodiment, analyzing the page
   should be noted that when the snapshot is taken or copied,         file allows deduction of running applications and modules
   the VM 119 still runs.                                             by the VM 119.
      It should be noted that the snapshot of the virtual disk           In an embodiment, the security system 140 is configured
   118-1 may not be necessary stored in the storage 117, but 15 to read process identification number (PID) files and check
   for ease of the discussion it is assumed that the snapshot is      their access or write times, which are matched against pro-
   saved in the storage 117. It should be further noted that the      cess descriptors. The PID can be used to deduce which pro-
   snapshot is being accessed without cooperation of the guest,       cesses are running, and hence the priority of vulnerabilities
   virtual OS of the virtual machine.                                 detected in processes existing on the disk. It should be noted
      The snapshot is parsed and analyzed by the security sys- 20 the PID files are also maintained in the snapshot.
   tern 140 to detect vulnerabilities. This analysis of the snap-        In yet another embodiment, the security system 140 is
   shot does not require any interaction and/or information           configured to detect cyber threats that do not represent vul-
   from the VM 119. As further demonstrated herein, the ana-          nerabilities. For example, the security system 140 may
   lysis of the snapshot by the system 140 does not require any       detect and alert on sensitive data not being encrypted on
   agent installed on the server 115 or VM 119.                    25 the logical disk, private keys found on the disks, system cre-
      Various techniques can be utilized to analyze the snap-         dentials stored clearly on the disk, risky application features
   shots, depending on the type of vulnerability and cyber            (e.g., support of weak cipher suites or authentication meth-
   threats to be detected. Following are some example embodi-         ods), weak passwords, weak encryption schemes, a disable
   ments for techniques that may be implemented by the secur-         address space layout randomization (ASLR) feature, suspi-
   ity system 140.                                                 30 cious manipulation to a boot record, suspicious PATH,
      In an embodiment, the security system 140 is configured         LD_LIBRARY_pATH, or LD_PRELOAD definitions, ser-
   to detect whether there is vulnerable code executed by the         vices running on startup, and the like.
   VM 119. The VM 119 being checked may be running,                      In an embodiment, the security system 140 may further
   paused, or shutdown. To this end, the security system 140          monitor changes in sensitive machine areas, and alert on
   is configured to match installed application lists, with their 35 unexpected changes (e.g., added or changed application
   respective versions, to a known list of vulnerable applica-        files without installation). In an example embodiment, this
   tions. Further, the security system 140 may be configured          can be achieved by computing a cryptographic hash of the
   to match the application files, either directly (using binary      sensitive areas in the virtual disk and checking for differ-
   comparison) or by computing a cryptographic hash against           ences over time.
   database of files in vulnerable applications. The matching 40         In some embodiments, the detected cyber threats (includ-
   may be also on sub-modules of an application. Alterna-             ing vulnerabilities) are reported to a user console 180 and/or
   tively, the security system 140 may read installation logs         a security information and event management (SIEM) sys-
   of package managers used to install the packages of the            tem (not shown). The reported cyber threats may be filtered
   application.                                                       or prioritized based in part on their determined risk. Further,
      In yet another embodiment, the security system 140 is 45 the reported cyber threats may be filtered or prioritized
   configured to verify whether the vulnerability is relevant to      based in part on the risk level of the machine. This also
   the VM 119. For example, ifthere is a vulnerable version or        reduces the number of alerts reported to the user.
   module not in use, the priority of that issue is reduced              In an embodiment, any detected cyber threats related to
   dramatically.                                                      sensitive data (including personally identifiable information,
      To this end, the security system 140 may be configured to 50 PII) is reported at a higher priority. In an embodiment, such
   check the configuration files of the applications and operat-      data is determined by searching for the PII, analyzing the
   ing system of the VM 119; to verify access times to files by       application logs to determine whether the machine accessed
   the operating system; and/or to analyze the active applica-        PII/PII containing servers, or whether the logs themselves
   tion and/or system logs in order to deduce what applications       contain PII, and searching the machine memory, as reflected
                                                                   55
   and modules are running.                                           in the page file, for PII.
      In yet another embodiment, the security system 140 may             In an embodiment, the security system 140 may deter-
   instantiate a copy of the VM 119 and/or a subset of applica-       mine the risk of the VM 119 based on communication with
   tions of the VM 119 on the server 115 or a separate server         an untrusted network. This can be achieved by analyzing the
   and monitor all activity performed by the instance of the          VM's 119 logs as saved in the virtual disk and can be
   VM. The execution of the instance of the VM is an isolated 60 derived from the snapshot.
   sandbox, which can be a full VM or subset of it, such as a            In an example embodiment, the security system 140 may
   software container (e.g., Docker® container) or another vir-       cause an execution of one or more mitigation actions. Exam-
   tualized instances. The monitored activity may be further          ples of such actions may include blocking traffic from
   analyzed to determine abnormality. Such analysis may               untrusted networks, halting the operation of the VM, quar-
   include monitoring of API activity, process creation, file 65 antining an infected VM, and the like. The mitigation
   activity, network communication, registry changes, and             actions may be performed by a mitigation tool and not the
   active probing of the said subset in order to assess its secur-    system 140.
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 204 of 207 PageID #: 931


                                                      US 11,775,326 B2
                                 7                                                                  8
      It should be noted that the example implementation                At optional S260, a mitigation action may be triggered to
   shown in FIGS. 1 is described with respect to a single            mitigate a detected threat or vulnerability. A mitigation
   cloud computing platform 110 hosting a single VM 119 in           action may be executed by a mitigation tool and triggered
   a single server 115, merely for simplicity purposes and with-     by the system 140. Such an action may include blocking
   out limitation on the disclosed embodiments. Typically, vir- 5 traffic from untrusted networks, halting the operation of
   tual machines are deployed and executed in a single cloud         the VM, quarantining an infected VM, and the like.
   computing platform, a virtualized environment, or data cen-          FIG. 3 is an example block diagram of the security system
   ter and can be protected without departing from the scope of      140 according to an embodiment. The security system 140
   the disclosure. It should be further noted that the disclosed     includes a processing circuitry 310 coupled to a memory
   embodiments can operate using multiple security systems 10 320, a storage 330, and a network interface 340. In an embo-
   140, each of which may operate in a different client              diment, the components of the security system 140 may be
   environment.                                                      communicatively connected via a bus 360.
      FIG. 2 shows an example flowchart 200 illustrating a              The processing circuitry 310 may be realized as one or
   method for detecting cyber threats including potential vul-       more hardware logic components and circuits. For example,
   nerabilities in virtual machines executed in a cloud comput- 15 and without limitation, illustrative types of hardware logic
   ing platform according to some embodiments. The method            components that can be used include field programmable
   may be performed by the security system 140.                      gate arrays (FPGAs), application-specific integrated circuits
      At S210, a request, for example, to scan a VM for vulner-      (ASICs), application-specific standard products (ASSPs),
   abilities is received. The request may be received, or other-     system-on-a-chip systems (SOCs), general-purpose micro-
   wise triggered every predefined time interval or upon detec- 20 processors, microcontrollers, digital signal processors
   tion of an external event. An external event may be a             (DSPs), and the like, or any other hardware logic compo-
   preconfigured event, such as a network event or abnormal          nents that can perform calculations or other manipulations
   event including, but not limited to, changes to infrastructure    of information.
   such as instantiation of an additional container on existing         The memory 310 may be volatile (e.g., RAM, etc.), non-
   VM, image change on a VM, new VM created, unexpected 25 volatile (e.g., ROM, flash memory, etc.), or a combination
   shutdowns, access requests from unauthorized users, and the       thereof. In one configuration, computer readable instruc-
   like. The request may at least designate an identifier of the     tions to implement one or more embodiments disclosed
   VM to be scanned.                                                 herein may be stored in the storage 330.
      At S220, a location of a snapshot of a virtual disk of the        In another embodiment, the memory 320 is configured to
   VM to be scanned is determined. In an embodiment, S220 30 store software. Software shall be construed broadly to mean
   may include determining the virtual disk allocated for the        any type of instructions, whether referred to as software,
   VM, prior to determining the location of the snapshot. As         firmware, middleware, microcode, hardware description
   noted above, this can be achieved by querying a cloud man-        language, or otherwise. Instructions may include code
   agement console. At S230, a snapshot of the virtual disk is       (e.g., in source code format, binary code format, executable
   accessed, or otherwise copied.                                 35 code format, or any other suitable format of code). The
      At S240, the snapshot is analyzed to detect cyber threats      instructions, when executed by the one or more processors,
   and potential vulnerabilities. S240 may be also include           cause the processing circuitry 310 to perform the various
   detecting cyber threats that do not represent vulnerabilities.    processes described herein. Specifically, the instructions,
   Examples for cyber threats and vulnerabilities are provided       when executed, cause the processing circuitry 310 to deter-
   above.                                                         40 mine over-privileged roles vulnerabilities in serverless
      In an embodiment, S240 may include comparing the               functions.
   snapshot to some baseline, which may include, but is not             The storage 330 may be magnetic storage, optical storage,
   limited to, a copy of the image used to create the VM,            and the like, and may be realized, for example, as flash
   (e.g., lists of applications, previous snapshots), crypto-        memory or other memory technology, CD-ROM, Digital
   graphic hashes gathered in the previous scan, analyzing 45 Versatile Disks (DVDs), hard-drives, SSD, or any other
   logs of the VMs, instantiating a copy of the VM and execut-       medium which can be used to store the desired information.
   ing the instance or applications executed by the VM in a          The storage 330 may store communication consumption
   sandbox, analyzing the machine memory, as reflected in            patterns associated with one or more communications
   the page file, or any combination of these techniques.            devices.
   Some example embodiments for analyzing the snapshots 50              The network interface 340 allows the security system 140
   and the types of detected vulnerabilities and threats are pro-    to communicate with the external systems, such as intelli-
   vided above.                                                      gence systems, SIEM systems, mitigation systems, a cloud
      At S250, the detected cyber threats and/or vulnerabilities     management console, a user console, and the like.
   are reported, for example, as alerts. In an embodiment, S250         It should be understood that the embodiments described
   may include filtering and prioritizing the reported alerts. In 55 herein are not limited to the specific architecture illustrated
   an embodiment, the prioritization is based, in part, on the       in FIG. 3, and other architectures may be equally used with-
   risk level of a vulnerable machine. The filtering and prior-      out departing from the scope of the disclosed embodiments.
   itizing allow to reduce the number of alerts reported to the         The various embodiments disclosed herein can be imple-
   user. The filtering can be done performed on external intel-      mented as hardware, firmware, software, or any combina-
   ligence on the likelihood of this vulnerability being 60 tion thereof. Moreover, the software is preferably imple-
   exploited, analyzing the machine configuration in order to        mented as an application program tangibly embodied on a
   deduce the vulnerability relevancy, and correlating the vul-      program storage unit or computer readable medium consist-
   nerability with the network location, and by weighting the        ing of parts, or of certain devices and/or a combination of
   risk of this machine being taken over by the attacker by          devices. The application program may be uploaded to, and
   taking into consideration the criticality of the machine in 65 executed by, a machine comprising any suitable architec-
   the organization based by the contents stored or other assets     ture. Preferably, the machine is implemented on a computer
   accessible from the VM 110.                                       platform having hardware such as one or more central pro-
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 205 of 207 PageID #: 932


                                                         US 11,775,326 B2
                                  9                                                                      10
   cessing units ("CPUs"), a memory, and input/output inter-                 taking a snapshot or requesting the taking of the snapshot;
   faces. The computer platform may also include an operating                   and
   system and microinstruction code. The various processes                   obtaining the location of the snapshot after the snapshot is
   and functions described herein may be either part of the                     taken.
   microinstruction code or part of the application program, 5               3. The method of claim 1, wherein determining the risk
   or any combination thereof, which may be executed by a                 associated with each of the determined plurality of potential
   CPU, whether or not such a computer or processor is expli-             cyber vulnerabilities is based on external intelligence on a
   citly shown. In addition, various other peripheral units may           likelihood of the determined potential cyber vulnerability
   be connected to the computer platform such as an additional            being exploited, the method further comprising, prior to
   data storage unit and a printing unit. Furthermore, a non- 10 reporting, filtering the determined potential cyber vulnerabil-
   transitory computer readable medium is any computer read-              ities based on the associated risk.
   able medium except for a transitory propagating signal.                   4. The method of claim 1, wherein analyzing the snapshot
      As used herein, the phrase "at least one of' followed by a          of the at least one virtual disk of the respective protected vir-
   listing of items means that any of the listed items can be             tual cloud asset includes at least one of:
   utilized individually, or any combination of two or more of 15            matching installed applications with applications on a
   the listed items can be utilized. For example, if a system is                known list of vulnerable applications; or
   described as including "at least one of A, B, and C," the                 matching application files on the snapshot of the at least one
   system can include A alone; B alone; C alone; A and B in                     virtual disk directly against application files associated
   combination; B and C in combination; A and C in combina-                     with a known list of vulnerable applications.
   tion; or A, B, and C in combination.                                20    5. The method of claim 4, wherein matching application
      All examples and conditional language recited herein are            files on the snapshot of the at least one virtual disk includes:
   intended for pedagogical purposes to aid the reader in under-             computing a cryptographic hash against at least one appli-
   standing the principles of the disclosed embodiment and the                  cation file to be matched; and
   concepts contributed by the inventor to furthering the art,               matching the computed cryptographic hash against a data-
   and are to be construed as being without limitation to such 25               base of files associated with a known list of vulnerable
   specifically recited examples and conditions. Moreover, all                  applications.
                                                                             6. The method of claim 3, wherein determining the risk
   statements herein reciting principles, aspects, and embodi-
   ments of the disclosed embodiments, as well as specific                associated with one of the plurality of potential cyber vulner-
   examples thereof, are intended to encompass both structural            abilities further comprises determining whether the one of the
   and functional equivalents thereof. Additionally, it is             30 potential   cyber vulnerabilities corresponds to an application
   intended that such equivalents include both currently                  that is in use by the respective protected virtual cloud asset.
                                                                             7. The method of claim 3, wherein determining the risk of
   known equivalents as well as equivalents developed in the
                                                                          one of the plurality of potential cyber vulnerabilities includes
   future, i.e., any elements developed that perform the same
                                                                          determining whether the one of the plurality of potential cyber
   function, regardless of structure.
                                                                       35 vulnerabilities corresponds to an application that is not in use
                                                                          by the respective protected virtual cloud asset.
      What is claimed is:                                                    8. The method of claim 7, wherein determining whether the
      1. A method for securing virtual cloud assets against cyber         matching installed applications are used by the respective pro-
   vulnerabilities in a cloud computing environment, the method           tected virtual cloud asset includes checking configuration
   comprising:
                                                                       40 files of the matching installed applications to determine
      receiving a request to scan a plurality of protected virtual        whether at least one of the matching installed applications is
         cloud assets in the cloud computing environment;                 not in use, and wherein prioritizing reduces priority of the at
      for each ofthe requested plurality of protected virtual cloud       least one matching installed application not in use.
         assets in the cloud computing environment:                          9. The method of claim 1, wherein analyzing the snapshot
         determining, using an API or service provided by the             of  the at least one virtual disk of the respective protected vir-
                                                                       45
            cloud computing environment, a location of a snap-            tual cloud asset further includes:
            shot of at least one virtual disk ofa respective protected       parsing the snapshot of the at least one virtual disk; and
            virtual cloud asset,                                             scanning the parsed snapshot of the at least one virtual disk
         accessing, based on the determined location and using an               to detect the potential cyber vulnerabilities.
            API or service provided by the cloud computing envir-             10. The method of claim 9, wherein scanning the parsed
                                                                       50
            onment, the snapshot of the at least one virtual disk,        snapshot further includes at least one of:
         analyzing the snapshot of the at least one virtual disk to          checking configuration files of applications and an operat-
            determine an existence of potential cyber vulnerabil-               ing system installed in the respective protected virtual
            ities, and                                                          cloud asset;
         determining a risk associated with each of the determined           verifying access times to files by the operating system
                                                                       55
            potential cyber vulnerabilities, and                                installed in the in the respective protected virtual cloud
      for each of the requested plurality of protected virtual cloud            asset; or
         assets with the determined potential cyber vulnerabil-              analyzing system logs to deduce applications and modules
         ities, determining a risk level to the cloud computing                 executed in the respective protected virtual cloud asset.
         environment; and                                                     11. The method of claim 1, further comprising mitigating at
      reporting, for each of the requested plurality of protected 60 least one of the potential cyber vulnerabilities.
         virtual cloud assets with the determined potential cyber             12. The method of claim 11, wherein mitigating one of the
         vulnerabilities, the existence of the potential cyber vul-       plurality of potential cyber vulnerabilities includes at least
         nerabilities, such that the plurality of protected virtual       one of:
         cloud assets with the determined potential cyber vulner-            blocking traffic from untrusted networks to the respective
                                                                       65
         abilities are prioritized based on associated risk levels.             protected virtual cloud asset,
      2. The method of claim 1, wherein determining the location             halting operation of the respective protected virtual cloud
   of the snapshot of at least one virtual disk further includes:               asset, or
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 206 of 207 PageID #: 933


                                                         US 11,775,326 B2
                                  11                                                                     12
      quarantining the respective protected virtual cloud asset.                  accessing, based on the determined location and using
      13. The method of claim 1, wherein determining the loca-                      an API or service provided by the cloud computing
   tion of the snapshot of the at least one virtual disk of the                     environment, the snapshot of the at least one virtual
   respective protected virtual cloud asset further includes deter-                 disk,
   mining a specific virtual disk allocated to the respective pro- 5              analyzing the snapshot of the at least one virtual disk to
   tected virtual cloud asset.                                                      determine existence of a plurality of potential cyber
      14. The method of claim 1, wherein determining the loca-                      vulnerabilities, and
   tion of the snapshot of at least one virtual disk further includes             determining a risk associated with each of the deter-
   querying a cloud management console of the cloud computing                       mined potential cyber vulnerabilities;
   environment for the location of the snapshot and the location 10         for each of the requested plurality of protected virtual cloud
   of a specific virtual disk of the respective protected virtual             assets with determined potential cyber vulnerabilities,
   cloud asset.                                                               determine a risk level to the cloud computing environ-
      15. A non-transitory computer readable medium contain-                  ment; and
   ing instructions that when executed by at least one processor            report, for each of the requested plurality of protected vir-
   cause the at least one processor to perform operations for 15              tual cloud assets with the determined potential cybervul-
   securing virtual cloud assets against cyber vulnerabilities in             nerabilities,  the existence of potential cyber vulnerabil-
   a cloud computing environment, the operations comprising:                  ities, such that the plurality of protected virtual cloud
      receiving a request to scan a plurality of protected virtual            assets with the determined potential cybervulnerabilities
         cloud assets in the cloud computing environment;                     are prioritized based on associated risk levels.
      for each of the requested plurality of protected virtual cloud 20     19. The system of claim 18, wherein determining the loca-
         assets in the cloud computing environment:                      tion of the snapshot of at least one virtual disk further includes:
         determining, using an API or service provided by the               taking a snapshot or requesting the taking of the snapshot;
            cloud computing environment, a location of a snap-                and
            shot ofat least one virtual disk ofa respective protected       obtaining  the location of the snapshot after the snapshot is
            virtual cloud asset,
                                                                      25      taken.
                                                                            20. The method of claim 7, wherein determining whether
         accessing, based on the determined location and using an
                                                                         one of the plurality of potential cyber vulnerabilities corre-
            API or service provided by the cloud computing envir-
                                                                         sponds to an application that is not in use by one of the respec-
            onment, the snapshot of the at least one virtual disk,
                                                                         tive protected virtual cloud assets lowers the risk associated
         analyzing the snapshot of the at least one virtual disk to 30
                                                                         with the potential cyber vulnerability.
            determine existence of a plurality of potential cyber
                                                                            21. The method of claim 1, wherein determining the risk
            vulnerabilities, and
                                                                         level of a protected virtual cloud asset is based in part on the
         determining a risk associated with each of the determined
                                                                         determined risks of existing potential cybervulnerabilities on
            potential cyber vulnerabilities;
                                                                         the protected virtual cloud asset.
      for each of the requested plurality of protected virtual cloud 35
                                                                            22. The method of claim 1, wherein determining the risk
         assets with the determined potential cyber vulnerabil-
                                                                         level associated with a particular protected virtual cloud
         ities, determining a risk level to the cloud computing
                                                                         asset further includes:
         environment; and
                                                                            analyzing configurations for each of the requested plurality
      reporting, for each of the requested plurality of protected
                                                                              of protected virtual cloud assets in the cloud computing
         virtual cloud assets with the determined potential cyber 40
                                                                              environment, and
         vulnerabilities, the existence of the potential cyber vul-         weighting a takeover risk of the particular protected virtual
         nerabilities, such that the plurality of protected virtual           cloud asset.
         cloud assets with the determined potential cyber vulner-           23. The method of claim 22, wherein weighting the take-
         abilities are prioritized based on associated risk levels.      over risk of the particular protected virtual cloud asset
      16. The non-transitory computer readable medium of 45 includes correlating at least one of the determined potential
   claim 15, wherein analyzing the snapshot of the at least one          cyber vulnerabilities with a network location of the particular
   virtual disk of the respective protected virtual cloud asset          protected virtual cloud asset.
   includes matching installed applications with applications               24. The method of claim 22, wherein weighting the take-
   on a known list of vulnerable applications.                           over risk of the particular protected virtual cloud asset
      17. The non-transitory computer readable medium of 50 includes determining a criticality of the particular protected
   claim 16, wherein analyzing the snapshot of the at least one          virtual cloud asset in the cloud computing environment based
   virtual disk further includes matching application files on the       on contents stored from the particular protected virtual cloud
   snapshot of the at least one virtual disk directly against appli-     asset.
   cation files associated with a known list of vulnerable                  25. The method of claim 22, wherein weighting the take-
   applications.                                                      55 over risk of the particular protected virtual cloud asset
      18. A system for securing virtual cloud assets against cyber       includes determining a criticality of the particular protected
   vulnerabilities in a cloud computing environment, the system          virtual cloud asset in the cloud computing environment based
   comprising:                                                           on other assets in the cloud computing environment that are
      at least one processor configured to:                              accessible from the particular protected virtual cloud asset.
         receive a request to scan a plurality of protected virtual 60      26. The method of claim 22, wherein weighting the take-
            cloud assets in the cloud computing environment;             over risk of the particular protected virtual cloud asset
         for each of the requested plurality of protected virtual        includes
            cloud assets in the cloud computing environment:                correlating at least one of the determined potential cyber
            determining, using an API or service provided by the              vulnerabilities with a network location of the particular
               cloud computing environment, a location of a snap- 65          protected virtual cloud asset, and
               shot of at least one virtual disk of a respective pro-       determining a criticality of the particular protected virtual
               tected virtual cloud asset,                                    cloud asset in the cloud computing environment based on
Case 1:23-cv-00758-GBW Document 15-1 Filed 10/10/23 Page 207 of 207 PageID #: 934


                                                      US 11,775,326 B2
                                13                                       14
        other assets in the cloud computing environment that are
        accessible from the particular protected virtual cloud
        asset and based on the contents stored from the particular
        protected virtual cloud asset.
     27. The method of claim 1, wherein determining the risk s
   level associated with a particular protected virtual cloud
   asset further includes:
     analyzing a configuration for each of the requested plurality
        of protected virtual cloud assets in the cloud computing
        environment, and                                           10
     weighting a takeover risk of the particular protected virtual
        cloud asset.
     28. The method of claim 1, wherein reporting potential
   cyber vulnerabilities for a particular protected virtual cloud
   asset further includes prioritizing the reported potential 1s
   cyber vulnerabilities based on the risk level associated with
   the particular protected virtual cloud asset.
